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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MINNESOTA


In re:
                                                       Case No. 15-30125
THE ARCHDIOCESE OF SAINT PAUL
AND MINNEAPOLIS                                        Chapter 11
                     Debtor.


   THIRD AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF THE
            ARCHDIOCESE OF SAINT PAUL AND MINNEAPOLIS


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                                                       Minneapolis


Dated: September 19, 2018




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                                        INTRODUCTION

       The Official Committee of Unsecured Creditors and the Archdiocese of Saint Paul and
Minneapolis, the debtor and debtor in possession in the above-captioned Chapter 11 case,
propose this Joint Chapter 11 Plan of Reorganization (the “Plan”) pursuant to the provisions of
the Bankruptcy Code.

       All creditors are encouraged to consult the disclosure statement for the Chapter 11 Plan
of Reorganization (the “Disclosure Statement”), before voting to accept or reject this Plan.
Among other information, the disclosure statement contains discussions of the Archdiocese of
Saint Paul and Minneapolis (the “Archdiocese” or “Debtor”), events prior to and during this
Chapter 11 case, and a summary and analysis of the Plan. No solicitation materials, other than
the disclosure statement, have been authorized by the Bankruptcy Court for use in soliciting
acceptances or rejections of the Plan.

       The Bankruptcy Court has scheduled the confirmation hearing for approval of the Plan at
10 a.m. on September 25, 2018.




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                                            ARTICLE I
                                 DEFINITIONS AND INTERPRETATION

         1.1. DEFINED TERMS. For the purposes of the Plan, except as expressly provided,
all capitalized terms not otherwise defined herein have the meanings ascribed to them below:

1.    “Abuse” means (i) any actual or alleged sexual conduct, misconduct, abuse, or molestation,
      including actual or alleged “sexual abuse” as that phrase is defined in Minnesota Statutes
      Section 541.073(1); (ii) indecent assault or battery, rape, lascivious behavior, undue
      familiarity, pedophilia, ephebophilia, or sexually-related physical, psychological, or
      emotional harm; (iii) contacts or interactions of a sexual nature; or (iv) assault, battery,
      corporal punishment, or other act of physical, psychological, or emotional abuse,
      humiliation, intimidation, or misconduct.

2.    “Administrative Claim” means a claim for costs and expenses of administration that is
      allowable and entitled to priority under Sections 503, 507 (a)(2), or 507 (b) of the
      Bankruptcy Code, including any post-petition tax claims, any actual and necessary
      expenses of preserving the Estate, any actual and necessary expenses of operating the
      business of the Debtor, all Professional Claims, and any fees or charges assessed against
      the Estate under 28 U.S.C. § 1930.

3.    “Allowed Professional Claim” means a Professional Claim for which the Bankruptcy Court
      has entered an Order, which has become a Non-Appealable Order allowing the relevant Fee
      Application.

4.    “AMBP” or “Archdiocese Medical and Dental Plan” means the Archdiocese medical and
      dental benefit plan described in the motion filed by the Archdiocese with the Bankruptcy
      Court on or about January 16, 2015 (Docket No. 15).

5.    “Annual Appeal” means Catholic Annual Appeal Foundation.

6.    “Approval Order” means an order of the Bankruptcy Court approving one or more
      Insurance Settlement Agreements as such order may be awarded, modified, or
      supplemented.

7.    “Archdiocese” and “Archdiocesan” refers to the Archdiocese of St. Paul and Minneapolis,
      which is the diocesan corporation formed pursuant to Minnesota Statutes Section 315.16
      that is the public juridic person of the Roman Catholic Archdiocese of Saint Paul and
      Minneapolis, as now constituted or as it may have been constituted, and the Estate
      (pursuant to section 541 of the Bankruptcy Code).

8.    “Archdiocesan Insurance Policy(ies)” means a) all policies or certificates of insurance
      listed on Exhibit L(1)-A or Exhibit N; and b) any and all other known and unknown
      contracts, binders, certificates, or policies of insurance, including all of the insurance
      policies mentioned or referred to in any Archdiocese Insurance Settlement Agreement, in
      effect on or before the Effective Date that were issued to, allegedly issued to, or for the
      benefit of, or subscribed on behalf or that otherwise actually, allegedly, or potentially
      insure, the Archdiocese or any of its predecessors in interest, successors or assigns, and that
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      actually, allegedly, or could potentially afford coverage with respect to any Tort Claim;
      provided, however, that if a contract, binder, certificate, or policy of insurance that is not
      identified on either Exhibit L(1)-A or Exhibit N and was not issued or subscribed on
      behalf of or allegedly issued to or subscribed on behalf of the Archdiocese insures or
      covers both the Archdiocese and any other Person, such contract, binder, certificate, or
      policy of insurance, as applicable, is an “Archdiocesan Insurance Policy” to the extent it
      insures or covers the Archdiocese but not to the extent it insures or covers any other
      Person. With respect to the Certificates issued by Catholic Mutual Relief Society of
      America (“Catholic Mutual”), the “Archdiocesan Insurance Policies” means the
      Certificates issued by Catholic Mutual to The Church of the Guardian Angels of Chaska,
      Minnesota and the Church of the Assumption of Richfield, Minnesota and the Catholic
      Mutual Certificates listed on Exhibit L(1)-A (and on Exhibit I) to the extent coverages
      under such certificates are released by the Archdiocese Insurance Settlement Agreement
      between Catholic Mutual and the Archdiocese.

9.     “Archdiocese Insurance Settlement Agreements” means the settlement agreements
      between the Archdiocese and/or the Archdiocese Parties and the Archdiocesan Settling
      Insurers (including the settlement agreement between and among the Archdiocese, the
      Archdiocesan Parishes, St. Paul Seminary, and Travelers Casualty and Surety Company,
      hereinafter the “Travelers Settlement Agreement”) that will be filed separately as plan
      supplements and be approved by an order of the Bankruptcy Court that becomes a Non-
      Appealable Order.

10.   “Archdiocese Other Insured Entities” means any Person, including those Persons listed on
      Exhibit N, insured or covered or allegedly insured or covered under an Archdiocesan
      Settling Insurer Entity Policy that was issued or allegedly issued to the Archdiocese, but
      only with respect to any Claim that would be covered or alleged to be covered under that
      Archdiocese Settling Insurer Entity Policy but for an Archdiocese Insurance Settlement
      Agreement, including Tort Claims based on alleged Abuse that occurred in whole or in part
      during the effective periods of that Archdiocesan Settling Insurer Entity Policy.
      Notwithstanding the foregoing, “Archdiocese Other Insured Entities” does not include the
      Archdiocese, the Parishes, or the Seminaries.

11.    “Archdiocesan Parishes” means all past and present parishes of or in the Archdiocese,
      including any current Diocese of New Ulm parish that was previously a parish of the
      Archdiocese but only for the time period prior to joining the Diocese of New Ulm.
      “Archdiocesan Parishes” includes all the parishes identified on Exhibit H.

12.   “Archdiocese Parties” means collectively the Archdiocese and, in their capacity as such: (i)
      each of the past, present, and future parents, subsidiaries, merged companies, divisions, and
      acquired companies of the Archdiocese; (ii) any and all named insureds, insureds,
      additional insureds, covered party, additional covered party, and Protected Person (as such
      term is defined in the Catholic Mutual Certificates) under the Archdiocesan Settling
      Insurer Entity Policies; (iii) each of the foregoing Persons’ respective past, present, and
      future parents, subsidiaries, merged companies, divisions, and acquired companies; (iv)
      each of the foregoing Persons’ respective predecessors, successors, and assigns; and (v)
      any and all past and present employees, officers, directors, shareholders, principals,
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      teachers, staff, members, boards, administrators, priests, deacons, brothers, sisters, nuns,
      other clergy or Persons bound by monastic vows, volunteers, agents, attorneys, and
      representatives of the Persons identified in the foregoing subsections (i)-(iv). Nothing in the
      foregoing is intended to suggest that such Persons are “employees” or agents of the
      Archdiocese or subject to its control. An individual who perpetrated an act of Abuse that
      forms the basis of a Tort Claim is not an Archdiocese Party as to that Tort Claim. No
      religious order, diocese, or archdiocese, other than the Archdiocese itself, is an
      Archdiocese Party, except to the extent such religious order, diocese, or archdiocese is an
      Archdiocese Other Insured Entity.

13.   “Archdiocesan Priest” means a priest ordained by the Archdiocese.

14.   “Archdiocesan Settling Insurers” means the Persons listed on Exhibit L(1) whose Insurance
      Settlement Agreements are approved by an order of the Bankruptcy Court and such order
      becomes a Non-Appealable Order.

15.   “Archdiocesan Settling Insurer Entities” means the Archdiocesan Settling Insurers and
      each of their past, present and future parents, subsidiaries, affiliates, and divisions; each of
      the foregoing Persons’ respective past, present and future parents, subsidiaries, affiliates,
      holding companies, merged companies, related companies, divisions and acquired
      companies, including the Persons released pursuant to the respective Insurance Settlement
      Agreements; each of the foregoing Persons’ respective past, present and future directors,
      officers, shareholders, employees, partners, principals, agents, attorneys, joint ventures,
      joint venturers, representatives, and claims handling administrators; and each of the
      foregoing Persons’ respective predecessors, successors, assignors, and assigns, whether
      known or unknown, and all Persons acting on behalf of, by, through or in concert with
      them.

16.   “Archdiocesan Settling Insurer Entity Policies” means any and all Archdiocesan Insurance
      Policies issued, subscribed to, or underwritten in whole or in part or allegedly issued,
      subscribed to, or underwritten in whole or in part by an Archdiocesan Settling Insurer
      Entity.

17.   “Archdiocese Entity Insurance Policies” mean the insurance policies that are listed on
      Exhibit I.

18.   “Archdiocese of Saint Paul and Minneapolis Lay Employees’ Pension Plan” means the
      noncontributory multiple employer defined benefit pension plan for the benefit of the
      Archdiocese’s full-time lay employees, together with the employees of those participating
      employers located within the boundaries of the Archdiocese that chose to adopt the pension
      plan.

19.   “Archdiocese of Saint Paul and Minneapolis Priests’ Pension Plan” means the contributory
      multiple employer defined benefit pension plan for the benefit of priests incardinated in the
      Archdiocese.



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20.   “Assets” of the Archdiocese or the Estate means, collectively, any and all property of the
      Archdiocese or the Estate, respectively, of every kind and character, wherever located,
      whether real or personal, tangible or intangible, and specifically including cash (including
      the residual balance of any reserves established under the Plan, but not the Trust) and
      Causes of Action.

21.   “Ballot” means the ballot, the form of which has been approved by the Bankruptcy Court,
      accompanying the disclosure statement provided to each holder of a claim entitled to vote
      to accept or reject the Plan.

22.   “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended and codified
      in Title 11 of the United States Code.

23.   “Bankruptcy Court” means the United States Bankruptcy Court for the District of
      Minnesota.

24.   “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as currently
      promulgated.

25.   “Beneficiary” means a Class 6 claimant whose claim is not disallowed by the Bankruptcy
      Court and whose claims are payable under the Trust Distribution Plan; or a Class 7
      claimant whose claim is payable under the Trust Distribution Plan when such claimant
      asserts his or her Class 7 Claims.

26.   “Canon Law” means the Code of Canon Law of the Roman Catholic Church, as codified in
      1983 and as may hereafter be amended, and all binding universal and particular laws of the
      Roman Catholic Church.

27.   “Catholic Entities” means the Archdiocesan Parishes and those Persons listed on Exhibit
      M.

28.   “Cause of Action” or “Causes of Action” means—except as provided otherwise in the Plan,
      the Confirmation Order, or any document, instrument, release, or other agreement entered
      into in connection with the Plan—all claims, actions, causes of action, suits, debts, dues,
      sums of money, accounts, reckonings, bonds, bills, specialties, controversies, variances,
      trespasses, damages, judgments, third-party claims, counterclaims, and cross claims of the
      Archdiocese or its Estate, the Committees, or the Trust (as successor to the Archdiocese or
      its Estate), including an action that is or may be pending on the Effective Date or instituted
      by the Reorganized Debtor after the Effective Date against any Person based on law or
      equity, including under the Bankruptcy Code, whether direct, indirect, derivative, or
      otherwise and whether asserted or unasserted, known or unknown, any action brought
      pursuant to Sections 522, 541-45, 547-51, and 553 of the Bankruptcy Code; provided,
      however, that any affirmative defense or cross-claim asserted with respect to a claim shall
      not be deemed a Cause of Action to the extent that it seeks to disallow or reduce, or is
      offset against, such claim.

29.   “Channeled Claim(s)” means any Tort Claim, any Related Insurance Claim, or any other
      Claim against any of the Protected Parties or the Settling Insurer Entities that, directly or
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      indirectly, arises out of, relates to, or is in connection with any Tort Claim, any Related
      Insurance Claim, any Class 13 Claims, any Medicare Claim, and any Claim covered by the
      Channeling and Supplemental Insurer Injunctions in Article XIV.

30.   “Channeling Injunction” means the injunction imposed pursuant to Section 14.3 of the
      Plan.

31.    “Claim” means any past, present or future claim, demand, action, request, cause of action,
      suit, proceeding or liability of any kind or nature whatsoever, whether at law or equity,
      known or unknown, actual or alleged, asserted or not asserted, suspected or not suspected,
      anticipated or unanticipated, accrued or not accrued, fixed or contingent, which has been or
      may be asserted by or on behalf of any Person, whether seeking damages (including
      compensatory, punitive or exemplary damages) or equitable, mandatory, injunctive, or any
      other type of relief, including cross-claims, counterclaims, third-party claims, suits,
      lawsuits, administrative proceedings, notices of liability or potential liability, arbitrations,
      actions, rights, causes of action or orders, and any other claim within the definition of
      “claim” in section 101(5) of the Bankruptcy Code.

32.   “Claim Filing Date” means August 3, 2015.

33.   “Committees” means the UCC and Parish Committee.

34.   “Confirmation Date” means the date on which the Bankruptcy Court enters the
      Confirmation Order.

35.   “Confirmation Order” means the order entered by the Bankruptcy Court confirming the
      Plan pursuant to Section 1129 of the Bankruptcy Code which becomes a Non-Appealable
      Order.

36.   “Covered Non-Tort Claim” means any Claim, other than Tort Claims, Related Insurance
      Claims, or Medicare Claims, for which the Archdiocese, a Catholic Entity, Other Insured
      Entity, or Seminary would otherwise have coverage under a Settling Insurer Entity Policy
      but as a result of the sale, transfer, or release by the Debtor, the Catholic Entity or
      Seminary of such Settling Insurer Entity Policy in connection with an Insurance Settlement
      Agreement, the Archdiocese, Catholic Entity, Other Insured Entity, or Seminary does not
      have insurance coverage for such Claim(s).

37.   “Disputed” when used with respect to a claim against the Archdiocese or property of the
      Archdiocese, means a claim: (i) designated as disputed, contingent or unliquidated in the
      Debtor’s Schedules; (ii) which is the subject of an objection, appeal, or motion to estimate
      that has been or will be timely filed by a party in interest and which objection, appeal, or
      motion has not been determined by a Non-Appealable Order; or (iii) which during the
      period prior to the deadline fixed by the Plan or the Bankruptcy Court for objecting to such
      claim, is in excess of the amount scheduled as other than disputed, unliquidated, or
      contingent. The processes for handling “Disputed Claims” do not apply to Class 6 or Class
      7 Claims. In the event that any part of a claim is Disputed, such claim in its entirety shall be
      deemed to constitute a Disputed Claim for purposes of distribution under the Plan unless

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      the Debtor or the Reorganized Debtor, as applicable, and the holder thereof agree
      otherwise. To the extent the term “Disputed” is used in the Plan with respect to a specified
      class of claims or an unclassified category of claims (i.e., “Disputed [class
      designation/unclassified claim category] Claim”), the resulting phrase shall mean a
      Disputed Claim of the specified class or unclassified category of claims.

38.   “Distribution Plan Claimants” are Tort Claimants who elect to have their Tort Claim
      treated by the Tort Claims Reviewer pursuant to the Trust Distribution Plan.

39.   “District Court” means the United States District Court for the District of Minnesota.

40.   “Effective Date” means the date upon which the conditions in Article XIII of the Plan have
      been satisfied.

41.   “Estate” means the estate created in this Chapter 11 case pursuant to Section 541 of the
      Bankruptcy Code.

42.   “Exculpated Parties” means collectively, (i) the Archdiocese Parties, the Estate, and the
      Committees; (ii) the respective officers, directors, employees, members, attorneys,
      financial advisors, members of subcommittees of the board of directors, volunteers, and
      members of consultative bodies and councils formed under Canon Law of the persons
      identified in the preceding clause including with respect to their service or participation in
      an outside board on which they serve at the request of the Archdiocese or the Archbishop,
      in their capacity as such; (iii) the trustees of the AMBP with respect to the settlement
      described in Article IX below and (iv) professionals of a Person identified in the preceding
      clause (i), (ii) or (iii).

43.   “Extra-Contractual Claim” means any Claim against any of the Settling Insurer Entities
      based, in whole or in part, on allegations that any of the Settling Insurer Entities acted in
      bad faith or in breach of any express or implied duty, obligation or covenant, contractual,
      statutory or otherwise, including any Claim on account of alleged bad faith; failure to act in
      good faith; violation of any express or implied duty of good faith and fair dealing; violation
      of any unfair claims practices act or similar statute, regulation, or code; any type of alleged
      misconduct; or any other act or omission of any of the Settling Insurer Entities of any type
      for which the claimant seeks relief other than coverage or benefits under a policy of
      insurance. Extra-Contractual Claims include: (i) any claim that, directly or indirectly, arises
      out of, relates to, or is in connection with any of the Settling Insurer Entities’ handling of
      any Claim or any request for insurance coverage, including any request for coverage for
      any Claim, including any Tort Claim, Class 3 Claim, or Class 12 Claim; (ii) any Claim that,
      directly or indirectly, arises out of, relates to, or is in connection with any of the Settling
      Insurer Entity Policies, or any contractual duties arising therefrom, including any
      contractual duty to defend any of the Protected Parties against any Claim, including any
      Tort Claims, Class 3 Claim, or Class 12 Claim; and (iii) any Claim that directly or
      indirectly, arises out of, relates to, or is in connection with the conduct of the Settling
      Insurer Entities with respect to the negotiation of Insurance Settlement Agreements and the
      Plan.


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44.   “Fee Application” means an application filed with the Bankruptcy Court in accordance
      with the Bankruptcy Code and Bankruptcy Rules for payment of a Professional Claim.

45.   “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

46.   “Future Claimant Representative” means Judge Michael R. Hogan in accordance with the
      Bankruptcy Court’s February 14, 2017 Order (ECF Doc. 969) and any successor or such
      other person appointed by the Bankruptcy Court or otherwise.

47.   “Future Tort Claim” means any Tort Claim that was neither filed, nor deemed filed, by
      May 25, 2016, and is held by (i) an individual who was at the time of the Petition Date
      under a disability recognized by Minn. Stat. § 541.15, subds. 1, 2 and 3 (or other applicable
      law suspending the running of the limitation period, if any, other than Minn. Stat. § 541.15,
      subd. 4); (ii) an individual who experienced Abuse through and including the Effective
      Date and whose Claim is timely under Minn. Stat. § 541.073 subd. 2 as amended in 2013;
      (iii) an individual who has a Tort Claim that was barred by the statute of limitations as of
      the Claims Filing Date but is no longer barred by the applicable statute of limitations for
      any reason, including the enactment of legislation that revises previously time-barred Tort
      Claims; or (iv) any other individual or class of individuals the Future Tort Claim
      Representative can identify that would have a Tort Claim on or prior to the Effective Date.

48.   “Future Tort Claimant” means the holder of a Future Tort Claim, the estate of a deceased
      individual who held a Future Tort Claim, or the personal executor or personal
      representative of the estate of a deceased individual who held a Future Tort Claim, as the
      case may be.

49.   “Future Tort Claim Reserve Fund” means the reserve established for the benefit of Future
      Tort Claimants pursuant to Section 6.2(b) of the Plan.

50.   “GIF” or “General Insurance Fund” means the General Insurance Fund Program
      maintained by the Archdiocese for hazard and liability claims and workers’ compensation
      claims, as described in the motion filed by the Archdiocese with the Bankruptcy Court on
      January 16, 2015 (Docket No. 11).

51.   “High Schools” means Benilde-St. Margaret’s School and De La Salle High School, both
      organized under Minnesota Statutes Chapter 317A, and Grace High School, d/b/a Totino-
      Grace High School organized under Minnesota Statutes Chapter 333A.

52.   “Insurance Coverage Adversary Proceeding” means the Adversary Proceeding against the
      Continental Insurance Company and others, commenced by the Archdiocese in Minnesota
      federal district court and referred to the Bankruptcy Court as Adv. Proceeding No. 15-
      03013.

53.   “Insurance Settlement Agreements” means (i) the Archdiocese Insurance Settlement
      Agreements, (ii) the settlement agreements between the Archdiocesan Parishes (including
      any Catholic Entities) and the Parish Settling Insurers; and (iii) the settlement agreements
      between the Seminaries and Seminary Settling Insurers.

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54.   “Inter-Parish Loan Fund” means the deposit and loan program established by the
      Archdiocese to fund loans to participating parishes.

55.   “Interest” means all liens, Claims, encumbrances, interests, and other rights of any nature,
      whether at law or in equity, including any rights of contribution, indemnity, defense,
      subrogation, or similar relief.

56.   “Lease” means the lease agreement entered into between the Archdiocese and IAF Beacon
      I, LLC dated as of February 29, 2016, under which the Archdiocese will lease certain office
      space located at 777 Forest Street, Saint Paul, Minnesota, including all exhibits thereto.

57.   “Lien” means any mortgage, lien, pledge, security interest or other charge or encumbrance
      or security device of any kind in, upon, or affecting any Asset of the Debtor as
      contemplated by Section 101(37) of the Bankruptcy Code.

58.   “Medicare Claims” means any and all Claims relating to Tort Claims by the Centers for
      Medicare & Medicaid Services of the United States Department of Health and Human
      Services and/or any other agent or successor Person charged with responsibility for
      monitoring, assessing, or receiving reports made under MMSEA and pursuing Claims
      under MSP, including Claims for reimbursement of payments made to Tort Claimants who
      recover or receive any distribution from the Trust and Claims relating to reporting
      obligations.

59.   “Medicare Trust Fund” means a U.S. Treasury-held trust fund account from which
      Medicare is funded or from which Medicare disbursements are paid, including the Hospital
      Insurance Trust Fund and the Supplementary Medical Insurance (SMI) Trust Fund.

60.   “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007
      (P.L.110-173)”, which imposes reporting obligations on those Persons with payment
      obligations under the MSP.

61.   “MSP” means 42 U.S.C. § 1395y et seq., or any other similar statute or regulation, and any
      related rules, regulations, or guidance issued in connection therewith or amendments
      thereto.

62.   “Non-Appealable Order” means an order, judgment, or other decree (including any
      modification or amendment thereof) that remains in effect and is final and has not been
      reversed, withdrawn, vacated, or stayed, and as to which the time to appeal or seek review,
      rehearing, or writ of certiorari has expired and as to which no appeal, petition for certiorari,
      or other proceedings for reargument or rehearing shall then be pending or as to which, if
      such an appeal, writ of certiorari, review, reargument, or rehearing has been sought, (a)
      appeal, certiorari, review, reargument, or rehearing has been denied or dismissed and the
      time to take any further appeal or petition for certiorari, review, reargument, or rehearing
      has expired; or (b) such order has been affirmed by the highest court to or in which such
      order was appealed, reviewed, reargued, or reheard, or that granted certiorari, and the time
      to take any further appeal or petition for certiorari, review, reargument, or rehearing has
      expired; provided, however, that the possibility that a motion under Rule 59 or Rule 60 of

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      the Federal Rules of Civil Procedure or any analogous rule under the Bankruptcy Rules
      may be filed with respect to such order shall not cause such order not to be a “Non-
      Appealable Order.”

63.   “Other Insured Entities” means the Archdiocese Other Insured Entities, the “Parish Other
      Insured Entities” (as defined in the Travelers Settlement Agreement), and the “Seminary
      Other Insured Entities” (as defined in the Travelers Settlement Agreement).

64.   “Parish Committee” means the Official Parish Committee established by the United States
      Trustee on or about May 14, 2015 (Docket No. 220).

65.   “Parish Insurance Policy(ies)” means any and all known and unknown contracts, binders,
      certificates, or policies of insurance in effect on or before the Effective Date that were
      issued to, allegedly issued to, or for the benefit of, or that otherwise actually, allegedly, or
      potentially insure, an Archdiocesan Parish or any of its predecessors in interest, successors
      or assigns and that actually, allegedly, or could potentially afford coverage with respect to a
      Tort Claim; provided, however, that if a contract, binder, certificate, or policy of insurance
      that was not issued or allegedly issued to an Archdiocesan Parish insures or covers both an
      Archdiocesan Parish and another Person, that a contract, binder, certificate, or policy of
      insurance is a “Parish Insurance Policy” to the extent it insures or covers an Archdiocesan
      Parish, but not to the extent it insures or covers any other Person. For the avoidance of
      doubt, “Parish Insurance Policies” does not include any Archdiocesan Insurance Policy that
      was issued or allegedly issued to the Archdiocese.

66.   “Parish Parties” means collectively the Catholic Entities and, in their capacity as such: (i)
      each of the past, present, and future parents, subsidiaries, merged companies, divisions, and
      acquired companies of the Catholic Entities; (ii) each of the foregoing Persons’ respective
      past, present, and future parents, subsidiaries, merged companies, divisions, and acquired
      companies; (iii) each of the foregoing Persons’ respective predecessors, successors, and
      assigns; and (iv) any and all past and present employees, officers, directors, shareholders,
      principals, teachers, staff, members, boards, administrators, priests, deacons, brothers,
      sisters, nuns, other clergy or Persons bound by monastic vows, volunteers, agents,
      attorneys, and representatives of the Persons identified in the foregoing subsections (i)-(iii).
      Nothing in the foregoing is intended to suggest that such Persons are “employees” or
      agents of a Catholic Entity or subject to its control. An individual who perpetrated an act of
      Abuse that forms the basis of a Tort Claim is not a Parish Party as to that Tort Claim. No
      religious order, diocese, or archdiocese is a Parish Party, except to the extent such religious
      order, diocese, or archdiocese is a “Parish Other Insured Entity” (as defined in the
      Travelers Settlement Agreement).

67.   “Parish Settling Insurers” means the persons listed on Exhibit L(2).

68.   “Parish Settling Insurer Entities” means the Parish Settling Insurers and each of their past,
      present and future parents, subsidiaries, affiliates, and divisions; each of the foregoing
      Persons’ respective past, present, and future parents, subsidiaries, affiliates, holding
      companies, merged companies, related companies, divisions and acquired companies; each
      of the foregoing Persons’ respective past, present and future directors, officers,
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      shareholders, employees, partners, principals, agents, attorneys, joint ventures, joint
      venturers, representatives, and claims handling administrators; and each of the foregoing
      Persons’ respective predecessors, successors, assignors, and assigns, whether known or
      unknown, and all Persons acting on behalf of, by, through or in concert with them.

69.   “Parish Settling Insurer Entity Policies” means any and all Parish Insurance Policies issued
      by a Parish Settling Insurer Entity.

70.   “Penalty Claims” means a Claim against the Archdiocese, whether secured or unsecured,
      for any fine, penalty or forfeiture, or for multiple, exemplary or punitive damages, arising
      before the Petition Date, to the extent that such fine, penalty, forfeiture, or damages are not
      compensation for actual pecuniary loss suffered by the holder of such claim.

71.   “Person” means any individual or entity, including any corporation, limited liability
      company, partnership, general partnership, limited partnership, limited liability partnership,
      limited liability limited partnership, proprietorship, association, joint stock company, joint
      venture, estate, trust, trustee, personal executor or personal representative, unincorporated
      association, or other entity, including any federal, international, foreign, state, or local
      governmental or quasi-governmental entity, body, or political subdivision or any agency or
      instrumentality thereof and any other individual or entity within the definition of (i)
      “person” in section 101(41) of the Bankruptcy Code; or (ii) “entity” in section 101(15) of
      the Bankruptcy Code.

72.   “Petition Date” means January 16, 2015, the date on which the Archdiocese commenced
      the Chapter 11 case.

73.   “Plan” means this joint Chapter 11 plan of reorganization, either in its present form or as it
      may be altered, amended, or modified from time to time in accordance with the provisions
      of the Bankruptcy Code and the Bankruptcy Rules.

74.   “Plan Proponents” means the Archdiocese and the UCC.

75.   “Priority Tax Claim” means a claim of a governmental unit of the kind specified in Section
      507(a)(8) of the Bankruptcy Code.

76.   “Pro Rata” means, with respect to any distribution on account of any allowed claim in any
      class, the ratio of (i) the amount of such allowed claim to (ii) the sum of (a) all allowed
      claims in such class and (b) the aggregate maximum of all allowed Claims in such class.

77.   “Professional” means any professional employed or to be compensated pursuant to §§ 327,
      328, 330, 331, 503(b), or 1103 of the Bankruptcy Code.

78.   “Professional Claim” means a claim for compensation for services and/or reimbursement of
      expenses pursuant to §§ 327, 328, 330, 331, or 503(b) of the Bankruptcy Code in
      connection with an application made to the Bankruptcy Court in the Chapter 11 case.



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79.   “Proof of Claim” means a proof of claim filed in the Chapter 11 case pursuant to § 501 of
      the Bankruptcy Code and/or pursuant to any order of the Bankruptcy Court, together with
      supporting documents.

80.   “Protected Party” means any of the Archdiocese Parties, the Reorganized Debtor, the High
      Schools, the Seminary Parties, the Annual Appeal, Catholic Youth Camp, Catholic Youth
      Center and the Parish Parties and, solely to the extent of and in their capacity as such, their
      respective predecessors and successors, and all of the foregoing Persons’ past, present, and
      future members, shareholders, trustees, officers, directors, officials, employees, agents,
      representatives, servants, contractors, consultants, volunteers, attorneys, professionals,
      insiders, subsidiaries, merged or acquired companies or operations, and their successors
      and assigns; but an individual who perpetrated an act of Abuse that forms the basis of a
      Tort Claim is not a Protected Party for that Tort Claim. Protected Party also includes (a) the
      Other Insured Entities and (b) solely to the extent of and in their capacity as such, the
      Other Insured Entities’ respective predecessors and successors, and all of the foregoing
      Person’s, past, present, and future members, shareholders, trustees, officers, directors,
      officials, employees, agents, representatives, servants, contractors, consultants, volunteers,
      attorneys, professionals, insiders, subsidiaries, merged or acquired companies or
      operations, and their successors and assigns. For the avoidance of doubt, and as more fully
      set forth in the definition of “Archdiocese Other Insured Entities,” “Parish Other Insured
      Entities” (as defined in the Travelers Settlement Agreement), and “Seminary Other Insured
      Entities” (as defined in the Travelers Settlement Agreement), “Other Insured Entities,” are
      Protected Parties only as to certain Claims, including only certain Tort Claims. For the
      avoidance of doubt, no religious order, diocese or archdiocese other than the Archdiocese
      itself is a Protected Party except to the extent the religious order, diocese or archdiocese is
      an Other Insured Entity.

81.   “Ramsey County Agreement” means the civil settlement agreement between the
      Archdiocese and the Ramsey County Attorney’s Office, as amended in conjunction with
      the dismissal of the Ramsey County criminal action against the Archdiocese, attached as
      Exhibits K, K(1), and K(2).

82.   “Region” means the region served by the Archdiocese, which consists of 12 greater Twin
      Cities metro-area counties in Minnesota, including Ramsey, Hennepin, Anoka, Carver,
      Chisago, Dakota, Goodhue, Le Sueur, Rice, Scott, Washington, and Wright counties.

83.   “Related Insurance Claim” means any Claim by any Person against any Protected Party or
      a Settling Insurer Entity, including an Extra-Contractual Claim, that, directly or indirectly,
      arises from, relates to, or is in connection with a Tort Claim, including any such Claim for
      defense, indemnity, contribution, subrogation, or similar relief or any direct action or claim,
      including an action or claim under Minn. Stat. § 60A.08, subd. 8.

84.   “Reorganization Assets” means, collectively, all Assets of the Debtor and the Estate. For
      the avoidance of doubt, the Reorganization Assets do not include the Trust Assets.

85.   “Reorganized Debtor” means the Archdiocese, on and after the Effective Date.


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86.   “Secured Claim” means a claim that is secured by a Lien on, or security interest in,
      property of the Debtor, or that has the benefit of rights of setoff under § 553 of the
      Bankruptcy Code, but only to the extent of the value of the creditor’s interest in the
      Debtor’s interest in such property, or to the extent of the amount subject to setoff, which
      value shall be determined by the Bankruptcy Court pursuant to Sections 506(a), 553, or
      1129(b)(2)(A )(i)(II) of the Bankruptcy Code, as applicable.

87.   “Seminaries” means The Saint Paul Seminary and St. John Vianney Seminary.

88.   “Seminary Insurance Policy(ies)” means any and all known and unknown contracts,
      binders, certificates, or policies of insurance in effect on or before the Effective Date that
      were issued to, allegedly issued to, or for the benefit of, or that otherwise actually,
      allegedly, or potentially insure, a Seminary or any of its predecessors in interest, successors
      or assigns and that actually, allegedly, or could potentially afford coverage with respect to a
      Tort Claim; provided, however, that if a contract, binder, certificate, or policy of insurance
      that was not issued or allegedly issued to a Seminary insures or covers both a Seminary and
      any other Person, that contract, binder, certificate, or policy of insurance is a “Seminary
      Insurance Policy” to the extent it insures or covers a Seminary, but not to the extent it
      insures or covers any other Person. For the avoidance of doubt, “Seminary Insurance
      Policies” does not include any Archdiocesan Insurance Policy that was issued or allegedly
      issued to the Archdiocese.

89.   “Seminary Settling Insurers” means the insurers listed on Exhibit L3.

90.   “Seminary Settling Insurer Entities” means the Seminary Settling Insurers and each of their
      past, present and future parents, subsidiaries, affiliates, and divisions; each of the foregoing
      Persons’ respective past, present, and future parents, subsidiaries, affiliates, holding
      companies, merged companies, related companies, divisions and acquired companies; each
      of the foregoing Persons’ respective past, present and future directors, officers,
      shareholders, employees, partners, principals, agents, attorneys, joint ventures, joint
      venturers, representatives, and claims handling administrators; and each of the foregoing
      Persons’ respective predecessors, successors, assignors, and assigns, whether known or
      unknown, and all Persons acting on behalf of, by, through or in concert with them.

91.   “Seminary Settling Insurer Entity Policies” means any and all Seminary Insurance Policies
      issued by a Seminary Settling Insurer Entity.

92.   “Seminary Parties” means collectively the Seminaries and, in their capacity as such: (i)
      each of the past, present, and future parents, subsidiaries, merged companies, divisions, and
      acquired companies of the Seminaries; (ii) each of the foregoing Persons’ respective past,
      present, and future parents, subsidiaries, merged companies, divisions, and acquired
      companies; (iii) each of the foregoing Persons’ respective predecessors, successors, and
      assigns; and (iv) any and all past and present employees, officers, directors, shareholders,
      principals, teachers, staff, members, boards, administrators, priests, deacons, brothers,
      sisters, nuns, other clergy or Persons bound by monastic vows, volunteers, agents,
      attorneys, and representatives of the Persons identified in the foregoing subsections (i)-(iii).
      Nothing in the foregoing is intended to suggest that such Persons are “employees” or
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      agents of the Seminaries or subject to its control. An individual who perpetrated an act of
      Abuse that forms the basis of a Tort Claim is not a Seminary Party as to that Tort Claim.
      No religious order, diocese, or archdiocese is a Seminary Party, except to the extent such
      religious order, diocese, or archdiocese is a “Seminary Other Insured Entity” (as defined in
      the Travelers Settlement Agreement).

93.   “Settling Insurers” means the Archdiocesan Settling Insurers, the Parish Settling Insurers,
      the Seminary Settling Insurers and Roger A. Sevigny, Insurance Commissioner of the State
      of New Hampshire, solely in his capacity as Liquidator of the Home Insurance Company.

94.   “Settling Insurer Entities” means the Archdiocesan Settling Insurer Entities, the Parish
      Settling Insurer Entities, and the Seminary Settling Insurer Entities.

95.   “Settling Insurer Entity Policies” mean the Archdiocesan Settling Insurer Entity Policies,
      the Parish Settling Insurer Entity Policies, and the Seminary Settling Insurer Entity
      Policies.

96.   “Supplemental Settling Insurer Injunction” means the injunction imposed pursuant to
      Section 14.5 of the Plan.

97.   “Supplemental Plan Documents” means, collectively, the documents included (or to be
      included) in the supplemental appendix to the Plan and filed with the Bankruptcy Court at
      least 14 days prior to the confirmation hearing.

98.   “Tort Claimant” means the holder of a Tort Claim.

99.   “Tort Claim” means any Claim against any of the Protected Parties that arises out of,
      relates to, results from, or is in connection with, in whole or in part, directly or indirectly,
      Abuse that took place in whole or in part prior to the Effective Date, including any such
      Claim that seeks monetary damages or any other relief, under any theory of liability,
      including vicarious liability; respondeat superior; any fraud-based theory, including fraud
      in the inducement; any negligence-based or employment-based theory, including negligent
      hiring, supervision, retention or misrepresentation; any other theory based on
      misrepresentation, concealment, or unfair practice; contribution; indemnity; public or
      private nuisance; or any other theory, including any theory based on public policy or any
      acts or failures to act by any of the Protected Parties or any other Person for whom any of
      the Protected Parties are allegedly responsible, including any such Claim asserted against
      any of the Protected Parties in connection with the Reorganization Case. “Tort Claim”
      includes any Future Tort Claim.

100. “Tort Claims Reviewer” means the Person, including the designee of such person or entity,
     who will assess Class 6 and Class 7 Claims under the Trust Distribution Plan.

101. “Trust” means the trust created for the benefit of Tort Claimants in accordance with the
     Plan and Confirmation Order and the Trust Agreement.



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102. “Trust Agreement” or “Trust Documents” shall mean the trust agreement establishing the
     Trust, as may be amended, together with such additional documents as may be executed in
     connection with the Trust Agreement.

103. “Trust Assets” means the cash and other assets to be transferred to the Trust under
     Article V of the Plan.

104. “Trust Distribution Plan” means the Trust Distribution Plan established under the Trust
     Agreement.

105. “Trustee” means the Person appointed as Trustee of the Trust in accordance with the terms
     of the Plan, the Confirmation Order, and the Trust Agreement, or any successor appointed
     in accordance with the terms of the Plan, Confirmation Order, and the Trust Agreement.

106. “UCC” means the Official Committee of Unsecured Creditors appointed in this Chapter 11
     case, as such committee may be constituted from time to time.

107. “U.S. Trustee” means the Office of the United States Trustee for Region 12, which includes
     the District of Minnesota.

108. “Unimpaired” means, with respect to a class of claims, that such class is not Impaired.

109. “Unsecured Claims” means claims which are not secured by any property of the Debtor’s
     Estate and which are not part of any other class defined in this Plan.

       1.2.       INTERPRETATION. For purposes of the Plan:

               (a)    any term that is not defined herein, but that is used in the Bankruptcy
         Code or the Bankruptcy Rules, shall have the meaning assigned to that term in the
         Bankruptcy Code or the Bankruptcy Rules, as applicable;

                 (b)     the terms “including” or “include(s)” are intended to be illustrative and not
         exhaustive, and shall be construed as “including, but not limited to” or “include(s), but is
         not limited to”;

                (c)     whenever the context requires, terms shall include the plural as well as the
         singular number, and the masculine gender shall include the feminine and the feminine
         gender shall include the masculine;

                 (d)   the rules of construction set forth in Section 102 of the Bankruptcy Code
         and in the Bankruptcy Rules shall apply;

                 (e)      unless the context should otherwise require, all references to documents to
         be filed shall refer to filing with the Bankruptcy Court in accordance with the Bankruptcy
         Code and Bankruptcy Rules;

                (f)   any reference in the Plan to a contract, instrument, release, indenture, or
         other agreement or document being in a particular form or on particular terms and

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         conditions means that such document shall be substantially in such form or substantially
         on such terms and conditions;

                (g)    any reference in the Plan to an existing document or exhibit filed or to be
         filed means such document or exhibit, as it may have been or may be amended, modified
         or supplemented;

                (h)     unless otherwise specified, all references in the Plan to “Articles,”
         “Sections,” “Schedules” and “Exhibits” are references to Articles, Sections, Schedules
         and Exhibits of or to the Plan;

                 (i)     the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety
         rather than to a particular portion of the Plan;

                 (j)     captions and headings to Articles and Sections are inserted for ease of
         reference only and shall not be considered a part of the Plan or otherwise affect the
         interpretation of the Plan; and

                 (k)     the Plan supersedes all prior plans, drafts of the Plan, and all prior
         negotiations, agreements, and understandings with respect to the Plan, evidence of which
         shall not affect the interpretation of any provision of the Plan.

        1.3. TIME PERIODS. In computing any period of time prescribed or allowed by the
Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply.
Enlargement of any period of time prescribed or allowed by the Plan shall be governed by the
provisions of Bankruptcy Rule 9006(b).

       1.4.       EXHIBITS AND SCHEDULES.

               (a)     All Exhibits and Schedules to the Plan (including any Supplemental Plan
         Documents) (with the Plan, the “Plan Documents”) are hereby incorporated by reference
         and made part of the Plan as if set forth fully herein.

                  (b)      The Exhibits to the Plan include the following:

                           Exhibit A:        [RESERVED]
                           Exhibit B:        [RESERVED]
                           Exhibit C:        Guaranty Obligations
                           Exhibit D:        Trust Agreement and Trust Distribution Protocol
                           Exhibit E:        Release
                           Exhibit F:        [RESERVED]
                           Exhibit G:        [RESERVED]
                           Exhibit H:        List of Current Parishes
                           Exhibit I:        Known Archdiocese Entity Insurance Policies
                           Exhibit J:        Officers and Directors of Reorganized Debtor
                           Exhibit K:        Settlement Agreement with Ramsey County Attorney’s
                                             Office

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                           Exhibit K(1):      Amendment to Settlement Agreement with Ramsey
                                              County Attorney’s Office
                           Exhibit K(2):      Dismissal Pursuant to Rule 30.01
                           Exhibit L(1):      Archdiocesan Settling Insurers
                           Exhibit L(1)-A:    First List of Known Archdiocese Settling Insurer Entity
                                              Policies
                           Exhibit L(2):      Parish Settling Insurers
                           Exhibit L(3):      Seminary Settling Insurers
                           Exhibit M:         List of Catholic Entities
                           Exhibit N:         Second List of Known Archdiocese Settling Insurer
                                              Entity Policies and List of Other Insured Entities

                  (c)      The Schedules to the Plan include the following:

                           Schedule 1:     List of Class 3 Claimants
                           Schedule 2:     List of Class 8 Claimants
                           Schedule 3:     List of Trade Vendor Claims

                                       ARTICLE II
                            TREATMENT OF UNCLASSIFIED CLAIMS

         2.1. ADMINISTRATIVE CLAIMS. As provided in Section 1123(a)(1) of the
Bankruptcy Code, Administrative Claims including Professional Claims, and Priority Tax Claims
shall not be classified for the purposes of voting or receiving distributions under the Plan. Rather,
all such claims shall be treated separately as unclassified claims on the terms set forth in this
Article.

                 (a)    Treatment. Each holder of an allowed Administrative Claim, excluding
         Professional Claims, against the Archdiocese shall receive, in full satisfaction, settlement,
         release, and extinguishment of such claim, an amount from the Reorganized Debtor equal
         to the allowed amount of such Administrative Claim, unless the holder agrees in writing
         to other treatment of such claim. Each holder of an allowed Professional Claim shall
         receive, in full satisfaction, settlement, release, and extinguishment of such claim, an
         amount from the Trust equal to the allowed amount of such Professional Claim, unless
         the holder agrees in writing to other treatment of such claim and subject to the provisions
         of Section 5.2 of this Plan, except that the Trust shall assume and pay the allowed amount
         of any claim for substantial contribution or expenses under Section 503(b)(3) of the
         Bankruptcy Code made by a committee member, a committee professional, or an attorney
         for a Class 6 Claimant.

                  (b)      Administrative Filing Deadline.

                          (1)    Except as otherwise set forth in this Plan, requests for allowance
                  and payment of Administrative Claims must be filed and served no later than
                  thirty (30) days after a notice of the Effective Date is filed with the Bankruptcy
                  Court (the “Administrative Claims Filing Deadline”). Administrative Claims
                  holders, excluding Professional Claims, that do not file a request for payment by
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                  the Administrative Claims Filing Deadline shall be forever barred from asserting
                  such claims against the Archdiocese, the Reorganized Debtor, any Settling Insurer
                  Entity (to the extent applicable), the Trust, or any of their property.

                          (2)    All objections to the allowance of Administrative Claims
                  (excluding Professional Claims) must be served and filed by any parties-in-
                  interest no later than fourteen (14) days after the Administrative Claim Filing
                  Deadline (the “Administrative Claim Objection Deadline”). If no objection to the
                  applicable Administrative Claim is filed on or before the Administrative Claim
                  Objection Deadline, such Administrative Claim will be deemed allowed. For the
                  avoidance of doubt, the Administrative Claim Objection Deadline established by
                  this subparagraph shall control over any contrary deadline set forth in any
                  requests for payment of Administrative Claims.

                  (c)      Professional Claim Filing Deadline.

                          All Professionals or other Persons holding a Professional Claim for
                  services rendered on or before the Effective Date (including, among other things,
                  any compensation requested by any Professional or any other Person for making a
                  substantial contribution in the Chapter 11 case) shall file and serve an application
                  for final allowance of compensation and reimbursement of expenses accruing
                  from the Petition Date to the Effective Date, no later than thirty (30) days after a
                  notice of the Effective Date is filed (the “Professional Claim Filing Deadline”).

         2.2. STATUTORY FEES. All fees due and payable pursuant to 28 U.S.C. § 1930 and
not paid prior to the Effective Date shall be paid by the Reorganized Debtor from ongoing
operations as soon as practicable after the Effective Date. After the Effective Date, the Trust shall
pay quarterly fees to the U.S. Trustee until the Chapter 11 case is closed. The Reorganized Debtor
shall file post-Confirmation Date quarterly reports in conformance with the U.S. Trustee
guidelines. The U.S. Trustee shall not be required to file a request for payment of its quarterly
fees, which will be deemed Administrative Claims against the Debtor and its Estate. The
Reorganized Debtor shall remain responsible for any unpaid fees and reports.

        2.3. PRIORITY TAX CLAIMS. With respect to each allowed Priority Tax Claim
not paid prior to the Effective Date, the Reorganized Debtor shall (i) pay such claim in cash as
soon as practicable after the Effective Date from its ongoing operations, or (ii) provide such other
treatment agreed to by the holder of such allowed Priority Tax Claim and the Archdiocese or
Reorganized Debtor, as applicable, in writing, provided such treatment is no less favorable to the
Archdiocese than the treatment set forth in clause (i) of this sentence.

                                         ARTICLE III
                                  CLASSIFICATION OF CLAIMS

         3.1. SUMMARY. The categories of claims listed below classify claims (except for
Administrative Claims and Priority Tax Claims) for all purposes, including voting, confirmation
of the Plan, and distribution pursuant to the Plan.


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     CLASS                       DESCRIPTION                IMPAIRMENT               VOTING
    1              Priority Claim                          Unimpaired          No
    2              Governmental Unit Claims                Unimpaired          No
    3A             General Insurance Fund Claims           Impaired            Yes
    3B             Medical and Dental Benefit Claims       Impaired            Yes
    4              Archdiocese of Saint Paul and           Unimpaired          No
                   Minneapolis Priests’ Pension Plan
                   Claims
    5              Archdiocese of Saint Paul and           Unimpaired          No
                   Minneapolis Lay Employees’ Pension
                   Plan Claims
    6              Tort Claims Other Than Future Tort      Impaired            Yes
                   Claims
    7              Future Tort Claims                      Impaired            Yes
    8              Inter-Parish Loan Fund and Assessment   Impaired            Yes
                   Overpayment Claims
    9              Trade Vendors and General Unsecured
                   Creditors
                       - Class 9A Convenience Claims       Impaired            Yes
                       - Class 9B                          Impaired            Yes

    10             Secured Claim of Premier Bank           Unimpaired          No
    11             Guaranty Claims                         Unimpaired          No
    12             Haselberger Claim                       Impaired            Yes
    13             Abuse Related Contingent Claims         Impaired            Yes
    14             Other Unsecured Claims                  Impaired            Yes
    15             Penalty Claims                          Impaired            Deemed to Reject
    16             Priest Support Payments                 Unimpaired          No
    17             Secured Claim of North American         Unimpaired          No
                   Banking Company
    18             Secured Claim of Bremer Bank            Unimpaired          No

          3.2. CLASSIFICATION AND VOTING. The claims against the Debtor shall be
classified as specified above (other than Administrative Claims and Priority Tax Claims, which
shall be unclassified and treated in accordance with Article II). Consistent with Section 1122 of
the Bankruptcy Code, a claim is classified by the Plan in a particular class only to the extent the
claim is within the description of the class, and a claim is classified in a different class to the
extent it is within the description of that different class.


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                                          ARTICLE IV
                                 TREATMENT OF CLASSIFIED CLAIMS

         4.1.     PRIORITY CLAIMS (CLASS 1).

                 (a)     Definition. A Class 1 Claim means an allowed claim described in, and
         entitled to priority under Sections 507(a) and 503(b)(9) of the Bankruptcy Code other
         than an Administrative Claim or a Priority Tax Claim.

                 (b)      Treatment. Unless the holder of an allowed Class 1 Claim and the
         Archdiocese or the Reorganized Debtor (as applicable) agree to a different treatment, the
         Reorganized Debtor shall pay each such allowed Class 1 Claim in full, in cash, without
         interest, from ongoing operations on the later of the Effective Date (or as soon thereafter
         as is practicable) and the date a Class 1 Claim becomes an allowed claim (or as soon
         thereafter as is practicable).

         4.2.     GOVERNMENTAL UNIT CLAIMS (CLASS 2).

                (a)     Definition. A “Class 2 Claim” means an allowed claim of Governmental
         Units not otherwise included in Article II or Section 4.1 above.

                 (b)      Treatment. Unless the holder of an allowed Class 2 Claim and the
         Archdiocese or the Reorganized Debtor (as applicable) agree to a different treatment, the
         Reorganized Debtor shall pay each such allowed Class 2 Claim in full, in cash, without
         interest, from ongoing operations on the later of the Effective Date (or as soon thereafter
         as is practicable) and the date a Class 2 Claim becomes an allowed claim (or as soon
         thereafter as is practicable).

       4.3.       GIF AND AMBP CLAIMS (CLASS 3).

                  (a)      General Insurance Fund Claims (Class 3A).

                         (1)    Definition. A Class 3A Claim means the claims against the
                  Archdiocese held by the entities listed on Schedule 1 as GIF participants arising
                  from or related in any way to the collection and use of contributions and
                  premiums and other payments made by such claimants to the Archdiocese under
                  the GIF, including any claims arising from the administration or sponsorship by
                  the Archdiocese of the GIF.

                          (2)     Treatment. The Archdiocese will assume its participation in the
                  GIF for the continued benefit of Class 3A claimants. The Archdiocese will
                  continue to sponsor the GIF and will cause to be paid claims, insurance premiums
                  for coverage purchased by the GIF, and administrative expenses under the GIF to
                  the extent of available funds in the GIF in accordance with prior practices, and the
                  GIF Settlement described in Section 9.3 below.

                  (b)      AMBP: Medical and Dental Benefit Claims (Class 3B).

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                          (1)    Definition. A Class 3B Claim means the claims against the
                  Archdiocese held by the entities listed on Schedule 1 as AMBP participants
                  arising from or related in any way to the collection and use of contributions and
                  premiums and other payments made by such claimants to the AMBP, including
                  any claims arising from the administration or sponsorship by the Archdiocese of
                  the AMBP.

                         (2)     Treatment. The Archdiocese will assume its participation in the
                  AMBP for the continued benefit of Class 3B claimants. The Archdiocese will
                  continue to sponsor the AMBP and will cause to be paid claims and
                  administrative expenses under the AMBP to the extent of available funds in the
                  AMBP in accordance with prior practices, and the AMBP Settlement described in
                  Section 9.1 below.

     4.4. ARCHDIOCESE OF SAINT PAUL AND MINNEAPOLIS PRIESTS’
PENSION PLAN CLAIMS (CLASS 4).

                  (a)     Definition. A Class 4 Claim means any claim against the Archdiocese for
         liability arising under the Archdiocese of Saint Paul and Minneapolis Priests’ Pension
         Plan.

                 (b)     Treatment. The Archdiocese, along with a number of other entities,
         participates in, and contributes to, the Archdiocese of Saint Paul and Minneapolis Priests’
         Pension Plan (the “Priest Plan”). The Archdiocese will assume its participation in the
         Priest Plan and will continue to meet its obligations under the Priest Plan as they become
         due. The Archdiocese will not make any payment with respect to any Claim filed in this
         Chapter 11 case with respect to Class 4 Claims.

    4.5. ARCHDIOCESE OF SAINT PAUL                               AND     MINNEAPOLIS          LAY
EMPLOYEES’ PENSION PLAN CLAIMS (CLASS 5).

                  (a)     Definition. A Class 5 Claim means any claim against the Archdiocese for
         liability arising under the Archdiocese of Saint Paul and Minneapolis Lay Employees’
         Pension Plan.

                 (b)     Treatment. The Archdiocese, along with a number of other entities,
         participates in, and contributes to, the Archdiocese of Saint Paul and Minneapolis Lay
         Employees’ Pension Plan (the “Lay Plan”). The Archdiocese will assume its participation
         in the Lay Plan, and will continue to meet its obligations under the Lay Plan as they
         become due. The Archdiocese will not make any payment with respect to any Claim filed
         in this Chapter 11 case with respect to Class 5 Claims.

       4.6.       TORT CLAIMS OTHER THAN FUTURE TORT CLAIMS (CLASS 6)

                (a)    Definition. A Class 6 Claim means a Tort Claim other than a Future Tort
         Claim (“Class 6 Claim”). A “Class 6 Claimant” shall mean a holder of a Class 6 Claim.


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                 (b)     Summary. The Plan creates a Trust to fund payments to Class 6
         Claimants entitled to such payments under the Plan, Trust Agreement and Trust
         Distribution Plan. Class 6 Claimants’ share of the Trust Assets as provided by the Trust
         Distribution Plan is the only amount, if any, they will be entitled to receive from the
         Protected Parties and Settling Insurer Entities. Distribution from the Trust does not
         preclude claims or recoveries by Tort Claimants against Persons who are not Protected
         Parties or Settling Insurer Entities for the liability of such Persons not attributable to the
         causal fault or share of liability of Protected Parties or Settling Insurer Entities under the
         Settling Insurer Entity Policies. Any Person that is or was alleged to be a joint tortfeasor
         with any of the Protected Parties in connection with the Abuse that forms the basis of a
         Tort Claim shall not be liable for any Protected Party’s share of causal liability or fault.

                 (c)     Reservation. Except with respect to the Protected Parties and the Settling
         Insurer Entities, nothing in the Plan is intended to affect, diminish, or impair the rights of
         any Tort Claimant against any Person named or that could be named as a defendant in a
         lawsuit based on the Abuse that forms the basis for his or her Tort Claim except that the
         rights of Tort Claimants against third-parties, including joint tortfeasors, does not include
         the right of Tort Claimants to collect or to obtain a reallocation of the share of any
         judgment initially allocated to a Protected Party to any third-party based on the causal
         fault or share of liability of Protected Parties. Any Person that is or was alleged to be a
         joint tortfeasor with any of the Protected Parties in connection with a Tort Claim shall not
         be liable for any Protected Party’s share of liability or fault. Under no circumstances will
         the reservation of such Tort Claimant’s rights against any other Person impair the
         discharge, Channeling Injunctions, or Settling Insurer Supplemental Injunction with
         respect to any Protected Party, the Reorganized Debtor or Settling Insurer Entities.

                 (d)    Treatment. The Protected Parties’ and Settling Insurer Entities’ liability
         for and obligation to pay, if any, Class 6 Claims shall be assigned to and assumed by the
         Trust. Each Class 6 Claim will be estimated solely for purposes of voting. The Protected
         Parties and the Settling Insurer Entities shall have no further liability in connection with
         Class 6 Claims.

                  (e)     Release and Certification. No Class 6 Claimant shall receive any
         payment on any award unless and until such Class 6 Claimant has executed the Release
         and Medicare Certification attached as Exhibit E to this Plan. Notwithstanding the
         foregoing, nothing in this Article requires any Tort Claimant to release any Claims
         against any joint tortfeasor who is not a Protected Party, and such Claims are reserved.
         But in no event may a Tort Claimant collect on that portion of any judgment or obtain
         any reallocation of any judgment based on the causal fault or share of liability of any
         Protected Parties. Any Person that is or was alleged to be a joint tortfeasor with any of
         the Protected Parties in connection with the Abuse that forms the basis of a Tort Claim
         shall be provided by the Trustee with a copy of the executed Release and Medicare
         Certification upon reasonable request and provision of an appropriate, executed
         confidentiality agreement and shall not be liable for any Protected Parties’ share of
         liability or fault. The release of these Class 6 Claims is pursuant to the principles set forth
         in Pierringer v. Hoger, 124 N.W.2d 106 (Wis. 1963) and Frey v. Snelgrove, 269 N.W.2d

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         918 (Minn. 1978). The Trust shall be obligated to provide copies of the Tort Claimants’
         releases and certifications to any of the Protected Parties upon request.

       4.7.       FUTURE TORT CLAIMS (CLASS 7).

               (a)     Definition. A Class 7 Claim means a Future Tort Claim (“Class 7
         Claim”). A “Class 7 Claimant” shall mean a holder of a Class 7 Claim.

                 (b)     Summary. The Plan creates a Trust to fund payments to Class 7
         Claimants entitled to such payments under the Plan, Trust Agreement and Trust
         Distribution Plan. Class 7 Claimants’ share of the Trust Assets as provided by the Trust
         Distribution Plan is the only amount, if any, they will be entitled to receive from the
         Protected Parties and Settling Insurer Entities. Distribution from the Trust does not
         preclude claims or recoveries by Tort Claimants against Persons who are not Protected
         Parties or Settling Insurer Entities for the liability of such Persons not attributable to the
         causal fault or share of liability of Protected Parties or Settling Insurer Entities under the
         Settling Insurer Entity Policies. Any Person that is or was alleged to be a joint tortfeasor
         with any of the Protected Parties in connection with the Abuse that forms the basis of a
         Tort Claim shall not be liable for any Protected Party’s share of liability or fault.

                 (c)     Reservation. Except with respect to the Protected Parties and the Settling
         Insurer Entities, nothing in the Plan is intended to affect, diminish, or impair the rights of
         any Future Tort Claimant against any Person named or that could be named as a
         defendant in a lawsuit based on the Abuse that forms the basis of his or her Future Tort
         Claim except that the rights of Future Tort Claimants against third-parties, including joint
         tortfeasors, does not include the right of Future Tort Claimants to collect or to obtain a
         reallocation of the share of any judgment initially allocated to a Protected Party to any
         third-party based on the causal fault or share of liability of Protected Parties. Any Person
         that is or was alleged to be a joint tortfeasor with any of the Protected Parties in
         connection with the Abuse that forms the basis of a Future Tort Claim shall not be liable
         for any Protected Party’s share of liability or fault. Under no circumstances will the
         reservation of such Future Tort Claimant’s rights against any other Person impair the
         discharge, Channeling Injunctions, or Settling Insurer Supplemental Injunction with
         respect to any Protected Party, the Reorganized Debtor or Settling Insurer Entities.

                 (d)    Treatment. The Protected Parties’ and Settling Insurer Entities’ liability
         for and obligation to pay, if any, Class 7 Claims shall be assigned to and assumed by the
         Trust. The Protected Parties and the Settling Insurer Entities shall have no further liability
         therefor. Class 7 Claimants shall provide sufficient information to allow the Tort Claims
         Reviewer to make an evaluation of the Class 7 Claim pursuant to the factors in the Trust
         Distribution Plan.

                 (e)   Determination of Class 7 Claims. Class 7 Claims will be solely
         determined by the Tort Claims Reviewer in accordance with the Tort Claims Allocation
         Protocol, and shall be a Channeled Claim to be paid solely from the Trust and Trust
         Assets.


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                  (f)     Release and Certification. No Class 7 Claimant shall receive any
         payment on any award unless and until such Class 7 Claimant has executed the Release
         and Medicare Certification attached as Exhibit E to this Plan.. Notwithstanding the
         foregoing, nothing in this Article requires any Future Tort Claimant to release any Claims
         against any joint tortfeasor who is not a Protected Party or a Settling Insurer Entity and
         such Claims are reserved. But in no event may a Class 7 Claimant collect on that portion
         of any judgment or obtain reallocation of any judgment based on the causal fault or share
         of liability of any Protected Party. Any Person that is or was alleged to be a joint
         tortfeasor with any of the Protected Parties in connection with a Future Tort Claim shall
         be provided by the Trustee with a copy of the executed Release and Medicare
         Certification upon reasonable request and provision of an appropriate, executed
         confidentiality agreement and shall not be liable for any Protected Parties’ share of
         liability or fault. The release of these Class 7 Claims is pursuant to the principles set forth
         in Pierringer v. Hoger, 124 N.W.2d 106 (Wis. 1963) and Frey v. Snelgrove, 269 N.W.2d
         918 (Minn. 1978). The Trust shall be obligated to provide copies of the Tort Claimants’
         releases and certifications to any of the Protected Parties upon request.

     4.8.  INTER-PARISH LOAN FUND AND ASSESSMENT OVERPAYMENT
CLAIMS (CLASS 8).

                 (a)    Definition. A Class 8 Claim means any claim against the Archdiocese for
         unpaid deposits made to the Inter-Parish Loan Fund (the “IPLF”) and for Parish
         assessment overpayments made by any Archdiocesan Parish prior to the Petition Date as
         set forth on Schedule 2.

               (b)    Treatment. Unless otherwise agreed by an individual claimant and the
         Archdiocese:

                          (1)     An Archdiocesan Parish that owes assessments to the Archdiocese
                  as of the Effective Date in an amount in excess of the claim of such Archdiocesan
                  Parish in Class 8 will be entitled to a reduction in the balance of past due
                  assessments payable by such Archdiocesan Parish in an amount equal to the
                  amount of such parish’s Class 8 Claim. Archdiocesan Parishes subject to this
                  paragraph (1) will receive no other distribution in connection with such Class 8
                  Claim and will remain liable for the full amount of assessments due from and
                  after the Effective Date and the balance of unpaid assessments as of the Effective
                  Date, as reduced in accordance with this paragraph.

                          (2)     The claim of the Archdiocesan Parishes who hold Class 8 Claims
                  in excess of the balance of assessments payable by such parish as of the Effective
                  Date will be reduced by the amount of the unpaid assessment due by such
                  Archdiocesan Parish, if any. The remaining balance of the Class 8 Claim will be
                  satisfied by a credit against the assessments that would otherwise be due by such
                  Archdiocesan Parish from and after the Effective Date. The credit contemplated in
                  this paragraph will be applied on a quarterly basis against future assessments, as
                  determined by the Archdiocese in accordance with its general practice in
                  calculating assessments, until such time as the Class 8 Claim of such
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                  Archdiocesan Parish has been satisfied in full, without interest. By way of
                  example, an Archdiocesan Parish with a Class 8 Claim (net of any past due
                  assessments) in the amount of $500,000 shall not be required to pay post-
                  Effective Date assessments to the Archdiocese until the Class 8 Claim has been
                  satisfied in full through the credit and reduction contemplated in this paragraph
                  (2).

                 (c)   The credit and reductions contemplated under this Section 4.8 shall be
         noted by the Archdiocese in its assessment notice to Class 8 Claimants, which calculation
         shall be conclusive absent manifest error. Holders of Class 8 Claims shall have no
         interest in amounts payable to the Archdiocese by Archdiocesan Parishes obligated
         pursuant to deposits made under the Inter-Parish Loan Fund and shall have no interest in
         amounts payable to the Archdiocese by Archdiocesan Parishes who are liable to the
         Archdiocese for advances previously made under the Inter-Parish Loan Fund. The
         Archdiocese shall be entitled to deduct from any distribution to any holder of a Class 8
         Claim any amounts payable by such Archdiocesan Parish to the Archdiocese.

       4.9.       TRADE VENDOR CLAIMS (CLASS 9A and 9B).

                 (a)    Definition. A Class 9A Claim (a “Class 9A Convenience Claim”) means
         an allowed claim against the Archdiocese for goods and services supplied to the
         Archdiocese prior to the Petition Date, as set forth on Schedule 3, that is: (i) in the
         amount of $1,000 or less, or (ii) reduced by the holder to $1,000 on the ballot. Class 9A
         Convenience Claims shall not include any claims classified and treated under any other
         class under the Plan.

                 (b)     Treatment. The holders of Class 9A Convenience Claims shall receive,
         directly from the Reorganized Debtor, payment in full of such allowed claim, without
         interest, within 30 days following the Effective Date. The Archdiocese estimates that the
         total payment to creditors in Class 9A will equal approximately $50,000.

                 (c)     Definition. A Class 9B Claim means any allowed claim against the
         Archdiocese for goods and services supplied to the Archdiocese prior to the Petition
         Date, as set forth on Schedule 3, that is: (i) in the amount in excess of $1,000, and (ii) has
         not been reduced to $1,000 by election on the ballot. Class 9B claims shall not include
         any claims classified and treated under any other class under the Plan.

                 (d)    Treatment. The holders of Class 9B Claims shall receive, directly from
         the Reorganized Debtor, payment in full of such allowed Class 9 Claim, without interest,
         in two equal installments. The first installment shall be due within 90 days following the
         Effective Date. The second installment shall be due and payable within 180 days
         following the Effective Date.




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       4.10.      SECURED CLAIM OF PREMIER BANK (CLASS 10).

                (a)     Definition. Class 10 Claim means the claim of Premier Bank under the
         mortgage executed by the Archdiocese in favor of Premier Bank, as renewed on May 16,
         2011, describing and encumbering the Cathedral of Saint Paul.

                 (b)    Treatment. The mortgage interest of the holder of the Class 10 Claim
         shall remain undisturbed and the holder of such claim may exercise any and all rights and
         remedies against the collateral referenced in such mortgage, available to the holder.

         4.11. GUARANTY CLAIMS (CLASS 11).

                 (a)    Definition. Class 11 Claims mean the guaranty claims arising out of the
         prepetition guaranties executed by the Archdiocese as described on Exhibit C to the Plan.

                 (b)    Treatment. The guaranty obligations in Class 11 shall remain undisturbed
         and the holders of such guaranties shall be entitled to exercise all legal rights and
         remedies available to such holders. Holders of Class 11 Claims shall be deemed to have
         waived any right to accelerate the underlying debt secured by such guaranty agreement
         solely as a result of the Archdiocese’s financial condition at the commencement of this
         Chapter 11 case.

         4.12. HASELBERGER CLAIM (CLASS 12).

                (a)     Definition. Class 12 Claim means, to the extent allowed, the claim of
         Jennifer Haselberger (Claim No. 668).

                 (b)    Treatment. The holder of the Class 12 Claim shall receive payment of
         their Pro Rata share of the sum of up to $50,000 to be paid from the Trust Account as
         soon as practicable after all Class 12 Claims have been allowed or disallowed.

       4.13.      ABUSE RELATED CONTINGENT CLAIMS (CLASS 13)

                (a)    Definition. A Class 13 Claim means (i) Claims for contribution,
         indemnity or reimbursement arising out of or related to the Archdiocese’s liability to pay
         or defend any Class 6 or Class 7 Claim, and (ii) the Claims of any insurers or other
         Persons who are subrogated to the Claims identified in Section 4.13(a)(i).

                 (b)     Treatment. Claims in Class 13 shall be allowed or disallowed in
         accordance with Section 502(e)(1) of the Bankruptcy Code, and Class 13 Claims will
         receive no distribution under the Plan and will be channeled to the Trust. The treatment
         of Class 13 Claims shall include the release and certification procedures contemplated
         under Sections 4.6 and 4.7 above. The Plan does not allow Tort Claimants to collect that
         portion of any judgment or obtain reallocation of any judgment based on the causal fault
         or share of liability of any Protected Party. Any Person that is or was alleged to be a joint
         tortfeasor with any of the Protected Parties in connection with a Tort Claim shall not be
         liable for any Protected Party’s share of liability or fault.

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         4.14. OTHER UNSECURED CLAIMS (CLASS 14).

                 (a)    Definition. A Class 14 Claim means (1) any claim arising out of the
         rejection of any executory contract, or (2) any Unsecured Claim that is not included in
         another class under the Plan and is not listed as disputed, contingent or unliquidated on
         the Debtor’s schedules filed in connection with this Chapter 11 case (“Debtor’s
         Schedules”) or as to which the holder of such claim timely filed a claim.

                (b)     Treatment. The holders of Class 14 Claims shall receive payment of their
         Pro Rata share of the sum of up to $10,000 to be paid from the Reorganized Debtor as
         soon as practicable after all Class 14 Claims have been allowed or disallowed.

         4.15. PENALTY CLAIMS (CLASS 15).

                 (a)     Definition. A Class 15 Claim means any Claim, other than a Tort Claim,
         against the Archdiocese, whether secured or unsecured, for any fine, penalty, or
         forfeiture, or for multiple, exemplary, or punitive damages, arising before the Petition
         Date, to the extent that such fine, penalty, forfeiture, or damages are not compensation for
         actual pecuniary loss suffered by the holder of such Class 15 Claim.

                (b)    Treatment. Holders of Class 15 Claims shall not receive or retain any
         property under the Plan on account of such Class 15 Claims.

         4.16. PRIEST SUPPORT PAYMENTS (CLASS 16).

               (a)    Definition. A Class 16 Claim means any claim of any inactive
         Archdiocesan Priest for support or maintenance.

                 (b)     Treatment. The Archdiocese disclaims any liability under civil law for
         Class 16 Claims and holders of Class 16 Claims shall receive no distribution under the
         Plan on account of such claims. However, the Plan leaves unaltered the legal, equitable,
         and contractual rights to which such claim or interest entitles the holder of such claim or
         interest. Notwithstanding the fact that Class 16 Claims receive no distribution, the
         Archdiocese intends to honor its post-Effective Date obligations under Canon Law with
         respect to inactive priests in accordance with prior practices.

    4.17. SECURED CLAIM OF NORTH AMERICAN BANKING COMPANY
BANK (CLASS 17).

                (a)    Definition. Class 17 Claim means the claim of North American Banking
         Company relating to the mortgage in favor of North American Banking Company
         describing and encumbering real property located at 1350 Gardena Avenue, NE, Fridley,
         Minnesota.

                 (b)    Treatment. The mortgage interest of the holder of the Class 17 Claim
         shall remain undisturbed and the holder of such claim may exercise any and all rights and
         remedies against the collateral referenced in such mortgage, available to the holder.

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       4.18.      SECURED CLAIM OF BREMER BANK (CLASS 18).

                (a)    Definition. Class 18 Claim means the claim of Bremer Bank, National
         Association relating to the mortgage in favor of Bremer Bank describing and
         encumbering real property located at 2501 State Highway 100, St. Louis Park,
         Minnesota.

                 (b)    Treatment. The mortgage interest of the holder of the Class 18 Claim
         shall remain undisturbed and the holder of such claim may exercise any and all rights and
         remedies against the collateral referenced in such mortgage, available to the holder.


                                      ARTICLE V
                         MEANS OF IMPLEMENTATION OF THE PLAN

         5.1.     TRUST FORMATION AND FUNDING.

                 (a)    Purpose, Formation and Assets. The Trust shall be established for the
         purposes of assuming liability of Protected Parties and Settling Insurer Entities for
         Channeled Claims and receiving, liquidating, and distributing Trust Assets in accordance
         with this Plan and the Trust Distribution Plan. The proposed Trust Agreement is attached
         hereto as Exhibit D.

                  (b)      Funding.

                         (1)     Summary. This Plan will be funded from the sources and in the
                  manner set forth in this Section. In addition to the contributions described herein,
                  the Catholic Entities, Other Insured Entities, and Seminaries will waive certain
                  claims against the Archdiocese and Settling Insurer Entities, including the Related
                  Insurance Claims and contribution and indemnity claims referenced in Section
                  4.13.

                         (2)      Contributions. Cash and other assets with an expected value of
                  $210,290,724 (the “Settlement Amount”) will be paid or transferred, as
                  applicable, to the Trust Account as provided in the Plan and as described herein.

                                  (i)    Debtor Cash Contribution. The Debtor will transfer
                            $23,475,000 to the Trust Account within two business days after the
                            Confirmation Order has become a Non-Appealable Order (the “Debtor
                            Cash Contribution”). The Debtor Cash Contribution will be primarily
                            comprised of funds from the following sources.

                                         1.    Cash from (a) non-restricted cash accounts held by
                                 the Archdiocese, (b) the account established to hold the proceeds
                                 derived from the sale of Archdiocese properties during the course
                                 of this Chapter 11 case, (c) the proceeds of the settlement of the
                                 Riley Fund dispute contemplated in Article IX, and (d) the
                                 proceeds from the sale of jewelry and other personal property.
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                                          2.     The GIF Tort Claim Contribution Amount, in the
                                  total amount of $6,000,000, which shall be paid in accordance with
                                  the terms of the settlement contemplated in Article IX.

                                   (ii) Debtor Assignment of Certain Assets. In addition to the
                            Debtor Cash Contribution referenced above, the Debtor will assign to the
                            Trust, and will pay over to the Trust, the proceeds of the interests
                            referenced herein as and when such proceeds become available:

                                          1.      Ward Estate. The Archdiocese shall assign to the
                                  Trust its interest in the Estate of Austin Ward, including its interest
                                  in the net proceeds payable to the Archdiocese from the sale of
                                  property owned by Ausmar Development Company LLC.

                                          2.      Workers’      Compensation          Deposit.      The
                                  Archdiocese shall assign to the Trust its interest, if any, in any
                                  excess amount held by the Minnesota Department of Commerce
                                  (the “Department”) relating to the Archdiocese’s self-insurance
                                  requirements under Section 79A.04(s) of the Minnesota Statutes.
                                  By statute, the Archdiocese has no right or title to the deposit. The
                                  Archdiocese believes, however, that the deposit may be subject to
                                  reduction following confirmation of the Plan. The Archdiocese
                                  agrees to cooperate with the Trustee to make a good faith effort to
                                  obtain the Department’s consent to a reduction in the deposit
                                  following Plan confirmation. The balance of the deposit, if any,
                                  returned to the Archdiocese with the consent of the Department
                                  shall be promptly paid over to the Trust, to the extent such excess
                                  amounts are returned to the Archdiocese.

                                    (iii) Debtor Note. The Debtor will execute a note to the Trust
                            for a total of $5,000,000, to be paid in annual installments of $1,000,000
                            per year, beginning 365 days following the Confirmation Date. The note
                            shall not bear interest.

                                    (iv) AMBP Settlement. The AMBP Settlement Amount, in the
                            total amount of $4,000,000, which shall be paid in accordance with the
                            terms of the settlement contemplated in Article IX, which will also
                            constitute a portion of the contribution of Catholic Entities.

                                   (v) Proceeds from High School Sales. Net proceeds from the
                            $4,000,000 sale of real estate to the High Schools, in accordance with the
                            terms of the settlement and sale contemplated in Article IX.

                                    (vi) Archdiocese Home Liquidation Claim. The Archdiocese
                            shall assign to the Trust within one business day of the Confirmation
                            Order becoming a Non-Appealable Order its claim in the liquidation
                            proceeding of The Home Insurance Company (State of New Hampshire,

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                            Merrimack Superior Court, Docket No. 217-2003-EQ-00106) in the
                            amount of $14,200,000.

                                    (vii) Archdiocesan Settling Insurer Settlement Amounts.
                            Each Archdiocesan Settling Insurer shall pay to the Trust the sums set
                            forth in their respective Insurance Settlement Agreement (the “Insurance
                            Settlement Amounts”) within the time set forth in their respective
                            Insurance Settlement Agreements. In addition, all rights to receive
                            payment of the Insurance Settlement Amounts under the Insurance
                            Settlement Agreement shall be assigned to the Trust.

                                    (vii) Cash Contributions of Catholic Entities, Seminaries,
                            Parish Settling Insurers and Seminary Settling Insurers. Within ten
                            days of the Confirmation Order becoming a Non-Appealable Order, the
                            Catholic Entities and the Seminaries shall each pay to the Trust their
                            separately agreed-upon contribution amounts. Each Parish Settling
                            Insurer and Seminary Settling Insurer shall pay to the Trust within thirty
                            days of the Effective Date the amount required by its respective
                            Insurance Settlement Agreement. The total amount that will be paid to
                            the Trust by the Catholic Entities, the Seminaries, the Parish Settling
                            Insurers, and the Seminary Settling Insurers is $22,255,724. The
                            payment obligations of the Catholic Entities, the Seminaries, the Parish
                            Settling Insurers, and the Seminary Settling Insurers are several, not joint.
                            Each Parish Settling Insurer and Seminary Settling Insurer is only
                            required to pay the amount required by its respective Insurance
                            Settlement Agreement. Also within ten days of the Confirmation Order
                            becoming a Non-Appealable Order, the Archdiocesan Parishes shall
                            assign to the Trust their claim in the liquidation proceeding of Home
                            Insurance Company (State of New Hampshire, Merrimack Superior
                            Court, Docket No. 217-2003-EQ-00106) in the amount of $1,500,000.

                                    (viii) Further Contributions of the Catholic Entities,
                            Seminaries and the Other Insured Entities. The contributions by the
                            Catholic Entities, Seminaries and Other Insured Entities shall also
                            include: (A) the consent to disallowance of all contribution and indemnity
                            claims filed by such Catholic Entities and Other Insured Entities in this
                            Chapter 11 case, all Class 3 Claims, any other claims against the
                            Archdiocese, and all Related Insurance Claims, (B) consent of the
                            Catholic Entities to the transfer of AMBP proceeds contemplated above,
                            and (C) the consent of the Catholic Entities to the transfer the GIF
                            proceeds as contemplated above. In consideration of the contributions
                            referenced in subparagraph (vii) and this (viii), and in further
                            consideration of the AMBP settlement and the GIF settlement referenced
                            above and in Article IX, the Archdiocese agrees that it shall not increase
                            the rate of assessments for Archdiocesan Parishes for a period of two (2)
                            years following the Effective Date.

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                 (c)     Vesting. On the Effective Date, all Trust Assets shall vest in the Trust, and
         the Archdiocese and other Protected Parties shall be deemed for all purposes to have
         transferred all Interests in the Trust Assets to the Trust. On the Effective Date, or as soon
         as practicable thereafter, the Reorganized Debtor or any other Protected Party, as
         applicable, shall take all actions reasonably necessary to transfer any Trust Assets to the
         Trust. Upon the transfer of control of Trust Assets in accordance with this paragraph, the
         Archdiocese and other Protected Parties shall have no further interest in or with respect to
         the Trust Assets.

        5.2. PAYMENT OF PROFESSIONAL FEES. The Trust shall pay all unpaid
Allowed Professional Claims within seven (7) days after the later of the Effective Date or the
Bankruptcy Court’s order on such claims and shall pay or reimburse the Archdiocese for costs
and expenses of publication of the notices of insurance settlement and plan confirmation within
seven (7) days after the Effective Date, including the fees of the consultant employed in
connection with the publication process. Professionals can elect to become a “Contributing
Professional” by contributing up to ten percent (10%) of their previously unpaid Allowed
Professional Claims to the Trust for distribution to Class 6 and Class 7 Claimants (the
“Contributing Professionals’ Funding”). Currently, the Contributing Professionals are: Stinson
Leonard Street LLP.

        5.3. PAYMENT AND TREATMENT OF CLAIMS OTHER THAN TORT
 CLAIMS. Payments due to creditors on account of Allowed Non-Tort Claims will be paid
pursuant to the terms of the Plan.

        5.4. APPROVAL OF SECTION 363 SALES. On or before the Effective Date, the
Bankruptcy Court shall have (a) approved, either through separate order(s) or in the Confirmation
Order, the Debtor’s sale under Bankruptcy Code § 363, free and clear of all Interests, including all
Liens, Claims, and encumbrances, of (i) the Archdiocesan Settling Insurer Entity Policies required
to be purchased by the Archdiocesan Settling Insurers under the Archdiocese Insurance
Settlement Agreements, and (ii) any other Interests in any policies or certificates issued by
Settling Insurer Entities to be purchased pursuant to the requirements of the Archdiocese
Insurance Settlement Agreements, and such order(s) shall have become a Non-Appealable
Order(s); and (b) granted the Archdiocesan Settling Insurer Entities the protections available
under Bankruptcy Code § 363(m).

         5.5. APPROVAL OF SETTLEMENT AGREEMENTS. Pursuant to Bankruptcy
Code § 105 and in consideration for the classification, distributions, and other benefits provided
under the Plan, including, inter alia, (i) the commitment by the Debtor to fund the Debtor’s
obligations under the Plan, (ii) the Archdiocese Insurance Settlement Agreements, and (iii) the
commitment of the Catholic Entities, Seminaries, Parish Settling Insurers, and Seminary Settling
Insurers to make contributions to the Trust, the provisions of the Plan shall constitute a good faith
compromise and settlement of all Claims against the Debtor. On or before the Effective Date, the
Bankruptcy Court shall have entered an order, which shall have become a Non-Appealable Order,
approving such global compromise. The Bankruptcy Court’s findings shall constitute its
determination that such compromises and settlements are in the best interests of the Debtor, the
other Archdiocese Parties, Parish Parties, the Seminary Parties, the Other Insured Entities, the
Tort Claimants, including Future Tort Claimants, holders of other Claims, the Settling Insurer
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Entities, and other parties in interest, and are fair, equitable, and within the range of
reasonableness, and an appropriate exercise of each such Person’s business judgment under the
applicable laws of corporate governance. The entry of the Confirmation Order, once it becomes a
Non-Appealable Order, may constitute the order approving the compromises and settlements
required under this Section. For avoidance of any doubt, the settlement agreements solely
between Archdiocesan Parishes and Parish Settling Insurers and settlements agreements solely
between the Seminary and the Seminary Settling Insurers do not require Bankruptcy Court
approval.

         5.6. PAYMENTS EFFECTIVE UPON TENDER. Whenever the Plan requires
payment to be made to a creditor, such payment will be deemed made and effective upon tender
thereof by the Trustee, the Debtor, or the Reorganized Debtor to the creditor to whom payment is
due. If any creditor refuses a tender, the amount tendered and refused will be held by the Trust,
the Debtor or the Reorganized Debtor for the benefit of that creditor pending final adjudication of
the dispute. However, when and if the dispute is finally adjudicated and the creditor receives the
funds previously tendered and refused, the creditor will be obliged to apply the funds in
accordance with the Plan as of the date of the tender; and while the dispute is pending and after
adjudication thereof, the creditor will not have the right to claim interest or other charges or to
exercise any other rights which would be enforceable by the creditor, if the Trust, the Debtor or
the Reorganized Debtor failed to pay the tendered payment.

                                           ARTICLE VI
                                             TRUST

         6.1. ESTABLISHMENT OF TRUST. On the Confirmation Date, the Trust shall be
established in accordance with the Trust Documents. The Trust is intended to qualify as a
“Designated” or “Qualified Settlement Fund” pursuant to Section 468B of the Internal Revenue
Code and the Treasury Regulations promulgated thereunder. The Debtor is the “transferor” within
the meaning of Treasury Regulation Section 1.468B-1(d)(1). The Trustee shall be classified as the
“administrator” within the meaning of Treasury Regulation Section 1.468B-2(k)(3). The Trust
Documents, including the Trust Agreement, are incorporated herein by reference.

    6.2. ALLOCATIONS WITHIN AND DISTRIBUTIONS AND PAYMENTS
FROM THE TRUST.

                (a)    General Corpus. The following distributions and payments will be made
         from the general corpus of the trust:

                         (1)      Distributions. Distributions on Class 6 Claims as determined by
                  the Tort Claims Reviewer in accordance with this Plan, the Trust Agreement, and
                  the Trust Distribution Plan.

                         (2)     Tort Claims Reviewer and Future Tort Claim Representative.
                  The Trustee shall retain the Tort Claims Reviewer. Fees payable to the Tort
                  Claims Reviewer for review of Class 6 Claims shall be paid from the Trust. Fees
                  payable to the Tort Claims Reviewer for review of Class 7 Claims shall be paid


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                  from the Future Tort Claims Reserve Fund. The Future Tort Claim
                  Representative’s fees shall be paid from the Future Tort Claims Reserve Fund.

                         (3)      Administrative Fees. All fees, costs and expenses of
                  administering the Trust as provided in the Plan and the Trust Agreement
                  including: (i) as reasonably necessary to meet current liabilities and to maintain
                  the value of the respective Assets of the Trust; (ii) to pay reasonable
                  administrative expenses (including any taxes imposed on the Trust and any
                  professional fees); and (iii) to satisfy other liabilities incurred by the Trust in
                  accordance with the Plan or the Trust Agreement.

                          (4)     Indemnity. The Trust’s obligations, if any, to defend, indemnify
                  or hold harmless any Person expressly set out in the Plan shall be made from the
                  corpus of the Trust. For the avoidance of doubt, the Trust’s indemnification
                  obligation as to Tort Claims and Related Insurance Claims includes the obligation
                  to reimburse any insurers who are not Settling Insurer Entities for the share of
                  defense costs paid or payable by such other insurers that are allocable to Settling
                  Insurer Entities under Minnesota law for the same Tort Claim. Nothing in the
                  foregoing is intended to suggest that such other insurers have such a claim against
                  any Settling Insurer Entities.

                (b)    Future Tort Claim Reserve Fund. The Trustee, in consultation with the
         Future Tort Claims Representative, shall establish a reserve, subject to approval by the
         Bankruptcy Court.

          6.3. TAX MATTERS. The Trust shall not be deemed to be the same legal entity as
the Archdiocese, but only the assignee of certain assets of the Archdiocese and a representative of
the Estate for delineated purposes within the meaning of Section 1123(b)(3) of the Bankruptcy
Code. The Trust is expected to be tax exempt. The Trustee shall file such income tax and other
returns and documents as are required to comply with the applicable provisions of the Internal
Revenue Code of 1986, 26 U.S.C. §§ 1 et seq., as may be amended, and the regulations
promulgated thereunder, 31 C.F.R. §§ 900 et seq., and Minnesota law and the regulations
promulgated thereunder, and shall pay from the Trust all taxes, assessments, and levies upon the
Trust, if any.

         6.4. APPOINTMENT OF THE TRUSTEE. The initial Trustee has been identified
in Exhibit D to this Plan. The Trustee shall commence serving as the Trustee on the Confirmation
Date; provided, however, that the Trustee shall be permitted to act in accordance with the terms of
the Trust Agreement from such earlier date, as authorized by the Archdiocese and the UCC, and
shall be entitled to seek compensation in accordance with the terms of the Trust Agreement and
the Plan.

       6.5.       RIGHTS AND RESPONSIBILITIES OF TRUSTEE

                 (a)    The Trustee shall be deemed the Estate’s representative in accordance
         with Section 1123 of the Bankruptcy Code and shall have all the rights, powers,
         authority, responsibilities, and benefits specified in the Plan and the Trust Agreement,

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         including the powers of a trustee under Sections 704, 108 and 1106 of the Bankruptcy
         Code and Bankruptcy Rule 2004 (including commencing, prosecuting or settling Causes
         of Action, enforcing contracts, and asserting claims, defenses, offsets and privileges). If
         there is any inconsistency or ambiguity between the Confirmation Order and the Trust
         Agreement with respect to Trustee’s authority to act, the provisions of the Trust
         Agreement shall control. Among other things, the Trustee: (1) shall liquidate and convert
         to cash the Trust Assets, make timely distributions and not unduly prolong the duration of
         the Trust; (2) may request an expedited determination of taxes of the Trust under Section
         505(b) of the Bankruptcy Code for all returns filed for, or on behalf of, the Trust for all
         taxable periods through the dissolution of the Trust; and (3) may retain professionals,
         including legal counsel, accountants, financial advisors, auditors, and other agents on
         behalf of the Trust, and at the Trust’s sole expense, as necessary or desirable to carry out
         the obligations of the Trustee hereunder and under the Trust Agreement.

                 (b)    Notwithstanding the foregoing, the Archdiocese, the Reorganized Debtor,
         and the Trust acting for itself and on behalf the Estate, shall be deemed to have waived,
         effective upon the Effective Date:

                  i.       Any and all claims under Sections 547, 548, 549 and 550 of the
                           Bankruptcy Code for the recovery of any sums paid to any Person who
                           provided goods and services to the Archdiocese in the ordinary course of
                           business prior to the Effective Date;

                  ii.      Any and all claims and Causes of Action: (i) seeking the substantive
                           consolidation of the Archdiocese and any other Person or an order
                           deeming any such Person and the Archdiocese to be an “alter-ego” of the
                           other or any other similar claim or Cause of Action; (ii) to avoid, set aside
                           or recover any payment or other transfer made to any Person under
                           Sections 547, 548, 549, and 550 of the Bankruptcy Code; and (iii) any
                           proceeding to avoid or set aside any interest of a Person in property under
                           Section 544 of the Bankruptcy Code.

         The Confirmation Order shall state that, without the permission of the Bankruptcy Court,
no judicial, administrative, arbitral, or other action or proceeding shall be commenced in any
forum other than the Bankruptcy Court against the Trustee in its official capacity, with respect to
its status, duties, powers, acts, or omissions as Trustee.

         6.6.     SPECIAL DISTRIBUTION CONDITIONS.

                 (a)    It is the position of Plan Proponents that neither the Protected Parties, the
         Trust, nor the Settling Insurer will have any reporting obligations in respect of their
         contributions to the Trust, or in respect of any payments, settlements, resolutions, awards,
         or other claim liquidations by the Trust, under the reporting provisions of MSP or
         MMSEA. Prior to making any payments to any Tort Claimants, the Trust shall seek a
         statement or ruling from the United States Department of Health and Human Services
         (“HHS”) that neither the Trust, the Protected Parties, nor the Settling Insurers have any
         reporting obligations under MMSEA with respect to payments to the Trust by the
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         Protected Parties or the Settling Insurers or payments by the Trust to Tort Claimants.
         Unless and until there is definitive regulatory, legislative, or judicial authority (as
         embodied in a Non-Appealable Order from the United States Court of Appeals for the
         Eighth Circuit or the United States Supreme Court), or a letter from the Secretary of
         Health and Human Services confirming that the Protected Parties and the Settling
         Insurers have no reporting obligations under MMSEA with respect to any settlements,
         payments, or other awards made by the Trust or with respect to contributions the
         Protected Parties and the Settling Insurers have made or will make to the Trust, the Trust
         shall, at its sole expense, in connection with the implementation of the Plan, act as a
         reporting agent for the Protected Parties and the Settling Insurers, and shall timely submit
         all reports that would be required to be made by the Protected Parties or any of the
         Settling Insurers under MMSEA on account of any Claims settled, resolved, paid, or
         otherwise liquidated by the Trust or with respect to contributions to the Trust, including
         reports that would be required if the Protected Parties and the Settling Insurers were
         determined to be “applicable plans” for purposes of MMSEA, or any of the Protected
         Parties and the Settling Insurers were otherwise found to have MMSEA reporting
         requirements. The Trust, in its role as reporting agent for the Protected Parties and the
         Settling Insurers, shall follow all applicable guidance published by Centers for Medicare
         and Medicaid Services (“CMS”) to determine whether or not, and, if so, how, to report to
         CMS pursuant to MMSEA.

                 (b)     If the Trust is required to act as a reporting agent for the Protected Parties
         or the Settling Insurers pursuant to the previous provision, the Trust shall provide a
         written certification to each of the Protected Parties and the Settling Insurers within ten
         (10) business days following the end of each calendar quarter, confirming that all reports
         to CMS required by the previous section have been submitted in a timely fashion, and
         identifying (a) any reports that were rejected or otherwise identified as noncompliant by
         CMS, along with the basis for such rejection or noncompliance, and (b) any payments to
         Medicare Beneficiaries that the Trust did not report to CMS.

                 (c)     With respect to any reports rejected or otherwise identified as
         noncompliant by CMS, the Trust shall, upon request by any Protected Party or any of the
         Settling Insurers, promptly provide copies of the original reports submitted to CMS, as
         well as any response received from CMS with respect to such reports; provided, however,
         that the Trust may redact from such copies the names, Social Security numbers other than
         the last four digits, health insurance claim numbers, taxpayer identification numbers,
         employer identification numbers, mailing addresses, telephone numbers, and dates of
         birth of the injured parties, Tort Claimants, guardians, conservators, and/or other personal
         representatives, as applicable. With respect to any such reports, the Trust shall reasonably
         undertake to remedy any issues of noncompliance identified by CMS and resubmit such
         reports to CMS, and, upon request by the Protected Parties or the Settling Insurers,
         provide the Protected Parties or the Settling Insurers copies of such resubmissions;
         provided, however, that the Trust may redact from such copies the names, Social Security
         numbers other than the last four digits, health insurance claim numbers, taxpayer
         identification numbers, employer identification numbers, mailing addresses, telephone
         numbers, and dates of birth of the injured parties, Tort Claimants, guardians,
         conservators, and/or other personal representatives, as applicable. In the event the Trust is
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         unable to remedy any issue of noncompliance, the provisions of Section 6.6 (g). shall
         apply.

                 (d)     If the Trust is required to act as a reporting agent for the Protected Parties
         or the Settling Insurers pursuant to the provisions of Section 6.6 (a), with respect to each
         Claim of a Medicare Beneficiary that was paid by the Trust and not disclosed to CMS,
         the Trust shall, upon request by the Archdiocese or any of the Settling Insurers, promptly
         provide the last four digits of the Tort Claimant’s Social Security number, the year of the
         Tort Claimant’s birth and any other information that may be necessary in the reasonable
         judgment of the Protected Parties or any of the Settling Insurers to satisfy their
         obligations, if any, under MMSEA, as well as the basis for the Trust’s failure to report
         the payment. In the event the Protected Parties or any of the Settling Insurers inform the
         Trust that it disagrees with the Trust’s decision not to report a Claim paid by the Trust,
         the Trust shall promptly report the payment to CMS. All documentation relied upon by
         the Trust in making a determination that a payment did not have to be reported to CMS
         shall be maintained for a minimum of six (6) years following such determination.

                 (e)     If the Trust is required to act as a reporting agent for the Protected Parties
         or the Settling Insurers pursuant to the provisions of Section 6.6 (a), the Trust shall make
         the reports and provide the certifications required by Sections 6.6 (a) and (b) until such
         time as the Protected Parties and each of the Settling Insurers determine, in their
         reasonable judgment, that they have no further legal obligation under MMSEA or
         otherwise to report any settlements, resolutions, payments, or liquidation determinations
         made by the Trust or contributions to the Trust. Furthermore, following any permitted
         cessation of reporting, or if reporting has not previously commenced due to the
         satisfaction of one or more of the conditions set forth in Section 6.6 (a), and if the
         Protected Parties or any of the Settling Insurers reasonably determines, based on
         subsequent legislative, administrative, regulatory, or judicial developments, that reporting
         is required, then the Trust shall promptly perform its obligations under Sections (a) and
         (b)

                (f)      Section 6.6(a) is intended to be purely prophylactic in nature, and does not
         imply, and shall not constitute an admission, that the Protected Parties and/or the Settling
         Insurers are in fact “applicable plans” within the meaning of MMSEA, or that they have
         any legal obligation to report any actions undertaken by the Trust or contributions to the
         Trust under MMSEA or any other statute or regulation.

                 (g)      In the event that CMS concludes that reporting done by the Trust in
         accordance with Section (a) is or may be deficient in any way, and has not been corrected
         to the satisfaction of CMS in a timely manner, or if CMS communicates to the Trust, the
         Protected Parties or any of the Settling Insurers a concern with respect to the sufficiency
         or timeliness of such reporting, or there appears to the Protected Parties or any of the
         Settling Insurers a reasonable basis for a concern with respect to the sufficiency or
         timeliness of such reporting or non-reporting based upon the information received
         pursuant to Section 6.6 (b), (c), or (d), or other credible information, then each of the
         Protected Parties and the Settling Insurers shall have the right to submit its own reports to
         CMS under MMSEA, and the Trust shall provide to any party that elects to file its own
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         reports such information as the electing party may require in order to comply with
         MMSEA, including the full reports filed by the Trust pursuant to Section 6.6 (a) without
         any redactions. The Protected Parties and the Settling Insurers shall keep any information
         they receive from the Trust pursuant to this Section 6.6 (g) confidential and shall not use
         such information for any purpose other than meeting obligations under MMSEA.

                 (h)    Notwithstanding any other provisions hereof, the Trust shall not be
         required to report as required by this Section until each Person on whose behalf the Trust
         is required to report shall have provided its Medicare Reporting Number, if one exists.
         Moreover, the Trust shall have no indemnification obligation under (k) of this Section to
         such Person for any penalty, interest, or sanction with respect to a Claim that may arise
         solely on account of such Person’s failure timely to provide its Medicare Reporting
         Number, if one exists, to the Trust in response to a timely request by the Trust for such
         Medicare Reporting Number. However, nothing herein relieves the Trust from its
         reporting obligations with respect to each Person who provides the Trust with its
         Medicare Reporting Number. The Trust shall indemnify each Archdicoese Party,
         Catholic Entity, or Settling Insurer for any failure to report payments to Medicare eligible
         Tort Claimants on behalf of Persons who have supplied Medicare Reporting Numbers, if
         any exists.

                 (i)     In connection with the implementation of the Plan, the Trustee(s) of the
         Trust shall obtain prior to remittance of funds to Tort Claimants’ counsel or the Tort
         Claimant, if pro se, in respect of any Tort Claim a certification from the Tort Claimant to
         be paid that said Tort Claimant has or will provide for the payment and/or resolution of
         any obligations owing or potentially owing under MSP relating to such Tort Claim;
         otherwise the Trust shall withhold from any payment to the Tort Claimant funds
         sufficient to assure that any obligations owing or potentially owing under MSP relating to
         such Tort Claim are paid to CMS. The Trust shall provide a quarterly certification of its
         compliance with this Section to each of the Protected Parties and the Settling Insurers,
         and permit reasonable audits by such Persons, no more often than quarterly, to confirm
         the Trust’s compliance with this Section. For the avoidance of doubt, the Trust shall be
         obligated to comply with the requirements of this Section regardless of whether the
         Protected Parties or any of the Settling Insurers elects to file its own reports under
         MMSEA pursuant to Section 6.6 (g).

                 (j)    Compliance with the provisions of this Section shall be a material
         obligation of the Trust in favor of the Settling Insurers under any settlement agreements
         between any of those insurers and Archdiocese, which authorizes funding to the Trust.

                 (k)     The Trust shall defend, indemnify and hold harmless the Protected Parties
         and the Settling Insurers from any Medicare Claims, and any Claims related to the
         Trust’s obligations under this Section

                (l)    The Trust shall establish a “Medicare Holdback” and such Medicare
         Holdback shall consist of the proceeds of the Archdiocese Home Liquidation Claim (as
         described in Section 5.1(b)(2)(vi)). The Trust shall not distribute any portion of the
         Medicare Holdback until such time as the Medicare Procedures (defined below) are
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         completed by the Trust. The “Medicare Procedures” to be completed by the Trust are as
         follows: (i) immediately upon confirmation, the Trustee shall make a query to the Social
         Security Administration (the “SSA Query”), with respect to each Tort Claimant, to
         determine whether each Tort Claimant is eligible to receive, is receiving, or has received
         Medicare benefits (“Medicare Eligible”); (ii) within ten (10) calendar days after the
         Confirmation Date, the Trust shall provide to the Settling Insurers, and, if requested, the
         Archdiocese, information sufficient to allow the Settling Insurers to perform their own
         SSA queries to the extent they wish to do so; (iii) in the event that one or more Tort
         Claimants is/are identified through the SSA Query process as Medicare Eligible, the
         Trust shall complete a query to the CMS for each such Tort Claimant to determine
         whether any payment (“Conditional Payment”) made pursuant to Section 1395y(b)(2)(B)
         of the MSPA has been made to or on behalf of that Tort Claimant arising from or relating
         to treatment for Abuse; (iv) if any Conditional Payment has been made to or on behalf of
         that Tort Claimant, the Trustee shall, within the time period called for by the MSPA,
         reimburse the appropriate Medicare Trust Fund for the appropriate amount, and submit
         the required information for that Tort Claimant to the appropriate agency of the United
         States government; and (c) upon resolution of all CMS inquiries or matters relating to
         Sections 6.6(l)(iii) and (iv) above, the Medicare Holdback shall be immediately available
         for distribution by the Trust. The Trustee’s obligation to make the reimbursements
         required by Section 6.6(iv) above and to indemnify the Settling Insurers with respect to
         Medicare Claims, Tort Claims, and Related Insurance Claims is not limited to the amount
         of the Medicare Holdback.

        6.7. INVESTMENT POWERS; PERMITTED CASH EXPENDITURES. All
funds held by the Trust shall be invested in cash or short-term highly liquid investments that are
readily convertible to known amounts of cash as more particularly described in the Trust
Agreement. The Trustee may expend the cash of the Trust.

         6.8. REGISTRY OF BENEFICIAL INTERESTS. To evidence the beneficial
interest in the Trust of each holder of such an interest, the Trustee shall maintain a registry of
beneficiaries.

          6.9. NON-TRANSFERABILITY OF INTERESTS. Any transfer of an interest in
the Trust shall not be effective until and unless the Trustee receives written notice of such
transfer.

         6.10. TERMINATION. The Trust shall terminate after its liquidation, administration
and distribution of the Trust Assets in accordance with the Plan and its full performance of all
other duties and functions set forth herein or in the Trust Agreement. The Trust shall terminate no
later than the eighth (8th) anniversary of the Effective Date.

       6.11.      IMMUNITY; LIABILITY; INDEMNIFICATION

                (a)     Neither the Reorganized Debtor or its respective member, designees, or
         professionals, nor the Trustee or any duly designated agent or representative of the
         Trustee, nor their respective employees, shall be liable for the act or omission of any
         other member, designee, agent, or representative of such Trustee, except that the Trustee
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         shall be liable for its specific acts or omissions resulting from such Trustee’s misconduct,
         gross negligence, fraud, or breach of the fiduciary duty of loyalty. The Trustee may, in
         connection with the performance of its functions and in its sole and absolute discretion,
         consult with its attorneys, accountants, financial advisors, and agents, and shall not be
         liable for any act taken, omitted to be taken, or suffered to be done in accordance with
         advice or opinions rendered by such Persons. Notwithstanding such authority, the Trustee
         shall not be under any obligation to consult with its attorneys, accountants, financial
         advisors, or agents, and its determination not to do so shall not result in the imposition of
         liability on the Trustee unless such determination is based on the Trustee’s recklessness,
         gross negligence, willful misconduct, or fraud.

                 (b)    No recourse shall ever be had, directly or indirectly, against the Trustee
         personally, or against any employee, contractor, agent, attorney, accountant or other
         professional retained in accordance with the terms of the Trust Agreement or the Plan by
         the Trustee, by legal or equitable proceedings or by virtue of any statute or otherwise, nor
         upon any promise, contract, instrument, undertaking, obligation, covenant or Trust
         Agreement whatsoever executed by the Trustee in implementation of this Trust
         Agreement or the Plan, or by reason of the creation of any indebtedness by the Trustee
         under the Plan for any purpose authorized by the Trust Agreement or the Plan, it being
         expressly understood and agreed that all such liabilities, covenants, and Trust
         Agreements of the Trust whether in writing or otherwise, shall be enforceable only
         against and be satisfied only out of the Trust Assets or such part thereof as shall under the
         term of any such Trust Agreement be liable therefore or shall be evidence only of a right
         of payment out of the Trust Assets. Notwithstanding the foregoing, the Trustee may be
         held liable for its recklessness, gross negligence, willful misconduct, knowing and
         material violation of law, or fraud; and if liability on such grounds is established,
         recourse may be had directly against the Trustee. The Trust shall not be covered by a
         bond.

                 (c)     The Trust shall defend, indemnify and hold the Trustee, its officers,
         directors, agents, representatives, and employees to the fullest extent that a corporation or
         trust organized under the laws of Minnesota entitled to indemnify and defend its
         directors, trustees, officers and employees against any and all liabilities, expenses, claims,
         damages or losses incurred by them in the performance of their duties hereunder.

                          (1)    Additionally, the Reorganized Debtor, and each of their respective
                  agents, who was or is a party, or is threatened to be made a party to any
                  threatened or pending judicial, administrative or arbitrative action, by reason of
                  any act or omission of the Trust or Trustee or respective agents, with respect to:
                  (i) the Chapter 11 case and any act or omission undertaken by them prior to the
                  commencement thereof, (ii) the assessment or liquidation of any Class 6 and
                  Class 7 Claims, (iii) the administration of the Trust and the implementation of the
                  Trust Distribution Plan, or (iii) any and all activities in connection with the Trust
                  Agreement, shall be indemnified and defended by the Trust, to the fullest extent
                  that a corporation or trust organized under the laws of Minnesota is from time to
                  time entitled to indemnify and defend its officers, directors, trustees and
                  employees, against reasonable expenses, costs and fees (including attorneys’ fees
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                  and costs), judgments, awards, amounts paid in settlement and liabilities of all
                  kinds incurred by the Debtor or Reorganized Debtor, and their respective
                  professionals, officers, and directors, in connection with or resulting from such
                  action, suit or proceeding, provided such expenditures have been approved by the
                  Trust in advance such approval not to be unreasonably withheld.

                          (2)    Reasonable expenses, costs, and fees (including attorneys’ fees and
                  costs) incurred by or on behalf of a Trustee, the Debtor, the Reorganized Debtor,
                  and their respective agents in connection with any action, suit or proceeding,
                  whether civil, administrative, or arbitrative, from which they are entitled to be
                  indemnified by the Trust, shall be paid by the Trust in advance of the final
                  disposition thereof upon receipt of an undertaking, by or on behalf of such
                  Trustee, the Debtor, the Reorganized Debtor, and their respective agents, to repay
                  such amount in the event that it shall be determined ultimately by Non-
                  Appealable Order that such Trustee, the Debtor, the Reorganized Debtor, and
                  their respective professionals, officers and directors is not entitled to be
                  indemnified by the Trust.

       6.12.      TREATMENT OF TORT CLAIMS

                 (a)    TRUST LIABILITY. On the Effective Date, the Trust shall
         automatically and without further act or deed assume i) all liability, if any, of the
         Protected Parties and Settling Insurer Entities in respect of Channeled Claims, subject to
         Section 17.7; and ii) the responsibility for preserving and managing Trust Assets and
         distributing Trust Assets. The Trust shall defend and indemnify the Protected Parties and
         the Settling Insurer Entities in respect of Tort Claims, Related Insurance Claims, and
         Medicare Claims.

                  (b)      ASSESSMENT.

                         (1)     Each Tort Claim will be assessed by the Tort Claims Reviewer in
                  accordance with the Trust Distribution Plan to determine whether the Tort
                  Claimant is entitled to a distribution under the Trust. The Archdiocese or the
                  Reorganized Debtor shall reasonably cooperate with the Tort Claims Reviewer
                  and the Trustee as requested by the Tort Claims Reviewer or the Trustee in
                  connection with any inquiries by either in the administration of the Trust
                  Distribution Plan.

                         (2)     Each Tort Claimant may elect, in lieu of assessment by the Tort
                  Claims Reviewer, to have his Tort Claim treated pursuant to the convenience
                  claim process as provided by the Trust Distribution Plan (“Convenience Claim”).

                 (c)    DISTRIBUTIONS TO TORT CLAIMANTS. Tort Claimants electing
         to be treated as a Distribution Plan Claimant, who the Tort Claims Reviewer determines
         to be entitled to a distribution, and Tort Claimants electing treatment as Convenience
         Claimants will both receive their distributions from the Trust in the amount(s) and at the
         time(s) provided for in the Trust Distribution Plan. Any payment on a Tort Claim

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         constitutes payment for damages on account of personal physical injuries or sickness
         arising from an occurrence, within the meaning of Section 104(a)(2) of the Internal
         Revenue Code of 1986, as amended. For the avoidance of doubt, Tort Claimants’
         recovery on their Class 6 and Class 7 Claims shall be limited to the distributions they are
         entitled to, if any, from the Trust under the Trust Distribution Plan, and they shall not be
         entitled to collect personally or otherwise any additional amounts whatsoever on their
         Tort Claims from any Protected Party or any Protected Party’s assets, or from any
         Settling Insurer Entities or Settling Insurer Entities’ assets, even if they are denied a
         distribution pursuant to the Trust Distribution Plan. For the avoidance of doubt, the
         Future Tort Claims Reserve Fund shall be the sole source of payment to Class 7
         Claimants on account of Class 7 Claims.

                 (d)    DISMISSAL OF PENDING LITIGATION. Within 21 days after
         Effective Date, all Claims arising out of or related to Tort Claims asserted in any lawsuit
         against any Protected Party currently pending in state court shall be dismissed with
         prejudice and without fees or costs being recoverable against any Protected Party or by
         any Protected Party against the Tort Claimant.

                 (e)    RELEASE. Prior to any Tort Claimant receiving a payment from the
         Trust, the claimant shall sign the Release and Medicare Certification attached as Exhibit
         E.

                 (f)    OBJECTIONS DEEMED WITHDRAWN. Any objection asserted by
         the Archdiocese to a Tort Claim pending as of the Effective Date is deemed withdrawn
         without prejudice. Whether and the extent to which any Settling Insurer who filed an
         objection prior to the Effective Date is entitled to have filed such objection and to
         continue to assert such objection after the Effective Date shall be determined by the
         Bankruptcy Court in accordance with applicable procedures.

                 (g)    OBJECTIONS AND LITIGATION AFTER THE EFFECTIVE
         DATE. As of the Effective Date, the Trustee shall have the sole and exclusive right to
         object to Tort Claims. The Reorganized Debtor shall have no right to object to any Tort
         Claims after confirmation of the Plan.

                 (h)     CLAIM WITHDRAWAL. A Tort Claimant may withdraw his or her
         Tort Claim at any time on written notice to the Trustee. If withdrawn, (a) the Tort Claim
         will be withdrawn with prejudice and may not be reasserted, and such Tort Claimant shall
         still be subject to the Discharge Injunction, the Channeling Injunctions, and the
         Supplemental Insurer Injunction as provided by this Plan; and (b) any reserve maintained
         by the Trust on account of such Tort Claim shall revert to the Trust as a Trust Asset for
         distribution in accordance with the Plan and Trust Distribution Plan.

                (i)     COUNSELING FUND. Consistent with the Ramsey County Agreement,
         Tort Claimants may use their distributions to access ongoing reasonable and appropriate
         counseling at their own discretion.



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                                          ARTICLE VII
                                       SETTLING INSURERS

        7.1. INSURANCE SETTLEMENT AGREEMENTS. Once the Bankruptcy Court
issues an order approving the Archdiocese Insurance Settlement Agreements in accordance with
Section 5.4 and 5.5 and such order(s) becomes a Non-Appealable Order(s), the Archdiocese
Insurance Settlement Agreements shall automatically be, and hereby are, incorporated by
reference and made part of the Plan as if set forth fully herein. Upon the Confirmation Order
becoming a Non-Appealable Order, the Insurance Settlement Agreements are fully binding on the
Trust, Protected Parties, the Reorganized Debtor, all Committees, Settling Insurer Entities, the
Future Claimant Representative, the Tort Claimants, and parties in interest, and any of the
foregoing Persons’ successors.

        7.2. RESOLUTION OF CLAIMS INVOLVING SETTLING INSURERS. The
Confirmation Order shall provide that within 10 days of the Effective Date, the Archdiocese and
the Archdiocesan Settling Insurers shall effect dismissal with prejudice of their claims against
each other in the Insurance Coverage Adversary Proceeding, with each side to bear its own fees
and costs.

          7.3. THE SETTLING INSURERS’ PAYMENTS. The Settling Insurers will pay to
the Trust the sums set forth in their respective Insurance Settlement Agreement within the time set
forth in their respective Insurance Settlement Agreements.

         7.4.     JUDGMENT REDUCTION.

                (a)      In any proceeding, suit, or action to recover or obtain insurance coverage
         or proceeds for a Tort Claim from an insurer that is not a Settling Insurer Entity (“Other
         Insurer”), the following shall apply:

                          (1)     If the Trust, a Protected Party, a Tort Claimant, or any other Person
                  bound by the Plan obtains a judgment against the Other Insurer, the judgment
                  shall automatically be reduced by the amount, if any, that all Settling Insurer
                  Entities would have been liable to pay such Other Insurer as a result of the Other
                  Insurer’s Related Insurance Claim against a Settling Insurer Entity(ies). To
                  ensure that such a reduction is accomplished, (a) the Person pursuing the related
                  insurance claim (whether the Trust, the Protected Parties, a Tort Claimant, or any
                  other Person bound by the Plan) shall inform the Other Insurer of the existence of
                  this judgment reduction provision at the time a claim is first asserted against the
                  Other Insurer; (b) the Other Insurer’s Related Insurance Claim against a Settling
                  Insurer Entity may be asserted as a defense in any proceeding, suit, or action to
                  obtain insurance coverage or proceeds from that Other Insurer for a Tort Claim;
                  and (c) to the extent the Other Insurer’s Related Insurance Claim against a
                  Settling Insurer Entity is determined to be valid by the court presiding over such
                  action, the liability of the Other Insurer shall be reduced dollar for dollar by the
                  amount so determined.



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                          (2)     If, for any reason, any Other Insurer asserts a claim against a
                  Settling Insurer Entity that it is entitled to obtain a sum certain from any of the
                  Settling Insurer Entities as a result of a Related Insurance Claim, the Person who
                  obtained a judgment or settlement against the Other Insurer shall reduce its
                  judgment or Claim against, or settlement with, such Other Insurer to the extent
                  necessary to satisfy such Related Insurance Claims against the Settling Insurer
                  Entities. To ensure that such a reduction is accomplished, the Settling Insurer
                  Entities shall be entitled to assert this provision as a defense to any action against
                  them brought by any Other Insurer and shall be entitled to request that the court or
                  appropriate tribunal issue such orders as are necessary to effectuate the reduction
                  to protect the Settling Insurer Entities from any liability for the Related Insurance
                  Claim.

                 (b)     As provided in the Insurance Settlement Agreements, each Settling Insurer
         agrees that it will not pursue any Related Insurance Claim that it might have against any
         Other Insurer who does not assert a Related Insurance Claim against a corresponding
         Settling Insurer Entity. Notwithstanding the foregoing, if a Person pursues a Related
         Insurance Claim against a Settling Insurer Entity, then such Settling Insurer Entity shall
         be free to assert its Related Insurance Claims against such Person.

                (c)     As provided in the Insurance Settlement Agreements, the Reorganized
         Debtor and the Trust shall use their best efforts to obtain, from all Other Insurers with
         which they execute a settlement agreement after the Effective Date, agreements similar to
         those contained in this Section.

         7.5. ADDITIONAL                  DOCUMENTATION;                      NON-MATERIAL
 MODIFICATIONS. From and after the Effective Date, the Reorganized Debtor and the Settling
Insurers shall be authorized to enter into, execute, adopt, deliver, or implement all notes,
contracts, security agreements, instruments, releases, and other agreements or documents
necessary to effectuate or memorialize the settlements contained in this Article without further
order of the Bankruptcy Court. Additionally, the Reorganized Debtor and the Settling Insurers
may make technical or immaterial alterations, amendments, modifications, or supplements to the
terms of any Insurance Settlement Agreement. A class of Claims that has accepted the Plan shall
be deemed to have accepted the Plan, as altered, amended, modified, or supplemented under this
Section, if the proposed alteration, amendment, modification, or supplement does not materially
and adversely change the treatment of the Claims within such class. An order of the Bankruptcy
Court approving any amendment or modification made pursuant to this Section shall constitute an
order in aid of consummation of the Plan and shall not require the re-solicitation of votes on the
Plan.

        7.6.   TRUST INDEMNIFICATION OBLIGATIONS. From and after the Effective
Date, the Trust shall defend, indemnify, and hold harmless the Settling Insurer Entities with
respect to any and all Tort Claims, Medicare Claims, and Related Insurance Claims, including:
all Tort Claims and Related Insurance Claims made by (i) any Person claiming to be insured (as
a named insured, additional insured, or otherwise) under any Settling Insurer Entity Policies; (ii)
any Person who has made, will make, or can make a Tort Claim or Related Insurance Claim; and
(iii) any Person who has actually or allegedly acquired or been assigned the right to make a
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Claim under any Settling Insurer Entity Policies. The Settling Insurer Entities shall have the right
to defend any Claims identified in this section and shall do so in good faith. The Settling Insurer
Entities may undertake the defense of any Claim on receipt of such Claim. The Settling Insurer
Entities shall notify the Trust as soon as practicable of any Claims identified in this section and
of their choice of counsel. The Settling Insurer Entities’ defense of any Claims shall have no
effect on the obligations of the Trust, as applicable, to indemnify the Settling Insurer Entities for
such Claims, as set forth in this section. The Trust shall reimburse all reasonable and necessary
attorneys’ fees, expenses, costs, and amounts incurred by the Settling Insurer Entities in
defending such Claims. In defense of any such Claims, the Settling Insurer Entities may settle or
otherwise resolve a Claim consistent with the terms of this Plan and with the prior consent of the
indemnifying party, which consent shall not be unreasonably withheld.

    7.7. CATHOLIC ENTITY/ OTHER INSURED ENTITY/ SEMINARIES
WAIVER/ CONSENT/ FEES.

                  (a)    In consideration of the releases and Channeling Injunction and other
                  covenants set forth herein, subject to the occurrence of the Effective Date, each of
                  the Archdiocese Parties:

                           (1)     Irrevocably and unconditionally, without limitation, releases,
                           acquits, forever discharges, and waives any Claims and/or Interests they
                           have or might have now or in the future against the other Protected Parties,
                           the Reorganized Debtor, and the Settling Insurer Entities with respect to
                           any and all Related Insurance Claims, any contribution, subrogation,
                           indemnification, or other similar Claim arising from or relating to Tort
                           Claims, and any Settling Insurer Entity Policies; and

                           (2)     Consents to the sale of Archdiocese Parties’ Claims and/or
                           Interests, if any, in the Settling Insurer Entity Policies in accordance with
                           this Insurance Settlement Agreements and to the contribution of the
                           proceeds from such sale and settlement to the Trust, as provided in the
                           Plan.

                (b)     In consideration of the releases and Channeling Injunction and other
         covenants set forth herein, subject to the occurrence of the Effective Date, each of the
         Catholic Entities:

                          (1)     Irrevocably and unconditionally, without limitation, releases,
                  acquits, forever discharges, and waives any Interests they have or might have now
                  or in the future against the other Protected Parties, the Reorganized Debtor, and
                  the Settling Insurer Entities with respect to any and all Related Insurance Claims,
                  any contribution and indemnity claims arising from or relating to Tort Claims,
                  and any Settling Insurer Entity Policies; and

                        (2)    Consents to the sale of such Catholic Entity’s interests, if any, in
                  the Archdiocese Settling Insurer Entity Policies in accordance with the


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                  Archdiocese Insurance Settlement Agreements and to the contribution of the
                  proceeds from such sales and settlements to the Trust, as provided in the Plan.

                (c)    In consideration of the releases and Channeling Injunction and other
         covenants set forth herein, subject to the occurrence of the Effective Date, each of the
         Other Insured Entities:

                          (1)     Irrevocably and unconditionally, without limitation, releases,
                  acquits, forever discharges, and waives any Interests they have or might have now
                  or in the future against the other Protected Parties, the Reorganized Debtor, and
                  the Settling Insurer Entities in connection with the Settling Insurer Entity Policies
                  with respect to any and all Related Insurance Claims, and any contribution and
                  indemnity claims arising from or relating to Tort Claims; and

                          (2)   Consents to the sale of such Other Insured Entity’s Interests, if
                  any, in the Archdiocesan Settling Insurer Entity Policies in accordance with the
                  applicable Archdiocese Insurance Settlement Agreements and to the contribution
                  of the proceeds from such sales and settlements to the Trust, as provided in the
                  Plan.

               (d)     In consideration of the releases and Channeling Injunction and other
         covenants set forth herein, subject to the occurrence of the Effective Date, each of the
         Seminaries:

                          (1)     Irrevocably and unconditionally, without limitation, releases,
                  acquits, forever discharges, and waives any Interests they have or might have now
                  or in the future against the other Protected Parties, the Reorganized Debtor, and
                  the Settling Insurer Entities with respect to any and all Related Insurance Claims,
                  and any contribution and indemnity claims arising from or relating to Tort
                  Claims, and any Settling Insurer Entity Policies; and

                         (2)    Consents to the sale of such Seminaries’ Interests, if any, in the
                  Archdiocesan Settling Insurer Entity Policies in accordance with the applicable
                  Archdiocese Insurance Settlement Agreements and to the contribution of the
                  proceeds from such sales and settlements to the Trust, as provided in the Plan.

                 (e)    Nothing in Sections 7.7(a) through 7.7(c) shall be construed to bar either
         (a) a Claim based on Abuse against a Person who is not a Protected Party or a Settling
         Insurer Entity or (b) a Claim by such Person for insurance coverage in connection with a
         Claim described in the foregoing subsection (a) under an insurance policy other than the
         Settling Insurer Entity Policies.

         7.8. DEBTOR WAIVER AND RELEASE OF CLAIMS. In consideration of any
payments to be made by the Archdiocesan Settling Insurers and other consideration provided by
each Archdiocesan Settling Insurer, upon payment by the Archdiocesan Settling Insurers of their
respective settlement amounts under the corresponding Archdiocesan Insurance Settlement
Agreements, the Archdiocese Parties irrevocably and unconditionally, without limitation, release,

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acquit, forever discharge, and waive any Interests they have or might have now or in the future (a)
under the Settling Insurer Entity Policies; (b) against the Settling Insurer Entities with respect to
any Channeled Claim; and (c) against the Catholic Entities, Other Insured Entities and the
Seminaries with respect to any Channeled Claim.

      7.9.     PROTECTED PARTY INJUNCTION DEFENSE COSTS. The Trust will
indemnify any Protected Party for all reasonable attorneys’ fees and costs (pre-approved by the
Trust) incurred by such Protected Party in upholding, defending, or enforcing the protection of
the Channeling Injunction and Supplemental Insurer Injunction except as to Covered Non-Tort
Claims.

                                        ARTICLE VIII
                                  ESTIMATIONS/ASSESSMENTS

       8.1. ESTIMATIONS/ASSESSMENTS ARE NOT BINDING. Estimations of Class
6 Claims for purposes of voting, and the determination of qualification, assignment of points, and
payment of distributions of Tort Claims under the Trust Distribution Plan:

                 (a)     shall not (i) constitute an admission of liability by any Person with respect
         to such Claims; (ii) have any res judicata or collateral estoppel effect on any Person; (iii)
         constitute a settlement, release, accord, satisfaction, or novation of such Claims; (iv) be
         used by any third-party as a defense to any alleged joint liability; or (v) otherwise
         prejudice any rights of the Trust, Protected Parties, Settling Insurer Entities, and Tort
         Claimants in all other contexts or forums; and

                   (b)     shall not be deemed to constitute a determination of liability of any
         Person;

                (c)    The rights of the parties under any Archdiocese Insurance Settlement
         Agreements shall be determined exclusively under the applicable Archdiocese Insurance
         Settlement Agreements and those provisions of the applicable Approval Order approving
         such Archdiocese Insurance Settlement Agreements, and the Confirmation Order.

                                      ARTICLE IX
                          OTHER SETTLEMENTS EMBODIED IN PLAN

        9.1. AMBP SETTLEMENT. Ownership of certain monies in the AMBP is disputed.
The Archdiocese and the trustees of the AMBP have agreed to resolve this dispute upon payment
by the AMBP to the Archdiocese of the sum of $4,000,000 from the reserve accounts established
under the AMBP. Amounts payable under Section 5.1(b) in respect to the AMBP represent a
portion of the payments previously made by Catholic Entities to the AMBP and represent an
additional contribution by the Catholic Entities, including Parishes, as participants in the AMBP.
The payment will be made to the Archdiocese within one business day of the Confirmation Order
becoming a Non-Appealable Order and the Archdiocese will promptly pay this amount to the
Trust as a component of the Debtor Cash Contribution contemplated under Section 5.1(b) of the
Plan, which payment shall be free and clear of any interest of the Archdiocese or AMBP or the
Estate of the Archdiocese. In consideration of this settlement, the Archdiocese agrees that it shall

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not increase the rate of assessments for parishes for a period of two (2) years following the
Effective Date. This settlement shall be effective upon entry of the Confirmation Order. The
payment contemplated under this Section shall represent a settlement and compromise of any and
all claims of the Archdiocese, creditors of the Archdiocese in this case, any other party-in-interest,
or the Estate to any amounts held in the AMBP.

        In addition, to the extent permitted under applicable law, the Reorganized Debtor shall
cooperate with the trustees of the AMBP following the Effective Date to convert the AMBP to a
VEBA Trust (or similar trust mechanism). Notwithstanding anything to the contrary contained
herein, neither the Archdiocese nor the trustees of the AMBP shall be required to enter into any
trust or other arrangement that will require that the AMBP, or any successor trust mechanism,
provide coverage for services or procedures contrary to the teachings of the Catholic Church.
The Archdiocese, in cooperation with the trustees of the AMBP, reserves the right to seek the
termination of the AMBP if the conversion of the AMBP is impossible or proves to be
unreasonably expensive or impractical or in the event that it becomes impossible or impractical
to maintain rates for the AMBP in an amount sufficient to pay future claims. The Archdiocese
shall also reasonably cooperate with the trustees of the AMBP to investigate and pursue
alternative mechanisms for administration of the AMBP and shall solicit proposals from
qualified third party providers for such services.

       9.2.     RILEY FUND SETTLEMENT. The Archdiocese and the Cathedral of Saint
Paul (the “Cathedral Corporation”) have asserted competing claims to a trust fund (the “Riley
Fund”) created by William C. Riley under a will dated September 16, 1929. In order to facilitate
confirmation of this Plan and to advance their respective missions, the Archdiocese and the
Cathedral Corporation have agreed to the following settlement, which shall be effective once the
Confirmation Order becomes a Non-Appealable Order: In exchange for a release of any and all
Claims and Causes of Action against the Cathedral Corporation, the Cathedral Corporation shall
waive its claim to the entire balance of the Riley Fund (approximately $2,594,264.83) (the “Riley
Settlement Amount”). The Archdiocese, which currently holds the Riley Fund, shall pay the Riley
Settlement Amount to the Trust within one business day of the Confirmation Order becoming a
Non-Appealable Order. The release shall be immediately effective without further action once the
Confirmation Order becomes a Non-Appealable Order. The Cathedral Corporation and the
Archdiocese shall each retain their respective rights and obligations under the existing lease of the
Cathedral of Saint Paul.

        9.3. GIF SETTLEMENT. Within one business day of the Confirmation Order
becoming a Non-Appealable Order, the Reorganized Debtor will cause the GIF to pay $6,000,000
to the Trust (the “GIF Tort Claim Contribution Amount”). The Archdiocese has set participant
premiums for the GIF for the period through June 30, 2019. The Archdiocese anticipates that
premiums will be sufficient to pay all known claims and incurred but not reported claims (other
than Tort Claims), plus administrative expenses, expenses related to maintaining workers
compensation reserves and deposits, and premiums for reinsurance ("GIF Claims and Expenses")
and the GIF Tort Claim Contribution Amount. The Archdiocese shall not alter premiums to the
GIF prior to June 30, 2019, except to the extent necessary to pay GIF Claims and Expenses and
the minimum GIF Tort Claim Contribution Amount. The GIF Tort Claim Contribution Amount
will be deemed to be in satisfaction of claims of participants related to Tort Claims and as
additional consideration for the Channeling Injunction set forth in this Plan. Any amount not
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required to be paid to the Trust under this subparagraph shall be held in the GIF for administration
in accordance with prior practices. Except as provided herein, any claims related to the GIF,
including any claims arising from prior contribution to the GIF, will be disallowed and receive no
distribution.

         9.4. HIGH SCHOOLS LAND SALE SETTLEMENT. Confirmation of the Plan
shall constitute (i) authorization for the conveyance by the Archdiocese to the High Schools of the
property interests described below for a gross consideration of $4,000,000, (ii) approval of the
High School Purchase Agreements referenced below, and (iii) authorization for the Archdiocese
to execute such documents and instruments as may be required to consummate the proposed sales,
including a restriction or condition requiring the real property to be used by the High Schools,
their successor and assigns, for Catholic educational purposes unless waived, released or
terminated by the Archdiocese (the “Conveyance”). The restriction will not be binding on current
or future lienholders.

         The interests to be conveyed include any and all interest the Archdiocese may have in the
real property upon which each of the High Schools’ campuses are located, together with any
interest of the Archdiocese in any related fixtures, leases and other contracts, furniture and
improvements used in the operation of the High Schools. The Conveyance shall be made under
Section 363 and shall be free and clear of all liens, interests and encumbrances, except (i) all
existing leases between the Archdiocese and each of the High Schools; (ii) mortgages of record;
(iii) such liens and encumbrances as may be accepted by the parties. The proposed aggregate
purchase price of $4,000,000 shall represent a net payment to the Archdiocese and shall not be
subject to reduction or deduction for any operating, mortgage, title or other cost or expense.

       The proposed sale shall be made pursuant to the terms and condition set forth in the
purchase and settlement agreements (the “High School Purchase Agreements”) entered into
among the High Schools and the Archdiocese. The High School Purchase Agreements shall
include an allocation of the purchase price among the High Schools and shall include such other
provisions, including a mutual release of claims, as may be agreed upon by the parties.

        The Archdiocese agrees that the Trust may enforce the High School Purchase Agreement
to the extent provided by applicable law. Additionally, under the High School Purchase
Agreements, the Archdiocese shall assume all costs related to the enforcement of the buyers
under the High School Purchase Agreements, including attorneys' fees, provided that the
Archdiocese approves the retention of counsel (such approval not to be unreasonably
withheld). The Archdiocese shall also indemnify the Trust for damages and costs caused by any
delay by the High Schools in the payment of the purchase price under of the High School
Purchase Agreements, including interest and the costs associated with any additional
distributions the Trust is required to make due to the delay, but not including punitive,
consequential and non-economic costs or damages.

       The Conveyance shall be by quit claim deed on an “as is,” “where is” basis. The
Archdiocese shall file the High School Purchase Agreements with the Bankruptcy Court at least
21 days prior to the Confirmation Hearing.



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        As a condition to the purchase contemplated under this Section 9.4, the High Schools
shall be included as Protected Parties under the Plan.

                                           ARTICLE X
                                      INSURANCE POLICIES

         10.1. CONTINUATION OF INSURANCE POLICIES. Except to the extent any
Archdiocesan Entity Insurance Policies are bought back as set forth in and pursuant to any
Insurance Settlement Agreements or as otherwise provided by the terms of the Plan, all
Archdiocese Entity Insurance Policies shall, as applicable, either be deemed assumed by the
Reorganized Debtor pursuant to Sections 365, 1123(a)(5)(A), and 1123(b)(2) of the Bankruptcy
Code, to the extent such Archdiocese Entity Insurance Policy is or was an executory contract of
the Archdiocese, or continued in accordance with its terms pursuant to Section 1123(a)(5)(A) of
the Bankruptcy Code, to the extent such Insurance Policy is not an executory contract of the
Archdiocese, such that each of the parties’ contractual, legal, and equitable rights under each such
Archdiocese Entity Insurance Policy shall remain unaltered. All such Archdiocese Entity
Insurance Policies are listed on Exhibit I. To the extent that any or all such Archdiocese Entity
Insurance Policies are considered to be executory contracts, then the Plan shall constitute a
motion to assume such Archdiocese Entity Insurance Policies in connection with the Plan. Subject
to the occurrence of the Effective Date, the Confirmation Order shall approve such assumption
pursuant to §§ 365(a), 1123(a)(5)(A), and 1123(b)(2) of the Bankruptcy Code and include a
finding by the Bankruptcy Court that each such assumption is in the best interest of the Debtor,
the Estate, and all parties in interest in this Chapter 11 case. Unless otherwise determined by the
Bankruptcy Court pursuant to an order which becomes a Non-Appealable Order or agreed to by
the parties thereto prior to the Effective Date, no payments are required to cure any defaults of the
Archdiocese existing as of the Effective Date with respect to any Archdiocese Entity Insurance
Policy. The Archdiocese reserves the right to seek rejection of any Archdiocese Entity Insurance
Policy or other available relief prior to the Effective Date.

                                 ARTICLE XI
                PROCEDURES FOR GENERAL CLAIMS ADMINISTRATION

        11.1. RESERVATION OF RIGHTS TO OBJECT TO NON-TORT CLAIMS.
Unless a Claim is expressly described as an allowed Claim pursuant to or under the Plan, or
otherwise becomes an allowed Claim prior to the Effective Date, upon the Effective Date, the
Reorganized Debtor or the Trustee, as applicable, shall be deemed to have a reservation of any
and all rights, Interests, and objections of the Archdiocese, the UCC, or the Estate to any and all
Claims and motions or requests for the payment of or on account of Claims, whether
administrative expense, priority, secured, or unsecured, including any and all rights, Interests and
objections to the validity or amount of any and all alleged Claims, Liens, and Interests, whether
under the Bankruptcy Code, other applicable law, or contract. The failure to object to any Claim
in this Chapter 11 case shall be without prejudice to the Reorganized Debtor’s or the Trustee’s, as
applicable, right to contest or otherwise defend against such Claim in the Bankruptcy Court as set
forth in this Section when and if such Claim is sought to be enforced by the holder of such Claim.

       11.2. OBJECTIONS TO NON-TORT CLAIMS. Prior to the Effective Date, the
Archdiocese shall have the authority to pursue any objection to the allowance of any non-Tort
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Claim. From and after the Effective Date, the Reorganized Debtor or the Trustee, as applicable,
will retain responsibility for administering, disputing, objecting to, compromising, or otherwise
resolving and making distributions, if any, with respect to non-Tort Claims (including those
claims that are subject to objection by the Archdiocese as of the Effective Date); provided,
however, that nothing in this Section shall affect the right of any party-in-interest (including the
Reorganized Debtor and the Trustee) to object to any non-Tort Claim to the extent such objection
is otherwise permitted by the Bankruptcy Code, the Bankruptcy Rules, and this Plan. Further,
nothing in this Section shall prohibit the Trustee from objecting to or establishing procedures for
the allowance or treatment of non-Tort Claims. Unless otherwise provided in the Plan or by order
of the Bankruptcy Court, any objections by the Reorganized Debtor or the Trustee to non-Tort
Claims will be filed and served not later than thirty (30) days after the later of: (i) the Effective
Date, or (ii) the date such claim is filed. Such deadline or any Bankruptcy Court approved
extension thereof, may be extended upon request by the Reorganized Debtor or the Trustee by
filing a motion without any requirement to provide notice to any Person, based upon a reasonable
exercise of the Reorganized Debtor’s or the Trustee’s business judgment. A motion seeking to
extend the deadline to object to any claim shall not be deemed an amendment to the Plan.

         11.3. DETERMINATION OF CLAIMS. From and after the Effective Date, any
claim that is not a Tort Claim or a Class 14 Claim, and as to which a Proof of Claim or motion or
request for payment was timely filed in this Chapter 11 case, or deemed timely filed by order of
the Bankruptcy Court, may be determined and (so long as such determination has not been stayed,
reversed, or amended, as to which determination (or any revision, modification, or amendment
thereof) the time to appeal or seek review or rehearing has expired, (and as to which no appeal or
petition for review or rehearing was filed or, if filed, remains pending)), liquidated pursuant to: (i)
an order of the Bankruptcy Court; (ii) applicable bankruptcy law; (iii) agreement of the parties
without the need for Bankruptcy Court approval; (iv) applicable non-bankruptcy law; or (v) the
lack of (a) an objection to such claim, (b) an application to equitably subordinate such claim, and
(c) an application to otherwise limit recovery with respect to such claim, filed by the Archdiocese,
the Reorganized Debtor, or any other party in interest on or prior to any applicable deadline for
filing such objection or application with respect to such claim. Any such claim so determined and
liquidated shall be deemed to be an allowed claim for such liquidated amount and shall be
satisfied in accordance with the Plan. Nothing contained in this Section shall constitute or be
deemed a waiver of any claims, rights, Interests, or Causes of Action that the Debtor, the
Reorganized Debtor or the Trust may have against any Person in connection with or arising out of
any claim or claims, including any rights under 28 U. S .C. § 157.

         11.4. NO DISTRIBUTIONS PENDING ALLOWANCE. No payments or
distributions will be made with respect to a Disputed Claim, or any portion thereof, unless and
until all objections to such Disputed Claim have been settled or withdrawn or have been
determined by an order which has become a Non-Appealable Order, and the Disputed Claim has
become an allowed claim.

         11.5. CLAIM ESTIMATION. To effectuate distributions pursuant to the Plan and
avoid undue delay in the administration of the Chapter 11 case, with respect to Disputed Claims,
the Archdiocese (if prior to the Effective Date) and the Reorganized Debtor or the Trustee (on and
after the Effective Date), after notice and a hearing (which notice may be limited to the holder of
such Disputed Claim), shall have the right to seek an order of the Bankruptcy Court or the District
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Court, pursuant to Section 502(c) of the Bankruptcy Code, estimating or limiting the amount of:
(i) property that must be withheld from or reserved for distribution purposes on account of such
Disputed Claim(s), (ii) such claim for allowance or disallowance purposes, or (iii) such claim for
any other purpose permitted under the Bankruptcy Code; provided, however, that the Bankruptcy
Court or the District Court, as applicable, shall determine: (y) whether such claims are subject to
estimation pursuant to Section 502(c) of the Bankruptcy Code, and (z) the timing and procedures
for such estimation proceedings, if any, such matters being beyond the scope of the Plan.

                                          ARTICLE XII
                                 DISTRIBUTIONS UNDER THE PLAN

        12.1. PAYMENT DATE. Whenever any payment or distribution to be made under the
Plan shall be due on a day other than a business day, such payment or distribution shall instead be
made, without interest, on the immediately following business day.

         12.2. UNDELIVERABLE DISTRIBUTIONS. If payment or distribution to the
holder of an allowed non-Tort claim under the Plan is returned for lack of a current address for the
holder or otherwise, the Reorganized Debtor or the Trustee, as applicable, shall file with the
Bankruptcy Court the name, if known, and last known address of the holder and the reason for its
inability to make payment. All allowed claims paid as provided in this Section shall be deemed
addressed to the same extent as if payment or distribution had been made to the holder of the
allowed claim with no recourse to the Reorganized Debtor or the Trustee, as applicable, or
property of the Reorganized Debtor or the Trustee. If, after the passage of six (6) months, the
payment or distribution still cannot be made, the Reorganized Debtor or the Trustee, as
applicable, shall make the payment to the Trust. All allowed claims paid as provided in this
Section shall be deemed satisfied and released, with no recourse to the Reorganized Debtor or the
Trustee, as applicable, or property of the Reorganized Debtor or the Trustee, as applicable, upon
payment to the Trust, to the same extent as if payment or distribution has been made to the holder
of the allowed claim.

        12.3. SETOFFS. The Reorganized Debtor or the Trustee, as applicable, may, to the
extent permitted under applicable law, set off against any allowed claim and the distributions to
be made pursuant to the Plan on account of such allowed claim, the claims, rights and Causes of
Action of any nature that the Reorganized Debtor or the Trustee, as applicable, may hold against
the holder of such allowed claim that are not otherwise waived, released or compromised in
accordance with the Plan; provided, however, that neither such a setoff nor the allowance of any
claim hereunder shall constitute a waiver or release by the Reorganized Debtor or the Trustee, as
applicable, of any such claims, rights, and Causes of Action that the Reorganized Debtor or the
Trustee, as applicable, possesses against such holder.

         12.4. NO INTEREST ON CLAIMS. Unless otherwise specifically provided for in the
Plan, the Confirmation Order, or a post-petition agreement in writing between a claimant and the
Archdiocese, the Reorganized Debtor, or the Trust, and approved by an order of the Bankruptcy
Court, postpetition interest shall not accrue or be paid on any claim, and claimant shall not be
entitled to interest accruing on or after the Petition Date on any claim. In addition, and without
limiting the foregoing or any other provision of the Plan, Confirmation Order, or Trust
Agreement, interest shall not accrue on or be paid on any Disputed Claim in respect of the period
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from the Effective Date to the date a final distribution is made when and if such Disputed Claim
becomes an allowed claim.

         12.5. WITHHOLDING TAXES. The Reorganized Debtor and the Trust shall comply
with all withholding and reporting requirements imposed by any federal, state, local, or foreign
taxing authority, and all distributions hereunder shall be subject to any such withholding and
reporting requirements. As a condition to making any distribution under the Plan, the Reorganized
Debtor and the Trust may require that the holder of an allowed claim provide such holder’s
taxpayer identification number and such other information and certification as may be deemed
necessary to comply with applicable tax reporting and withholding laws.

                                        ARTICLE XIII
                                 EFFECTIVENESS OF THE PLAN

          13.1. CONDITIONS TO OCCURRENCE OF EFFECTIVE DATE. The Plan shall
not become effective unless and until each of the following conditions shall have been satisfied in
full in accordance with the provisions specified below:

              (a)    Entry of Confirmation Order. The Confirmation Order has become a
         Non-Appealable Order;

                 (b)    Insurance Settlement Agreements. The Archdiocese, the Catholic
         Entities, the Other Insured Entities, and the Seminaries, as applicable, and the Settling
         Insurers shall have executed their respective Insurance Settlement Agreements and the
         Bankruptcy Court shall have issued an order(s) approving the Archdiocese Insurance
         Settlement Agreements and such order(s) have become Non-Appealable Order(s).

                  (c)      The Trust. The Trust shall have been formed; and

                (d)     Debtor Payments. The payments and assignments discussed in
         Section 5.1(b)(2)(i-iv) shall have been received by the Trust.

        13.2. NOTICE OF EFFECTIVE DATE. The Plan Proponents shall file a Notice of
Effective Date with the Bankruptcy Court within three (3) days after the occurrence of the
Effective Date. Such notice will include all relevant deadlines put into effect by the occurrence of
the Effective Date.

         13.3. EFFECT OF NON-OCCURRENCE OF CONDITIONS. If substantial
consummation of the Plan does not occur, the Plan will be null and void in all respects and
nothing contained in the Plan or the disclosure statement will: (i) constitute a waiver or release of
any claims by or against the Protected Parties or the Settling Insurer Entities; (ii) prejudice in any
manner the rights of the Protected Parties, the Trust or the Settling Insurer Entities; or (iii)
constitute an admission, acknowledgement, offer, or undertaking by the Protected Parties or the
Settling Insurer Entities in any respect, including but not limited to, in any proceeding or case
against the Debtor; or (iv) be admissible in any action, proceeding or case against the Protected
Parties or Settling Insurer Entities in any court or other forum.


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                                       ARTICLE XIV
                                 EFFECTS OF CONFIRMATION

        14.1. DISSOLUTION OF COMMITTEES. On the Effective Date, the Committees
shall dissolve automatically, whereupon their members, Professionals and agents shall be released
from any further duties and responsibilities in this Chapter 11 case and under the Bankruptcy
Code, except that such parties shall continue to be bound by any obligations arising under
confidentiality agreements, joint defense/common interest agreements (whether formal or
informal), and protective orders entered during this Chapter 11 case, including any orders
regarding confidentiality issued by the Bankruptcy Court or mediator, which shall remain in full
force and effect according to their terms, provided that such parties shall continue to have a right
to be heard with respect to any and all applications for Professional Claims.

       14.2.      DISCHARGE AND INJUNCTION.

        Except as otherwise expressly provided in the Plan or in the Confirmation Order, on the
Effective Date, pursuant to Section 1141(d) of the Bankruptcy Code, the Archdiocese shall be
discharged from any and all Claims that arose prior to the Effective Date, including all Tort
Claims and Related Insurance Claims, and including interest, if any, on any of the foregoing,
regardless of whether it is alleged to have accrued before or after the Petition Date (each a
“Discharged Claim”). For the avoidance of doubt, “Discharged Claim” includes any disallowed
claim. All Persons who have held or asserted, hold or assert, or may in the future hold or assert a
Discharged Claim shall be permanently stayed, enjoined, and restrained from taking any action,
directly or indirectly, for the purposes of asserting, enforcing, or attempting to assert or enforce
any Discharged Claim, including: (i) commencing or continuing in any manner, any action or
any other proceeding of any kind with respect to any Discharged Claim against the Archdiocese,
the Reorganized Debtor, or property of the Reorganized Debtor; (ii) seeking the enforcement,
attachment, collection, or recovery by any manner or means of any judgment, award, decree, or
order against the Archdiocese, the Reorganized Debtor, or property of the Reorganized Debtor,
with respect to any Discharged Claim; (iii) creating, perfecting, or enforcing any encumbrance or
lien of any kind against the Archdiocese, the Reorganized Debtor, or property of the Reorganized
Debtor with respect to any Discharged Claim; (iv) asserting any setoff right of contribution,
indemnity, subrogation, or recoupment of any kind against any obligation due to the Reorganized
Debtor with respect to any Discharged Claim; and (v) taking any action, in any manner and in
any place whatsoever, that does not conform to or comply with provisions of the Plan. In the
event any Person takes any action that is prohibited by, or is otherwise inconsistent with the
provisions of this injunction, the Plan or confirmation order, then, upon notice to the Bankruptcy
Court by an affected party, the action or proceeding in which the claim of such Person is asserted
will automatically be transferred to the Bankruptcy Court or the District Court for enforcement
of the Plan. In a successful action to enforce the injunctive provisions of this Section in response
to a willful violation thereof the moving party may seek an award of costs (including reasonable
attorneys’ fees) against the non-moving party, and such other legal or equitable remedies as are
just and proper, after notice and a hearing.

       14.3. CHANNELING INJUNCTION. Channeling Injunction Preventing Prosecution
of Channeled Claims Against Protected Parties and Settling Insurer Entities.

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                (a)    In consideration of the undertakings of the Protected Parties and
         Settling Insurer Entities under the Plan, their contributions to the Trust, and other
         consideration, and pursuant to their respective settlements with the Debtor and to
         further preserve and promote the agreements between and among the Protected
         Parties and any Settling Insurer Entities, and pursuant to Section 105 of the
         Bankruptcy Code:

                        (1)    any and all Channeled Claims are channeled into the Trust
                  and shall be treated, administered, determined, and resolved under the
                  procedures and protocols and in the amounts as established under the Plan
                  and the Trust Agreement as the sole and exclusive remedy for all holders of
                  Channeled Claims; and

                         (2)     all Persons who have held or asserted, hold or assert, or may in
                  the future hold or assert any Channeled Claims are hereby permanently
                  stayed, enjoined, barred and restrained from taking any action, directly or
                  indirectly, for the purposes of asserting, enforcing, or attempting to assert or
                  enforce any Channeled Claim against the Protected Parties or Settling
                  Insurer Entities, including:

                                   (i)   commencing or continuing in any manner any action or
                            other proceeding of any kind with respect to any Channeled Claim
                            against any of the Protected Parties or Settling Insurer Entities or
                            against the property of any of the Protected Parties or Settling
                            Insurer Entities;

                                   (ii) enforcing, attaching, collecting or recovering, by any
                            manner or means, from any of the Protected Parties or Settling
                            Insurer Entities, or the property of any of the Protected Parties or
                            Settling Insurer Entities, any judgment, award, decree, or order with
                            respect to any Channeled Claim against any of the Protected Parties,
                            Settling Insurer Entities, or any other Person;

                                   (iii) creating, perfecting or enforcing any lien of any kind
                            relating to any Channeled Claim against any of the Protected Parties
                            or the Settling Insurer Entities, or the property of the Protected
                            Parties or the Settling Insurer Entities; and

                                  (iv) asserting, implementing or effectuating any Channeled
                            Claim of any kind against:

                                          1.     any obligation due any of the Protected Parties
                                  or Settling Insurer Entities;

                                         2.      any of the Protected Parties or Settling Insurer
                                  Entities; or


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                                        3.     the property of any of the Protected Parties or
                                 Settling Insurer Entities.

       The Channeling Injunction is an integral part of the Plan and is essential to the Plan’s
consummation and implementation. It is intended that the channeling of the Channeled Claims
as provided in this Section 14.3 shall inure to the benefit of the Protected Parties and Settling
Insurer Entities. In a successful action to enforce the injunctive provisions of this Section in
response to a willful violation thereof, the moving party may seek an award of costs (including
reasonable attorneys’ fees) against the non-moving party, and such other legal or equitable
remedies as are just and proper, after notice and a hearing.

       14.4.      EXCULPATION; LIMITATION OF LIABILITY.

        From and after the Effective Date, none of the Exculpated Parties shall have or
incur any liability for, and each Exculpated Party shall be released from, any claim, Cause
of Action or liability to any other Exculpated Party, to any holder of a claim, or to any
other party in interest, for any act or omission that occurred during and in connection with
this Chapter 11 case or in connection with the preparation and Filing of this Chapter 11
case, the formulation, negotiation, or pursuit of confirmation of the Plan, the
consummation of the Plan, and the administration of the Plan or the property to be
distributed under the Plan, except for claims, Causes of Action or liabilities arising from
the gross negligence, willful misconduct, fraud, or breach of the fiduciary duty of loyalty of
any Exculpated Party, in each case subject to determination of such by Non-Appealable
Order of a court of competent jurisdiction and provided that any Exculpated Party shall be
entitled to reasonably rely upon the advice of counsel with respect to its duties and
responsibilities (if any) under the Plan. Without limiting the generality of the foregoing, the
Archdiocese and its officers, board and committee members, employees, attorneys,
financial advisors, and other Professionals shall be entitled to and granted the benefits of
Section 1125(e) of the Bankruptcy Code and the Channeling Injunction.

       14.5.      SETTLING INSURER SUPPLEMENTAL INJUNCTION.

       Supplemental Injunction Preventing Prosecution of Claims Against Settling Insurer
Entities.

       Pursuant to Sections 105(a) and 363 of the Bankruptcy Code and in consideration of
the undertakings of the Settling Insurers pursuant to the Insurance Settlement
Agreements, including the Settling Insurers’ purchases of insurance policies or Interests in
insurance policies from the Archdiocese, Other Insured Entities, Seminaries, and Catholic
Entities pursuant to Section 363(f) of the Bankruptcy Code:

       Any and all Persons who have held, now hold or who may in the future hold any
Interests (including all debt holders, all equity holders, governmental, tax and regulatory
authorities, lenders, trade and other creditors, Tort Claimants, perpetrators, other
insurers, and all others holding Interests of any kind or nature whatsoever, including those
Claims released or to be released pursuant to the Insurance Settlement Agreements)
against any of the Protected Parties or the Settling Insurer Entities, that directly or

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indirectly arise from, relate to or is in connection with any of the Settling Insurer Entity
Policies, any Claim that would have been covered under a Settling Insurer Entity Policy
but for an Insurance Settlement Agreement, any Tort Claim, Related Insurance Claim,
Class 3 Claims, Class 12 Claims, Class 13 Claims, Class 14 Claims, or Claim Nos. 502, 503,
and 668 are hereby permanently stayed, enjoined, barred, and restrained from taking any
action, directly or indirectly, to assert, enforce or attempt to assert or enforce any such
Interest against the Settling Insurer Entities, the Settling Insurer Entity Policies, or
Protected Parties, including:

               (a)     Commencing or continuing in any manner any action or other
         proceeding against the Settling Insurer Entities or the Protected Parties or the
         property of the Settling Insurer Entities or Protected Parties;

                (b)   Enforcing, attaching, collecting, or recovering, by any manner or
         means, any judgment, award, decree or order against the Settling Insurer Entities
         or Protected Parties or the property of the Settling Insurer Entities or Protected
         Parties;

                (c)    Creating, perfecting, or enforcing any lien of any kind against the
         Settling Insurer Entities or Protected Parties or the property of the Settling Insurer
         Entities or Protected Parties;

                (d)    Asserting or accomplishing any setoff, right of indemnity,
         subrogation, contribution, or recoupment of any kind against any obligation due the
         Settling Insurer Entities or Protected Parties or the property of the Settling Insurer
         Entities or Protected Parties; and

                (e)   Taking any action, in any manner, in any place whatsoever, that does
         not conform to, or comply with, the provisions of the Plan.

       All claims described in this Section 14.5 shall be channeled to the Trust. This
injunction shall not apply to any reinsurance claim.

        14.6. INSURANCE SETTLEMENT AGREEMENT INJUNCTIONS. Any
injunction, discharge, or release contained in an Archdiocese Insurance Settlement Agreements is
(a) incorporated in all respects into this Plan by this express reference thereto, (b) deemed fully
set forth in this Plan, (c) approved by the Bankruptcy Court, and (d) in addition to the injunctions,
discharges, and releases expressly set forth in this Plan.

        14.7. TIMING. The injunctions, releases, and discharges to which any Settling Insurer
Entity is entitled pursuant to such Insurance Settlement Agreement, the Plan, the Confirmation
Order, the Approval Orders, and the Bankruptcy Code shall only become effective when the Trust
receives payment in full from the corresponding Settling Insurer(s) pursuant to the terms of such
Settling Insurer’s Insurance Settlement Agreement, and the other provisions set forth in Section
13.1 are fully met.

        14.8. NO BAR ON CERTAIN CLAIMS. Notwithstanding the foregoing, nothing in
this Article 14 shall be construed to bar either (a) a Claim based on Abuse against a Person who is
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not a Protected Party or a Settling Insurer Entity or (b) a Claim by such Person for insurance
coverage in connection with a Claim described in the foregoing subsection (a) under an insurance
policy other than the Settling Insurer Entity Policies.

                                  ARTICLE XV
                 INCORPORATION OF CHILD PROTECTION PROTOCOLS

        15.1. RAMSEY COUNTY AGREEMENT. The Ramsey County Agreement is
incorporated into the Plan, provided that the Ramsey County Attorney shall retain exclusive
authority to enforce the agreement. To reflect and implement the Reorganization Plan
contemplated herein, and in furtherance of the goals of creating safe environments, the Debtor and
the UCC will meet and confer regarding potential additions to the Ramsey County Agreement,
including protocols and services.

                                       ARTICLE XVI
                                 THE REORGANIZED DEBTOR

        16.1. CONTINUED CORPORATE EXISTENCE. The Archdiocese will, as the
Reorganized Debtor, continue to exist after the Effective Date as a separate entity in accordance
with Minn. Stat. Section 315.16 having tax-exempt status under 26 U.S.C. § 501(c)(3) under
applicable law and without prejudice to any right to alter or terminate such existence under
applicable state law, except as such rights may be limited and conditioned by the Plan and the
documents and instruments executed and delivered in connection therewith.

         16.2. VESTING OF ASSETS. In accordance with Sections 1141 and 1123(a)(5) of the
Bankruptcy Code, and except as otherwise provided in the Plan or the Confirmation Order, the
Reorganization Assets shall vest in the Reorganized Debtor (or such other entity or entities
specified by the Debtor in a Supplemental Plan Document, and subject to approval by the
Bankruptcy Court at the confirmation hearing) on the Effective Date free and clear of all liens,
claims, and interests of creditors, including successor liability claims. On and after the Effective
Date, the Reorganized Debtor may operate and manage its affairs and may use, acquire, and
dispose of property without notice to any Person, and without supervision or approval by the
Bankruptcy Court and free of any restrictions imposed by the Bankruptcy Code, Bankruptcy
Rules, or the Bankruptcy Court, other than those restrictions expressly imposed by the Plan or the
Confirmation Order. Notwithstanding the foregoing, or any other provision of this Plan,
confirmation of this Plan shall not disturb the mortgage or other lien interests of any party with a
lien interest in real estate constituting part of the Reorganization Assets, including, without
limitation, the mortgage interest of Bremer Bank, National Association in the property located at
2501 State Highway 100, St. Louis Park, Minnesota, and the mortgage interest of North American
Banking Company in the property located at 1350 Gardena Avenue NE, Fridley, Minnesota,
which interests (together with the interests in Class 10) shall be retained following confirmation
of this Plan.

         16.3. IDENTITY OF OFFICERS OF REORGANIZED DEBTOR. In accordance
with § 1129(a)(5) of the Bankruptcy Code, the identities and affiliations of the Persons proposed
to serve as the corporate Members of the Reorganized Debtor and the persons proposed to serve


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as directors and officers of the Reorganized Debtor on and after the Effective Date are set forth on
Exhibit J.

        16.4. FURTHER AUTHORIZATION. The Reorganized Debtor shall be entitled to
seek such orders, judgments, injunctions, rulings, and other assistance as it deems necessary to
carry out the intentions and purposes, and to give full effect to the provisions, of the Plan.

                                       ARTICLE XVII
                                 MISCELLANEOUS PROVISIONS

       17.1.      RETENTION OF JURISDICTION

                 (a)     By the Bankruptcy Court. Pursuant to Sections 105, 1123(a)(5), and
         1142(b) of the Bankruptcy Code, and 28 U.S.C. Sections 1334 and 157, on and after the
         Effective Date, the Bankruptcy Court shall retain: (i) original and exclusive jurisdiction
         over this Chapter 11 case, (ii) original, but not exclusive, jurisdiction to hear and
         determine all core proceedings arising under the Bankruptcy Code or arising in this
         Chapter 11 case, and (iii) original, but not exclusive, jurisdiction to hear and make
         proposed findings of fact and conclusions of law in any non-core proceedings related to
         this Chapter 11 case and the Plan, including matters concerning the interpretation,
         implementation, consummation, execution, or administration of the Plan. Subject to, but
         without limiting the generality of the foregoing, the Bankruptcy Court’s post-Effective
         Date jurisdiction shall include jurisdiction:

                           (1)   over disputes concerning the ownership of claims;

                         (2)     over disputes concerning the distribution or retention of assets
                  under the Plan;

                        (3)      over objections to claims, motions to allow late-filed claims, and
                  motions to estimate claims;

                         (4)    over proceedings to determine the extent, validity, or priority of
                  any Lien asserted against property of the Archdiocese, the Estate, or Trust, or
                  property abandoned or transferred by the Archdiocese, the Estate, or the Trust;

                          (5)     over motions to approve Insurance Settlement Agreements entered
                  into after the Effective Date by the Trustee;

                         (6)     over matters related to the assets of the Estate or of the Trust,
                  including the terms of the Trust, or the recovery, liquidation, or abandonment of
                  Trust Assets;

                         (7)     the removal of the Trustee and the appointment of a successor
                  Trustee;

                           (8)   over matters relating to the subordination of claims;

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                         (9)      to enter and implement such orders as may be necessary or
                  appropriate in the event the Confirmation Order is for any reason stayed, revoked,
                  modified or vacated;

                          (10) to consider and approve modifications of or amendments to the
                  Plan, to cure any defects or omissions or to reconcile any inconsistencies in any
                  order of the Bankruptcy Court, including the Confirmation Order;

                          (11) to issue orders in aid of execution, implementation, or
                  consummation of the Plan, including the issuance of orders enforcing any and all
                  releases and injunctions issued under or pursuant to this Plan and any
                  Archdiocesan Insurance Settlement Agreement;

                         (12) over disputes arising from or relating to the Plan, the Confirmation
                  Order, or any agreements, documents, or instruments executed in connection
                  therewith;

                          (13) over requests for allowance of payment of claims entitled to
                  priority under Sections 507(a)(2) and 503(b)(9) of the Bankruptcy Code and any
                  objections thereto;

                           (14)   over all Fee Applications;

                         (15) over matters concerning state, local, or federal taxes in accordance
                  with Sections 346, 505, and 1146 of the Bankruptcy Code;

                         (16) over conflicts and disputes among the Trust, the Reorganized
                  Debtor, and holders of claims, including holders of Class 6 or Class 7 Claims;

                          (17) over disputes concerning the existence, nature, or scope of the
                  Archdiocese’s discharge, including any dispute relating to any liability arising out
                  of the termination of employment or the termination of any employee or retiree
                  benefit program, regardless of whether such termination occurred prior to or after
                  the Effective Date;

                          (18) to issue injunctions, provide declaratory relief, or grant such other
                  legal or equitable relief as may be necessary or appropriate to restrain interference
                  with the Plan, the Archdiocese or its property, the Reorganized Debtor or its
                  property, the Estate or its property, the Trust or its property, Trustee, the
                  Professionals, or the Confirmation Order;

                           (19)   to enter a Final Decree closing the Chapter 11 case;

                           (20)   to enforce all orders previously entered by the Bankruptcy Court;
                  and




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                         (21) over any and all other suits, adversary proceedings, motions,
                  applications, and contested matters that may be commenced or maintained
                  pursuant to this Chapter 11 case or the Plan.

                 (b)     By the District Court. Pursuant to Sections 105, 1123(a)(5), and 1142(b)
         of the Bankruptcy Code, and 28 U.S.C. Section 1334, on and after the Effective Date, the
         District Court shall retain original, but not exclusive, jurisdiction to hear and determine
         all matters arising under the Bankruptcy Code or arising in or related to this Chapter 11
         case.

                 (c)    Actions to Collect Amounts Owed Pursuant to the Plan.
         Notwithstanding anything to the contrary in this Section, the Archdiocese, the
         Reorganized Debtor and the Trustee may, but are not required to, commence an
         adversary proceeding to collect amounts owed pursuant to the Plan for any settlements
         embodied in the Plan or later approved by the Bankruptcy Court, which are not paid in
         accordance with this Plan. Any such action may be commenced by filing a motion in aid
         of confirmation with the Bankruptcy Court.

                 (d)    Case Closure. The existence and continued operation of the Trust shall
         not prevent the Bankruptcy Court from closing this Chapter 11 case. In an action
         involving the Trust, any costs incurred in reopening the Chapter 11 case, including any
         statutory fees will be paid by the Trustee from the Trust Assets in accordance with an
         order of the Bankruptcy Court.

       17.2.      BANK MORTGAGES AND LIENS

                 (a)    North American Banking Company. Notwithstanding anything to the
         contrary in this Plan, all Liens and security interests grated by the Debtor in favor of
         North American Banking Company, including without limitation the lien evidenced by
         that certain Amended and Restated Mortgage, Security Agreement, Assignment of Leases
         and Rents and Fixture Financing Statement dated April 10, 2014, executed and delivered
         by the Debtor in favor of North American Banking Company, shall remain in full force
         and effect.

                (b)    Bremer Bank. Notwithstanding anything to the contrary in this Plan, all
         Liens and security interests grated by the Debtor in favor of Bremer Bank, including
         without limitation the lien evidenced by that certain Mortgage, Security Agreement,
         Assignment of Leases and Rents and Fixture Financing Statement dated June 23, 2011,
         executed and delivered by the Debtor in favor of Bremer Bank, shall remain in full force
         and effect.

         17.3. CONTINUATION OF FUTURE CLAIMANT REPRESENTATIVE.
Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective Date, the
Future Claimant Representative shall continue until the funds in the Future Claimant Reserve
Fund are completely distributed as provided in the Plan or as directed by a future order of the
Bankruptcy Court, or otherwise. In the absence of a Future Claimant Representative, the Trustee
shall act on behalf of Class 7 Claimants in accordance with the Plan and Trust Agreement.

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        17.4. ASSUMPTION OF EXECUTORY CONTRACTS. On the Effective Date,
except for any executory contract: (i) that was previously rejected by an order of the Bankruptcy
Court or otherwise pursuant to Section 365 of the Bankruptcy Code; or (ii) that is subject to a
pending motion to reject before the Bankruptcy Court, and except as otherwise provided in the
Plan, Confirmation Order, or Insurance Settlement Agreements, each executory contract entered
into by the Debtor prior to the Petition Date that has not previously expired or terminated
pursuant to its own terms, shall be assumed pursuant to Sections 365 and 1123 of the Bankruptcy
Code, effective as of the Confirmation Date. The Confirmation Order shall constitute an order of
the Bankruptcy Court approving such assumption pursuant to Sections 365 and 1123 of the
Bankruptcy Code as of the Effective Date. Any cure payment shall be promptly paid by the
Reorganized Debtor.

         17.5. INDEMNIFICATION OF MEMBERS, MANAGERS, OFFICERS, AND
 EMPLOYEES. The obligation of the Archdiocese to indemnify any individual serving at any
time on or prior to the Effective Date, as one of its officers, employees, council members or
volunteers by reason of such individual’s service in such capacity, to the extent provided in any of
the Archdiocese’s constituent documents or by a written agreement with the Debtor or under the
laws of the State of Minnesota pertaining to the Archdiocese, will be deemed and treated as
Executory Contracts that are assumed by the Reorganized Debtor, pursuant to the Plan and
Bankruptcy Code Section 365 as of the Effective Date. Notwithstanding the foregoing, under no
circumstances will the Archdiocese or the Reorganized Debtor assume or be responsible for any
alleged indemnification of any Person against whom the Archdiocese has determined or may, in
the future, determine, that there are credible allegations of Abuse asserted against such Person or
such Person has or may have engaged in some other conduct that would excuse the Reorganized
Debtor from providing any indemnification to such Person.

        17.6. LEASE CLAIM INDEMNITY. The Reorganized Debtor will fully indemnify
the Debtor’s estate, and any successor to the Debtor’s estate, including but not limited to any trust
formed for the benefit of creditors, from and for any claim(s) arising out of the breach of the
Lease asserted after confirmation, regardless of whether such claim(s) arise(s) before or after the
confirmation of a plan by the Debtor.

          17.7. DEFENSE AND INDEMNITY FOR COVERED NON-TORT CLAIMS.
After the Effective Date, the Reorganized Debtor will defend and indemnify any Catholic Entity,
Other Insured Entity, or Seminary with respect to any Covered Non-Tort Claim and will defend
and indemnify the Settling Insurers Entities with respect to all Channeled Claims that are not Tort
Claims, Related Insurance Claims, or Medicare Claims. As to any Claim against the Trust that
qualifies as a Covered Non-Tort Claim, the Reorganized Debtor will also undertake on behalf of
the Trust the enforcement of the injunctions set forth in Article XIV, will defend the Covered
Non-Tort Claim, and, if judgment is entered on such Claim, will indemnify the Trust for any
liability for such Claim. The Reorganized Debtor may not seek insurance coverage for the
Claims defended or indemnified under this section from the Settling Insurers under any Settling
Insurer Entity Policy. Nothing in this provision or any other Plan provision is intended to suggest
that any Person is entitled to obtain a judgment on a Covered Non-Tort Claim or other Channeled
Claim, that such judgment would be covered under any Settling Insurer Entity Policy, or that any
Person is entitled to seek coverage for such judgment against any Protected Party or Settling
Insurer Entity in violation of the Discharge, Channeling Injunction, or Supplemental Insurer
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Injunction. For the avoidance of doubt, nothing contained in this Section or the Plan is intended to
provide, expand, modify or add coverage for the Archdiocese or any other Protected Party under
any Archdiocesan Insurance Policy to cover the Archdiocese’s indemnification of any Covered
Non-Tort Claims.

        17.8. RESERVATION OF RIGHTS. In accordance with the provisions of this Plan,
the Archdiocese reserves the right to sell property of the Estate or compromise Causes of Action
on behalf of the Estate at any time prior to the Effective Date, subject to Bankruptcy Court
approval. Notice of any such sale or compromise sought as part of the Plan shall be filed as a
Supplemental Plan Document, and approval of such sale or settlement shall be considered at the
confirmation hearing or as soon thereafter as is practicable.

         17.9. NON-APPEALABLE ORDER. Except as otherwise expressly provided in the
Plan, any requirement in the Plan for a Non-Appealable Order may be jointly waived by the Plan
Proponents upon written notice to the Bankruptcy Court provided that Plan Proponents first
obtain the consent of all Archdiocesan Settling Insurers.

         17.10. AMENDMENTS AND MODIFICATIONS. The Plan Proponents may jointly
modify the Plan at any time prior to the confirmation hearing in accordance with Section 1127(a)
of the Bankruptcy Code. After the Confirmation Date and prior to substantial consummation, the
Plan Proponents may jointly modify the Plan in accordance with Section 1127(b) of the
Bankruptcy Code by filing a motion on notice as required under the applicable Bankruptcy Rules,
and the solicitation of all creditors and other parties in interest shall not be required unless
directed by the Bankruptcy Court. Notwithstanding the foregoing, no modification to the Plan
shall be made without the consent of the Settling Insurers.

        17.11. U.S. TRUSTEE REPORTS. From the Effective Date until the case is closed, the
Reorganized Debtor shall, within thirty (30) days of the end of each fiscal quarter, file with the
Bankruptcy Court and submit to the U.S. Trustee, quarterly reports setting forth all receipts and
disbursements as required by the U.S. Trustee guidelines. The Reorganized Debtor will not be
required to file monthly operating reports or provide copies of bank account statements.

        17.12. NO WAIVER. The failure of the Archdiocese to object to any claim for purposes
of voting shall not be deemed a waiver of the Archdiocese’s, the Reorganized Debtor’s, or the
Trustee’s right to object to such claim, in whole or in part.

         17.13. TAX EXEMPTION. Pursuant to Section 1146 of the Bankruptcy Code, the
delivery or recording of an instrument of transfer on or after the Confirmation Date shall be
deemed to be made pursuant to and under the Plan, including any such acts by the Archdiocese (if
prior to the Effective Date), and the Reorganized Debtor (if on or after the Effective Date),
including any subsequent transfers of property by the Reorganized Debtor, and shall not be taxed
under any law imposing a stamp tax, transfer tax, state deed tax, or similar tax or fee. Consistent
with the foregoing, each recorder of deeds or similar official for any county, city, or governmental
unit in which any instrument hereunder is to be recorded shall, pursuant to the Confirmation
Order and the Plan, be ordered and directed to accept such instrument, without requiring the
payment of any documentary stamp, tax, deed stamps, stamp tax, transfer tax, intangible tax, or
similar tax.
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         17.14. NON-SEVERABILITY. Except as specifically provided herein, the terms of the
Plan constitute interrelated compromises and are not severable, and no provision of the Plan may
be stricken, altered, or invalidated, except by amendment of the Plan by the Plan Proponents.

         17.15. REVOCATION. The Plan Proponents reserve the right to revoke and withdraw
the Plan prior to the Confirmation Date, provided they first obtain the consent of all Archdiocesan
Settling Insurers, in which case the Plan shall be null and void and, in such event, nothing
contained herein shall be deemed to constitute a waiver or release of any claims by or against the
Archdiocese, the UCC, or any other Person or to prejudice in any manner the rights of the
Archdiocese, the UCC, or any other Person in any further proceedings involving the Archdiocese,
or be deemed an admission by any party, including with respect to the amount or allowance of
any claim or the value of any property of the Estate.

         17.16. CONTROLLING DOCUMENTS. In the event and to the extent that any
provision of the Plan or Trust Agreement is inconsistent with any provision of the disclosure
statement, the provisions of the Plan or Trust Agreement, as applicable, shall control and take
precedence. In the event and to the extent that any provision of the Trust Agreement (other than
provisions relating to the Trustee’s authority to act) is inconsistent with any provision of this Plan,
this Plan shall control and take precedence. In the event and to the extent that any provision of the
Confirmation Order is inconsistent with any provision of the Plan or the Trust Agreement, the
provisions of the Confirmation Order shall control and take precedence. To the extent that any
provision of the Plan, the Trust Agreement, or the Confirmation Order is inconsistent with the
Archdiocese Insurance Settlement Agreements, the Archdiocese Insurance Settlement
Agreements control.

         17.17. GOVERNING LAW. Except to the extent a rule of law or procedure is supplied
by federal law (including the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure),
and unless specifically stated, the rights, duties, and obligations arising under the Plan, any
agreements, documents, and instruments executed in connection with the Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreements shall
control) shall be governed by, and construed and enforced in accordance with, the laws of the
State of Minnesota, without giving effect to conflicts of law principles.

         17.18. NOTICES. Any notices or requests by parties in interest under or in connection
with the Plan shall be in writing and served either by: (i) certified mail, return receipt requested,
postage prepaid, (ii) hand delivery, or (iii) reputable overnight delivery service, all charges
prepaid, and shall be deemed to have been given when received by the following parties:

         If to the Archdiocese or the Reorganized Debtor:

                                        Joseph F. Kueppers
                                        Chancellor for Civil Affairs
                                        Office of the Chancellor for Civil Affairs
                                        Archdiocese of Saint Paul and Minneapolis
                                            777 Forest Street
                                            Saint Paul, MN 55106
                                        Telephone No.: (651) 291-4400
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                                          Facsimile No.: (651) 290-1629

                  with a copy to:         Briggs and Morgan
                                          2200 IDS Center
                                          80 South Eighth Street
                                          Minneapolis, Minnesota 55402-2157
                                          Attn: Richard D. Anderson
                                                 Charles B. Rogers
                                          Telephone No.: 612-977-8400
                                          Facsimile No.: 612-977-8650

                  If to the Trust or the Trustee:

                                          Berkeley Research Group, LLC
                                          250 Pehle Avenue, Suite 301
                                          Saddle Brook, NJ 07663
                                          Attn: John Esposito
                                          Telephone No.: 201-587-7100

         17.19. FILING OF ADDITIONAL DOCUMENTS. At any time before substantial
consummation, the Archdiocese, the Trust, or the Reorganized Debtor, as appropriate, may file
with the Bankruptcy Court or execute, as appropriate, such agreements and other documents as
may be necessary or appropriate to effectuate and further evidence the terms and conditions of the
Plan, or otherwise to comply with applicable law.

        17.20. POWERS OF OFFICERS. The officers of the Archdiocese or the Reorganized
Debtor, as the case may be, shall have the power to enter into or execute any documents or
agreements that they deem reasonable and appropriate to effectuate the terms of the Plan.

         17.21. DIRECTION TO A PARTY. On and after the Effective Date, the Trust or the
Reorganized Debtor, as applicable, may apply to the Bankruptcy Court for entry of an order
directing any Person to execute or deliver or to join in the execution or delivery of any instrument
or document reasonably necessary or reasonably appropriate to effect a transfer of properties dealt
with by the Plan, and to perform any other act (including satisfaction of any lien or security
interest) that is reasonably necessary or reasonably appropriate for the consummation of the Plan.

         17.22. SUCCESSORS AND ASSIGNS. The Plan shall be binding upon and inure to the
benefit of the Archdiocese and its successors and assigns, including the Reorganized Debtor. The
rights, benefits, and obligations of any entity named or referred to in the Plan shall be binding on,
and shall inure to the benefit of, any heir, executor, administrator successor, or assign of such
entity.

         17.23. CERTAIN ACTIONS. By reason of entry of the Confirmation Order, prior to,
on or after the Effective Date (as appropriate), all matters provided for under the Plan that would
otherwise require approval of the officers of the Archdiocese under the Plan, including: (a) the
adoption, execution, delivery, and implementation of all contracts, leases, instruments, releases,
and other agreements or documents related to the Plan, and (b) the adoption, execution, and

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implementation of other matters provided for under the Plan involving the Archdiocese or
organizational structure of the Archdiocese shall be deemed to have occurred and shall be in
effect prior to, on or after the Effective Date (as appropriate), pursuant applicable non-bankruptcy
law, without any requirement of further action by the officers of the Archdiocese.

         17.24. FINAL DECREE. Once the Estate has been fully administered, as referred to in
Bankruptcy Rule 3022, the Reorganized Debtor, Trustee or such other party as the Bankruptcy
Court may designate in the Confirmation Order, shall file a motion with the Bankruptcy Court to
obtain a Final Decree to close the Chapter 11 case.

         17.25. PLAN AS SETTLEMENT COMMUNICATION. The Plan furnishes or offers
or promises to furnish (or accepts or offers or promises to accept) valuable consideration in
compromising or attempting to compromise claims and Causes of Action that are Disputed as to
validity or amount (including Tort Claims and the Insurance Litigation), except as otherwise
provided above. Accordingly, the Plan, the disclosure statement, and any communications
regarding the Plan or the disclosure statement are subject in all respects to Federal Rule of
Evidence 408 and any comparable provision(s) of applicable state law precluding their use as
evidence of liability for, or the validity or invalidity of, any Disputed claim or Cause of Action.
Nothing herein or in any Confirmed Plan is intended to constitute a compromise of Tort Claims.

         17.26. OTHER RIGHTS. Except as expressly set forth in this Plan, nothing in the Plan
shall preclude any Person from asserting in any proceeding, or against any award or judgment
entered in such proceeding, any and all rights that may be accorded under Minnesota law, or any
other applicable statutory or common law, of contribution, indemnity, reduction, credit, or setoff,
arising from the settlement and resolution of the Tort Claims.

                                        ARTICLE XVIII
                                 BANKRUPTCY RULE 9019 REQUEST

      Pursuant to Bankruptcy Rule 9019 and through the Plan, the Plan Proponents request
approval of all compromises and settlements included in the Plan.

                                         ARTICLE XIX
                                    CONFIRMATION REQUEST

         The Plan Proponents request confirmation of the Plan under Section 1129 of the
Bankruptcy Code with respect to any impaired class that does not accept the Plan or is deemed to
reject the Plan.



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                                 [Signature page for Plan of Reorganization]



                                                      Respectfully submitted,

                                                      THE   OFFICIAL   COMMITTEE         OF
                                                      UNSECURED CREDITORS




                                                      By: James Keenan
                                                      Its: Chairperson




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                                                 THE ARCHDIOCESE OF SAINT PAUL AND
                                                 MINNEAPOLIS


                                                 _______________________________________
                                                 By: ___________________________________
                                                 Its: __________________________________




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                                           EXHIBIT A


                                           [RESERVED]




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                                            EXHIBIT B


                                           [RESERVED]




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                                            EXHIBIT C

                                     GUARANTY OBLIGATIONS


   NAME AND ADDRESS OF CREDITOR                                  CO-DEBTOR(S)
Premier Bank                                         The Cathedral of St. Paul
2866 White Bear Ave                                  239 Selby Ave
Maplewood MN 55109                                   St. Paul MN 55102

                                                     Blessed Sacrament Catholic Church
                                                     2119 Stillwater Ave
                                                     St. Paul MN 55119

Wells Fargo Bank, N.A.                               Catholic Eldercare on Main
7900 Xerxes Avenue South                             817 Main Street NE
Bloomington MN 55413                                 Minneapolis MN 55413

Catholic United Financial                            Church of St. Andrew, Elysian
3499 Lexington Ave N                                 PO Box 261
St Paul MN 55126                                     Elysian MN 56028-0261

                                                     Immaculate Heart of Mary, Minnetonka
                                                     13505 Excelsior Blvd.
                                                     Minnetonka MN 55345-4999

                                                     Sacred Heart Church
                                                     4087 W Broadway Ave
                                                     Minneapolis MN 55422

                                                     St. Gregory the Great Church
                                                     PO Box 609
                                                     North Branch MN 55056-0609

                                                     St. John the Baptist Ch, Excelsior (7/15/93)
                                                     680 Mill Street
                                                     Excelsior MN 55331-3243

                                                     St. John Vianney Church
                                                     789 17th Ave N
                                                     South St. Paul MN 55075-1497

                                                     St. Joseph the Worker, Maple Grove
                                                     7180 Hemlock Lane


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                                                     Maple Grove MN 55369-5597

                                                     St. Jude of the Lake, Mahtomedi
                                                     700 Mahtomedi Ave
                                                     Mahtomedi MN 55115-1698

U.S. Bank National Association                       Holy Family High School
EP-MN-WS3C                                           8101 Kochia Lane
60 Livingston Avenue                                 Victoria MN 55386
St Paul MN 55107

Catholic Order of Foresters                          Our Lady of the Lake Church
355 West Shuman Boulevard                            2385 Commerce Blvd.
Naperville IL 60566                                  Mound MN 55364-1496

                                                     St. Gerard Majella Church
                                                     9600 Regent Ave N
                                                     Brooklyn Park MN 55443

Knights of Columbus                                  St. Alphonsus Church, Brooklyn Center
261 8th St E                                         7025 Halifax Ave N
St Paul MN 55101                                     Brooklyn Center MN 55429-1394

                                                     St. Michael Church, Prior Lake
                                                     16311 Duluth Ave SE
                                                     Prior Lake MN 55372

US Bank                                              St. Ambrose of Woodbury
Mail Station BC-MN-H030                              4125 Woodbury Drive
800 Nicollet Mall                                    Woodbury MN 55129
Minneapolis MN 55402

Catholic Finance Corp                                St. Peter Church, Mendota
5826 Blackshire Path                                 PO Box 50679
Inver Grove Heights MN 55076                         Mendota MN 55150-0679

                                                     Risen Christ School
                                                     1120 East 37th St
                                                     Minneapolis MN 55407




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                                           EXHIBIT D

                                      TRUST AGREEMENT

                                      TRUST AGREEMENT

                 THE ARCHDIOCESE OF SAINT PAUL AND MINNEAPOLIS
                              TRUST AGREEMENT

        This TRUST AGREEMENT is made and entered in In re The Archdiocese of Saint Paul
and Minneapolis (“Archdiocese”) (Bankr. D. Minn.), Case No. 15-30125, by and between the
Archdiocese of Saint Paul and Minneapolis, and Berkeley Research Group (“Trustee”). This
Trust Agreement is entered into pursuant to the Joint Chapter 11 Plan of Reorganization of the
Archdiocese of Saint Paul and Minneapolis (the “Plan”). Unless otherwise specifically defined
herein, capitalized terms used in this Trust Agreement shall have the meanings assigned to them
in the Plan. Terms defined in the Bankruptcy Code, and not otherwise specifically defined in the
Plan or herein, when used herein, have the meanings attributed to them in the Bankruptcy Code.

                                            RECITALS

       A.     On the Petition Date, the Archdiocese filed a voluntary petition under chapter 11
of the Bankruptcy Code. The Archdiocese continued in possession of its property and has
continued to operate and manage its business as debtor in possession pursuant to Sections
1107(a) and 1108 of Title 11 of the United States Code (the “Bankruptcy Code”).

        B.     It is anticipated that in 2018, the Bankruptcy Court will enter an order confirming
the Plan (the “Confirmation Order”).

       C.       The Plan anticipates the existence of the Trust and the transfer and assignment to
the Trust of the Trust Assets.

       D.     Pursuant to the Plan, the Trust is to use the Trust Assets to pay the Professional
Claims, Statutory Claims, Class 6, Class 7 Claims, and Class 12 Claims (together the “Trust
Claims”), and meet indemnity and other obligations in accordance with the provisions of the
Plan.

        E.      The Trust is established for the benefit of the Beneficiaries and is intended to
qualify as a liquidating trust within the meaning of Treasury Regulation § 301.7701-4(d).

        F.     Pursuant to the Plan and the anticipated Confirmation Order, the Trustee was duly
appointed as a representative of the Estate pursuant to Sections 1123(a)(5), (a)(7), and (b)(3)(B)
of the Bankruptcy Code.

       G.      The Trust is intended to qualify as a “grantor trust” for federal income tax
purposes and the Trustee shall administer and maintain the Trust in compliance with all relevant
guidelines regarding liquidating trusts issued by the Internal Revenue Service (the “IRS”).

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       NOW, THEREFORE, pursuant to the Plan and the Confirmation Order, in
consideration of the premises and the provisions in the Plan, and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged and affirmed, it is
agreed as follows:

                                           ARTICLE I
                                      AGREEMENT OF TRUST

        1.1. CREATION AND NAME. The Debtor hereby creates a trust known as “The
Archdiocese of Saint Paul and Minneapolis Settlement Trust,” which is the Trust provided for in
the Plan.

       1.2. PURPOSE. The purpose of the Trust is to assume responsibility for preserving,
managing and distributing Trust Assets to the holders of Trust Claims in accordance with the
Trust Agreement and the requirements of the Plan.

        1.3. TRANSFER OF ASSETS. Pursuant to the Plan and upon entry of the
Confirmation Order, the Archdiocese will irrevocably transfer, absolutely grant, assign, convey,
set over and deliver to the Trustee, and at such times as set forth in the Plan, all of its right, title
and interest in and to the Trust Assets to be held in trust and for the uses and purposes stated
herein and in the Plan. The Trustee hereby agrees to accept and hold the Trust Assets in trust for
the Beneficiaries subject to the terms of this Trust Agreement and the Plan. The Trustee is
hereby authorized to file with governmental authorities any documents necessary or helpful to
establish the Trust.

        1.4. IRREVOCABILITY. The Trust is irrevocable. The Reorganized Debtor shall
not alter, amend, revoke or terminate the Trust. The Reorganized Debtor shall have no power or
authority to direct the Trustee to return any of the Trust Assets to the Reorganized Debtor. The
Trustee shall nevertheless have the power to amend this Trust for the purpose of conforming this
Trust to the provisions of the Confirmation Order.

         1.5.     BENEFICIARIES. The Beneficiaries of the Trust are:

                  (a)      Holders of Professional and Statutory Claims;

                (b)   Class 6 Claimants whose claims are not disallowed by the Bankruptcy
         Court and whose claims are payable under the Trust Distribution Plan;

                 (c)   Class 7 Claimants whose claims are payable under the Trust Distribution
         Plan as and when such claimants assert their Class 7 Claims; and

                  (d)      Class 12 Claimants;

               (e)     Settling Insurer Entities and the Archdiocese to the extent they are
         indemnified by the Trust.

         1.6.     ACCEPTANCE OF ASSETS AND ASSUMPTION OF LIABILITIES.
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                 (a)     In furtherance of the purposes of the Trust, the Trustee hereby accepts the
         trusteeship of the Trust created by this Trust Agreement and the grant, assignment,
         transfer, conveyance and delivery of assets to the Trust, subject to the terms and
         conditions set forth in this Trust Agreement, the Plan and the Confirmation Order.

                 (b)     In furtherance of the purposes of the Trust, the Trustee, on behalf of the
         Trust, hereby expressly assumes all responsibility for preserving, managing and
         distributing Trust Assets to the Beneficiaries. The Class 6 and Class 7 Claims will be
         evaluated by the Tort Claims Reviewer in accordance with the Trust Distribution Plan
         (“TDP”), attached to the Plan as Exhibit E. Except as otherwise provided in this Trust
         Agreement, the TDP or the Plan, the Trustee shall have all defenses, cross-claims, offsets
         and recoupments, as well as rights of indemnification, contribution, subrogation, and
         similar rights, regarding Beneficiary Claims that the Archdiocese has or would have had
         under applicable law.

                 (c)    The Trustee shall have all the rights, powers and duties set forth in this
         Trust Agreement, the TDP and the Plan, and available under applicable law, for
         accomplishing the purposes of the Trust. The Trustee’s powers are exercisable solely in
         a fiduciary capacity consistent with, and in furtherance of, the purpose of the Trust and in
         accordance with applicable law. The Trustee shall have the authority to bind the Trust
         within the limitations set forth herein but shall for all purposes hereunder be acting in the
         capacity as Trustee, and not individually.

                 (d)    In furtherance of the purposes of the Trust, the Trustee assumes
         responsibility for: (a) making payments to Beneficiaries; (b) receiving, collecting,
         liquidating, maintaining and distributing the Trust Assets; and (c) fulfilling all other
         obligations of the Trust under this Trust Agreement and the Plan. The Trust will be
         administered consistent with the liquidating purpose of the Trust and with no objective to
         continue or to engage in the conduct of a trade or business, except to the extent
         reasonably necessary to preserve the liquidation value of the Trust Assets or as otherwise
         provided in the Plan.

                 (e)    Source of Payments. All Trust expenses and all liabilities of the Trust
         with respect to Beneficiary Claims shall be payable solely by the Trustee out of the Trust
         Assets.

                                         ARTICLE II
                                     CORPUS OF THE TRUST

        2.1.     TRUST COMPOSITION. The Trust Assets shall include all property
transferred to the Trust pursuant to the Plan and future orders of the Bankruptcy Court, including
(but not limited to) all rights of every kind, nature and description transferred to the Trust
pursuant to Section 5.1 of the Plan, future orders of the Bankruptcy Court, or otherwise belonging
to the Trust.



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        2.2.    TRANSFER TO TRUSTEE. From and after the Effective Date of the Plan,
pursuant to, and at such times set forth in the Plan, title to and all rights and interests in the Trust
Assets shall be transferred to the Trustee free and clear of all Liens, claims, encumbrances or
Interests of any kind in such property of any other Person (including all Liens, claims,
encumbrances or Interests of creditors of or holders of claims against or Interests in the
Archdiocese) in accordance with Sections 1123, 1141 and 1146(a) of the Bankruptcy Code,
except as otherwise expressly provided for in the Plan. The Trustee, on behalf of the Trust, shall
receive the Trust Assets when they are transferred to the Trust.

       2.3.    TRUSTEE’S RIGHT TO AND TITLE AND INTEREST IN TRUST
ASSETS. Upon the transfer of the Trust Assets, the Trustee succeeds to all of the Archdiocese’s,
Reorganized Entity’s, and the Estate’s right to and title and Interest in the Trust Assets, and the
Archdiocese, Reorganized Entity, and the Estate will have no further right to or title or Interest in
or with respect to the Trust Assets or this Trust, except as provided herein, in the Plan or the
Confirmation Order.

        2.4.     NO TAX ON TRANSFERS TO TRUST. Pursuant to Section 1146(a) of the
Bankruptcy Code, the delivery of any deed or other instrument of transfer under, in furtherance
of, or in connection with this Trust, including any deeds, bills of sale or assignments executed in
connection with any transfer to the Trust, or receipt, or disposition/sale of assets by the Trust
contemplated by the Plan, shall not be subject to any stamp tax, real estate transfer tax, excise tax,
sales tax, use tax or other similar tax.

        2.5.    SPENDTHRIFT PROVISION. To the fullest extent permitted by law, neither
the principal nor income of the Trust, in whole or part, shall be subject to any legal or equitable
claims of creditors of any Beneficiary or others, nor to legal process, nor be voluntarily or
involuntarily transferred, assigned, anticipated, pledged or otherwise alienated or encumbered
except as may be ordered by the Bankruptcy Court.

        2.6.    TRUST CORPUS. The entirety of the Trust’s corpus shall be available to pay
eligible Beneficiary Claims and authorized Trust expenses. The Trust Corpus shall be allocated,
administered, and distributed as provided in the Plan.

       2.7.   FUTURE TORT CLAIM RESERVE FUND. The Trustee, in consultation with
the Future Tort Claims Representative, shall establish a reserve, subject to approval by the
Bankruptcy Court.

                                         ARTICLE III
                                 POWERS AND DUTIES OF TRUSTEE

       3.1.     POWERS AND DUTIES. The Trustee shall have, in addition to any other
powers and discretions conferred on the Trustee by applicable trust law (to the extent not
inconsistent with applicable Bankruptcy law and/or the Plan), the Plan and other provisions in this
instrument, the following powers and discretions:



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                (a)     To act as custodian of, receive, control, manage, liquidate, monetize and
         dispose of all Trust Assets for the benefit of the Beneficiaries as the Trustee deems
         appropriate to accomplish the purpose of the Trust, in accordance with the terms of this
         Trust Agreement, the Plan and the Confirmation Order;

                 (b)    To abandon any property, including any chose in action, which it
         determines in its reasonable discretion to be of de minimis value or of more burden than
         value to the Trust;

                 (c)   To protect and enforce the rights in and to the Trust Assets by any method
         deemed appropriate including, without limitation, by judicial proceedings or pursuant to
         any applicable bankruptcy, insolvency, moratorium or similar law and general principles
         of equity;

                 (d)    To enter into contracts in the course of administering the Trust Assets for
         liquidation and in conjunction with their disposition under this Trust Agreement and the
         Plan;

                 (e)    To open and maintain bank accounts on behalf of the Trust, deposit funds
         therein and draw checks thereon, as appropriate under this Trust Agreement, the Plan and
         the Confirmation Order;

                (f)      To obtain all reasonably necessary insurance coverage with respect to any
         property that is or may in the future become a Trust Asset;

                 (g)    To incur on behalf of the Trust, and pay from the assets of the Trust, all
         fees, costs and expenses of administering the Trust as provided in this Trust Agreement
         and the Plan. These fees, costs and expenses include: (a) the fees of bankruptcy
         management companies; (b) the fees and costs of Professionals employed by the Trustee,
         such as the Tort Claims Reviewer, investment advisors, accountants, agents, managers,
         attorneys-at-law, actuaries or auditors; and (c) the premiums charged by insurers,
         including, but not limited to, professional liability insurers;

               (h)    In accordance with the Plan and the evaluation of the Tort Claims
         Reviewer pursuant to the TDP, to make distributions to Beneficiaries;

                (i)    In its discretion, to rely on the authenticity of the signature of the Tort
         Claims Reviewer, and the accuracy of the information set forth by, and the
         reasonableness of the determination of, the Tort Claims Reviewer in the administration of
         the TDP and assessment of the Class 6 and Class 7 Claims without any verification or
         confirmation;

                (j)     In its discretion, as a party in interest, to seek enforcement of any
         provision of the Plan pertaining to the Trust;

                (k)     To retain any attorney-at-law, Tort Claims Reviewer, consultant, expert,
         accountant, investment advisor, bankruptcy management company or such other agents
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         and advisors as are necessary and appropriate to effectuate the purpose of, and maintain
         and administer, the Trust and shall be entitled to rely on advice given by such advisors
         within his, her, or its areas of competence;

                (l)    To make, sign, execute, acknowledge and deliver any documents that may
         be necessary or appropriate to effectuate the purpose of the Plan and/or the Trust or to
         maintain and administer the Trust;

                (m)     To seek the examination of any Person under, and subject to, the
         provisions of the Bankruptcy Rules, including Bankruptcy Rule 2004;

                 (n)    To file a motion with the Bankruptcy Court, with notice to the parties in
         interest, for a modification of the provisions of this Trust Agreement if the Trustee
         determines that such modification is necessary to conform to legal and/or administrative
         requirements and to the purpose of the Trust;

                  (o)    Upon any event terminating the Trust, to defer distribution of property
         from the Trust for a reasonable time needed to wind up the affairs of the Trust, including
         time needed to provide for payment of debts and expenses, although Beneficiaries’ rights
         to distributions shall vest immediately;

                (p)    To comply with Bankruptcy Code Section 345 with regard to the
         investment of Trust Assets. The Trustee is relieved of any obligation to diversify;

                (q)     To establish such accounts, funds and reserves, as required by the Plan, for
         ease of administration. Nothing in this provision shall restrict the Trustee’s authority to
         pool such accounts, funds or reserves for investment purposes or require separate bank
         accounts for such accounts, funds or reserves;

                  (r)  To be responsible for only that property delivered to it and have no duty to
         make, nor incur any liability for failing to make, any search for unknown property or
         liabilities;

                 (s)       To comply with the special distribution conditions outlined in Section 6.6
         of the Plan.

      3.2.     LIMITATIONS ON THE TRUSTEE. Notwithstanding anything in this Trust
Agreement to the contrary, the Trustee shall not do or undertake any of the following:

                  (a)      To guaranty any debt;

                  (b)      To loan Trust Assets;

                (c)     To make any transfer or distribution of Trust Assets other than those
         authorized by this Trust Agreement, the Plan or the Confirmation Order;

                  (d)      To engage in any trade or business;
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                (e)    To engage in any investments or activities inconsistent with the treatment
         of the Trust as a liquidating trust within the meaning of Treasury Regulation
         Section 301.7701-4(d).

                                       ARTICLE IV
                                TERMINATION OF THE TRUST

        4.1.      WHEN TERMINATION SHALL OCCUR. The Trustee shall terminate the
Trust after its liquidation and the administration and distribution of the Trust Assets in accordance
with this Trust Agreement and the Plan and the Trustee’s full performance of all other duties and
functions set forth in this Trust Agreement and the Plan. The Trust shall terminate no later than
(b) the eighth (8th) anniversary of the Effective Date.

         4.2.     TERMINATION PROCEDURES. After termination of the Trust and solely for
the purpose of liquidating and winding up its affairs, the Trustee shall continue to act as Trustee
until its duties hereunder have been fully performed. The Trustee shall retain the books, records,
documents and files that shall have been delivered to or created by the Trustee until distribution
of all the Trust Assets. For purposes of this provision Trust Assets will be deemed distributed
when the total amount remaining in the Trust is less than $50,000. At the Trustee’s discretion, all
of such books, records, documents and files may be destroyed at any time following the later of:
(a) the first anniversary of the final distribution of the Trust Assets; and (b) the date until which
the Trustee is required by applicable law to retain such books, records, documents and files;
provided that, notwithstanding the foregoing, the Trustee shall not destroy or discard any books,
records, documents or files relating to the Trust without giving the Reorganized Debtor and the
Beneficiaries reasonable prior written notice thereof.

        4.3.    TERMINATION DISTRIBUTION. Upon termination of the Trust, provided
that all fees and expenses of the Trust have been paid or provided for in full, the Trustee will
deliver all funds and other investments remaining in the Trust, if any, including any investment
earnings thereon to a charity supporting survivors of childhood sexual abuse as set forth in the
Confirmation Order.

        4.4.    DISCHARGE, EXCULPATION AND EXONERATION. Upon termination
of the Trust and accomplishing of all activities described in this Article, the Trustee and its
professionals shall be discharged and exculpated from liability (except for acts or omissions
resulting from the recklessness, gross negligence, willful misconduct, knowing and material
violation of law or fraud of the Trustee or his designated agents or representatives). The Trustee
may, at the expense of the Trust, seek an Order of the Bankruptcy Court confirming the
discharges, exculpations and exoneration referenced in the preceding sentence.

                                  ARTICLE V
             IMMUNITY, LIABILITY AND INDEMNIFICATION OF TRUSTEE

       5.1.     LIMITATIONS ON LIABILITY. Neither the Trustee nor any of its duly
designated agents or representatives or Professionals shall be liable for any act or omission taken
or omitted to be taken by the Trustee in good faith, other than acts or omissions resulting from the

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recklessness, gross negligence, willful misconduct, knowing and material violation of law, or
fraud of the Trustee or its designated agents or representatives. The Trustee may, in connection
with the performance of its functions, and in its sole and absolute discretion, consult with its
attorneys-at-law, accountants, financial advisors and agents and shall not be liable for any act
taken, omitted to be taken, or suffered to be done in accordance with advice or opinions rendered
by such Persons. Notwithstanding such authority, the Trustee shall be under no obligation to
consult with its attorneys-at-law, accountants, financial advisors or agents, and its good faith
determination not to do so shall not result in the imposition of liability on the Trustee, unless such
determination is based on the Trustee’s recklessness, gross negligence, willful misconduct,
knowing and material violation of law, or fraud.

        5.2.     NO RECOURSE AGAINST TRUSTEE PERSONALLY. No recourse shall
ever be had, directly or indirectly, against the Trustee personally, or against any employee,
contractor, agent, attorney-at-law, accountant or other Professional retained in accordance with
the terms of this Trust Agreement or the Plan by the Trustee, by legal or equitable proceedings or
by virtue of any statute or otherwise, nor upon any promise, contract, instrument, undertaking,
obligation, covenant or trust agreement whatsoever executed by the Trustee in implementation of
this Trust Agreement or the Plan, or by reason of the creation of any indebtedness by the Trustee
under the Plan for any purpose authorized by this Trust Agreement or the Plan, it being expressly
understood and agreed that any such promise, contract, instrument, undertaking, obligation,
covenant or trust agreement entered into by the Trustee, whether in writing or otherwise, shall be
enforceable only against and be satisfied only out of the Trust Assets and shall be evidence only
of a right of payment out of the Trust Assets. Notwithstanding the foregoing, the Trustee may be
held liable for its recklessness, gross negligence, willful misconduct, knowing and material
violation of law, or fraud; and if liability on such grounds is established, recourse may be had
directly against the Trustee. The Trust will not be covered by a bond.

        5.3.     INDEMNIFICATION. The Trustee, using Trust Assets, shall defend, indemnify
and hold harmless the Trustee, its officers, directors, agents, representatives and employees to the
fullest extent that a corporation or trust organized under the laws of Minnesota is entitled to
defend, indemnify and hold harmless its trustees, officers, directors, agents, representatives and
employees against any and all costs (including attorneys’ fees and costs), judgments, awards,
amounts paid in settlement, liabilities, expenses, claims, damages or losses incurred by them in
the performance of their duties hereunder; provided that neither the Trustee nor its officers,
directors, agents, representatives or employees shall be defended, indemnified or held harmless in
any way for any liability, expense, claim, damage or loss for which they are ultimately liable
under Section 5.1.

        5.4.    OTHER DUTIES, OBLIGATIONS, INDEMNIFICATION. The Trust will
also assume all duties, obligations and indemnification responsibilities outlined in the Plan and
Insurance Settlement Agreements.

                            ARTICLE VI
     COMPENSATION AND EXPENSE REIMBURSEMENT OF TRUSTEE AND ITS
                              AGENTS

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      6.1.     TRUSTEE COMPENSATION. The Trustee shall be entitled to receive
compensation from the Trust Assets as detailed in Exhibit 2.

        6.2.    COMPENSATION OF TRUSTEE’S AGENTS. Any Person retained by the
Trustee pursuant to this Trust Agreement or the Plan will be entitled to reasonable compensation
for services rendered.

        6.3.     REIMBURSEMENT OF EXPENSES. Any and all reasonable and necessary
costs and expenses incurred by the Trustee and any Person retained by the Trustee, in performing
its respective duties under this Trust Agreement, will be reimbursed by the Trustee from the Trust
Assets.

                                         ARTICLE VII
                                     SUCCESSOR TRUSTEES

        7.1.      VACANCY CAUSED BY TRUSTEE RESIGNATION OR REMOVAL.

                 (a)     The Trustee may resign at any time upon thirty (30) days’ written notice to
         be filed with the Bankruptcy Court. The Trustee shall, within thirty (30) days after such
         resignation takes effect, deliver to the successor Trustee all of the Trust Assets which
         were in the possession of the Trustee along with a complete list of Trust Assets and a
         complete accounting of all transactions engaged by the Trustee while serving as such.

                 (b)     The Bankruptcy Court may remove a Trustee upon finding that the
         Trustee has engaged in a serious breach of fiduciary duty. The removal will take effect
         upon the date the Bankruptcy Court specifies. In the event of removal, the Trustee shall,
         within thirty (30) days after such removal takes effect, deliver to the successor Trustee all
         of the Trust Assets which were in the possession of the Trustee along with a complete list
         of Trust Assets and a complete accounting of all transactions engaged in by the Trustee
         while serving as such.

      7.2.     OUTGOING TRUSTEE OBLIGATIONS. In the event of the resignation or
removal of the Trustee, the outgoing Trustee shall:

                (a)     Execute and deliver by the effective date of resignation or removal such
         documents, instruments, records and other writings as may be reasonably requested by
         the successor Trustee to effect such resignation or removal and the conveyance of the
         Trust Assets then held by the resigning or removed Trustee to the successor Trustee;

                 (b)     Deliver to the successor Trustee all documents, instruments, records and
         other writings relating to the Trust Assets as may be in the possession or under the
         control of the resigning or removed Trustee; and

                (c)   Otherwise assist and cooperate in effecting the assumption of the resigning
         or removed Trustee’s obligations and functions by the successor Trustee.


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                 (d)    The resigning, removed or departed Trustee hereby irrevocably appoints
         the successor Trustee (and any interim trustee) as its attorney-in-fact and agent with full
         power of substitution for it and its name, place and stead to do any and all acts that such
         resigning or removed Trustee is obligated to perform under this Trust Agreement. Such
         appointment shall not be affected by the subsequent disability or incompetence of the
         Trustee making such appointment. The Bankruptcy Court also may enter such orders as
         are necessary to effect the termination of the appointment of the Trustee and the
         appointment of the successor Trustee.

        7.3.    APPOINTMENT OF SUCCESSOR TRUSTEE. Any vacancy in the office of
Trustee shall be filled by the nomination of a majority of the members of the UCC
(notwithstanding dissolution of the UCC on the Effective Date), subject to the approval of the
Bankruptcy Court, after notice and a hearing. If at least three (3) members of the UCC do not
participate in the nomination of a successor Trustee within thirty (30) days after the Trustee
resigns or becomes unable to serve, the counsel for the majority of Tort Claimants shall designate
a successor after notice to Beneficiaries and a hearing.

       7.4.     PRESERVATION OF RECORD OF CHANGES IN TRUSTEES. A copy of
each instrument of resignation, removal, appointment and acceptance of appointment shall be
attached to an executed counterpart of this Trust Agreement.

                                          ARTICLE VIII
                                TRUSTEE REPORTING AND DISCHARGE

       8.1.     ANNUAL ACCOUNTINGS. The Trustee shall prepare, at least annually, and
upon termination of the Trust, a written accounting of the administration of the Trust listing the
current assets (with fair market values) and detailing all transactions that occurred during the
period covered by such accounting. Each such accounting shall be filed with the Bankruptcy
Court. Copies of such accounting shall be available to Beneficiaries upon request.

        8.2.    APPROVAL OF ACCOUNTINGS AND DISCHARGE OF THE TRUSTEE.
The Trustee may file with the Bankruptcy Court a motion for approval of any accounting
described in Section 8.1. Upon the entry of an order of the Bankruptcy Court approving any such
accounting, the Trustee shall be discharged from all liability, with respect to all assets listed and
transactions detailed in such accounting, to the Trust, any Beneficiary or any Person who or
which has had or may then or thereafter have a claim against the Trust for acts or omissions in the
Trustee’s capacity as the Trustee or in any other capacity contemplated by this Trust Agreement
or the Plan.

                                            ARTICLE IX
                                  SECTION 468B SETTLEMENT FUND

        9.1.      GENERALLY.

                (a)    In accordance with the Plan, the Trustee will take all reasonable steps to
         ensure that the Trust will qualify as, and remain, a “Designated” or “Qualified”

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         settlement fund within the meaning of § 468B of the Internal Revenue Code of 1986, as
         amended (the “Tax Code”), and the regulations promulgated pursuant thereto. The
         Archdiocese is the “transferor” within the meaning of Treasury Regulation
         Section 1.468B-1(d)(1). The Trustee shall be classified as the “administrator” within the
         meaning of Treasury Regulation Section 1.468B-2(k)(3).

                 (b)    It is further intended that the transfers to the Trust will satisfy the “all
         events test” and the “economic performance” requirement of Section 461(h)(1) of the Tax
         Code and Treasury Regulation Section 1.461- 1 (a)(2).

       9.2.    EMPLOYER IDENTIFICATION NUMBER. Upon establishment of the Trust,
the Trustee shall apply for an employer identification number for the Trust in accordance with
Treasury Regulation Section 1.468B-2(k)(4).

        9.3.      RELATION-BACK ELECTION. If applicable, the Trustee and the Archdiocese
shall fully cooperate in filing a relation-back election under Treasury Regulation Section 1.468B-
1(j)(2), to treat the Trust as coming into existence as a settlement fund as of the earliest possible
date.

         9.4.     FILING REQUIREMENTS. The Trustee shall cause to be filed, on behalf of
the Trust, all required federal, state, and local tax returns in accordance with the provisions of
Treasury Regulation Section 1.468B-2(k)(1). The Archdiocese or Reorganized Debtor shall file
an election statement(s) satisfying the requirements of Treasury Regulation Section 1.468B-
1(k)(2)(ii) so that the Trust is treated as a grantor trust under Section 671 of the Tax Code and the
regulations promulgated thereunder. The election statement shall be included with the Trust’s
first timely filed trust income tax return. The Archdiocese or Reorganized Debtor shall supply to
the Trustee and to the Internal Revenue Service the statement described in Treasury Regulation
Section 1.468B-3(e)(2) no later than February 15th of the year following each calendar year in
which the Archdiocese or Reorganized Debtor makes a transfer to the Trust.

        9.5.    BROAD POWERS OF THE TRUSTEE. The Trustee is empowered to take all
actions, including such actions as may be consistent with those expressly set forth above, as the
Trustee deems necessary to reasonably ensure that the Trust is treated as a “Designated” or
“Qualified” settlement fund under Section 468B of the Tax Code and the regulations promulgated
pursuant thereto. Further, the Trustee may, unilaterally and without court order, amend, either in
whole or in part, any administrative provision of this Trust Agreement which causes unanticipated
tax consequences or liabilities inconsistent with the foregoing.

                                           ARTICLE X
                                         BENEFICIARIES

       10.1. NAMES AND ADDRESSES. The Trustee shall keep a register (the “Register”)
in which the Trustee shall at all times maintain the names and addresses of the Beneficiaries and
the awards made to the Beneficiaries pursuant to the Plan. The Trustee may rely upon this
Register for the purposes of delivering distributions or notices. In preparing and maintaining this
Register, the Trustee may rely on the name and address of each holder of a Claim as set forth in a

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proof of claim filed by such holder, or proper notice of a name or address change, which has been
delivered by such Beneficiary to the Trustee. The Trustee may deliver distributions and notices to
counsel for any Beneficiary identified in such Beneficiary’s proof of claim or proper notice of a
name or address change.

       10.2. RIGHTS OF BENEFICIARIES. The rights of a Beneficiary under this Trust
Agreement shall, upon the death or incapacity of an individual Beneficiary, pass to the legal
representative of such Beneficiary. A Beneficiary shall have no title to, right to, possession of,
management of, or control of the Trust Assets, or any right to call for a partition or division of the
Trust Assets. Title to all the Trust Assets shall be vested in the Trustee, and the sole interest of
the Beneficiaries shall be the rights and benefits given to such Persons under this Trust
Agreement and the Plan.

         10.3. TAX IDENTIFICATION NUMBERS. The Trustee may require any
Beneficiary to furnish to the Trustee the Beneficiary’s employer or taxpayer identification number
or social security number as assigned by the IRS, and such other records or documents necessary
to satisfy the Trustee’s tax reporting obligations (including, but not limited to, certificates of non-
foreign status). The Trustee may condition the payment of any distribution to any Beneficiary
upon receipt of such number and records or documents.

                                        ARTICLE XI
                                 MISCELLANEOUS PROVISIONS

        11.1. PLAN INCORPORATION. The Plan and the Confirmation Order, including
the Plan’s Miscellaneous Provisions, are incorporated into this Trust Agreement.

       11.2. NOTICES. All notices or deliveries required or permitted hereunder shall be
given as directed in the Plan, to the following:

                  If to the Trust or Trustee:

                  Berkeley Research Group
                  Attn: John P. Esposito, Managing Director
                  250 Pehle Avenue, Suite 301
                  Saddle Brook, NJ 07663

                  If to a Beneficiary:

                  Counsel who signed the Beneficiary’s Proof of Claim or, for an
                  unrepresented claimant, to the address for the claimant provided in the
                  Proof of Claim.

       11.3. WAIVER. No failure or delay of any party to exercise any right or remedy
pursuant to this Trust Agreement shall affect such right or remedy or constitute a waiver by such
party of any right or remedy pursuant thereto. Resort to one form of remedy shall not constitute a
waiver of alternative remedies.

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        11.4. REIMBURSEMENT OF COSTS. If the Trustee or the Trust, as the case may
be, is the prevailing party in a dispute regarding the provisions of this Trust Agreement or the
enforcement thereof, the Trustee or the Trust, as the case may be, shall be entitled to collect any
and all costs, reasonable and documented out-of-pocket expenses and fees, including attorneys’
fees, from the non-prevailing party incurred in connection with such dispute or enforcement
action.

        11.5. ENTIRETY OF TRUST AGREEMENT. This Trust Agreement supersedes any
and all prior oral discussions and agreements with respect to the subject matter hereof. This Trust
Agreement, together with the Exhibits hereto, the Plan, and the Confirmation Order, contain the
sole and entire Trust Agreement and understanding with respect to the matters addressed therein.

       11.6. COUNTERPARTS. This Trust Agreement may be executed in two or more
counterparts, with the same effect as if all signatures on such counterparts appeared on one
document, each of which shall be deemed an original, but all of which together shall constitute
one and the same instrument.

       11.7. CAPTIONS. The captions of Articles and Sections are included for convenience
only and are to be disregarded in interpreting this Trust Agreement.

        11.8. INDEPENDENT LEGAL AND TAX COUNSEL. All parties to this Trust
Agreement have been represented by counsel and advisors (collectively referred to as “Counsel”)
of their own selection in this matter. Consequently, the parties agree that the language in all parts
of this Trust Agreement shall in all cases be construed as a whole according to its fair meaning
and neither strictly for nor against any party. It is specifically acknowledged and understood that
this Trust Agreement has not been submitted to, nor reviewed or approved by, the Internal
Revenue Service or the taxing authorities of any state or territory of the United States of America.

       11.9. APPLICABLE LAW. This Trust Agreement shall be administered under,
governed by, and enforced according to the laws of the State of Minnesota applicable to contracts
and trust agreements made and to be performed therein, except that all matters of federal tax law
and the Trust’s compliance with Section 468B of the Tax Code and Treasury Regulations
thereunder shall be governed by federal tax law, and all matters of federal bankruptcy law shall be
governed by federal bankruptcy law.

        11.10. TERMINATION. This Trust Agreement shall terminate and be deemed void ab
anitio if a Confirmation Order is not entered consistent with the Plan.

      IN WITNESS WHEREOF, the Archdiocese and the Trustee execute this Trust
Agreement as of the date set forth in the opening paragraph.

                                               Trustee:


                                               By:
                                               Printed Name:
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                                              Title:


                                              The Archdiocese of Saint Paul and Minneapolis


                                              By:
                                              Printed Name:
                                              Title:




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                                            EXHIBIT 1

                 THE ARCHDIOCESE OF SAINT PAUL AND MINNEAPOLIS
                            TRUST DISTRIBUTION PLAN

                                           ARTICLE I
                                          DEFINITIONS

       1.1    CAPITALIZED TERMS. Capitalized terms used in this Distribution Plan shall
have the meanings given them in the Plan, the Trust Agreement, or the Bankruptcy Code, unless
otherwise defined herein, and such definitions are incorporated in this Distribution Plan by
reference.

                                   ARTICLE II
                RULES OF INTERPRETATION AND GENERAL GUIDELINES

       2.1. PURPOSE. This Distribution Plan is designed to provide guidance to the Tort
Claims Reviewer in determining the amount of each Tort Claim under the Plan by assigning to
each such Claim a value pursuant to the Evaluation Factors below.

        2.2. GENERAL PRINCIPLES. As a general principle, this Distribution Plan intends
to set out a procedure that provides substantially the same treatment to holders of similar Tort
Claims. The range of values set forth in the Evaluation Factors below and the discretion given to
the Tort Claims Reviewer to determine and to adjust the value to be assigned to a particular Tort
Claim are intended to reflect the relative values of Tort Claims.

        2.3. SOLE AND EXCLUSIVE METHOD. The Evaluation Factors set forth below
shall be the sole and exclusive method by which the holder of a Tort Claim may seek allowance
and distribution of such Claim. Although the factors collectively comprise the methodology that
must be applied in reviewing Claims, the Tort Claims Reviewer may, as indicated below, take
into account considerations in addition to those identified herein when evaluating a Claim within
the parameters of the delineated factors.

       2.4. INTERPRETATION. The terms of the Plan shall prevail if there is any
discrepancy between the terms of the Plan and the terms of these Procedures.

        2.5. CONFIDENTIALITY AND PRIVILEGE. All information that the Tort Claims
Reviewer receives from any source about any Tort Claimant shall be held in strict confidence
and shall not be disclosed absent an Order of the Bankruptcy Court or the written consent of the
Tort Claimant (or such Claimant’s counsel of record). All information the Tort Claims Reviewer
receives from any Tort Claimant (including from counsel to such Claimant) shall be subject to a
mediation privilege and receipt of such information by the Tort Claims Reviewer shall not
constitute a waiver of any attorney-client privilege or attorney work-product claim or any similar
privilege or doctrine.




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        2.6. TORT CLAIMS REVIEWER. Roger Kramer is the Tort Claims Reviewer. The
Tort Claims Reviewer shall conduct a review of each of the Tort Claims and, according to the
guidelines set forth below, shall make determinations upon which individual monetary
distributions will be made subject to the Plan and the Trust Agreement.

                                          ARTICLE III
                                          PROCEDURE

        3.1.    ALLOWANCE OF A TORT CLAIM. A Tort Claim shall be allowed if the Tort
Claims Reviewer determines the Tort Claimant proved his or her claim by a preponderance of the
evidence. If necessary, the Tort Claims Reviewer can ask for additional information to make this
determination. The Tort Claimant may refuse such a request at his or her own risk. If a Tort Claim
is allowed, the Tort Claims Reviewer shall determine the amount of such Tort Claim by assigning
such Tort Claim a value pursuant to the Evaluation Factors. The Tort Claims Reviewer may
consider the credibility of the Tort Claimant and the facts alleged in support of the Claim and, in
the Tort Claims Reviewer’s sole discretion, reduce or deny the Tort Claim. After all Tort Claims
have been evaluated pursuant to the Evaluation Factors, the Trustee shall determine the dollar
value for each Tort Claim based on the Tort Claimant’s pro rata share of the total points assigned
to all Tort Claimants and the available funds for distribution after accounting for necessary
holdbacks including, but not limited to, Trust operating expenses, the Future Tort Claim Reserve
Fund, and the Medicare Holdback. The Trustee shall then make payment to Tort Claimants in
accordance with the Trustee’s powers and duties under Section 3.1(h) of the Trust Agreement.

       3.2.   PROOF OF ABUSE. The Tort Claims Reviewer shall consider all of the facts
and evidence presented by the Tort Claimant in the Tort Claimant’s filed proof of claim. Tort
Claimants may supplement their filed proof of claims to provide additional information to the
Tort Claims Reviewer until a plan is confirmed. Tort Claimants shall have no later than ten (10)
days from the Confirmation Date to provide the Tort Claims Reviewer with any additional
information.

        3.3.    DETERMINATIONS BY THE TORT CLAIMS REVIEWER. The Tort
Claims Reviewer or the Trustee shall notify each Tort Claimant in writing of the monetary
distribution with respect to the Tort Claimant’s claim, which distribution may be greater or
smaller than the actual distribution to be received based on the outcome of any reconsideration
claims. The Tort Claims Reviewer’s determination shall be final unless the Tort Claimant makes a
timely request for the point award to be reconsidered by the Tort Claims Reviewer. The Tort
Claimant shall not have a right to any other appeal of the Tort Claims Reviewer’s point award.

        3.4.    REQUESTS FOR RECONSIDERATION. The Tort Claimant may request
reconsideration by delivering a written request for reconsideration to the Tort Claims Reviewer
within ten (10) calendar days after the date of mailing of the notice of the preliminary monetary
distribution. Each written request must be accompanied by a check for the reconsideration fee,
four hundred dollars ($400). The Tort Claimant, with the request for reconsideration, may submit




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additional evidence and argument in support of such request. The Tort Claimant’s monetary
distribution amount may go up or down as a result of his or her request for reconsideration. The
Tort Claims Reviewer shall have sole discretion to determine how to respond to the request for
reconsideration. The Tort Claims Reviewer’s determination of such request for reconsideration
shall be final and not subject to any further reconsideration, review or appeal by any party,
including a court.

       3.5.     DECEASED ABUSE SURVIVOR. The Tort Claims Reviewer shall review the
claim of a deceased Tort Claimant without regard to the Claimant’s death, except that the Tort
Claims Reviewer may require evidence that the person submitting the claim on behalf of the
decedent is authorized to do so.



                                ARTICLE IV
           GUIDELINES FOR ALLOCATION FOR ABUSE SURVIVOR CLAIMS

       4.1.   EVALUATION FACTORS. Each Tort Claim will be evaluated by the Tort
Claims Reviewer. Each Claim will be assigned points according to the following system.

                  (a)      Abuser Profile. Point values should be assigned in

                          (1)     40 points should be assigned if the abuser is on the Archdiocese’s
                  “Credibly Accused” list and the abuse occurred after the Archdiocese’s adoption
                  of the Charter for the Protection of Children and Young People.

                         (2)   15 points should be assigned if the abuser is on the Archdiocese’s
                  “Credibly Accused” list;

                         (3)    10 points should be assigned if the abuser is on any list of credibly
                  accused besides the Archdiocese’s list; and

                        (4)      5 points should be assigned if the abuser was accused by other Tort
                  Claimants but is not on any list.

                If the Tort Claimant was abused by more than one abuser, the Tort Claims
         Reviewer shall assign points based on the abuser that earns the highest number of points
         under the Abuser Profile.

                 (b)    Nature of Abuse & Circumstances. A point value ranging from 0 to 40
         should be allocated for this section. Considerations should include, but are not limited to,
         the following factors:

                           (1)    The duration and/or frequency of the abuse;




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                          (2)    Type of abuse: e.g. penetration, attempted penetration,
                  masturbation, oral sex, touching under the clothing, touching over the clothing,
                  kissing, sexualized talk;

                           (3)    Circumstances of abuse:

                                    (i)    grooming behaviors including but not limited to special
                            privileges, special activities, and attention, social relationship with
                            parents, personal relationship with claimant, opportunity to experience
                            sports or activities, isolation from others, use of alcohol or illicit drugs by
                            abuser or claimant or use of or exposure to pornography;

                                   (ii)   coercion or threat or use of force or violence, stalking;

                                    (iii) relationship of claimant to perpetrator including but not
                            limited to whether claimant was a parishioner or student, held perpetrator
                            in high regard, whether perpetrator was in position of trust, whether
                            perpetrator had unsupervised access to claimant, and whether claimant
                            valued relationship with perpetrator;

                                   (iv)   multiple perpetrators involved in sexual misconduct;

                                    (v) location of abuse, including but not limited to isolated
                            location, Tort Claimant’s home, rectory, church, cabin, orphanage,
                            boarding school, trip.

                 (c)     Impact of the Abuse. Overall, this category looks to how the abuse
         impacted the claimant. This includes how the abuse impacted the claimant’s mental
         health, physical health, spiritual well-being, inter-personal relationships, vocational
         capacity or success, academic capacity or success, and whether the abuse at issue resulted
         in legal difficulties for the claimant. Some of these considerations may include the below
         factors, but the below list is not intended to be exhaustive. A point value ranging from 0
         to 40 should be allocated for this section.

                 The Tort Claim Review should consider, along with any and all other relevant
         factors, whether the abuse at issue manifested, or otherwise led the claimant to
         experience, or engage in behaviors resulting from:

                          (1)   Mental Health Issues: This includes but is not limited to anxiety,
                  depression,    post-traumatic stress disorder, substance abuse, addiction,
                  embarrassment, fear, flashbacks, nightmares, sleep issues, sleep disturbances,
                  exaggerated startle response, boundary issues, self-destructive behaviors, guilt,
                  grief, homophobia, hostility, humiliation, anger, isolation, hollowness, regret,




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                  shame, isolation, sexual addiction, sexual problems, sexual identity confusion,
                  low self-esteem or self-image, bitterness, suicidal ideation and suicide attempts.

                          (2)     Physical Health Issues: This includes but is not limited to physical
                  manifestations of emotional distress, gastrointestinal issues, headaches, high
                  blood pressure, physical manifestations of anxiety, erectile dysfunction, heart
                  palpitations, sexually-transmitted diseases, physical damage caused by acts of
                  abuse, reproductive damage, self-cutting and other self-injurious behavior.

                         (3)     Spiritual Wellbeing: This includes but is not limited to loss of faith
                  in God, loss of faith and trust in religion and spiritual distress.

                          (4)     Interpersonal Relationships: This includes but is not limited to
                  problems with authority figures, hypervigilance, sexual problems, marital
                  difficulties, problems with intimacy, lack of trust, isolation, betrayal, impaired
                  relations, secrecy, social discreditation and isolation; damage to family
                  relationships, and fear of children or parenting;

                         (5)   Vocational Capacity: This includes but is not limited to under- and
                  un-employment, difficulty with authority figures, difficulty changing and
                  maintaining employment, feeling of unworthiness or guilt related to financial
                  success.

                         (6)    Academic Capacity: This includes but is not limited to school
                  behavior problems.

                          (7)     Legal Difficulties: This includes but is not limited to criminal
                  difficulties, bankruptcy, fraud.

                         (8)     Future Impact: The Tort Claims Reviewer shall award an
                  additional 35 points to Claimants who were abused by Credibly Accused priests
                  and were under 21 at the adoption of the Child Victims Act.

                 (d)    Claimant Involvement. The Tort Claims Reviewer shall consider that all
         Claimants have benefited from the work and cost incurred by those Claimants who have
         previously asserted claims against the Archdiocese and have participated in the legal and
         factual development of claims against the Archdiocese. A point value ranging from 0 to 5
         should be allocated for this section.

                 The Tort Claim Review should consider factors including but not limited to
         whether the Claimant has filed a lawsuit; whether the Claimant and/or the Claimant’s
         family has been subject to a deposition, mediation or interview; whether the Claimant has
         participated on the committee representing survivors; and whether the Claimant




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         participated in publicizing the issue of clergy sex abuse which has benefitted all
         claimants.

                 (e)     Pending Lawsuit. If the Tort Claimant has a pending state court lawsuit
         related to the abuse against a Catholic Entity, the Tort Claims Reviewer shall award the
         Tort Claimant an additional 30 points. Further, if the Tort Claimant was a party to the
         criminal charges brought against the Archdiocese by Ramsey County, the Tort Claims
         Reviewer shall award an additional 35 points.


                                          ARTICLE V
                                    ADDITIONAL PROVISIONS

       5.1.     REDUCTION. If the Tort Claimant’s abuser(s) belonged to a religious order, the
Tort Claimant’s final monetary distribution shall be reduced by thirty-three percent (33%). If the
reduction result is not a whole number, the Tort Claims Reviewer should round up to the nearest
whole number.

        If a Tort Claimant is also a clergy abuser in another allowed Tort Claim, then his points
will be reduced by the number of points allocated to his victim(s).

5.2. MINIMUM PAYMENT. Notwithstanding anything to the contrary herein or in the Plan,
every holder of an allowed Tort Claim shall receive a distribution of at least $50,000, unless the
Claim is disallowed in its entirety by an Order of the Bankruptcy Court or a decision by the Tort
Claims Reviewer.




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                                             EXHIBIT E

                          RELEASE AND MEDICARE CERTIFICATION


To be entitled to receive any compensation under the Plan, you must execute and deliver this
Release and the Medicare Certification.


    1. All capitalized terms in this Release And Medicare Certification are defined terms in the
       Joint Plan and they have the meanings ascribed to them in the Joint Plan.

    2. In consideration of the promise of the Trust to make me a distribution, the amount
       payable to me under the Trust Distribution Plan, and other valuable consideration, I, for
       myself and my heirs, successors, and assigns:

             a. Hereby fully, finally, and completely release, remise, acquit, and forever
                discharge the Settling Insurer Entities with respect to the Settling Insurer Entity
                Policies from any and all past, present, and future Claims that, directly or
                indirectly, arise out of, relate to, or are in connection with the i) Tort Claims; ii)
                Related Insurance Claims; iii) the Settling Insurer Entity Policies; and iv) all
                Claims that, directly or indirectly, arise from, relate to, or are in connection with
                the Reorganization Case.

             b. Hereby covenant (i) not to sue or seek recovery or relief of any kind from the
                Protected Parties or Settling Insurer Entities in connection with any and all past,
                present, and future Claims that, directly or indirectly, arise out of, relate to, or are
                in connection with the Tort Claims, Related Insurance Claims, the Settling Insurer
                Entity Policies, or the Reorganization Case; (ii) to forever and irrevocably
                discharge that fraction, portion or percentage of damages I claim to have suffered
                in connection with any Abuse which is by trial or other disposition determined to
                be the causal fault or responsibility, if any, of any Protected Party; (iii) to
                voluntarily reduce any judgment that I may ever obtain against any Person
                relating to the same Abuse at issue in the Tort Claims or other claims of abuse or
                neglect in an amount reflecting that fraction, portion or percentage of damage or
                injury that I suffered due to the causal fault or responsibility, if any, of any
                Protected Party; (iv) that filing of this Release and Medicare Certification with
                any court by any Protected Party shall satisfy that fraction, portion or percentage
                of any judgment that may be rendered in my favor attributable to any Protected
                Party’s causal fault or responsibility; (v) that I will not seek a reallocation of the
                causal fault or causal responsibility of any Protected Party to any other Person
                whether assessed by reason of judgment or settlement; and (vi) this Release and
                Medicare Certification extinguishes any potential liability of any Protected Party




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                  for contribution or indemnity to any Person who has been or may be held liable to
                  me for any Tort Claim.

3.       I have been provided with copies of the Disclosure Statement, the Joint Plan and the
         exhibits thereto and have been given an opportunity to review such documents.

4.       I expressly reserve and retain my rights to recover from any Person for liability for any
         Abuse except as provided in this Release and Medicare Certification do not intend that
         payment by the Trust constitutes full compensation for the damage alleged in my Tort
         Claim(s).

5.       I intend the foregoing undertakings to accord with the principles set forth in Pierringer v.
         Hoger, 124 N.W.2d 106 (Wis. 1963) and Frey v. Snelgrove, 269 N.W.2d 918 (Minn.
         1978).

6.       I understand and agree that any payment by the Trust to me does not constitute an
         admission of liability of any kind or nature by the Archdiocese, the Reorganized Debtor,
         the Trust, any Settling Insurer Entity or any Protected Party.

7.       I consent to, and agree to be bound by, the Discharge and the Injunctions set forth in
         Article XIV of the Joint Plan, including the injunctive relief for the benefit of the Settling
         Insurer Entities and Protected Parties. I also approve of the Insurance Settlement
         Agreements embodied in the Joint Plan.

8.       I understand that payment from the Trust constitutes damages on account of personal
         physical injuries or sickness arising from an occurrence, within the meaning of Section
         104(a)(2) of the Internal Revenue Code of 1986, as amended.

9.       I represent and warrant that I have not assigned or otherwise transferred any interest in
         my Tort Claim(s).

10.      I have or will provide for the payment and/or resolution of any obligations owing or
         potentially owing under the Medicare Secondary Payer Statue relating to my Tort
         Claim(s).

11.      I consent to the release of information relating to my Medicare entitlement from the
         Social Security Administration and CMS to the Trustee and all other professionals
         retained by the Trust, and further authorize the Trustee and other Trust professionals to
         execute on my behalf any requests, including consents for release of information, for
         information relating to my Medicare entitlement and any obligations owing or potentially
         owing under the Medicare Secondary Payer Statute relating to my Tort Claim(s), from
         the Social Security Administration and CMS.




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12.      This Release and Medicare Certification shall be binding upon my successors, heirs,
         agents and representatives.

TO BE COMPLETED BY TORT CLAIMANT:

                   Name of Tort Claimant:

                                           By:

                                  Signature:

                                  Dated:

                            Claim Number(s):




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                                            EXHIBIT F

                                           [RESERVED]




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                                            EXHIBIT G

                                           [RESERVED]




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                                        EXHIBIT H

                             LIST OF CURRENT PARISHES

Parish                                              Address
The Church of All Saints of Lakeville, Minnesota,   19795 Holyoke Ave
including the parish school                         Lakeville, MN 55044
The Church of the Annunciation of Hazelwood,        4996 Hazelwood Ave
Minnesota                                           Northfield, MN 55057-4255
The Church of the Annunciation of Minneapolis,      509 54th St W
including the parish school, and including The      Minneapolis, MN 55419
Church of the Visitation in Minneapolis.
The Church of the Ascension of Norwood,             323 Reform St N
Minnesota                                           Norwood Young America, MN 55368
The Church of the Ascension of Minneapolis,         1723 Bryant Ave N
Minnesota, including the parish school and the      Minneapolis, MN 55411
former parish of The Church of St. Philip of
Minneapolis, Minnesota
The Church of the Assumption                         51 7th St W
                                                     St. Paul, MN 55102
The Church of the Assumption of Richfield, 305 East 77th St
Minnesota                                            Richfield, MN 55423-4312
Basilica of St. Mary of Minneapolis                  88 17th St. N.
                                                     P.O. Box 50010
                                                     Minneapolis, MN 55405
The Church of the Blessed Sacrament of St. Paul, 2119 Stillwater Ave
including The Church of St. Thomas the Apostle, of St. Paul, MN 55119
St. Paul, Minnesota
The Cathedral of Saint Paul, including the former 239 Selby Ave
parish of The Church of St. Vincent of St. Paul, St. Paul, MN 55102
Minnesota
The Church of Christ the King of Minneapolis         5029 Zenith Ave S
                                                     Minneapolis, MN 55410
The Church of All Saints of Minneapolis              435 4th St NE
                                                     Minneapolis, MN 55413-2037
The Church of Corpus Christi of Saint Paul           2131 Fairview Ave N
                                                     Roseville, MN 55113
The Catholic Church of Divine Mercy of Faribault, 139 Mercy Drive
including the parish school, and the former parishes Faribault, MN 55021
of The Church of the Immaculate Conception of
Faribault Minnesota, The Church of the Sacred
Heart of Faribault, Minnesota, and The Church of
St. Lawrence of Faribault, MN.
The Church of The Epiphany of Coon Rapids, 1900 111th Ave NW
Minnesota, including the parish school               Coon Rapids, MN 55433-3728
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Parish                                                Address
The Church of Gichitwaa Kateri                        3045 Park Ave
                                                      Minneapolis, MN 55407-1517
The Church of the Good Shepherd, of Minneapolis,      145 Jersey Ave S
Minnesota, including the parish school                Golden Valley, MN 55426-1527
The Church of the Guardian Angels of Oakdale,         8260 Hudson Blvd
Minnesota                                             Lake Elmo, MN 55042
Church of the Guardian Angels of Chaska, Minn         218 Second St W
including the parish school                           Chaska, MN 55318-1813
The Church of the Holy Childhood, St. Paul,           1435 Midway Pkwy
Minnesota                                             St. Paul, MN 55108-2419
The Church of the Holy Cross of Minneapolis,          1621 University Ave NE
Minnesota, including the Church of Saint Anthony      Minneapolis, MN 55413-1231
of Padua, Church of Saint Hedwig of Minneapolis,
and the former parish of The Church of Saint
Clement.
The Church of the Holy Family of St. Louis Park, 5900 Lake St W
including the parish school                       Saint Louis Park, MN 55416-2033
The Church of the Holy Name of Minneapolis        3637 11th Ave S
                                                  Minneapolis, MN 55407-2625
The Church of the Holy Name of Jesus of Medina, 155 County Rd 24
Minnesota, including the parish school            Wayzata, MN 55391-9614
Dominican Fathers Holy Rosary Church              2424 - 18th Ave S
                                                  Minneapolis, MN 55404
The Church of the Holy Spirit of St. Paul, 515 Albert St S
Minnesota, including the parish school            St. Paul, MN 55116-1611
The Church of the Holy Trinity, including the 308 4th St N
former parishes of The Church of St. Columbkille Goodhue, MN 55027
of Belle Creek, Minnesota and The Church of St.
Mary of Belvidere, Minnesota
The Church of the Holy Trinity of Waterville, 506 Common St
Minnesota                                         Waterville, MN 56096-1513
The Church of the Holy Trinity of South St. Paul, 749 6th Ave S
including the parish school and The Church of St. South St. Paul, MN 55075-3034
Augustine of South St. Paul, Minnesota.
The Church of the Immaculate Conception           116 Alabama St SE
                                                  Lonsdale, MN 55046-0169
The Church of the Immaculate Conception of 109 Angel Ave NW
Watertown, Minnesota                              Watertown, MN 55388-0548
The Church of the Immaculate Conception of 4030 Jackson St NE
Columbia Heights, including the parish school     Columbia Heights, MN 55421-2929




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Parish                                                Address
The Church of the Immaculate Conception of            27528 Patrick St
Marysburg, Minnesota                                  Madison Lake, MN 56063-4117
The Church of the Immaculate Heart of Mary of         13505 Excelsior Blvd
Glen Lake, Minnesota                                  Minnetonka, MN 55345-4913
The Church of the Incarnation of Minneapolis,         3817 Pleasant Ave
including Sargado Corazon de Jesus                    Minneapolis, MN 55409-1228
The Church of Lumen Christi, including The            2055 Bohland Ave
Church of Saint Therese of St. Paul, The Church of    St. Paul, MN 55116
Saint Gregory the Great of Saint Paul, Minnesota,
and the Church of Saint Leo of St. Paul, Minnesota.
The Church of Mary, Mother of the Church of           3333 East Cliff Rd
Burnsville, Minnesota                                 Burnsville, MN 55337-3306
The Catholic Church of Mary Queen of Peace,           21304 Church Ave
including the parish school and the former parishes   Rogers (Hassan Township),
of the Church of Saint Martin of Rogers and The       MN 55374-9189
Church of St. Walberg, of Hasson
The Church of the Maternity of the Blessed Virgin,    1414 Dale St N
Saint Paul, Minnesota, including parish school and    St. Paul, MN 55117-4153
former parish of The Church of St. Andrews of St.
Paul Minnesota
The Church of the Most Holy Redeemer of               206 Vine Ave W
Montgomery, Minnesota, including the parish           Montgomery, MN 56069-1063
school and The Church of St. Canice of Kilkenny,
Minnesota
The Church of the Most Holy Trinity of Wesely,        4939 Washington St
Minnesota                                             Veseli, MN 55046-4007
The Church of The Nativity, of Cleveland,             200 West Main St
Minnesota, including the parish school                Cleveland, MN 56017-0187
The Church of the Nativity of Our Lord, including     1900 Wellesley Ave
the parish school                                     St. Paul, MN 55105-1617
The Church of the Nativity of the Blessed Virgin,     9900 Lyndale Ave S
Oxboro, Minnesota, including parish school            Bloomington, MN 55420-4733
The Church of Our Lady of Grace, in Edina,            5071 Eden Ave
Minnesota, including the parish school and The        Edina, MN 55436
Church of the Most Holy Trinity of St. Louis Park,
Minnesota
The Church of Our Lady of Guadalupe of Saint          401 Concord St
Paul, Minnesota                                       St. Paul, MN 55107-2475
The Church of Our Lady of Lourdes of St.              1 Lourdes Place
Anthony, Minnesota                                    Minneapolis, MN 55414-1018
The Church of Our Lady of Mount Carmel of             701 Fillmore St NE
Minneapolis                                           Minneapolis, MN 55413-2525


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Parish                                                Address
The Church of Our Lady of Peace, including the        5426 12th Ave S
parish school, The Church of St. Kevin and The        Minneapolis, MN 55417-2505
Catholic Church of the Resurrection of Minneapolis
The Church of Our Lady of the Lake of Mound,          2385 Commerce Blvd
Minn., including the parish school                    Mound, MN 55364-1427
The Church of Our Lady of the Prairie, Belle          212 N Chestnut St
Plaine, including the parish school, the former       Belle Plaine, MN 56011
parish of The Church of Sacred Heart of Belle
Plaine, Minnesota and the former parish of The
Church of Saints Peter and Paul of Belle Plaine,
Minn.
The Church of Our Lady of Victory of Minneapolis   5155 Emerson Ave N
                                                   Minneapolis, MN 55430-3414
The Church of Pax Christi of Eden Prairie          12100 Pioneer Trail
                                                   Eden Prairie, MN 55347-4208
The Church of the Presentation of the Blessed 1725 Kennard St
Virgin Mary of Saint Paul, including the parish Maplewood, MN 55109-4603
school
The Church of the Risen Savior, of Apple Valley    1501 County Rd 42 E
                                                   Burnsville, MN 55306-4723
The Church of the Sacred Heart in St. Paul         840 6th St E
                                                   St. Paul, MN 55106-4543
The Church of the Sacred Heart of Rush City 425 Field Ave PO Box 45
Minnesota                                          Rush City, MN 55069
The Church of the Sacred Heart, including the 4087 West Broadway Ave
parish school                                      Robbinsdale, MN 55422-2232
The Church of St. Cyril of Minneapolis, Minnesota 1315 2nd St NE
(also known as the Church of Ss. Cyril and Minneapolis, MN 55413-1131
Methodius)
Parish of Saints Joachim and Anne of Shakopee, 2700 17th Ave E
Minnesota, formerly known as St. Mary of Shakopee, MN 55379-4443
Shakopee, Saint Mark’s Church of Shakopee, Scott
County and The Church of Saint Mary of the
Purification of Marystown, Minn.
The Church of. SS. Peter and Paul of Medina, 145 Railway St E, P.O. Box 96
Minnesota                                          Loretto, MN 55357-0096
The Church of St. Adalbert, of St. Paul, Minnesota 265 Charles Ave
                                                   St. Paul, MN 55103-2005
The Church of St. Agatha of Vermillion, Minnesota 3700 160th St E
                                                   Rosemount, MN 55068-2007
The Church of St. Agnes of St. Paul, Minnesota, 535 Thomas Ave
including the parish school                        St. Paul, MN 55103


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Parish                                                Address
The Church of Saint Albert                           11400 57th St NE, P.O. Box 127
                                                     Albertville, MN 55301-0127
The Church of Saint Albert the Great, of 2836 33rd Ave S
Minneapolis, Minn., including former parish of The Minneapolis, MN 55406-1626
Church of Our Lady of Perpetual Help of
Minneapolis, Minnesota and the former parish of
the Church of Saint Austin of Minneapolis,
Minnesota
The Church of St. Alphonsus, of Brooklyn Center, 7025 Halifax Ave N
Minnesota, including the parish school               Brooklyn Center, MN 55429-1375
The Church of Saint Ambrose of Woodbury, 4125 Woodbury Dr.
including the parish school (formerly located in St. Woodbury, MN 55129-9627
Paul, Minnesota)
The Church of St. Andrew of Elysian, Minnesota       305 Park Ave NE
                                                     Elysian, MN 56028-0261
The Church of St. Andrew Kim                         1850 Mississippi River Blvd
                                                     St. Paul, MN 55116-2644
The Church of Saint Anne – Saint Joseph Hien         2627 Queen Ave N
                                                     Minneapolis, MN 55411-1792
The Church of St. Anne of Hamel, Minnesota           200 Hamel Rd, P.O. Box 256
                                                     Hamel, MN 55340-0256
The Church of St Anne of LeSueur, Minnesota, 217 N 3rd St
including the parish school and the former parish of Le Sueur, MN 56058-1808
Church of St. Thomas of Derrynane
The Church of Saint Bartholomew of Wayzata, 630 Wayzata Blvd E
including the parish school                          Wayzata, MN 55391-1704
The Church of Saint Bernard of St Paul Minnesota     1160 Woodbridge St.
                                                     St. Paul, MN 55117-4491
The Church of St. Bernard, of Benton, Minnesota, 212 Church St E
including the parish school                          Cologne, MN 55322-9552
The Church of St. Bonaventure, of Bloomington, 901 90th St E
Minnesota                                            Bloomington, MN 55420-3801
The Church of St. Boniface                           629 2nd St NE
                                                     Minneapolis, MN 55413-1905
The Church of St. Boniface of St. Bonifacius, 4025 Main St
Minn.                                                Saint Bonifacius, MN 55375-0068
The Church of Saint Bridget of Minneapolis, 3811 Emerson Ave N
including the Church of Saint Austin of Minneapolis, MN 55412-2038
Minneapolis, Minnesota
The Church of St. Bridget of Sweden, of Lindstrom, 13060 Lake Blvd, P.O. Box 754
Minnesota                                            Lindstrom, MN 55045-0754



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Parish                                                Address
The Church of St. Casimir of St. Paul, Minnesota   934 Geranium Ave E
                                                   St. Paul, MN 55106-2610
The Church of St. Catherine of Spring Lake, 24425 Old Highway 13 Blvd
Minnesota                                          Jordan, MN 55352
The Church of St. Cecilia of St. Paul              2357 Bayless Place
                                                   St. Paul, MN 55114-1105
The Church of St. Charles Borromeo of 2739 Stinson Blvd NE
Minneapolis, Minnesota, including the parish Saint Anthony, MN 55418-3124
school
The Church of Saint Charles, Bayport, Minnesota    409 3rd St N
                                                   Bayport, MN 55003-1044
The Church of Saint Columba of St. Paul, Minn.     1327 LaFond Ave
                                                   St. Paul, MN 55104-2035
The Church of St Dominic of Northfield Minnesota, 216 Spring St N
including the parish school                        Northfield, MN 55057-1431
The Church of St. Edward, of Bloomington, 9401 Nesbitt Ave S
Minnesota                                          Bloomington, MN 55437-1943
The Church of St. Elizabeth Ann Seton, Hastings, 2035 15th St W
Minnesota, including the parish school and the Hastings, MN 55033-9294
former parishes of The Church of Guardian
Angels, Hastings, Minnesota and The Church of St.
Boniface of Hasting, Minnesota
The Church of Saint Frances Cabrini of 1500 Franklin Ave SE
Minneapolis, Minnesota                             Minneapolis, MN 55414-3649
The Church of St. Francis de Sales of St. Paul, 650 Palace Ave
Minnesota including Child Care Center & St. Paul, MN 55102-3540
Preschool, and The Church of St. James of St. Paul
The Church of St. Francis of Assisi                16770 13th St S
                                                   Lake St Croix Beach, MN 55043-9756
The Church of Saint Francis Xavier of Franconia, 25267 Redwing Ave
Minnesota                                          Shafer, MN 55074
The Church of St. Francis of Buffalo, Minnesota, 300 First Ave NW
including the parish school                        Buffalo, MN 55313-5042
The Parish of Saint Gabriel the Archangel of 6 Interlochen Rd
Hopkins, Minnesota, including St. Joseph of Hopkins, MN 55343-8548
Hopkins and Saint John the Evangelist of
Interlachen Park
The Church of St. Genevieve of Centerville, 7087 Goiffon Rd
Minnesota including The Church of St. John the Centerville, MN 55038-9125
Baptist of Hugo
The Church of Saint George of Long Lake            133 Brown Rd N
                                                   Long Lake, MN 55356-9560


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Parish                                                Address
The Church of St. Gerard                              9600 Regent Ave N
                                                      Brooklyn Park, MN 55443-1401
The Church of Saint Gregory                           38725 Forest Blvd
                                                      North Branch, MN 55056-0609
The Church of Saint Hedwig of Minneapolis             129 29th Ave. NE
                                                      Minneapolis, MN 55418
The Church of St. Helena of Minneapolis, including    3204 43rd St E
parish school                                         Minneapolis, MN 55406-3858
The Church of St. Henry of Monticello, Minn           1001 7th St E
                                                      Monticello, MN 55362-8805
The Church of Saint Henry of Sharon, Minnesota        165 N. Waterville Ave.
                                                      Le Center, MN 56057
The Church of Saint Hubert of Chanhassen Minn,        8201 Main St
including parish school                               Chanhassen, MN 55317-9647
The Church of St. Ignatius of French Lake,            35 Birch St E
Minnesota                                             Annandale, MN 55302-0126
The Church of St. Jerome, Maplewood, Minnesota        380 Roselawn Ave E
including parish school                               Maplewood, MN 55117-2033
The Church of Saint Joan of Arc in Minneapolis        4537 3rd Ave S
                                                      Minneapolis, MN 55419-5111
The Church of St. John Neumann                        4030 Pilot Knob Rd
                                                      Eagan, MN 55122-1814
The Church of St. John the Baptist of Dayton          18380 Columbus St, P.O. Box 201
Minnesota                                             Dayton, MN 55327-0201
The Church of St. John the Baptist of Byrnesville,    4625 West 125th St
Minnesota, including parish school                    Savage, MN 55378-1357
The Church of St. John Baptist, including parish      835 2nd Ave NW
school                                                New Brighton, MN 55112-6842
The Church of Saint John the Baptist of Jordan        313 East 2nd St
Minn., including parish school                        Jordan, MN 55352-1447
Church of St. John the Baptist of Excelsior,          680 Mill St
Minnesota, including parish school                    Excelsior, MN 55331-3272
The Church of St. John of Vermillion Minnesota,       106 Main St W
including parish school                               Vermillion, MN 55085-0008
St. John’s Church of Little Canada, Minnesota,        380 Little Canada Rd E
including parish school                               Little Canada, MN 55117-1627
The Church of Saint John Vianney in South Saint       789 17th Ave North
Paul, Minnesota                                       South St. Paul, MN 55075
The Church of St. Joseph                              8701 36th Ave N
                                                      New Hope, MN 55427-1769



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Parish                                                Address
The Church of Saint Joseph of West Saint Paul, 1154 Seminole Ave
Minnesota                                          West St. Paul, MN 55118-2020
The Church of St. Joseph, of Red Wing Minnesota    426 8th St W
                                                   Red Wing, MN 55066-3410
The Church of Saint Joseph of Taylors Falls        490 Bench St
                                                   Taylors Falls, MN 55084-0234
The Church of Saint Joseph of Waconia, Minn., 41 1st St E
including parish school                            Waconia, MN 55387-1526
The Church of St. Joseph, of Rosemount 13900 Biscayne Ave W
Minnesota, including parish school                 Rosemount, MN 55068-3451
The Church of St. Joseph, of Miesville, Minnesota, 23955 Nicolai Ave E
in the Township of Douglas, including parish Hastings, MN 55033-9650
school
Church of St. Joseph of Rice Lake, Minnesota       171 Elm St
                                                   Lino Lakes, MN 55014-1271
The Church of St. Joseph the Worker, Maple 7180 Hemlock Lane N
Grove, Minnesota                                   Maple Grove, MN 55369-5569
The Church of St. Jude of the Lake in the Town of 700 Mahtomedi Ave
Lincoln, including parish school                   Mahtomedi, MN 55115-1673
The Church of Saint Katharine Drexel, Ramsey, 7101 143rd Ave NW
Minnesota                                          Ramsey, MN 55303-6001
The Church of St. Lawrence of Minneapolis, 1203 5th St SE
Minnesota                                          Minneapolis, MN 55414-2030
The Church of St. Leonard of Port Maurice, of 3949 Clinton Ave S
Minneapolis, Minnesota                             Minneapolis, MN 55409-1635
The Church of St. Louis, of St. Paul Minnesota     506 Cedar St
                                                   St. Paul, MN 55101-2245
The Church of St. Luke of Clearwater, Minnesota    17545 Huber Ave NW
                                                   Clearwater, MN 55320-0249
The Church of Saint Margaret Mary, of 2323 Zenith Ave N
Minneapolis, Minnesota                             Golden Valley, MN 55422-3853
The Church of St. Mark of St. Paul, Minnesota, 2001 Dayton Ave
including parish school                            St. Paul, MN 55104-5804
The Church of St. Mary, of St. Paul Minnesota      261 8th St E
                                                   St. Paul, MN 55101-2307
The Church of St. Mary of Le Center, Minnesota     165 Waterville Ave N
                                                   Le Center, MN 56057-1524
The Church of St. Mary, of New Trier, Minnesota    8433 239th St E
                                                   Hampton, MN 55031-9766
The Church of St. Mary of Stillwater               423 5th St S
                                                   Stillwater, MN 55082-4982


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Parish                                                Address
The Church of St Mary of Waverly Minnesota            606 Elm Ave
                                                      Waverly, MN 55390-0278
The Church of St. Mary, Minnesota (also known as      1867 95th St SE
the Church of St. Mary of Czestochowa)                Delano, MN 55328-8208
The Church of St. Mary of the Lake, of Medicine       105 Forestview Ln N
Lake, Minnesota                                       Plymouth, MN 55441-5910
The Church of St. Mary of the Lake, of White Bear,    4690 Bald Eagle Ave
Minnesota                                             White Bear Lake, MN 55110-3441
The Church of St. Matthew of St. Paul, Minnesota      490 Hall Ave
                                                      St. Paul, MN 55107-2845
The Church of St. Mathias of Hampton, Minnesota       23315 Northfield Blvd
                                                      Hampton, MN 55031-9667
The Church of Saint Maximilian Kolbe, including       204 South River St.
parish school, formerly known as The Church of St.    PO Box 470
Peter, of Delano, Minnesota and The Church of St.     Delano, MN 55328
Joseph of Delano
The Church of St. Michael                          411 Court Avenue
                                                   P.O. Box 357
                                                   Gaylord, MN 55334
The Church of St. Michael of Farmington, 22120 Denmark Ave
Minnesota                                          Farmington, MN 55024
The Church of Saint Michael of Kenyon, Minnesota 108 Bullis St
                                                   Kenyon, MN 55946-1156
The Church of St. Michael, of Pine Island 451 5th St SW
Minnesota                                          Pine Island, MN 55963-6761
The Church of St. Michael of St. Paul Minnesota    337 Hurley St E
                                                   West St. Paul, MN 55118-1605
The Church of St. Michael, of Stillwater Minnesota 611 3rd St S
                                                   Stillwater, MN 55082-4908
The Church of St. Michael, of Frankfort, 11300 Frankfurt Pkwy NE
Minnesota, including parish school                 Saint Michael, MN 55376-4550
The Church of St. Michael of Prior Lake, including 16311 Duluth Ave SE
parish school                                      Prior Lake, MN 55372-2423
The Church of Saint Nicholas of Carver Minn.       412 4th St W
                                                   Carver, MN 55315-0133
St. Nickolaus Church of New Market Scott County 51 Church St
Minnesota                                          New Market, MN 55054-0009
The Church of St. Odilia, of Shoreview, Minnesota, 3495 Victoria St N
including parish school                            Shoreview, MN 55126-3813
St. Olaf’s Catholic Church of Minneapolis, 215 South 8th St
Minnesota                                          Minneapolis, MN 55402-2803


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Parish                                                Address
The Church of Saint Pascal Baylon, St. Paul,          1757 Conway St
Minnesota, including parish school, and the former    St. Paul, MN 55106-5929
parish of The Church of St. John of St. Paul,
Minnesota
The Church of St. Patrick of Inver Grove,             3535 72nd St E
Minnesota                                             Inver Grove Heights, MN 55076-2627
The Church of St. Patrick of Edina, Minnesota         6820 St. Patrick’s Lane
                                                      Edina, MN 55439-1631
The Church of, St. Patrick, of Shieldsville           7525 Dodd Rd
Minnesota                                             Faribault, MN 55021-7431
The Church of St. Patrick of Cedar Lake,              24425 Old Highway 13 Blvd
Minnesota                                             Jordan, MN 55352-9604
The Church of St. Patrick of Cedar Creek,             19921 Nightingale St NW
Minnesota                                             Oak Grove, MN 55011-9243
The Church of St. Patrick of St. Paul Minnesota       1095 DeSoto St
                                                      St. Paul, MN 55130-3704
The Church of Saint Paul of Zumbrota, Minnesota       749 Main St S
                                                      Zumbrota, MN 55992-1608
The Church of Saint Paul                              1740 Bunker Lake Blvd NE
                                                      Ham Lake, MN 55304-7040
The Church of Saint Peter of Richfield, Minnesota,    6730 Nicollet Ave
including parish school of Blessed Trinity            Richfield, MN 55423-2464
The Church of St. Peter, of Mendota, Minnesota        1405 Hwy 13
                                                      Mendota, MN 55150-0679
The Church of Saint Peter, including parish school    1250 Shore Dr. S
                                                      Forest Lake, MN 55025-1933
The Church of St. Peter of North St. Paul, including  2600 Margaret St N
parish school and the former parish The Church of     North St. Paul, MN 55109-2361
the Holy Redeemer
The Church of St. Peter Claver Minnesota, 375 Oxford St N
including parish school                              St. Paul, MN 55104-4734
The Church of St. Pius of Cannon Falls, Minnesota 410 Colvill St W
                                                     Cannon Falls, MN 55009-2441
The Church of St. Pius X of White Bear, Minnesota 3878 Highland Ave
                                                     White Bear Lake, MN 55110-4240
The Church of Saint Raphael in Crystal, Minnesota, 7301 Bass Lake Rd
including parish school                              Crystal, MN 55428-3826
The Church of Saint Richard, of Richfield, 7540 Penn Ave S
Minnesota                                            Richfield, MN 55423-3629
The Church of St. Rita of Cottage Grove, 8694 80th St S
Minnesota                                            Cottage Grove, MN 55016-2012


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Parish                                                Address
The Church of Saint Rose of Lima of Rosetown,      2048 Hamline Ave N
Minnesota, including parish school                 Roseville, MN 55113-5855
The Church of St. Stanislaus of Saint Paul,        398 Superior St
Minnesota                                          St. Paul, MN 55102-2925
The Church of St. Stephen of Minneapolis,          2211 Clinton Ave
Minnesota                                          Minneapolis, MN 55404-3656
The Church of St. Stephen, of Anoka, Minnesota,    525 Jackson St
including parish school                            Anoka, MN 55303-2353
The Church of Saint Therese of Deephaven,          18323 Minnetonka Blvd
including parish school                            Deephaven, MN 55391-3231
The Church of St. Thomas Aquinas in St. Paul       920 Holly Ave
Park, Minnesota                                    St. Paul Park, MN 55071-1418
The Church of St. Thomas Becket                    4455 S Robert Trail
                                                   Eagan, MN 55123-2038
The Church of Saint Thomas More, including 1079 Summit Ave
parish school, The Church of the Immaculate Heart St. Paul, MN 55105-3004
of Mary, St. Paul, Minnesota and former parish of
Church of St. Luke, St. Paul Minnesota
The Church of St. Thomas of Minneapolis            2914 W 44th St
                                                   Minneapolis, MN 55410-1551
The Church of St. Thomas, of Corcoran, Minnesota 20000 County Rd 10
                                                   Corcoran, MN 55340-9501
The Church of Saint Timothy of Blaine              707 89th Ave NE
                                                   Blaine, MN 55434-2304
The Church of St. Timothy of Maple Lake, 8 Oak Ave N
Minnesota, including parish school                 Maple Lake, MN 55358-2457
The Church of Saint Victoria of Victoria, Minn.    8228 Victoria Dr.
                                                   Victoria, MN 55386-9692
The Church of St. Vincent de Paul, of Osseo, 9100 93rd Ave N
Minnesota, including parish school                 Brooklyn Park, MN 55445-1407
The Church of St. Wenceslaus, of New Prague, 215 Main St E
Minnesota, including parish school, Saint New Prague, MN 56071-1832
Scholastica Church of Heidelberg, Minnesota, The
Church of Saint John the Evangelist of Union Hill,
Minn., The Church of St. Joseph, and Church of
Saint Benedict, of St. Benedict.
The Church of Saint William of Fridley, Minnesota 6120 5th St NE
                                                   Fridley, MN 55432-5033
Transfiguration Church of Oakdale, Minnesota, 6133 15th St N
including parish school                            Oakdale, MN 55128-4201




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                                                EXHIBIT I

              KNOWN ARCHDIOCESE ENTITY INSURANCE POLICIES

Insurer                                  Policy No.                Dates         Type /
                                                                                 Comment
The Catholic Mutual Relief Society       7922                  9/1/87 - 9/1/89   Primary &
of America                               8140                  9/1/89 - 9/1/90   Umbrella
10843 Old Mill Road
Omaha, NE 68154-2600                     8140                 9/1/90 - 9/1/92    Claims Made
                                         8589                 9/1/92 - present   (Settled Only
                                                                                 in Part)
Arrowood Indemnity Company as            RTI 114937            7 /1/67-7/1/68    Primary -
successor to Royal Indemnity             RTY 114998            7/1/68-7/1/71     Policies
Company                                                                          issued to
                                                                                 Brothers of
                                                                                 the Christian
                                                                                 Schools
                                                                                 naming
                                                                                 Diocese of
                                                                                 Saint Paul and
                                                                                 Minneapolis
                                                                                 as additional
                                                                                 insured
Appalachian Insurance Company            70008                 7/1/68-7/1/71     Umbrella -
Attn: Norma Newell                                                               Policy issued
FM Global Corporate Offices                                                      to Brothers of
270 Central Avenue                                                               the Christian
Johnston, RI 02919                                                               Schools
Lamorak Insurance Company as             E22-8501-032          3/15/67-7/1/68    Umbrella –
successor to Employers’ Liability                                                Policy E22-
Assurance Corp.                                                                  8501-032
                                                                                 issued to
                                                                                 Brothers of
                                                                                 the Christian
                                                                                 Schools
Centennial Insurance Company in          291696527             9/1/80 - 9/1/83
Liquidation                              291713899             9/1/83 - 9/1/86
New York Liquidation Bureau              287014764             9/1/86 – 9/1/87
110 William Street
New York, NY 10038
The Hartford Steam Boiler                8589
Inspection and Insurance Co.
Preferred Professional Insurance Co.     MAU0033558-00                           Auto



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Insurer                                  Policy No.                      Dates       Type /
                                                                                     Comment
K&K Insurance                            FXP0000026004800                            Youth
                                                                                     Accident
Midwest Employers Casualty Co.           EWC008191                  7/1/14 - 7/1/15 Excess W/C
                                                                                     and
                                                                                     Employers
                                                                                     Liability
                                                                                     Indemnity
Workers’ Compensation                    30219                     1/1/15 - 12/31/15 Workers
Reinsurance Co.                                                                      Comp
Sovereign Marine & General               SLC5744                    9/1/80 - 9/1/83
Insurance Company Limited                (Part   of       London
c/o KPMG LLP                             Market)
15 Canada Square
Canary Wharf, London, E14 5GL
Northwestern        National      of     SLC5742                    9/1/80 - 9/1/81
Milwaukee Wisconsin, as successor        (Part   of       London
to Bellefonte Insurance Company          Market)
9277 Centre Pointe Drive, Suite 140
West Chester, OH 45069
                                             EXHIBIT J

                  OFFICERS AND DIRECTORS OF REORGANIZED DEBTOR


Name                                                  Title
Most Reverend Bernard A. Hebda                        Archbishop
Most Reverend Andrew Cozzens                          Auxiliary Bishop
Very Reverend Charles V. Lachowitzer                  Moderator of the Curia
Joseph Kueppers                                       Chancellor for Civil Affairs
Thomas Mertens                                        Chief Financial Officer
John F. Bierbaum                                      Board of Directors - member
Peter Daly, M.D.                                      Board of Directors - member
Karen Rauenhorst                                      Board of Directors - member
Rev. Stephen Ulrick                                   Board of Directors - member
Brian Short                                           Board of Directors - member




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                                            EXHIBIT K

    SETTLEMENT AGREEMENT WITH RAMSEY COUNTY ATTORNEY’S OFFICE




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STATE OF MINNESOTA                                                                   DISTRICT COURT

COUNTY OF RAMSEY                                                       SECOND JUDICIAL DISTRICT
                                                                        JUVENILE COURT DIVISION

                                                                                         MNCIS Group:
In the Matter of the Welfare of:                                         Court File No.: 62-JV-15-1674
                                                                                 CA File No.: 2138749
   VICTIM-1, a child identified in police reports;

   VICTIM-2, a child identified in police reports; and
                                                                                     STIPULATION TO
   VICTIM-3, a child identified in police reports.                                STAY PROCEEDINGS

Respondent:
      The Archdiocese of Saint Paul and Minneapolis,
                           a Minnesota corporation,
      226 Summit Avenue
      St. Paul, MN 55102
      651-291-4400




       The parties, having reached settlement in the above-captioned matter to further their

respective and mutual interests in protecting minors from sexual abuse, and recognizing the

complexity of the captioned matter, and without any admission of liability,

       IT IS HEREBY STIPULATED by and between the parties, through their respective

undersigned counsel, as follows:

       1.      that the parties have entered into a Settlement Agreement ("Agreement"), which is

contingent upon approval of the United States Bankruptcy Court;

       2.     that the Agreement is intended to further the statutory goals of Minn. Stat.

§ 260C.335;

       3.     that further proceedings in the above-captioned matter be stayed for thirty-six (36)


                                                     1
                              In re: Welfare of Victim I, Victim 2 and Victim 3
                                       Court File No.: 62-7V-15-I674
                                       Stipulation to Stay Proceedings
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months, the agreed-upon term of the Agreement, from the date of approval by the United States

Bankruptcy Court;

         4.     that the Court retain jurisdiction of the above-captioned matter during the pending

thirty-six (36) month period;

         5.     that the parties appear before the Court at approximately six-month (6 month)

intervals over the term of the Agreement to report to the Court on the ongoing status,

implementation and progress of the Agreement;

         6.     that the parties agree that no other or further claims or crossclaims shall be brought

by any party in the above-captioned matter, except for litigation to enforce the Agreement should

that become necessary;

         7.     that the Agreement is attached to this stipulation; and

         8.      that the parties agree this stipulation and the Agreement are public documents.


                                                  Respectfully submitted,

                                                  FREDRIKSON AND BYRON, P.A.


Dated:        17-1rte                             By:
                        (                              Josep      Dixo (#0283903)
                                                       Andre       Jo son (#0390783)
                                                  200 South Sixth Street, Suite 4000
                                                  Minneapolis, MN 55402
                                                  612-492-7000
                                                  Facsimile: 612-492-7077
                                                  idixon@fredlaw.com
                                                  al ohn son kgredlaw. com




                                                        2
                                In re: Welfare of Victim 1, Victim 2 and Victim 3
                                         Court File No.: 624V-15-1674
                                         Stipulation to Stay Proceedings
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Dated:   a [1r-4-I   IS                     JOHN J. CHOI
                                            RAMSEY COUNTY ATTORNEY


                                            By:
                                                  dEn J. Choi (#257175)
                                                      Ramsey County Attorney
                                                 John T. Kelly (#214098)
                                                       First Assistant County Attorney
                                                 Thomas E. Ring (#25082X)
                                                       Assistant County Attorney
                                                 Stephanie L. Wiersma (#395741)
                                                       Assistant County Attorney
                                            Office of the Ramsey County Attorney
                                            345 Wabasha Street North, Suite 120
                                            St. Paul, MN 55102
                                            651-266-3222




                                                  3
                          In re: Welfare of Victim 1, Victim 2 and Victim 3
                                   Court File No.: 62-7V-15-1674
                                   Stipulation to Stay Proceedings
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                                SETTLEMENT AGREEMENT
        This Settlement Agreement ("Agreement") is entered by and between The Archdiocese of
St. Paul and Minneapolis, a Minnesota corporation, and the Ramsey County Attorney ("RCAO").

                                               RECITALS

        WHEREAS, the Parties agree that the Archdiocese shall seek to create and foster an
organizational culture in which everyone becomes and remains vigilant about achieving an overall
aspirational goal that no child ever again be the victim of clergy sexual abuse.

       WHEREAS, the RCAO initiated the Civil Action on June 3, 2015 petitioning the Court for
an order that the Archdiocese show cause why it should not be subject to the jurisdiction of the
Court for contributing to a child's need for protection or services; and

      WHEREAS, the Court found probable cause to support issuance of the order requested by
the RCAO; and

       WHEREAS, the Archdiocese has taken and is taking steps to substantially enhance its Safe
Environment Program; and

        WHEREAS, the Archdiocese denies that it is contributing to a child's need for protection or
services; and

        WHEREAS, the Archdiocese initiated Bankruptcy Proceedings before the Civil Action was
brought, and now seeks to pursue resolution of the Civil Action in a prudent manner consistent with
the protection of assets available for creditors; and

       WHEREAS, the RCAO seeks to protect the community and hold individuals and
organizations accountable for injurious conduct as required by law and the interests of justice; and

        WHEREAS, the Parties agree that this Agreement will advance their mutual interests in the
protection of minors beyond what may otherwise be obtained through further litigation; and

       NOW, THEREFORE, the Parties, in consideration of the promises and mutual undertakings
contained in this Agreement, here promise their respective best efforts to achieve with deliberate
speed the following terms and conditions of settlement:




     Settlement Agreement between The Archdiocese of St. Paul and Minneapolis and Ramsey County Attorney
                             Ramsey County District Court File No.: 62-JV-15-1674
                                     County Attomey File No.: 2138749
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                                             AGREEMENT

A. Definitions. The Parties have defined certain terms used within this Agreement that are
   provided below:

   "Adult Volunteer" means an adult volunteer for the Archdiocese or a Parish or School who has
   regular or unsupervised contact with unrelated minors.

   "Archbishop" means the sitting Archbishop of St. Paul and Minneapolis (or the appointed
   Apostolic Administrator).

   "Archdiocese" means that certain corporate entity formed, maintained and existing under
   Minnesota Section 315.16 with Minnesota Business Name: "The Archdiocese of St. Paul and
   Minneapolis".

   "Archdiocese Territory" means the twelve (12) counties of the greater Twin Cities metropolitan
   area: Ramsey, Hennepin, Washington, Dakota, Anoka, Carver, Wright, Scott, Chisago,
   LeSueur, Rice, and Goodhue; and those persons outside the geographical territory over whom
   the Archdiocese has the ability to direct or control.

   "Auxiliary Bishop(s)" means the Most Rev. Andrew H. Cozzens and any other titular bishop
   assigned to and serving the Archdiocese.

   "Bankruptcy Proceedings" means the Chapter 11 Bankruptcy case captioned In re: The
   Archdiocese of Saint Paul and Minneapolis, Debtor before the United States Bankruptcy Court
   for the District of Minnesota, Bankruptcy Case No.: 15-30125.

   "Board" means the duly constituted serving Board of Directors of the Archdiocese.

   "Civil Action" means that certain civil proceeding initiated by the RCAO on June 3, 2015 that
   has been assigned case file number 62-JV-15-1674 by the Ramsey County District Court.

   "Clergy" means any persons ordained — bishops, priests, and deacons — who administer the rites
   of the Catholic Church.

   "Cleric" means a member of the Clergy.

   "Code of Conduct" means the Code of Conduct for Clergy, the Code of Conduct for Church
   Personnel, the Code of Conduct for Adult Volunteers, and the Code of Conduct for Youth
   Volunteers, as applicable.

   "Court" means the Ramsey County (Minnesota) District Court.




                                                     2

     Settlement Agreement between The Archdiocese of St. Paul and Minneapolis and Ramsey County Attorney
                             Ramsey County District Court File No.: 62-JV-15-1674
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   "Director" means the Archdiocese employee responsible for managing Archdiocese processes
   for handling allegations of clergy misconduct and for leading the Office of Ministerial Standards
   and Safe Environment.

   "Ministerial Review Board" means the advisory, consultative body assembled to advise the
   Archbishop and his staff regarding clergy misconduct. The Ministerial Review Board may also
   review and offer recommendations regarding Archdiocese policies and processes relating to
   misconduct.

   "Parish" means a parish within the Archdiocese Territory that is Archdiocese-recognized as
   Catholic.

   "Parties" means the Archdiocese and the Ramsey County Attorney.

   "Pastor" means a Parish pastor or a parochial administrator, as the case may be.

   "Policies" means Archdiocese policies relating to the sexual abuse of minors, including the
   Codes of Conduct for Catholic Church clergy, employees, and volunteers.

   "POMS Program" (or its equivalent) means the Archdiocese's internal program for clergy the
   Archdiocese desires to have supervised.

   "RCAO" means the Ramsey County Attorney or the Office of the Ramsey County Attorney.

   "Safe Environment Program" means all policies, procedures, and programming that contributes
   to the protection of minors.

   "School" means a primary school or a secondary school within the Archdiocese Territory that is
   Archdiocese-recognized as Catholic.

   "Seminary" or "Seminaries" means the St. Paul Seminary, St. John Vianney Seminary, or both.

B. Basis for Civil Action. The factual basis for the Civil Action as alleged by the RCAO is
   contained in the Petition for Order to Show Cause.

C. Statement of the Archdiocese. The Archdiocese may choose to issue a public statement
   relating to entering this Agreement, both in writing and through public statements of its
   representatives. The RCAO agrees that such statements, if made by the Archdiocese, would not
   be admissible as evidence in any proceeding between the RCAO and Archdiocese.

D. Letter of Apology; Meeting with Victims. The Archbishop shall send a private letter of
   apology to the victims and family of this action through their respective counsel. In that letter,
   he will offer to meet with the victims and their family. The RCAO agrees that this letter would
   not be admissible as evidence in any proceeding between the RCAO and Archdiocese.

                                                     3

     Settlement Agreement between The Archdiocese of St. Paul and Minneapolis and Ramsey County Attorney
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E. Conference for Restorative Justice and Reconciliation. Within eighteen (18) months of
   continuation of a plan of reorganization, or dismissal of the Bankruptcy Proceedings, the
   Archdiocese will convene and participate in a one-day "Conference for Restorative Justice and
   Reconciliation" (the "Conference") at an appropriate location to be determined. The invitees
   shall include, at a minimum, victims of sexual abuse, those interested and relevant stakeholders
   of the Archdiocese, as well as those interested and relevant stakeholders within those dioceses
   that constitute the Ecclesiastical Province of St. Paul and Minneapolis. A planning committee
   will include representatives of the Archdiocese and the RCAO, and the hosting institution as
   applicable. The Conference will be funded by the Archdiocese.

F. Restorative Justice Sessions. The Archbishop and the Auxiliary Bishop also agree to
   participate in mutually agreed upon restorative justice sessions to be convened by the Parties
   during a two-year period following the last date of execution of this Agreement. These sessions
   are contemplated to include meetings with victims and their families, as a victim or his/her
   family may request

G. Safe Environment Compliance Standards. The Archdiocese agrees to continue its ongoing
   efforts to improve its Safe Environment Program and, as may be required by this Agreement, to
   enhance its program to meet each of these standards within the timeframes specified below:
   1. Continuance of Efforts
       1.1.   The Archdiocese agrees that the compliance standards provided herein are intended
              by the Parties to enhance and to improve its Safe Environment Program.
       1.2. The Archdiocese shall continue to implement those recommendations made by the
              Safe Environment and Ministerial Standards Task Force in its "Report and
              Recommendations to Protect Children from Clergy Sexual Abuse" as submitted to the
              Episcopal Vicar for Ministerial Standards on March 31, 2014, that are incorporated
              herein.
   2. Oversight
       2.1. Board of Directors. The Board shall be knowledgeable about the content of the
              Policies and operation of the Safe Environment Program and shall exercise
              reasonable oversight with respect to the effectiveness of said program.
               a. The Board's Audit Committee (or the Board as a whole) shall meet with the
                  Director as often as it determines necessary to assess and evaluate the Safe
                  Environment Program at the highest level of the Archdiocese, but in any event,
                  no less than once every six months. Formal written agendas and minutes of this
                  committee shall be maintained as part of the corporate records.
       2.2. Archbishop. The Archbishop shall be knowledgeable about the content of the
              Policies and operation of the Safe Environment Program and shall exercise
              reasonable oversight with respect to implementation, operation, and assessed
              effectiveness of said program.


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     Settlement Agreement between The Archdiocese of St. Paul and Minneapolis and Ramsey County Attorney
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    2.3. Ministerial Review Board. The Ministerial Review Board shall be knowledgeable
          about the content of the Policies and operation of the Safe Environment Program and
          shall provide consultation, guidance, and support to the program.
    2.4. Director of Ministerial Standards and Safe Environment. The Director has the duties
           and responsibilities and that authority that is defined in the Job Description as
           presently maintained by the Archdiocese. Among other things•
            a. the Director is responsible for continuing to develop, implement, and revise as
               necessary the policies and procedures for preventing, responding to, and ensuring
               the reporting of allegations of child abuse; and
            b. the Director shall support and coordinate the activities of the Ministerial Review
               Board, the POMS Program, the Victim Advocacy Office, and the Office for the
               Protection of Children and Youth.
 3. Policies and Procedures
    3.1. The Archdiocese shall create a comprehensive set of documents encompassing all
           Policies relating to the protection of minors. This comprehensive set of documents
           shall be organized and readily available on its website.
            a. The Policies shall be written and formatted so they are easy to read and
                understand.
            b. The Policies shall define key terms.
                  i. The Policies shall define what behavior constitutes misconduct involving
                     minors, including, without limitation, sexual exploitation of minors and
                     sexual harassment of minors.
                  ii. The Policies shall define what constitutes child abuse. The definitions shall
                      include at a minimum the definitions of sexual and physical abuse as
                      defined in Minn. Stat. § 626.556.
                  iii. The Policies shall define what constitutes a "credible allegation" and
                       "substantiated claim."
            c. Among any other instructional formats it may choose to employ, the Archdiocese
                shall also provide in written form examples of what constitutes misconduct
                involving a minor as part of training or training-related materials, including what
                is considered "appropriate" vs. "inappropriate" physical contact.
    3.2. The Archdiocese shall include guidelines for the acceptable use of technology within
           its policies.
            a. The policy will grant the Archdiocese the ability to inspect, review, audit,
               intercept, or access all matters on systems of the Archdiocese, including
               employee e-mail, voicemail, and computer systems at any time, with or without
               notice.
            b. Guidelines shall include how to properly use social media and cellular phones,
               including text messaging.
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  Settlement Agreement between The Archdiocese of St. Paul and Minneapolis and Ramsey County Attorney
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    3.3. The Policies shall continue to prohibit Archdiocese employees and Adult Volunteers
           from being alone (i. e. , out of sight of at least one other adult) with any unrelated
           minor while serving as an employee or volunteer of the Archdiocese or a Parish,
           subject to common sense exceptions, such as emergency situations, interactions with
           a minor that are incidental and not extended, parents transporting their children or
           other related individuals, and employees or volunteers transporting the children of
           friends and neighbors. This paragraph does not apply to employees and volunteers
           providing services in or for Schools or providing Catholic education.
    3.4. The Policies shall continue to prohibit clergy from being alone with any unrelated
           minor except when a cleric is hearing confession in a confessional, and except for
           common sense exceptions such as emergency situations or circumstances where
           interaction is incidental and not extended.
    3.5. The Policies shall continue to prohibit: (a) clergy from traveling alone with or taking
           overnight trips alone with any unrelated minor; and (b) clergy from sleeping in the
           same private space (e. g. , room, tent, bed, etc.) with any unrelated minor.
 4. Acknowledgement of Policies
    4.1. Within thirty (30) days of assignment of a cleric to continuing ministry within the
          Archdiocese Territory, the Archdiocese shall collect and maintain an
          acknowledgment form (or electronic record) certifying that such cleric has received
          the Policies, understands the Policies, and will comply with the Policies.
    4.2. Within thirty (30) days of the commencement of any employment or continuing
          volunteer service, the Archdiocese shall collect and maintain an acknowledgment
          form (or electronic record) from all Archdiocese employees and Archdiocese Adult
          Volunteers certifying that he/she has received the Policies, understands the Policies,
          and will comply with the Policies.
    4.3. The Policies shall include the Code of Conduct acknowledgement forms for clergy,
           employees, and Adult Volunteers. Those required to acknowledge the Code of
           Conduct must acknowledge receipt of the Code, their understanding of the Code, and
           their agreement to comply with the Code. The acknowledgement forms will refer to
           the reporting requirements under the Policies. The acknowledgement may be
           completed electronically.
    4.4. The Archbishop shall request that within thirty (30) days of a seminarian's
           commencement of study, each Seminary will collect and maintain an
          acknowledgment form (or electronic record) from each seminarian certifying that he
           has received the Policies, understands the Policies, and will comply with the Policies.
           The Office of the Director shall request no less than annually that each Seminary will
           furnish the Director with records demonstrating compliance with this requirement. If
           the Seminary fails to provide such records as requested, the Director shall within a
           reasonable time notify the Archbishop and the Board of Trustees of the Seminary in
           writing.


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    4,5. The Archbishop shall request that within thirty (30) days of the commencement of
          any employment or volunteer service, all Parishes and Schools will collect and
          maintain an acknowledgment form (or electronic record) from each of their respective
          employees, and Adult Volunteers certifying that he/she has received the Policies,
          understands the Policies, and will comply with the Policies. The Office of the
          Director shall request no less than annually that each Parish and School furnish the
          Director with records demonstrating compliance with this requirement. If a Parish or
          School fails to provide such records as requested, the Director shall within a
          reasonable time notify the Archbishop and the Board of Trustees of such Parish or
          School in writing.
    4.6. The Office of the Director shall maintain the acknowledgement forms (or records) for
           each cleric. Such files may be kept electronically.
    4.7. The Archbishop shall request that each Parish, School, and Seminary maintain the
          acknowledgement forms (or records) for each employee, Adult Volunteer, or
          seminarian, and that said forms (or records) be subject to review by the Director.
          Such files may be kept electronically.
 5. Safe Environment: Essential 3 Requirements
    5.1. The Policies shall define who is required to complete the Essential 3 requirements.
            a. The Essential 3 requirements are: (1) Acknowledgement of the Code of
               Conduct; (2) specialized child protection training (such as VIRTUS or its
               equivalent); and (3) a criminal background check.
            b. In accordance with the Policies, those required to complete the Essential 3
                requirements include, but are not limited to:
                  i. clergy (active or retired) who have been granted permission by the
                     Archbishop to conduct continuing ministry within the Archdiocese
                     Territory for more than thirty (30) days;
                  ii. employees and Adult Volunteers providing service to the Archdiocese or a
                      School or Parish (including, but not limited to principals, assistant
                      principals, teachers, school counselors, librarians, coaches, school nurses,
                      staff of preschools, youth religious programs and youth activities, directors
                      of youth religious education programs, or maintenance employees);
                  iii. seminarians who have commenced their study at a Seminary; and
                  iv. seminarians who are working for a School or Parish.
            c. Parents who volunteer with their child's programs or activities, such that they
                have regular or unsupervised contact with unrelated minors, must fulfill Essential
                3 requirements.
    5.2. Where reasonably feasible, the Archdiocese shall provide Safe Environment training
          and materials to Parishes and Schools in the principal languages of those who attend
          such School or Parish.

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    5.3. The Archdiocese shall provide Parishes and Schools with a volunteer application
           form for Adult Volunteers. Unless prohibited by law, these forms shall include
           questions regarding: (I) whether the applicant has a criminal history; (2) whether the
           applicant has ever been the subject of a criminal investigation involving an allegation
           of sexual abuse; (3) whether a civil or criminal complaint has ever been filed against
           the applicant alleging physical abuse or sexual abuse by the applicant; (4) whether the
           applicant has ever failed to report sexual abuse as required by law or policy; (5)
           whether the applicant has ever had employment terminated or has otherwise been
           disciplined for reasons relating to allegations of inappropriate conduct with minors,
           child abuse, or sexual misconduct of any kind; and (6) the applicant's history of
           volunteering with minors within the previous five (5) years.
            a. The Archdiocese shall request that Adult Volunteers do not begin volunteer
                services within a Parish or School until the volunteer application has been
                completed.
    5.4. The Director shall have the authority to refer employees or Adult Volunteers of the
           Archdiocese to attend any additional Safe Environment program(s) or training(s).
    5.5. The Director shall request that each Seminary, Parish, and School that utilizes the
          services of a third-party person or entity under circumstances where that third-party
           has regular or unsupervised contact with minors be made aware of the existence of
           the Policies and the option to attend Safe Environment training.
    5.6. The Office of the Director of Safe Environment shall maintain an electronic registry
           of clergy compliance with the Essential 3 requirements.
            a. The Office of the Director shall continue its development of an electronic
               database to monitor compliance with the Essential 3 requirements and shall
               maintain a registry of compliance in such electronic database.
            b. The Office of the Director shall request an annual certification from each Parish
               pastor and a member of the Parish or School board of trustees that each
               respective Parish or School is in compliance with the Essential 3 requirements
               for each employee and Adult Volunteer at the Parish or School. If the Parish or
               School fails to provide the requested certification, the Director shall within a
               reasonable time notify the Archbishop and send a letter of notice to both the full
               Parish or School board of trustees and the Parish council.
            c. For each Parish and School, the Office of the Director shall annually review
               clergy compliance with the Essential 3 and shall within a reasonable time send a
               letter of clergy non-compliance, if applicable, to the relevant board of trustees.
            d. The Director shall request an animal certification from the rector and a member
               of the board of trustees of each Seminary that the Seminary is in compliance with
               the Essential 3 requirements for all seminarians, affiliated clergy members,
               employees, and Adult Volunteers. If the Seminary fails to provide the requested
               certification, the Director shall within a reasonable time notify the Archbishop
               and send a letter of notice to the Seminary's full board of trustees.

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 Essential 3: Code of Conduct
     5.7. The Code of Conduct shall define key telins.
     5.8. The Code of Conduct shall contain a provision prohibiting the viewing of
            pornographic materials on, or taking pornographic materials onto, the property of the
            Archdiocese, a Parish or a School.
     5.9. The Code of Conduct shall contain a provision prohibiting the showing of
            pornographic material to minors and prohibiting the illegal provision of alcohol,
            tobacco, or drugs to minors.
     5.10. The Code of Conduct shall contain a provision for pastoral counselors and spiritual
            directors that addresses and defines proper boundaries and improper conduct,
            including physical contact, with the persons they counsel.
             a. The Code of Conduct shall contain a provision stating that clergy are responsible
                for establishing and maintaining clear, appropriate boundaries in counseling
                relationships.
     5.11. The Code of Conduct shall contain provisions on how o report unethical or
            unprofessional conduct.
     5.12. The Archdiocese shall develop and distribute appropriate training relating to the Code
            of Conduct for use at the start of employment or volunteer service, or within sixty
            (60) days of a material revision of the Code of Conduct.
 Essential 3: Background Checks
     5.13. The Archdiocese shall develop an enhanced background check policy.
     5.14. The policy shall state that all members of the clergy, employees, and Adult
            Volunteers within the Archdiocese Territory are subject to the background check
            policy as follows:
             a. Clergy shall be subject to background checks upon their initial assignment within
                the Archdiocese Territory, and no less than every five (5) years thereafter.
             b. A Cleric's service in excess of thirty (30) days may only continue after such
                cleric has successfully completed a criminal background check.
             c. Clergy shall be required to report to the Director any arrest or citation involving
                conduct that violates the Archdiocese Policies and the Director shall gather
                available, relevant documentation and assess whether the particular matter should
                be forwarded to the Archbishop or the Ministerial Review Board, or both.
             d. If a prospective employee will have regular or unsupervised contact with minors,
                such employment may only start after an individual has successfully completed a
                criminal background check.
             e. An Adult Volunteer may only start his/her service after having completed a
                criminal background check.


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    5.15. In recognition of developing technological advancements that can improve the
           accuracy of background checks, the Archdiocese will meet and confer with the
           RCAO to explore the feasibility of a background check results policy that requires
           fingerprinting as a component of the background check process.
    5.16. The background check policy shall provide criteria for evaluating the results of a
           background check and provide guidance for determining what constitutes
           disqualifying offenses for employment and volunteer positions.
            a. If the background check reveals a criminal history, the applicant may be given
               the opportunity to provide an explanation, submit additional information, or
               challenge its accuracy.
            b. The following factors should be considered before deciding whether or not to
               offer or deny employment or acceptance as a volunteer: (1) the length of time
               since conviction; (2) the nature of the crime; (3) the relationship of the crime to
               the duties to be performed; (4) the number and kind of convictions; (5)
               rehabilitation efforts; and (6) history of other employment or volunteer activity.
    5.17.The Archdiocese shall request that its third-party vendor that provides background
          checks to the Archdiocese, Parishes, and Schools inform the requesting entity of any
          prior background checks performed on the same individual.
    5.18. The Archdiocese shall request that Parishes, Schools, and Seminaries follow the
           recommended Archdiocese background check policy. If the Parish, School, or
           Seminary refuses to follow the Archdiocese background check policy, the Director
           shall within a reasonable time notify the Archbishop and the board of trustees of the
           respective Parish, Seminary, or School in writing.
    5.19. Background checks for clergy, Archdiocese employees, and Archdiocese Adult
           Volunteers shall be maintained by the Director.
    5.20. The Archbishop shall request that each Seminary, Parish, and School maintain
           background check files for Seminarians, their respective employees and Adult
           Volunteers.
 Essential 3: VIRTUS Training
    5.21. The Archdiocese shall continue its policy that all those required to comply with the
           Essential 3 shall complete VIRTUS training within thirty (30) days of the start of
           service.
    5.22. The Archdiocese shall continue to provide VIRTUS training (or its equivalent) no
           less than every three years to all clergy, all employees, and all Adult Volunteers.
    5.23. The Archdiocese shall evaluate periodically the VIRTUS training materials (or its
           equivalent) to provide updated training to all clergy, employees, and Adult
           Volunteers.




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 6. Reporting Abuse
     6.1. The Policies shall clearly state that a report to the Archdiocese does not relieve the
           individual from reporting known or suspected abuse as is required under Minnesota
            law.
             a. The Policy shall contain a section dedicated to civil mandatory reporting
                requirements, including the following guidance: (1) who must report; (2) what
                must be reported; (3) to whom the report must be made.
             b. The Archdiocese shall continue its policy that clerics, employees, and Adult
                Volunteers shall be trained on mandatory reporting obligations within thirty (30)
                days of their hire and shall receive refresher updates at least every three (3) years
                thereafter.
     6.2. The Policies shall also require an employee or an Adult Volunteer serving within the
           Archdiocese Territory who has reason to suspect sexual abuse of a minor that would
           be subject to mandatory reporting under Minn. Stat. § 626.556 shall immediately
            notify civil authorities as defined therein (within 24 hours).
     6.3. The Policies shall clearly define the proper reporting channels for reports made under
              6.1 and 6.2. The policies shall state:
             a. the first report of suspected abuse of a minor shall be to civil authorities as
                defined in Minn. Stat. § 626.556;
             b. any person, other than the victim, who makes a report to civil authorities shall be
                required to report the same information without undue delay to the Director. The
                Director shall then promptly notify the Archbishop or his designee;
                   i. The Director shall notify or confirm that law enforcement has been notified
                       as required by law and the Policies. The Director shall complete written
                       documentation relating to the report.
             c. if authorized by law enforcement, and the suspected abuse occurred at or during
                a Parish/School activity or involves Parish/School personnel or volunteers, the
                Director shall notify the principal or pastor of the Parish/School, unless the
                suspected abuse involves the pastor or principal, in which case the Director shall
                notify the Parish or School board of trustees;
                   i. The pastor, school principal, agency director, or other person in charge of
                       the location should complete written documentation of the report and the
                       actions taken.
             d. if the abuse involves a cleric, the Director shall request all relating written reports
                from the Seminary, Parish, or School.
     6.4. When the Archdiocese receives a report of child sexual abuse and makes a mandated
           report to law enforcement pursuant to Minnesota statute, the Archdiocese shall not
           conduct an internal investigation, and will not interfere in any way with law
           enforcement until law enforcement concludes its investigation, closes its file without
           investigation, or authorizes the Archdiocese to take action.
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    6.5. The Policies shall include the rights of the person who makes an allegation. This
           policy shall ensure that the person making the allegation is provided with: (1) an
           adequate explanation of the Archdiocese's overall process and procedures for dealing
           with allegations of child sexual abuse, including its policy on reporting to civil
           authorities; (2) advice that the Archdiocese shall endeavor to conduct its investigation
           with appropriate discretion and, to the extent possible, protect the privacy and
           reputations of both the person reporting as well as the person about whom the report
           was made; and (3) a timely response to inquiries and, as necessary, periodic update(s)
           as to the status or resolution of the report.
    6.6. The Archdiocese shall provide Parishes and Schools materials for making a
           complaint, including print materials in the principal language in which the liturgy is
           celebrated.
    6.7. The Archdiocese shall establish a policy that prohibits retaliation against any cleric,
           employee, Adult Volunteer, parishioner, or other individual who in good faith reports
           sexual abuse of a minor or suspicions of sexual misconduct.
    6.8. The Archdiocese shall publish in the Catholic Spirit no less than four (4) times per
           year for the term of this Agreement a statement urging those subject to sexual abuse
           of a minor to contact law enforcement to make a report of the abuse.
    6.9. The Archdiocese shall continue to provide information in writing to Seminaries,
           Parishes, and Schools regarding the prevention of abuse, training to identify signs of
           abuse, statements that the abused are not at fault and encouraging the reporting of
           abuse.
    6.10. If there is an allegation of sexual abuse of a minor involving the Archbishop or any
           Auxiliary Bishop, in addition to the notifications set forth above, the Director shall
           within a reasonable time notify the Board.
 7. Clergy and other Employees
    7.1. The Archdiocese shall use reasonable efforts not to include among personnel of the
           Archdiocese having substantial authority any individual whom the organization knew,
           or should have known through the exercise of due diligence, has engaged in sexual
           misconduct with minors.
    7.2. In each case where a cleric has been found not guilty of criminal conduct by civil
           authorities, or has been investigated by civil authorities without prosecution, the
           Archdiocese shall make an independent inquiry into and determination of the given
           cleric's fitness for ministry.
    7.3. The Archdiocese shall not assign a cleric for a position in public ministry or a
           position that provides access to minors, who has a substantiated claim or pending
           credible allegation of sexual abuse of a minor against him, or who is otherwise
           deemed unsuitable for ministry.
            a. Where there have been allegations of sexual abuse of a minor by a cleric, fitness
               for ministry determinations are to be made by the Archbishop upon

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                recommendations from the Director and the Ministerial Review Board. If the
                Archbishop, after considering these recommendations, determines a cleric is unfit
                for ministry based on a substantiated claim of sexual abuse of a minor, the
                Archdiocese shall not recommend such cleric to another religious organization,
                and shall notify an inquiring organization of the determination regarding fitness
                for ministry.
    7.4. If a cleric seeks assignment, transfer, or residence outside of the Archdiocese
            Territory, the Archdiocese shall seek permission from the cleric to make available for
            review by the receiving diocese, religious community, or organization a complete
            copy of his clergy file and any other Archdiocese files materially related to the cleric.
            If the cleric permits review, the Archdiocese shall provide such receiving entity
            access to the complete clergy file and any other Archdiocese files materially related
            to the cleric. If the cleric refuses review or limits review of the complete file or any
            other Archdiocese files materially related to the cleric, the Archdiocese shall notify
            the receiving entity that the cleric refused access or is limiting access.
            a. The Archdiocese shall disclose any credible allegation of sexual abuse of a minor
               to any diocese, Catholic entity, or secular employer that inquires about the
               existence of any allegation of sexual abuse of a minor with respect to any past or
               present cleric of the Archdiocese to the extent that such disclosure is allowed by
               federal and state law. The Archdiocese shall also disclose the status or resolution
               of that allegation as reflected in its records to the extent allowed by federal and
               state law.
    7.5. The Archdiocese shall not recommend, and shall have a policy that prohibits a cleric
           or Archdiocese employee from recommending, an employee for a position that
           provides access to minors if the employee has a substantiated claim or pending
           credible allegation of sexual abuse of a minor against him or her.
    7.6. The Archdiocese shall continue to work with the Seminaries to prevent clergy sexual
           abuse of minors.
            a. The Archdiocese shall provide Safe Environment resources and training no less
               than annually to seminarians at the St. Paul Seminary.
            b. The Office of the Director of Safe Environment shall be a resource for each
               Seminary regarding selection, evaluation, and formation of seminary candidates.
    7.7. The Archbishop shall request that each Parish, School, and Seminary designate a Safe
           Environment Coordinator to oversee the Parish, School, or Seminary program for
           screening, selecting, and supervising those working in the Parish, School, or
           Seminary who will have regular or unsupervised contact with minors. The Office of
           the Director of Safe Environment shall provide training to such coordinators upon
           their assumption of those responsibilities and then no less than every three years
           thereafter.
            a. The Director shall request confirmation that a Safe Environment Coordinator has
                been designated in each Parish, School, and Seminary.

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             b. If a Parish, School, or Seminary fails to confirm the designation of a Safe
                Environment Coordinator, the Director shall within a reasonable time notify the
                Archbishop and the board of trustees of the particular Parish, School, or
                Seminary in writing that a local Safe Environment Coordinator has not been
                designated.
  8. Website
     8.1. After bankruptcy plan confirmation, or dismissal from the Bankruptcy Proceedings,
           or by December 31, 2016, whichever comes first, the Archdiocese shall consult with
           web developers to improve the Safe Environment resources on its website.
     8.2. The Safe Environment website shall prominently display how to report an incident of
           sexual abuse.
     8.3. To the extent reasonably feasible, the Archdiocese web page shall provide contact
           information or links to law enforcement agencies within the Archdiocese Territory.
     8.4. The Archdiocese Sexual Abuse Policy shall be easily accessible through a link on the
           Safe Environment website.
     8.5. The Safe Environment website shall contain all Policies. The Policies shall be easily
           accessible.
     8.6. The Archdiocese Safe Environment website shall be periodically updated as needed
           to remain current.
  9. Communications
     9.1. The Archdiocese shall provide assistance to Pastors and principals so that they may
           appropriately respond to media inquiries and provide media response designed to
           reassure the community that abuse allegations are taken seriously and that the
           Archdiocese cooperates fully with civil authorities.
     9.2. The Archdiocese shall make public disclosures of any future credible allegations of
           clergy sexual abuse of a minor that occurred in the Archdiocese Territory involving a
           cleric who is still living. The Archdiocese will encourage all potential victims to
           come forward.
     9.3. The Policies shall require that all Archdiocese employees use their Archdiocese-
           issued e-mail account when sending any communication related to their job functions.
     9.4. The Archdiocese shall continue to make public disclosures of substantiated claims of
           sexual abuse of minors by clerics and pending credible allegations of sexual abuse of
           minors by clerics that are under investigation. In each case of a substantiated claim,
           the Archdiocese will add the name of the cleric to the disclosure section of its
           website. Public disclosures under this paragraph shall be made as soon as reasonably
           practicable but, in any event, no later than forty-five (45) days after the relevant
           determination. The Archdiocese will also share this information with the public by
           issuing and posting a press release on its website.


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     9.5. With regard to a substantiated claim of sexual abuse of a minor by a cleric, at the
           conclusion of the canonical process for determination of clerical status, documents
           pertaining to the accusation of sexual abuse of a minor and the Archdiocese's
           response to the claim shall be made accessible to the public.
 10. Ministerial Review Board
     10.1. The Director shall consider recommendations by the RCAO in the appointment of
           members to the Ministerial Review Board.
     10.2. The Ministerial Review Board shall abide by written policies governing its conduct.
             a. The policies shall define what types of issues are to be reviewed by the
                Ministerial Review Board.
             b. The policies shall include guidelines the Ministerial Review Board will follow
                when making recommendations in each case. These policies shall be made
                available to the public.
             c. The policies shall provide that the Director will advise the members of the
                Ministerial Review Board of the final action by the Archdiocese in each case
                after the board's review and recommendation.
     10.3. Minutes shall be taken at each Ministerial Review Board Meeting. Minutes shall be
            retained and filed by the Director and shall include: (1) date and times of meetings;
            (2) identification of all attendees; (3) a listing of agenda items; (4) a brief summary of
            any advisory assessments on clergy; and (5) a brief summary of consultation by the
            board on any other matter.
     10.4. The Ministerial Review Board shall provide its expertise and assist as requested with
            developing policies and appropriate mechanisms to further ensure the protection of
            minors.
     10.5. In addition to ¶ 10.1, the Director shall consult with members of the Ministerial
            Review Board and the Victim Assistance Coordinator to identify candidates for a
            vacancy on the Ministerial Review Board. The Director shall recommend candidates
            to the Archbishop, who shall appoint board members in consultation with the
            Director.
     10.6. The names and credentials of the Ministerial Review Board members shall be
            provided to the RCAO.
 11. POMS Program
     11.1. In accordance with the zero-tolerance policy set forth in the Charter for the Protection
            of Children and Young People established by the United States Conference of
            Catholic Bishops, the Archdiocese shall not use the POMS Program to mitigate risk
            to minors, but instead shall rely on an assessment of fitness for ministry involving the
            Director, the Ministerial Review Board, and the Archbishop.



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            a. In all cases regarding an assessment of fitness for ministry, the Ministerial
               Review Board may seek additional information or may recommend limits on
               ministry service as necessary to promote a safe environment for minors.
    11.2. If the Archdiocese has determined that the POMS Program is or remains appropriate
           for a clergy member with allegations of sexual misconduct involving minor(s), the
           Archdiocese shall notify the RCAO of that determination, providing the name and
           address of the cleric in question and providing such further information and other
           cooperation as the RCAO may reasonably request.
    11.3. Before a recommendation is made to discharge a cleric from the POMS Program, the
           Ministerial Review Board shall undertake a full review of the cleric's file.
            a. The Ministerial Review Board shall document its recommendation regarding
               discharge from the POMS Program, and that recommendation shall be placed in
               the cleric's file.
            b. If the cleric was the subject of a substantiated claim of sexual abuse of a minor,
               the Director shall advise the RCAO if such cleric is discharged from the POMS
               Program.
 12. Record Keeping
    12.1. By December 31, 2016, the Archdiocese shall formulate policies for the acceptable
           use of Archdiocese computers and electronic devices, the screening of electronic
           devices, and the retention of documents and electronically stored information. The
           policies shall address the following:
            a. The Archdiocese shall maintain a record of electronic devices (computers,
               laptops, tablets, etc.) that are Archdiocese property in the possession of clergy,
               employees, or Adult Volunteers.
            b. When the Archdiocese has reasonable cause to believe that a cleric, an
               Archdiocese employee or volunteer has violated policies relating to electronic
               devices or their usage in a manner that involves sexual misconduct with a minor,
               the Archdiocese shall secure the electronic device for evidentiary value.
            c. If the Archdiocese learns of the existence of a computer or other electronic
               communications device that may have relevance to, or possible evidentiary value
               in, a law enforcement investigation of clergy sexual abuse of a minor, the
               Director shall promptly notify the appropriate law enforcement agency having
               jurisdiction.
            d. The Archdiocese shall develop a written policy regarding the handling of
               evidence, including computers or electronic devices that relates to any internal
               Archdiocese Safe Environment investigation.
    12.2. The Office of the Director shall maintain records relating to clergy and the Safe
           Environment Program
    12.3. The Office of the Director shall maintain records of the training sessions and
           educational requirements required under the Policies.
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    12.4. The Archdiocese shall maintain files for all clergy.
    12.5. The Archdiocese shall have a policy to not destroy clergy files.
    12.6. Files may be maintained electronically.
    12.7. Clergy files shall contain the following records:
             a. signed documents as required under the Policies;
             b. copies of all returned background checks;
             c.   internal memoranda or documentation regarding clergy misconduct;
             d. records of any allegation of sexual abuse of a minor;
             e. records of any mandatory report made to law enforcement about the cleric;
             f. records of any internal investigation;
             g. records relating to review by the Ministerial Review Board; and
             h. information pertaining to the POMS Program, if applicable.
 13. Other
    13.1. The Archdiocese shall support and encourage the reporting of abuse both on its
           website and in print documents posted in Parishes and Schools. The website or
           documents shall seek to educate the general public on the reporting of clergy
           misconduct and the protection afforded those who make good-faith reports.
    13.2. In instances where a claim of sexual abuse of a minor is substantiated, if requested,
           Archdiocese leadership shall meet with the victim/survivor or his or her support
           person(s) as may be reasonably arranged, with due respect for the needs of the
           victim/survivor.
    13.3. In instances where a claim of sexual abuse of a minor is substantiated, if requested by
           the victim/survivor, the Archbishop shall, on behalf of the Archdiocese, send a
           personally signed letter of apology to the victim/survivor in the context of a
           Minnesota Rule of Civil Procedure 408 settlement communication.
    13.4. The Archdiocese shall continue to maintain an independent mechanism where
           concerns regarding misconduct or suspected misconduct can be reported. The
           mechanism should provide for 24/7 access and allow reports to be made by phone or
           through a confidential web-based reporting mechanism.
    13.5. The Archdiocese shall explore the need for and feasibility of a "Clergy Assistance
           Plan" that provides clerics with an ability to seek help in times of need or personal
           crisis, including from an outside provider and in a manner that provides anonymity if
           desired.
    13.6. The Archdiocese shall not enter into confidentiality agreements regarding allegations
           of sexual abuse of minors unless requested by the victim and noted in the text of the
           agreement.

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     13.7. The Archdiocese shall request removal of photos and any visible honors (such as a
            plaque honoring that cleric individually or naming of a building or hall in that cleric's
            honor) from public display for each cleric with a substantiated claim of sexual abuse
            of a minor. This does not prevent the Archdiocese from displaying photos of a cleric
            with a substantiated claim of abuse if that photo or the words accompanying it clearly
            indicate that the cleric had a substantiated claim of sexual abuse of a minor asserted
            against him.
     13.8. The Archdiocese agrees to have in place at a point no later than expiration of this
            Agreement an ombudsperson to provide an outside resource for victims of sexual
            abuse.
     13.9. The Archdiocese shall have a policy to provide law enforcement in the appropriate
            jurisdiction with the known residential address of each cleric having a substantiated
            claim or pending credible allegation of sexual abuse of a minor.
     13.10. Within one hundred twenty (120) days of the effective date of this Agreement, the
           Archdiocese shall develop a model policy for use by Parishes requiring notification to
           the board of trustees of a Parish where clergy are pet witting long-term residents in
            rectories. The Archbishop shall request that the Parish board of trustees adopt the
           model policy.
     13.11. The Director shall have an adequate budget so that the Director unilaterally or the
           Ministerial Review Board as a body may retain outside legal counsel solely regarding
           the matters of ministerial standards and safe environment. Under this exclusive
            defined authority, the Director and the Ministerial Review Board shall not be required
           to confer with or rely only upon internal legal services of the Archdiocese. To the
            extent legal fees will exceed the Director's budget, financial expenditures are subject
           to approval by the Board and the Archdiocese Finance Council (and the Bankruptcy
            Court during the pendency of the Bankruptcy Proceedings) if necessary.
     13.12. In the event the position of Director becomes vacant, the Archbishop will consult
            with the Ministerial Review Board and the Board regarding candidates to fill the
            position of Director.
             a. If practicable, the current Director shall provide notice to the Ministerial Review
                Board and the Archbishop of his or her intent to separate from employment as
                early as practicable to permit a comprehensive, effective search for his or her
                replacement.
  14. Compliance
     14.1. The Archdiocese shall institute a reasonable timeline for compliance with the Policies
            and shall define the corrective and disciplinary measures to be used where clergy,
            seminarians, employees, or volunteers of the Archdiocese fail to adhere to policy
            requirements.
             a. Clergy members who are non-compliant with the requirements of the Essential 3
                as set forth above shall, at a minimum, be removed from service involving

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                regular or unsupervised contact with minors until they have completed all
                requirements.
            b. The Archdiocese shall request that Parishes, Seminaries, and Schools remove
                Parish/Seminary/School employees and Adult Volunteers who are non-compliant
                with the requirements of the Essential 3 from service involving regular or
                unsupervised contact with minors until they have completed all requirements.
                  i.    Upon learning of non-compliance, the Director shall promptly notify the
                        Archbishop and the Parish, Seminary or School board of trustees if an
                        employee or Adult Volunteer has not been removed from his or her job or
                        position.
    14.2. Outside Audit. The Archdiocese shall on an annual basis for the term of this
           Agreement retain an independent firm with demonstrated competencies to conduct an
           annual compliance audit of the Safe Environment Program and this Agreement. The
           Archdiocese shall select the audit firm subject to the approval of the RCAO, which
           shall not unreasonably withhold approval. During pendency of the Bankruptcy
           Proceedings, the retention of the audit firm will be subject to Bankruptcy Court
           approval.
            a. A written retention agreement with the audit firm shall explicitly state that the
               audit report will be provided to the RCAO. The Archdiocese shall consent to the
               RCAO having unrestricted access to the auditing personnel, both during and for a
               reasonable period after each audit, as well as access to work papers and
               underlying supporting documents the RCAO may request to review.
            b. The first annual outside audit will cover the period from the last date of
               execution of this Agreement through June 30, 2017. Fiscal-year auditing shall
               occur thereafter. This Agreement contemplates two (2) fiscal year outside
               compliance audits.
            c. The results of each audit shall be provided to the Archbishop, other members of
               the Board, the Director, members of the Archdiocese Finance Council, the
               Chairman of the Presbyteral Council, members of the Ministerial Review Board,
               Chancellor for Civil Affairs, Chancellor for Canonical Affairs, the RCAO, and
               any other persons who in the Director's judgment should receive the report.
            d. Within sixty (60) days of the completion of each required annual audit, the
               Director shall cause the audit report to be made available on the Archdiocese
               Safe Environment website and, concurrently, arrange to have a fair executive
               summary of the report published in the Catholic Spirit publication (with
               information on how the readership may access or obtain the entire report). The
               Archdiocese shall issue a public statement each year at the time the audit report
               is available for review and may otherwise distribute the report in any other
               manner.




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               e. Beyond demonstrating compliance with this Agreement, the annual audit report
                   is to be considered by the Parties as a means to further evaluate and continuously
                   improve the Safe Environment Program within the Archdiocese.
       14.3. Internal Audit. The Archdiocese shall conduct periodic internal reviews to evaluate
              its Safe Environment Program.
               a. After confirmation of a plan of reorganization or dismissal from the Bankruptcy
                  Proceedings, the Director shall engage an external consultant to assess its
                  effectiveness.
       14.4. The Director shall request to conduct periodic audits of Parishes, Seminaries, and
              Schools. A request to audit shall be made of each Parish, Seminary, or School at least
              once every seven (7) years. During each year of the tetra of this Agreement, the
              Director shall request to audit no less than fifteen percent (15%) of the total Parishes
              of the Archdiocese Territory. If a Parish, Seminary, or School refuses the audit
              request, the Director shall notify within a reasonable time the Archbishop and the
              applicable board of trustees in writing.
       14.5. The Archbishop shall request that the Parish, Seminary, or School conduct an external
              review of procedures for both Safe Environment and finance compliance each time
              there is a change of pastor or other leader, in the case of Seminary or School, and
              request that the results of that review be provided to the Director.

H. Victims Fund. The Archdiocese shall seek as part of its bankruptcy plan to establish a fund
   for the ongoing and future counseling for victims of clergy sexual abuse that occurred at any
   time within the Archdiocese Territory, including Victim 1, Victim 2, and Victim 3, such that
   they might have access to ongoing reasonable and appropriate counseling. In this regard, the
   Parties specifically contemplate and agree that Victim 1, Victim 2, Victim 3 (as referred to in
   the Petition for Order to Show Cause) and their immediate family, to the extent they have a
   cognizable claim, will benefit from any fund established as part of the bankruptcy process.

I. Bankruptcy Proceedings. The Archdiocese is subject to certain limits and restrictions as a
   debtor-in-possession in the Bankruptcy Proceedings. As part of this Agreement, the Archdiocese
   shall move for Bankruptcy Court approval of this Agreement at the earliest practicable time, but
   no later than January 31, 2016. This Agreement shall not be effective until such time as it is
   approved by the United States Bankruptcy Court. To the extent the Archdiocese is required to
   expend funds outside the ordinary course of business as a result of this Agreement, the
   Archdiocese shall seek approval for such expenditures from the bankruptcy court.

J. Obligations Survive Bankruptcy. The parties specifically agree that the terms and
   conditions specified herein shall be described in the Archdiocese's Chapter 11 disclosure
   statement and be fully incorporated into its Chapter 11 plan, and if approved in the Bankruptcy
   Proceedings shall survive on and after the date the Archdiocese is discharged from the
   Bankruptcy Proceedings.


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K. Non-solicitation. Nothing in this Agreement shall be construed as a solicitation of a plan of
   reorganization in violation of the Bankruptcy Code.

L. Breach of this Agreement; Opportunity to Cure; Attorney's Fees, If the RCAO
   determines in its reasonable judgment at any time during the term of this Agreement that the
   Archdiocese is in material breach of this Agreement, the RCAO will serve (as "serve" is defined
   under the Minnesota Rules of Civil Procedure) a Notice of Breach upon the Archdiocese, with
   copies mailed to the Archbishop, Secretary of the Board, and Director. The Archdiocese shall
   then have a period of twenty-eight (28) calendar days after service in which to cure.

   If after the twenty-eight (28) calendar days the RCAO continues to have cause to believe the
   Archdiocese has materially breached this Agreement, the RCAO may initiate legal proceedings
   in the Court to enforce this Agreement by any legal or equitable means it deems available,
   including, without limitation, contempt of court, specific perfonnance, or breach of contract.

   If the Court determines the Archdiocese breached this Agreement, it shall enter an appropriate
   order against the Archdiocese and, as part of that order, may award the RCAO the value of its
   reasonable attorney's fees incurred in litigating the breach.

   In the event the RCAO is required to enforce this Agreement, its exercise of remedies for breach
   of this Agreement is agreed by the Parties to be an exercise of its police and regulatory powers.

M. Term of Agreement. This Agreement begins upon its approval by the United States
   Bankruptcy Court and runs for thirty-six (36) months following such approval. The Parties
   agree, however, that the protection of minors from sexual abuse is a core need, expectation and
   operational function of the Archdiocese such that, irrespective of the Bankruptcy Proceedings
   but subject to the specific exceptions noted herein, each will begin work to achieve the terms
   and conditions of this Agreement with deliberate speed using their respective best efforts upon
   execution of this Agreement. Except as otherwise provided herein, the Archdiocese further
   agrees that to the extent it has/had not already done so, it will come into substantial compliance
   with the Safe Environment Compliance Standards defined herein within twelve (12) months of
   the last date of execution below.

N. Changes to Agreement. This agreement may be amended by the Parties in writing. In the
   event either the Archdiocese or the RCAO desire to change any term, condition or requirement
   of this Agreement, the Parties agree to meet and confer in good faith over the changes one or the
   other may propose.

O. Invalidity. If any one or more of the terms, conditions or requirements of this Agreement are
   deemed unenforceable or invalid by the Court, the enforceability, validity and legality of the
   remaining provisions shall not in any way be affected or impaired thereby.

P. Dismissal of Civil Action. Upon expiration of this Agreement, the RCAO agrees to move to
   dismiss the Civil Action with prejudice.

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Q. Governing Law; Venue. This Agreement shall be governed by, construed and interpreted
   consistent with Minnesota law. Any litigation between the Parties relating to this Agreement
   shall be before the Court.

R. No use. This Agreement is to be considered independent in all respects from any other matter,
   and shall not be admissible into evidence in any proceeding except the above-referenced
   juvenile case and Bankruptcy Proceedings for purposes of its approval.

S. Counterparts. This Agreement may be signed in counterparts, any of which shall be deemed
   an original but all of which shall constitute the same Agreement.

T. Statement of Authority. The Board of Directors of the Archdiocese has approved this
   Agreement as reflected in the attached Board Resolution, which therein authorizes the
   Archbishop as President of the Board of the Archdiocese or the Apostolic Administrator, as well
   as the Secretary of the Corporation to enter into and execute this Agreement for and on behalf of
   the Archdiocese. The Archdiocese further represents that this Agreement has been entered into
   after appropriate consultation with the Archdiocese Finance Council and the Archdiocese
   College of the Consultors.




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        IN WITNESS WHEREOF, the Archdiocese and the RCAO execute this Agreement on and
as of the date(s) indicated below:


Dated:                      20/i                 THE ARCHDIOCESE OF ST. PAUL AND
                                                 MINNEAPOLIS, a Minnesota corporation


           BARBARA ANN DAWSON                    By:        Aini14
           NOTARY PUBLIC - MINNESOTA
               MY COMMISSION
             EXPIRES 01/3112018                         Its   Pl-6:s I bE7lie
Subscribed and sworn to before me
this /7n-day of December, 2015.

deg-     I     --
 Notary Public
             vvvvvvvvvvvvvv
          BARBARA ANN DAWSON
          NOTARY PUBLIC - MINNESOTA
             MY COMMISSION
            EXPIRES 01/31/2018



Subscribed and sworn to before me
this /70-s- day of December, 2015.

4,444.-it_ a--
Notary Public
                                                Registered Office:
                                                       226 Summit Avenue
                                                       St. Paul, Minnesota 55102

APPROVED:                                       FREDRIKSON AND BYRON, P.A.


Dated:      1 -4
               2,- 17- 1 s                      By:
                                                      JoSeph . Dix n (#0283903)
                                                      Ant e F. J son (#0390783)
                                                 200 South Sixth Street, Suite 4000
                                                 Minneapolis, MN 55402
                                                 612-492-7000
                                                 Facsimile: 612-492-7077
                                               -jdixon@fredlaw.com
                                                 ajohnson@fredlaw.com


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Dated:   / 2. '            'f     3            JOHN J. CHOI
                                               RAMSEY C


                                               By:
                                                      J   J. Choi (#2     75)
                                                         Ramsey County Attorney
                                                    John T. Kelly (#214098)
                                                          First Assistant County Attorney
                                                    Thomas E. Ring (#25082X)
                                                          Assistant County Attorney
                                                    Stephanie L. Wiersma (#395741)
                                                          Assistant County Attorney
                                               Office of the Ramsey County Attorney
                                               345 Wabasha Street North, Suite 120
                                               St. Paul, MN 55102
                                               651-266-3222




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    RESOLUTION OF THE BOARD OF DIRECTORS OF THE ARCHDIOCESE OF
                    SAINT PAUL AND MINNEAPOLIS



The Board of Directors of the Archdiocese of Saint.aul and Minneapolis, by majority vote,
adopted the following resolution on the 16 th day of December, 2015 at a special meeting of the
Board of Directors of the Archdiocese of Saint Paul and Minneapolis that (a) was properly
organized by Archbishop Bernard A. Hebda, Apostolic Administrator of the Archdiocese,
pursuant to Article 6 of the bylaws, and (b) where a quorum was present.

WHEREAS, on or about June 5, 2015 the Ramsey County Attorney's office (RCAO)
commenced a Civil Action against the Archdiocese focused on protecting children; and

WHEREAS, the Archdiocese has taken and is taking steps to substantially, enhance its Safe
Environment Program; and

WHEREAS, the Archdiocese and RCAO desire to resolve all matters with respect to said Civil
Action by entering into the attached Agreement which is incorporated herein by reference and
made a part hereof.

NOW THEREFORE BE IT RESOLVED THAT the Board of Directors, having reviewed
discussed and considered a proposed Settlement Agreement dated December 11, 2015 does
hereby

    I. Authorize Archbishop Hebda and his designees to complete any final, negotiations of the
       Settlement Agreement, and

   2. Authorize and direct the President and the Secretary of this Corporation to execute a final
      Settlement Agreement, and

    3. Direct the Archbishop and the Archdiocese bankruptcy counsel to seek approval of the
       Settlement Agreement by the United States Bankruptcy Court.



CERTIFICATION OF CORPORATE SECRETARY

The undersigned Corporate Secretary of the Archdiocese of Saint Paul and Minneapolis does
hereby certify that the above Resolution was duly adopted and approved by the Board of
   ectors of the Arch     es' on 16th day of December, 2015.



          h F. ueppe
         e Secretary of th     hdiocese of Saint Paul and Minneapolis
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                                               EXHIBIT L(1)

                            LIST OF ARCHDIOCESAN SETTLING INSURERS



The Catholic Mutual Relief Society of America (only with respect to claims covered by the
        Catholic Mutual Settlement Agreement);
The Home Insurance Company in Liquidation;
State Farm Fire and Casualty Company;
American Home Assurance Company;
The Continental Insurance Company, as successor by merger to The Fidelity and Casualty
        Company of New York;
Continental Casualty Company;
American Casualty Company of Reading, PA.;
National Fire Insurance Company of Hartford;
Travelers Casualty and Surety Company (formerly known as Aetna Casualty and Surety
        Company);
Northfield Insurance Company;
St. Paul Surplus Lines Insurance Company;
St. Katherine Insurance Company PLC (now known as Travelers Insurance Company Limited);
Lamorak Insurance Company as successor to Employers’ Liability Assurance Corp.
Fireman’s Fund Insurance Company;
The Hartford Accident and Indemnity Company;
TIG Insurance Company, as successor to International Insurance Company;
21st Century Centennial Insurance Company f/k/a Colonial Penn Insurance Company;
Interstate Fire & Casualty Co.;
National Surety Corporation;
Certain Underwriters at Lloyd’s, London subscribing to Policies SL3721, SL3722, SL3723,
ISL3115, ISL3116, ISL3117, ISL3675, ISL3613, ISL3614, and ISL3615; Catalina Worthing
Insurance Ltd f/k/a HFPI (as Part VII transferee of (Excess Insurance Company Ltd and/or London
& Edinburgh Insurance Company Ltd as successor to London & Edinburgh General Insurance
Company Ltd)), Riverstone Insurance (UK) Limited (as successor in interest to Sphere Drake
Insurance Ltd.), Riverstone Management Limited for and on behalf of Markel International
Insurance Company Limited (formerly known as Terra Nova Insurance Company Limited), CX
Reinsurance Company Ltd. (formerly known as CNA Reinsurance of London Ltd.), Dominion
Insurance Company Ltd., Stronghold Insurance Company Limited, Japan Nipponkoa Insurance
Company of Europe Limited (formerly known as The Yasuda Fire & Marine Insurance Company
of Europe Ltd. and also known as Yasuda Fire & Marine Insurance Company (U.K.)), and those
insurers subscribing to Insurance Policy Nos. SLC5743, ICO4076, ICO5200, and ICO5402




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                                           EXHIBIT L(1)–A

 KNOWN ARCHDIOCESE SETTLING INSURER ENTITY INSURANCE POLICIES

Insurer                                  Policy No.                Dates        Type /
                                                                                Comment
AIG Property Casualty (for               CE2598055            8/17/69 - 8/17/72 Umbrella
American Home Assurance                  BE3374208            8/17/72 - 8/17/75
Company)
175 Water Street, 18th Floor
New York, NY 10038
The Catholic Mutual Relief Society       7922                  9/1/87 - 9/1/89   Primary &
of America                               8140                  9/1/89 - 9/1/90   Umbrella
10843 Old Mill Road
Omaha, NE 68154-2600                     8140                 9/1/90 - 9/1/92    Claims Made
                                         8589                 9/1/92 - present   (Settled Only
                                                                                 in Part)
CNA                                      174758                  1943-1946       Primary
(for The Fidelity and Casualty           XP128258/74084        8/1/52 - 8/1/55
Company of New York)

(for National Fire and Insurance         HO4527587            8/16/63 - 8/16/66 Primary
Company)
                                                              8/17/66 - 8/17/69
(for Continental Casualty Company)       RDU9799786            6/18/74-8/1/74 Umbrella
333 South Wabash Avenue                  1861803
Chicago, IL 60604                        9797772
Fireman's Fund Insurance Company         GAC312672             8/1/55 - 8/1/58   Primary
777 San Marin Drive                      CL331931              8/1/58 - 8/1/61
Novato, CA 94998



The Hartford Accident and                41C549216             8/1/70 - 8/1/73   Primary
Indemnity Company
One Hartford Plaza
Hartford, CT 06155-0001


Interstate Fire & Casualty Co.           183152670             9/1/80 - 9/1/84   Umbrella
33 West Monroe Street                    830170075             9/1/84 - 9/1/85
Chicago, IL 60603                        830172570             9/1/85 - 9/1/86




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Insurer                                  Policy No.                Dates         Type /
                                                                                 Comment
Certain Underwriters at Lloyd’s,         SL3721 / SLC5742      9/1/80 - 9/1/83   Various
London subscribing to Policies           SL3722 / SLC5743             "
SL3721, SL3722, SL3723, ISL3115,         SL3723 / SLC5744             "
ISL3116, ISL3117, ISL3675,               ISL3115 / ICO4074     9/1/83 - 9/1/86
ISL3613, ISL3614, and ISL3615;           ISL3116 / ICO4075            "
Catalina Worthing Insurance Ltd          ISL3117 / ICO4075     9/1/83-9/1/85
f/k/a HFPI (as Part VII transferee of    ISL3675 / ICO5200     9/1/85 - 9/1/86
(Excess Insurance Company Ltd            ISL3613 / ICO5387     9/1/86 - 9/1/87
and/or London & Edinburgh                ISL3614                      "
Insurance Company Ltd as successor       ISL3615 / ICO5402            "
to London & Edinburgh General
Insurance Company Ltd)),
Riverstone Insurance (UK) Limited
(as successor in interest to Sphere
Drake Insurance Ltd.), Riverstone
Management Limited for and on
behalf of Markel International
Insurance Company Limited
(formerly known as Terra Nova
Insurance Company Limited),
Dominion Insurance Company Ltd.,
Stronghold Insurance Company
Limited, Sompo Japan Nipponkoa
Insurance Company of Europe
Limited (formerly known as The
Yasuda Fire & Marine Insurance
Company of Europe Ltd. and also
known as Yasuda Fire & Marine
Insurance Company (U.K.)), CX
Reinsurance Company Ltd.
(formerly known as CNA
Reinsurance of London Ltd.), [and
those insurers subscribing to
Insurance Policy Nos. SLC5743,
ICO4076, ICO5200, and
ICO5402]

National Surety Corporation              XLX1488368            9/1/84-9/1/85     Umbrella
777 San Martin Drive
Novato, CA 94945




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Insurer                                  Policy No.                Dates         Type /
                                                                                 Comment
Lamorak Insurance Company as             618657                8/1/43-8/1/46
successor to Employers’ Liability        769213                8/1/46-8/1/49
Assurance Corp.



State Farm Fire and Casualty             SM23839120           8/75 - 8/77 (upon Primary
Company                                                        information and
One State Farm Plaza                                                belief)
Bloomington, IL 61710                    93-010482            8/77 - 8/78 (upon
                                                               information and
                                                                    belief)
Swiss Re America Corp as                 XL150030               9/1/85 - 9/1/86 Umbrella
administrator for 21st Century           XL150079               9/1/86 - 9/1/87
Centennial Insurance Company,
formerly known as Colonial Penn
Insurance Company
3 Beaver Valley Road
Wilmington, DE 19803-1115
TIG Insurance Company, as                GA114938              8/1/67 - 8/1/70   Primary
successor to International Insurance
Company
250 Commercial Street, Suite 5000
Manchester, NH 03101
Travelers Casualty and Surety            37AL188420            8/1/73 - 8/1/74   Primary
Company                                  37SM802875FCA         8/1/74 - 8/1/77
(for Aetna Casualty & Surety             37SM802875FCA7        8/1/77 - 8/1/78
Insurance Company)                       37SM10285FCA          8/1/78 - 8/1/79
One Tower Square                         37SM15868FCA          8/1/79 - 7/1/80
Hartford, CT 06183
                                         37XS1768WCA          8/17/75 - 8/17/76 Umbrella
                                         37XS2046WCA          8/17/76 - 8/17/77
                                         37XS2401WCA          8/17/77 - 8/17/78
                                         37XS2831WCA          8/17/78 - 7/1/79
                                         37XS3399WCA           7/1/79 - 7/1/80
Travelers                                EL85004               9/1/85 - 9/1/86 Umbrella
(for Northfield Insurance Company)
385 Washington Street
St. Paul, MN 55101




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Insurer                                  Policy No.                Dates         Type /
                                                                                 Comment
Travelers                                SUO5500535            9/1/86 - 9/1/87   Umbrella
(for St. Paul Surplus)




The Home Insurance Company in            54010                 8/1/61 - 8/1/64
Liquidation6th Floor61                   63810                 8/1/64 - 8/1/67
BroadwayNew York, NY 10006-
2504




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                                             EXHIBIT L(2)

                                  LIST OF PARISH SETTLING INSURERS

ACE (INA and Aetna Ins. Co.)
ARGO Insurance d/b/a Great Central Ins. Co.
Arrowood Indemnity Company as successor to Royal Indemnity Company
Auto-Owners Insurance Company
BITCO General Insurance Corporation f/k/a Bituminous Casualty Corporation and BITCO
National Insurance Company f/k/a Bituminous Fire and Marine Insurance Company
The Catholic Mutual Relief Society of America
Chubb & Son, Great Northern Insurance Company and Federal Insurance Company
Church Mutual Insurance Co.
Continental Casualty Company; The Continental Insurance Company; The National Fire
Insurance Co. of Hartford successor by merger to Transcontinental Insurance Company; The
Continental Insurance Company, successor by merger to the Glens Falls Insurance Company and
successor by merger to the Fidelity and Casualty Company of New York
Continental Western Group (for Continental Western Insurance Company, Western Mutual
Insurance Company, Tri-State Mutual Insurance Company and Tri-State Insurance Company of
Minnesota)
Crum & Forster Companies, TIG Insurance Company, United States Fire Insurance Company,
International Insurance Company, and North River Insurance Company
Fireman’s Fund Insurance Co. (American Insurance Company)
GEICO General Insurance Company (Houston General)
Great American Insurance Company, Great American Assurance Company, Anchor Casualty
Insurance Company, Queen City Insurance Company, Agricultural Insurance Company, American
Empire Insurance Company, American National Fire Insurance Company, and Great American
Insurance Company of New York.
Hartford Financial Services Group, Inc., Hartford Accident and Indemnity Company, Hartford
Fire Insurance Company, Hartford Casualty Company, New York Underwriters Insurance
Company and New York Casualty Company
The Home Insurance Company in Liquidation
Bedivere Insurance Company as successor to General Accident Insurance Company; Lamorak
Insurance Company as successor to the Employers’ Group of Insurance Companies
Liberty Mutual Insurance
(General Ins. Co. of America; SAFECO Ins.; Ohio Casualty; Tower Ins. Co.)
Motorists Commercial Mutual Ins. Co. (American Hardware; Iowa Mutual)
Ohio Farmers Ins. Co. and Westfield Insurance Company
Sentry Insurance (Hardware Mutual)
State Farm Fire and Casualty Company
Travelers Casualty and Surety Company (formerly known as Aetna Casualty and Surety
Company); Travelers Indemnity Company; St. Paul Fire and Marine Insurance Company; United
States Fidelity and Guaranty Company; Phoenix Insurance Company; St. Paul Surplus Lines
Insurance Company; Northfield Insurance Company; St. Katherine Insurance Company PLC (now
known as Travelers Insurance Company Limited).

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Western National Ins. (Mutual Creamery; Farmer’s Home Mutual Ins.)
Zurich North America (Assurance; Maryland Casualty Co; Northern Ins. Co. of NY)




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                                            EXHIBIT L(3)

                             LIST OF SEMINARY SETTLING INSURERS


Fidelity and Guaranty Insurance Underwriters, Inc.; Travelers Casualty and Surety Company
(formerly known as Aetna Casualty and Surety Company); and St. Paul Guardian Insurance
Company
Continental Casualty Company, its affiliates, and their predecessors, successors, and assigns.




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                                             EXHIBIT M

                                  LIST OF CATHOLIC ENTITIES


Catholic Entity                                       Address
The Church of All Saints of Lakeville, Minnesota,     19795 Holyoke Ave
including the parish school                           Lakeville, MN 55044
The Church of the Annunciation of Hazelwood,          4996 Hazelwood Ave
Minnesota                                             Northfield, MN 55057-4255
The Church of the Annunciation of Minneapolis,        509 54th St W
including the parish school, and including The        Minneapolis, MN 55419
Church of the Visitation in Minneapolis.
The Church of the Ascension of Norwood,               323 Reform St N
Minnesota                                             Norwood Young America, MN 55368
The Church of the Ascension of Minneapolis,           1723 Bryant Ave N
Minnesota, including the parish school and the        Minneapolis, MN 55411
former parish of The Church of St. Philip of
Minneapolis, Minnesota
The Church of the Assumption                       51 7th St W
                                                   St. Paul, MN 55102
The Church of the Assumption of Richfield,         305 East 77th St
Minnesota                                          Richfield, MN 55423-4312
Basilica of St. Mary of Minneapolis                88 17th St. N.
                                                   P.O. Box 50010
                                                   Minneapolis, MN 55405
The Church of the Blessed Sacrament of St. Paul,   2119 Stillwater Ave
including The Church of St. Thomas the Apostle, of St. Paul, MN 55119
St. Paul, Minnesota
Blessed Trinity Catholic School of Richfield,      6720 Nicollet Ave S
Minnesota                                          Richfield, MN 55423-3629 and
                                                   6730 Nicollet Ave S
                                                   Richfield, MN 55423
Carondelet Catholic School, formerly known as      3210 51st St W
Christ the King-St. Thomas the Apostle School      Minneapolis, MN 55410-2110
The Cathedral of Saint Paul, including the former  239 Selby Ave
parish of The Church of St. Vincent of St. Paul,   St. Paul, MN 55102
Minnesota
The Catholic Cemeteries                            2105 Lexington Ave. South
                                                   Mendota Heights, MN 55120
The Church of Christ the King of Minneapolis       5029 Zenith Ave S
                                                   Minneapolis, MN 55410
The Church of All Saints of Minneapolis            435 4th St NE
                                                   Minneapolis, MN 55413-2037


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Catholic Entity                                        Address
Community of Saints Regional Catholic School           335 East Hurley Ave
                                                       West St. Paul, MN 55118
The Church of Corpus Christi of Saint Paul             2131 Fairview Ave N
                                                       Roseville, MN 55113
The Catholic Church of Divine Mercy of Faribault,      139 Mercy Drive
including the parish school, and the former parishes   Faribault, MN 55021
of The Church of the Immaculate Conception of
Faribault Minnesota, The Church of the Sacred
Heart of Faribault, Minnesota, and The Church of
St. Lawrence of Faribault, MN.
The Church of The Epiphany of Coon Rapids,             1900 111th Ave NW
Minnesota, including the parish school                 Coon Rapids, MN 55433-3728
Faithful Shepherd Catholic School                      3355 Columbia Dr.
                                                       Eagan, MN 55121-4202
Frassati Catholic Academy                              4690 Bald Eagle Ave.
                                                       White Bear Lake, MN 55110
The Church of Gichitwaa Kateri                         3045 Park Ave
                                                       Minneapolis, MN 55407-1517
The Church of the Good Shepherd, of Minneapolis,       145 Jersey Ave S
Minnesota, including the parish school                 Golden Valley, MN 55426-1527
The Church of the Guardian Angels of Oakdale,          8260 Hudson Blvd
Minnesota                                              Lake Elmo, MN 55042
Church of the Guardian Angels of Chaska, Minn          218 Second St W
including the parish school                            Chaska, MN 55318-1813
Highland Catholic School                               2017 Bohland Ave
                                                       St. Paul, MN 55116-1911
The Church of the Holy Childhood, St. Paul,            1435 Midway Pkwy
Minnesota                                              St. Paul, MN 55108-2419
The Church of the Holy Cross of Minneapolis,           1621 University Ave NE
Minnesota, including the Church of Saint Anthony       Minneapolis, MN 55413-1231
of Padua, Church of Saint Hedwig of Minneapolis,
and the former parish of The Church of Saint
Clement.
Holy Cross Catholic School                             6100 37th St. W.
                                                       Webster, MN 55088
The Church of the Holy Family of St. Louis Park,       5900 Lake St W
including the parish school                            Saint Louis Park, MN 55416-2033
The Church of the Holy Name of Minneapolis             3637 11th Ave S
                                                       Minneapolis, MN 55407-2625
The Church of the Holy Name of Jesus of Medina,        155 County Rd 24
Minnesota, including the parish school                 Wayzata, MN 55391-9614

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Catholic Entity                                        Address
Dominican Fathers Holy Rosary Church & School          2424 - 18th Ave S
                                                       Minneapolis, MN 55404
The Church of the Holy Spirit of St. Paul,             515 Albert St S
Minnesota, including the parish school                 St. Paul, MN 55116-1611
The Church of the Holy Trinity, including the          308 4th St N
former parishes of The Church of St. Columbkille       Goodhue, MN 55027
of Belle Creek, Minnesota and The Church of St.
Mary of Belvidere, Minnesota
The Church of the Holy Trinity of Waterville,          506 Common St
Minnesota                                              Waterville, MN 56096-1513
The Church of the Holy Trinity of South St. Paul,      749 6th Ave S
including the parish school and The Church of St.      South St. Paul, MN 55075-3034
Augustine of South St. Paul, Minnesota.
The Church of the Immaculate Conception                116 Alabama St SE
                                                       Lonsdale, MN 55046-0169
The Church of the Immaculate Conception of             109 Angel Ave NW
Watertown, Minnesota                                   Watertown, MN 55388-0548
The Church of the Immaculate Conception of             4030 Jackson St NE
Columbia Heights, including the parish school          Columbia Heights, MN 55421-2929
The Church of the Immaculate Conception of             27528 Patrick St
Marysburg, Minnesota                                   Madison Lake, MN 56063-4117
The Church of the Immaculate Heart of Mary of          13505 Excelsior Blvd
Glen Lake, Minnesota                                   Minnetonka, MN 55345-4913
The Church of the Incarnation of Minneapolis,          3817 Pleasant Ave
including Sargado Corazon de Jesus                     Minneapolis, MN 55409-1228
The Church of Lumen Christi, including The             2055 Bohland Ave
Church of Saint Therese of St. Paul, The Church of     St. Paul, MN 55116
Saint Gregory the Great of Saint Paul, Minnesota,
and the Church of Saint Leo of St. Paul, Minnesota.
The Church of Mary, Mother of the Church of            3333 East Cliff Rd
Burnsville, Minnesota                                  Burnsville, MN 55337-3306
The Catholic Church of Mary Queen of Peace,            21304 Church Ave
including the parish school and the former parishes    Rogers (Hassan Township),
of the Church of Saint Martin of Rogers and The        MN 55374-9189
Church of St. Walberg, of Hasson
The Church of the Maternity of the Blessed Virgin,     1414 Dale St N
Saint Paul, Minnesota, including parish school and     St. Paul, MN 55117-4153
former parish of The Church of St. Andrews of St.
Paul Minnesota




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Catholic Entity                                        Address
The Church of the Most Holy Redeemer of                206 Vine Ave W
Montgomery, Minnesota, including the parish            Montgomery, MN 56069-1063
school and The Church of St. Canice of Kilkenny,
Minnesota
The Church of the Most Holy Trinity of Wesely,         4939 Washington St
Minnesota                                              Veseli, MN 55046-4007
The Church of The Nativity, of Cleveland,              200 West Main St
Minnesota, including the parish school                 Cleveland, MN 56017-0187
The Church of the Nativity of Our Lord, including      1900 Wellesley Ave
the parish school                                      St. Paul, MN 55105-1617
The Church of the Nativity of the Blessed Virgin,      9900 Lyndale Ave S
Oxboro, Minnesota, including parish school             Bloomington, MN 55420-4733
Notre Dame Academy                                     13505 Excelsior Blvd
                                                       Minnetonka, MN 55345-4913
The Church of Our Lady of Grace, in Edina,             5071 Eden Ave
Minnesota, including the parish school and The         Edina, MN 55436
Church of the Most Holy Trinity of St. Louis Park,
Minnesota
The Church of Our Lady of Guadalupe of Saint           401 Concord St
Paul, Minnesota                                        St. Paul, MN 55107-2475
The Church of Our Lady of Lourdes of St.               1 Lourdes Place
Anthony, Minnesota                                     Minneapolis, MN 55414-1018
The Church of Our Lady of Mount Carmel of              701 Fillmore St NE
Minneapolis                                            Minneapolis, MN 55413-2525
The Church of Our Lady of Peace, including the         5426 12th Ave S
parish school, The Church of St. Kevin and The         Minneapolis, MN 55417-2505
Catholic Church of the Resurrection of Minneapolis
The Church of Our Lady of the Lake of Mound,           2385 Commerce Blvd
Minn., including the parish school                     Mound, MN 55364-1427
The Church of Our Lady of the Prairie, Belle           212 N Chestnut St
Plaine, including the parish school, the former        Belle Plaine, MN 56011
parish of The Church of Sacred Heart of Belle
Plaine, Minnesota and the former parish of The
Church of Saints Peter and Paul of Belle Plaine,
Minn.
The Church of Our Lady of Victory of Minneapolis       5155 Emerson Ave N
                                                       Minneapolis, MN 55430-3414
The Church of Pax Christi of Eden Prairie              12100 Pioneer Trail
                                                       Eden Prairie, MN 55347-4208
St. John Paul II Catholic Preparatory School           1630 4th St. NE
                                                       Minneapolis, MN 55413

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Catholic Entity                                       Address
The Church of the Presentation of the Blessed         1725 Kennard St
Virgin Mary of Saint Paul, including the parish       Maplewood, MN 55109-4603
school
Risen Christ Catholic School                          1120 37th St East
                                                      Minneapolis, MN 55407-2759
The Church of the Risen Savior, of Apple Valley       1501 County Rd 42 E
                                                      Burnsville, MN 55306-4723
The Church of the Sacred Heart in St. Paul            840 6th St E
                                                      St. Paul, MN 55106-4543
The Church of the Sacred Heart of Rush City           425 Field Ave PO Box 45
Minnesota                                             Rush City, MN 55069
The Church of the Sacred Heart, including the         4087 West Broadway Ave
parish school                                         Robbinsdale, MN 55422-2232
The Society for the Propagation of the Faith,         328 Kellogg Blvd
Incorporated (a/k/a Center for Mission)               West St. Paul, MN 55102
The Church of St. Cyril of Minneapolis, Minnesota     1315 2nd St NE
(also known as the Church of Ss. Cyril and            Minneapolis, MN 55413-1131
Methodius)
Parish of Saints Joachim and Anne of Shakopee,        2700 17th Ave E
Minnesota, including parish school, formerly          Shakopee, MN 55379-4443
known as St. Mary of Shakopee, Saint Mark’s
Church of Shakopee, Scott County and The Church
of Saint Mary of the Purification of Marystown,
Minn.
The Church of. SS. Peter and Paul of Medina,          145 Railway St E, P.O. Box 96
Minnesota                                             Loretto, MN 55357-0096
The Church of St. Adalbert, of St. Paul, Minnesota    265 Charles Ave
                                                      St. Paul, MN 55103-2005
The Church of St. Agatha of Vermillion, Minnesota     3700 160th St E
                                                      Rosemount, MN 55068-2007
The Church of St. Agnes of St. Paul, Minnesota,       535 Thomas Ave
including the parish school                           St. Paul, MN 55103
The Church of Saint Albert                            11400 57th St NE, P.O. Box 127
                                                      Albertville, MN 55301-0127
The Church of Saint Albert the Great, of              2836 33rd Ave S
Minneapolis, Minn., including former parish of The    Minneapolis, MN 55406-1626
Church of Our Lady of Perpetual Help of
Minneapolis, Minnesota and the former parish of
the Church of Saint Austin of Minneapolis,
Minnesota
The Church of St. Alphonsus, of Brooklyn Center,   7025 Halifax Ave N
Minnesota, including the parish school             Brooklyn Center, MN 55429-1375
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Catholic Entity                                        Address
The Church of Saint Ambrose of Woodbury,               4125 Woodbury Dr.
including the parish school (formerly located in St.   Woodbury, MN 55129-9627
Paul, Minnesota)
The Church of St. Andrew of Elysian, Minnesota         305 Park Ave NE
                                                       Elysian, MN 56028-0261
The Church of St. Andrew Kim                           1850 Mississippi River Blvd
                                                       St. Paul, MN 55116-2644
The Church of Saint Anne – Saint Joseph Hien           2627 Queen Ave N
                                                       Minneapolis, MN 55411-1792
The Church of St. Anne of Hamel, Minnesota             200 Hamel Rd, P.O. Box 256
                                                       Hamel, MN 55340-0256
The Church of St Anne of LeSueur, Minnesota,           217 N 3rd St
including the parish school and the former parish of   Le Sueur, MN 56058-1808
Church of St. Thomas of Derrynane
The Church of Saint Bartholomew of Wayzata,            630 Wayzata Blvd E
including the parish school                            Wayzata, MN 55391-1704
The Church of Saint Bernard of St Paul Minnesota       1160 Woodbridge St.
                                                       St. Paul, MN 55117-4491
The Church of St. Bernard, of Benton, Minnesota,       212 Church St E
including the parish school                            Cologne, MN 55322-9552
The Church of St. Bonaventure, of Bloomington,         901 90th St E
Minnesota                                              Bloomington, MN 55420-3801
The Church of St. Boniface                             629 2nd St NE
                                                       Minneapolis, MN 55413-1905
The Church of St. Boniface                             551 Main Street
                                                       Stewart, MN
The Church of St. Boniface of St. Bonifacius,          4025 Main St
Minn.                                                  Saint Bonifacius, MN 55375-0068
The Church of Saint Bridget of Minneapolis,            3811 Emerson Ave N
including the Church of Saint Austin of                Minneapolis, MN 55412-2038
Minneapolis, Minnesota
The Church of St. Bridget of Sweden, of Lindstrom, 13060 Lake Blvd, P.O. Box 754
Minnesota                                          Lindstrom, MN 55045-0754
The Church of St. Casimir of St. Paul, Minnesota   934 Geranium Ave E
                                                   St. Paul, MN 55106-2610
The Church of St. Catherine of Spring Lake,        24425 Old Highway 13 Blvd
Minnesota                                          Jordan, MN 55352
The Church of St. Cecilia of St. Paul              2357 Bayless Place
                                                   St. Paul, MN 55114-1105



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Catholic Entity                                       Address
The Church of St. Charles Borromeo of                 2739 Stinson Blvd NE
Minneapolis, Minnesota, including the parish          Saint Anthony, MN 55418-3124
school
The Church of Saint Charles, Bayport, Minnesota      409 3rd St N
                                                     Bayport, MN 55003-1044
The Church of Saint Columba of St. Paul, Minn.       1327 LaFond Ave
                                                     St. Paul, MN 55104-2035
St. Croix Catholic School                            621 3rd St. S.
                                                     Stillwater, MN 55082-4908
The Church of St Dominic of Northfield Minnesota, 216 Spring St N
including the parish school                          Northfield, MN 55057-1431
The Church of St. Edward, of Bloomington,            9401 Nesbitt Ave S
Minnesota                                            Bloomington, MN 55437-1943
The Church of St. Elizabeth Ann Seton, Hastings,     2035 15th St W
Minnesota, including the parish school and the       Hastings, MN 55033-9294
former parishes of The Church of Guardian
Angels, Hastings, Minnesota and The Church of St.
Boniface of Hasting, Minnesota
The Church of Saint Frances Cabrini of               1500 Franklin Ave SE
Minneapolis, Minnesota                               Minneapolis, MN 55414-3649
The Church of St. Francis de Sales of St. Paul,      650 Palace Ave
Minnesota including Child Care Center &              St. Paul, MN 55102-3540
Preschool, and The Church of St. James of St. Paul
The Church of St. Francis of Assisi                  16770 13th St S
                                                     Lake St Croix Beach, MN 55043-9756
The Church of Saint Francis Xavier of Franconia,     25267 Redwing Ave
Minnesota                                            Shafer, MN 55074
The Church of St. Francis of Buffalo, Minnesota,     300 First Ave NW
including the parish school                          Buffalo, MN 55313-5042
The Parish of Saint Gabriel the Archangel of         6 Interlochen Rd
Hopkins, Minnesota, including St. Joseph of          Hopkins, MN 55343-8548
Hopkins and Saint John the Evangelist of
Interlachen Park
The Church of St. Genevieve of Centerville,          7087 Goiffon Rd
Minnesota including The Church of St. John the       Centerville, MN 55038-9125
Baptist of Hugo
The Church of Saint George of Long Lake              133 Brown Rd N
                                                     Long Lake, MN 55356-9560
The Church of St. Gerard                             9600 Regent Ave N
                                                     Brooklyn Park, MN 55443-1401
The Church of Saint Gregory                          38725 Forest Blvd
                                                     North Branch, MN 55056-0609
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Catholic Entity                                        Address
The Church of Saint Hedwig of Minneapolis          129 29th Ave. NE
                                                   Minneapolis, MN 55418
The Church of St. Helena of Minneapolis, including 3204 43rd St E
parish school                                      Minneapolis, MN 55406-3858
The Church of St. Henry of Monticello, Minn        1001 7th St E
                                                   Monticello, MN 55362-8805
The Church of Saint Henry of Sharon, Minnesota     165 N. Waterville Ave.
                                                   Le Center, MN 56057
The Church of Saint Hubert of Chanhassen Minn,     8201 Main St
including parish school                            Chanhassen, MN 55317-9647
The Church of St. Ignatius of French Lake,         35 Birch St E
Minnesota                                          Annandale, MN 55302-0126
The Church of St. Jerome, Maplewood, Minnesota     380 Roselawn Ave E
including parish school                            Maplewood, MN 55117-2033
The Church of Saint Joan of Arc in Minneapolis     4537 3rd Ave S
                                                   Minneapolis, MN 55419-5111
The Church of St. John Neumann                     4030 Pilot Knob Rd
                                                   Eagan, MN 55122-1814
The Church of St. John the Baptist of Dayton       18380 Columbus St, P.O. Box 201
Minnesota                                          Dayton, MN 55327-0201
The Church of St. John the Baptist of Byrnesville, 4625 West 125th St
Minnesota, including parish school                 Savage, MN 55378-1357
The Church of St. John Baptist, including parish   835 2nd Ave NW
school                                             New Brighton, MN 55112-6842
The Church of Saint John the Baptist of Jordan     313 East 2nd St
Minn., including parish school                     Jordan, MN 55352-1447
Church of St. John the Baptist of Excelsior,       680 Mill St
Minnesota, including parish school                 Excelsior, MN 55331-3272
The Church of St. John of Vermillion Minnesota,    106 Main St W
including parish school                            Vermillion, MN 55085-0008
St. John’s Church of Little Canada, Minnesota,     380 Little Canada Rd E
including parish school                            Little Canada, MN 55117-1627
The Church of Saint John Vianney in South Saint    789 17th Ave North
Paul, Minnesota                                    South St. Paul, MN 55075
The Church of St. Joseph                           8701 36th Ave N
                                                   New Hope, MN 55427-1769
The Church of Saint Joseph of West Saint Paul,     1154 Seminole Ave
Minnesota                                          West St. Paul, MN 55118-2020
The Church of St. Joseph, of Red Wing Minnesota    426 8th St W
                                                   Red Wing, MN 55066-3410

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Catholic Entity                                         Address
The Church of Saint Joseph of Taylors Falls             490 Bench St
                                                        Taylors Falls, MN 55084-0234
The Church of Saint Joseph of Waconia, Minn.,           41 1st St E
including parish school                                 Waconia, MN 55387-1526
The Church of St. Joseph, of Rosemount                  13900 Biscayne Ave W
Minnesota, including parish school                      Rosemount, MN 55068-3451
The Church of St. Joseph, of Miesville, Minnesota,      23955 Nicolai Ave E
in the Township of Douglas, including parish            Hastings, MN 55033-9650
school
Church of St. Joseph of Rice Lake, Minnesota            171 Elm St
                                                        Lino Lakes, MN 55014-1271
The Church of St. Joseph the Worker, Maple              7180 Hemlock Lane N
Grove, Minnesota                                        Maple Grove, MN 55369-5569
The Church of St. Jude of the Lake in the Town of       700 Mahtomedi Ave
Lincoln, including parish school                        Mahtomedi, MN 55115-1673
The Church of Saint Katharine Drexel, Ramsey,           7101 143rd Ave NW
Minnesota                                               Ramsey, MN 55303-6001
The Church of St. Lawrence of Minneapolis,              1203 5th St SE
Minnesota                                               Minneapolis, MN 55414-2030
The Newman Center and Chapel                            1203 5th St SE
                                                        Minneapolis, MN 55414-2030
The Church of St. Leonard of Port Maurice, of           3949 Clinton Ave S
Minneapolis, Minnesota                                  Minneapolis, MN 55409-1635
The Church of St. Louis, of St. Paul Minnesota          506 Cedar St
                                                        St. Paul, MN 55101-2245
The Church of St. Luke of Clearwater, Minnesota         17545 Huber Ave NW
                                                        Clearwater, MN 55320-0249
The Church of Saint Margaret Mary, of                   2323 Zenith Ave N
Minneapolis, Minnesota                                  Golden Valley, MN 55422-3853
The Church of St. Mark of St. Paul, Minnesota,          2001 Dayton Ave
including parish school                                 St. Paul, MN 55104-5804
The Church of St. Mary, of St. Paul Minnesota           261 8th St E
                                                        St. Paul, MN 55101-2307
The Church of St. Mary of Le Center, Minnesota          165 Waterville Ave N
                                                        Le Center, MN 56057-1524
The Church of St. Mary, of New Trier, Minnesota         8433 239th St E
                                                        Hampton, MN 55031-9766
The Church of St. Mary of Stillwater                    423 5th St S
                                                        Stillwater, MN 55082-4982
The Church of St Mary of Waverly Minnesota              606 Elm Ave
                                                        Waverly, MN 55390-0278
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Catholic Entity                                         Address
The Church of St. Mary, Minnesota (also known as        1867 95th St SE
the Church of St. Mary of Czestochowa)                  Delano, MN 55328-8208
The Church of St. Mary of the Lake, of Medicine         105 Forestview Ln N
Lake, Minnesota                                         Plymouth, MN 55441-5910
The Church of St. Mary of the Lake, of White Bear,      4690 Bald Eagle Ave
Minnesota                                               White Bear Lake, MN 55110-3441
The Church of St. Matthew of St. Paul, Minnesota        490 Hall Ave
                                                        St. Paul, MN 55107-2845
The Church of St. Mathias of Hampton, Minnesota         23315 Northfield Blvd
                                                        Hampton, MN 55031-9667
The Church of Saint Maximilian Kolbe, including         204 South River St.
parish school, formerly known as The Church of St.      PO Box 470
Peter, of Delano, Minnesota and The Church of St.       Delano, MN 55328
Joseph of Delano
The Church of St. Michael of Farmington,           22120 Denmark Ave
Minnesota                                          Farmington, MN 55024
The Church of Saint Michael of Kenyon, Minnesota 108 Bullis St
                                                   Kenyon, MN 55946-1156
The Church of St. Michael, of Pine Island          451 5th St SW
Minnesota                                          Pine Island, MN 55963-6761
The Church of St. Michael of St. Paul Minnesota    337 Hurley St E
                                                   West St. Paul, MN 55118-1605
The Church of St. Michael, of Stillwater Minnesota 611 3rd St S
                                                   Stillwater, MN 55082-4908
The Church of St. Michael, of Frankfort,           11300 Frankfurt Pkwy NE
Minnesota, including parish school                 Saint Michael, MN 55376-4550
The Church of St. Michael of Prior Lake, including 16311 Duluth Ave SE
parish school                                      Prior Lake, MN 55372-2423
The Church of Saint Nicholas of Carver Minn.       412 4th St W
                                                   Carver, MN 55315-0133
St. Nickolaus Church of New Market Scott County 51 Church St
Minnesota                                          New Market, MN 55054-0009
The Church of St. Odilia, of Shoreview, Minnesota, 3495 Victoria St N
including parish school                            Shoreview, MN 55126-3813
St. Olaf’s Catholic Church of Minneapolis,         215 South 8th St
Minnesota                                          Minneapolis, MN 55402-2803
The Church of Saint Pascal Baylon, St. Paul,       1757 Conway St
Minnesota, including parish school, and the former St. Paul, MN 55106-5929
parish of The Church of St. John of St. Paul,
Minnesota


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Catholic Entity                                         Address
The Church of St. Patrick of Inver Grove,               3535 72nd St E
Minnesota                                               Inver Grove Heights, MN 55076-2627
The Church of St. Patrick of Edina, Minnesota           6820 St. Patrick’s Lane
                                                        Edina, MN 55439-1631
The Church of, St. Patrick, of Shieldsville             7525 Dodd Rd
Minnesota                                               Faribault, MN 55021-7431
The Church of St. Patrick of Cedar Lake,                24425 Old Highway 13 Blvd
Minnesota                                               Jordan, MN 55352-9604
The Church of St. Patrick of Cedar Creek,               19921 Nightingale St NW
Minnesota                                               Oak Grove, MN 55011-9243
The Church of St. Patrick of St. Paul Minnesota         1095 DeSoto St
                                                        St. Paul, MN 55130-3704
The Church of Saint Paul of Zumbrota, Minnesota         749 Main St S
                                                        Zumbrota, MN 55992-1608
The Church of Saint Paul                                1740 Bunker Lake Blvd NE
                                                        Ham Lake, MN 55304-7040
The Church of Saint Peter of Richfield, Minnesota,      6730 Nicollet Ave
including parish school of Blessed Trinity              Richfield, MN 55423-2464
The Church of St. Peter, of Mendota, Minnesota          1405 Hwy 13
                                                        Mendota, MN 55150-0679
The Church of Saint Peter, including parish school      1250 Shore Dr. S
                                                        Forest Lake, MN 55025-1933
The Church of St. Peter of North St. Paul, including    2600 Margaret St N
parish school and the former parish The Church of       North St. Paul, MN 55109-2361
the Holy Redeemer
The Church of St. Peter Claver Minnesota,               375 Oxford St N
including parish school                                 St. Paul, MN 55104-4734
The Church of St. Pius of Cannon Falls, Minnesota       410 Colvill St W
                                                        Cannon Falls, MN 55009-2441
The Church of St. Pius X of White Bear, Minnesota       3878 Highland Ave
                                                        White Bear Lake, MN 55110-4240
The Church of Saint Raphael in Crystal, Minnesota,      7301 Bass Lake Rd
including parish school                                 Crystal, MN 55428-3826
The Church of Saint Richard, of Richfield,              7540 Penn Ave S
Minnesota                                               Richfield, MN 55423-3629
The Church of St. Rita of Cottage Grove,                8694 80th St S
Minnesota                                               Cottage Grove, MN 55016-2012
The Church of Saint Rose of Lima of Rosetown,           2048 Hamline Ave N
Minnesota, including parish school                      Roseville, MN 55113-5855
The Church of St. Stanislaus of Saint Paul,             398 Superior St
Minnesota                                               St. Paul, MN 55102-2925
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Catholic Entity                                         Address
The Church of St. Stephen of Minneapolis,               2211 Clinton Ave
Minnesota                                               Minneapolis, MN 55404-3656
The Church of St. Stephen, of Anoka, Minnesota,         525 Jackson St
including parish school                                 Anoka, MN 55303-2353
The Church of Saint Therese of Deephaven,               18323 Minnetonka Blvd
including parish school                                 Deephaven, MN 55391-3231
St. Thomas Academy                                      949 Mendota Heights Rd.
                                                        Mendota Heights, MN 55118
The Church of St. Thomas Aquinas in St. Paul            920 Holly Ave
Park, Minnesota                                         St. Paul Park, MN 55071-1418
The Church of St. Thomas Becket                         4455 S Robert Trail
                                                        Eagan, MN 55123-2038
The Church of Saint Thomas More, including              1079 Summit Ave
parish school, The Church of the Immaculate Heart       St. Paul, MN 55105-3004
of Mary, St. Paul, Minnesota and former parish of
Church of St. Luke, St. Paul Minnesota
The Church of St. Thomas of Minneapolis                 2914 W 44th St
                                                        Minneapolis, MN 55410-1551
The Church of St. Thomas, of Corcoran, Minnesota        20000 County Rd 10
                                                        Corcoran, MN 55340-9501
The Church of Saint Timothy of Blaine                   707 89th Ave NE
                                                        Blaine, MN 55434-2304
The Church of St. Timothy of Maple Lake,                8 Oak Ave N
Minnesota, including parish school                      Maple Lake, MN 55358-2457
The Church of Saint Victoria of Victoria, Minn.         8228 Victoria Dr.
                                                        Victoria, MN 55386-9692
The Church of St. Vincent de Paul, of Osseo,            9100 93rd Ave N
Minnesota, including parish school                      Brooklyn Park, MN 55445-1407
The Church of St. Wenceslaus, of New Prague,            215 Main St E
Minnesota, including parish school, Saint               New Prague, MN 56071-1832
Scholastica Church of Heidelberg, Minnesota, The
Church of Saint John the Evangelist of Union Hill,
Minn., The Church of St. Joseph, and Church of
Saint Benedict, of St. Benedict.
The Church of Saint William of Fridley, Minnesota       6120 5th St NE
                                                        Fridley, MN 55432-5033
Transfiguration Church of Oakdale, Minnesota,           6133 15th St N
including parish school                                 Oakdale, MN 55128-4201




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               LIST OF KNOWN ARCHDIOCESE OTHER INSURED ENTITIES



    Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
    All Parishes, Schools, Cemeteries and Other    Nat’l Surety policy number XLX 1488368 (9/1/84-
    Agencies under specific names owned or         9/1/85); Northfield Insurance Companies policy
    operated by the Archdiocese of St. Paul and    number EL 85004 (11/7/85-9/1/86); St. Paul
    Minneapolis and all other directly connected   Surplus Lines Insurance Company policy number
    organizations                                  SUO 5500535 (9/1/86-9/1/87); Colonial Penn
    (as listed on Exhibit M of Plan)               Policy numbers XL 150030 (9/1/85-9/1/86) and
                                                   XL150079 (9/1/86-9/1/87).
    Catholic Cemeteries, individually and as       Fidelity and Casualty Company of New York policy
    successor in interest to: Calvary Cemetery,    number XP128258/74084 (8/1/52-8/1/55);
    Gethsemane Cemetery (including Assumption      Fireman’s Fund policy numbers GAC312672
    Cemetery), Resurrection Cemetery, St.          (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61);
    Anthony’s Cemetery, and St. Mary’s             International policy number GA114938 (8/1/67-
    Cemetery                                       8/1/70); American Home policy numbers
    2105 Lexington Ave S.                          CE2598055 (8/17/69-8/17/72) and BE3374208
    Mendota Heights, MN 55120                      (8/17/72-8/17/75); American Casualty policy
                                                   number 1861802 (6/1-8/1/74); Hartford Accident
                                                   and Indemnity Company policy 41 C 549216
                                                   (8/1/70-8/1/73); and Travelers Casualty and Surety
                                                   Company (formerly known as Aetna Casualty and
                                                   Surety Company) policy numbers 37AL188420
                                                   (8/1/73 - 8/1/74), 37SM802875FCA (8/1/74 -
                                                   8/1/77), 37SM802875FCA7 (8/1/77 - 8/1/78),
                                                   37SM10285FCA (8/1/78 - 8/1/79),
                                                   37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                                   (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                                   8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                                   37XS2831WCA (8/17/78 - 7/1/79), and
                                                   37XS3399WCA (7/1/79 - 9/1/80); and any other
                                                   policy insuring or allegedly insuring such entities
                                                   that was issued to the Archdiocese and also insures
                                                   the Archdiocese as a Named Insured with an
                                                   effective period expiring on or before September 1,
                                                   1980




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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Calvary Cemetery (St. Paul)                   The Fidelity and Casualty Company of New York
 Part of Catholic Cemeteries                   policy number XP128258/74084 (8/1/52-8/1/55);
                                               Fireman’s Fund policy numbers GAC312672
                                               (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61);
                                               International Insurance policy number GA114938
                                               (8/1/67-8/1/70); Hartford Accident and Indemnity
                                               Company policy 41 C 549216 (8/1/70-8/1/73);
                                               Travelers Casualty and Surety Company (formerly
                                               known as Aetna Casualty and Surety Company)
                                               policy number 37AL188420 (8/1/73 - 8/1/74); and
                                               any other policy insuring or allegedly insuring such
                                               entities that was issued to the Archdiocese and also
                                               insures the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980
 Assumption Cemetery (New Hope)                Hartford Accident and Indemnity Company policy
 Part of Gethsemane Cemetery, which is part    41 C 549216 (8/1/70-8/1/73); Travelers Casualty
 of Catholic Cemeteries                        and Surety Company (formerly known as Aetna
                                               Casualty and Surety Company) policy number
                                               37AL188420 (8/1/73 - 8/1/74); and any other policy
                                               insuring or allegedly insuring such entities that was
                                               issued to the Archdiocese and also insures the
                                               Archdiocese as a Named Insured with an effective
                                               period expiring on or before September 1, 1980
 Gethsemane Cemetery (New Hope)                 Fireman’s Fund policy number CL331931 (8/1/58-
 Part of Catholic Cemeteries                   8/1/61); International policy number GA114938
                                               (8/1/67-8/1/70); Hartford Accident and Indemnity
                                               Company policy 41C549216 (8/1/70-8/1/73);
                                               Travelers Casualty and Surety Company (formerly
                                               known as Aetna Casualty and Surety Company)
                                               policy number 37AL188420 (8/1/73 - 8/1/74); and
                                               any other policy insuring or allegedly insuring such
                                               entities that was issued to the Archdiocese and also
                                               insures the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Resurrection Cemetery (Mendota Heights)       Fidelity and Casualty Company of New York policy
 Part of Catholic Cemeteries                   number XP128258/74084 (8/1/52-8/1/55);
                                               Fireman’s Fund policy numbers GAC312672
                                               (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61);
                                               International policy number GA114938 (8/1/67-
                                               8/1/70); Hartford Accident and Indemnity Company
                                               policy 41 C 549216 (8/1/70-8/1/73); and any other
                                               policy insuring or allegedly insuring such entities
                                               that was issued to the Archdiocese and also insures
                                               the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980
 St. Anthony’s Cemetery (Minneapolis)          Fidelity and Casualty Company of New York policy
 Part of Catholic Cemeteries                   number XP128258/74084 (8/1/52-8/1/55);
                                               Fireman’s Fund policy numbers GAC312672
                                               (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61);
                                               International policy number GA114938 (8/1/67-
                                               8/1/70); Hartford Accident and Indemnity Company
                                               policy 41 C 549216 (8/1/70-8/1/73); Travelers
                                               Casualty and Surety Company (formerly known as
                                               Aetna Casualty and Surety Company) policy
                                               number 37AL188420 (8/1/73 - 8/1/74); and any
                                               other policy insuring or allegedly insuring such
                                               entities that was issued to the Archdiocese and also
                                               insures the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980
 St. Mary’s Cemetery (Minneapolis)             Fidelity and Casualty Company of New York policy
 Part of Catholic Cemeteries                   number XP128258/74084 (8/1/52-8/1/55);
                                               Fireman’s Fund policy numbers GAC312672
                                               (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61);
                                               International policy number GA114938 (8/1/67-
                                               8/1/70); Hartford Accident and Indemnity Company
                                               policy 41 C 549216 (8/1/70-8/1/73); Travelers
                                               Casualty and Surety Company (formerly known as
                                               Aetna Casualty and Surety Company) policy
                                               number 37AL188420 (8/1/73 - 8/1/74); and any
                                               other policy insuring or allegedly insuring such
                                               entities that was issued to the Archdiocese and also
                                               insures the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
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 Entity Name, Address and Insured Interest              Policy Number(s) and Insured Year(s)
 Catholic Charities of The Archdiocese of        Fidelity and Casualty Company of New York policy
 Saint Paul and Minneapolis as successor in      number XP128258/74084 (8/1/52-8/1/55);
 interest to St. Joseph’s Home for Children      Fireman’s Fund policy numbers GAC312672
 (f/k/a Minneapolis Catholic Boys’ Home, f/k/a   (8/1/55-8/1/58) and CL331931(8/1/58-8/1/61);
 Minneapolis Catholic Orphan Asylum, and         Continental Casualty Company policy
 f/k/a St. Joseph’s German Catholic Orphan       RDU9799786 (8/17/66-8/17/69); International
 Society); Seton Residence (f/k/a St. Paul       Insurance policy number GA114938 (8/1/67-
 Catholic Orphan Asylum and f/k/a Catholic       8/1/70); Hartford Accident and Indemnity Company
 Infants Home); Catholic Social Service of       policy 41 C 549216 (8/1/70-8/1/73); American
 Saint Paul (f/k/a known as Bureau of Catholic   Home policy numbers CE2598055 (8/17/69-
 Charities of Saint Paul, Inc.)                  8/17/72) and BE3374208 (8/17/72-8/17/75);
 1200 2nd Avenue S.                              Travelers Casualty and Surety Company (formerly
 Minneapolis, MN 55403                           known as Aetna Casualty and Surety Company)
                                                 policy numbers 37SM10285FCA (8/1/78 - 8/1/79),
                                                 37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                                 (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                                 8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                                 37XS2831WCA (8/17/78 - 7/1/79), and
                                                 37XS3399WCA (7/1/79 - 9/1/80); and any other
                                                 policy insuring or allegedly insuring such entities
                                                 that was issued to the Archdiocese and also insures
                                                 the Archdiocese as a Named Insured with an
                                                 effective period expiring on or before September 1,
                                                 1980
 Diocesan Bureau of Catholic Charities, Inc.     Continental Casualty Company policy number
 n/k/a Catholic Charities                        RDU9799786 (8/17/66-8/17/69); International
                                                 policy number GA114938 (8/1/67-8/1/70); Hartford
                                                 Accident and Indemnity Company policy 41 C
                                                 549216 (8/1/70-8/1/73); American Home policy
                                                 number E2598055 (8/17/69-8/17/72); and any other
                                                 policy insuring or allegedly insuring such entities
                                                 that was issued to the Archdiocese and also insures
                                                 the Archdiocese as a Named Insured with an
                                                 effective period expiring on or before September 1,
                                                 1980
 Catholic Infants Home, St. Paul                 Fidelity and Casualty Company of New York policy
 n/k/a Catholic Charities                        number XP128258/74084 (8/1/52-8/1/55);
                                                 Fireman’s Fund policy numbers GAC312672
                                                 (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61); and
                                                 any other policy insuring or allegedly insuring such
                                                 entities that was issued to the Archdiocese and also
                                                 insures the Archdiocese as a Named Insured with an
                                                 effective period expiring on or before September 1,
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 Entity Name, Address and Insured Interest           Policy Number(s) and Insured Year(s)
 Minneapolis Catholic Boys Home f/k/a Mpls     Fidelity and Casualty Company of New York policy
 Catholic Orphans Asylum                       number XP128258/74084 (8/1/52-8/1/55);
 n/k/a Catholic Charities                      Continental Casualty Company policy number
                                               RDU9799786 (8/17/66-8/17/69); Fireman’s Fund
                                               policy numbers GAC312672 (8/1/55-8/1/58) and
                                               CL331931 (8/1/58-8/1/61); and any other policy
                                               insuring or allegedly insuring such entities that was
                                               issued to the Archdiocese and also insures the
                                               Archdiocese as a Named Insured with an effective
                                               period expiring on or before September 1, 1980
 St. Joseph’s Home for Children                 Fireman’s Fund policy number CL331931 (8/1/58-
 n/k/a Catholic Charities                      8/1/61); American Home policy numbers
                                               CE2598055 (8/17/69-8/17/72) and BE3374208
                                               (8/17/72-8/17/75); and any other policy insuring or
                                               allegedly insuring such entities that was issued to
                                               the Archdiocese and also insures the Archdiocese as
                                               a Named Insured with an effective period expiring
                                               on or before September 1, 1980
 St. Paul Catholic Orphans Asylum              Fidelity and Casualty Company of New York policy
 n/k/a Catholic Charities                      number XP128258/74084 (8/1/52-8/1/55);
                                               Continental Casualty Company policy number
                                               RDU9799786 (8/17/66-8/17/69); Fireman’s Fund
                                               policy number GAC312672 (8/1/55-8/1/58) and
                                               CL331931 (8/1/58-8/1/61); and any other policy
                                               insuring or allegedly insuring such entities that was
                                               issued to the Archdiocese and also insures the
                                               Archdiocese as a Named Insured with an effective
                                               period expiring on or before September 1, 1980




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 Entity Name, Address and Insured Interest           Policy Number(s) and Insured Year(s)
 St. Joseph’s German Catholic Orphan Society   Continental Casualty Company policy number
 n/k/a Catholic Charities                      RDU9799786 (8/17/66-8/17/69); American Home
                                               policy numbers CE2598055 (8/17/69-8/17/72) and
                                               BE3374208 (8/17/72-8/17/75); and Travelers
                                               Casualty and Surety Company (formerly known as
                                               Aetna Casualty and Surety Company) policy
                                               numbers 37SM10285FCA (8/1/78 - 8/1/79),
                                               37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                               (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                               8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                               37XS2831WCA (8/17/78 - 7/1/79), and
                                               37XS3399WCA (7/1/79 - 9/1/80); and any other
                                               policy insuring or allegedly insuring such entities
                                               that was issued to the Archdiocese and also insures
                                               the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980
 Seton Residence                               International policy number GA114938 (8/1/67-
 n/k/a Catholic Charities                      8/1/70); American Home policy numbers
                                               CE2598055 (8/17/69-8/17/72) and BE3374208
                                               (8/17/72-8/17/75); and any other policy insuring or
                                               allegedly insuring such entities that was issued to
                                               the Archdiocese and also insures the Archdiocese as
                                               a Named Insured with an effective period expiring
                                               on or before September 1, 1980




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 Archbishop Ireland Education Fund, Inc.        Continental Casualty Company policy number
 Dissolved in 1997                              RDU9799786 (8/17/66-8/17/69); International
                                                policy number GA114938 (8/1/67-8/1/70); Hartford
                                                Accident and Indemnity Company policy 41 C
                                                549216 (8/1/70-8/1/73); American Home policy
                                                numbers CE2598055 (8/17/69-8/17/72) and
                                                BE3374208 (8/17/72-8/17/75); Travelers Casualty
                                                and Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                (8/1/74 - 8/1/77), 37SM10285FCA (8/1/78 -
                                                8/1/79), 37SM15868FCA (8/1/79 - 7/1/80),
                                                37XS1768WCA (8/17/75 - 8/17/76),
                                                37XS2046WCA (8/17/76 - 8/17/77),
                                                37XS2401WCA (8/17/77 - 8/17/78),
                                                37XS2831WCA (8/17/78 - 7/1/79), and
                                                37XS3399WCA (7/1/79 - 9/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Archbishop’s Appeal Committee                  American Casualty Company of Reading, PA policy
 Not separately incorporated from Archdiocese   number 1861802 (6/1-8/1/74); Travelers Casualty
                                                and Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                (8/1/74 - 8/1/77), 37SM802875FCA7 (8/1/77 -
                                                8/1/78), and 37SM15868FCA (8/1/79 - 7/1/80); and
                                                any other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 Archdiocesan Council of Catholic Women         American Casualty Company of Reading, PA policy
 Not separately incorporated from Archdiocese   number 1861802 (6/1-8/1/74); Hartford Accident
                                                and Indemnity Company policy 41 C 549216
                                                (8/1/70-8/1/73); Travelers Casualty and Surety
                                                Company (formerly known as Aetna Casualty and
                                                Surety Company) policy numbers 37AL188420
                                                (8/1/73 - 8/1/74), 37SM802875FCA (8/1/74 -
                                                8/1/77), 37SM802875FCA7 (8/1/77 - 8/1/78),
                                                37SM10285FCA (8/1/78 - 8/1/79),
                                                37SM15868FCA (8/1/79 - 7/1/80),
                                                37XS1768WCA (8/17/75 - 8/17/76),
                                                37XS2046WCA (8/17/76 - 8/17/77),
                                                37XS2401WCA (8/17/77 - 8/17/78),
                                                37XS2831WCA (8/17/78 - 7/1/79), and
                                                37XS3399WCA (7/1/79 - 9/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Archdiocesan Development Office and            Travelers Casualty and Surety Company (formerly
 Annual Catholic Appeal                         known as Aetna Casualty and Surety Company)
 Not separately incorporated from Archdiocese   policy number 37SM10285FCA (8/1/78 - 8/1/79);
                                                and any other policy insuring or allegedly insuring
                                                such entities that was issued to the Archdiocese and
                                                also insures the Archdiocese as a Named Insured
                                                with an effective period expiring on or before
                                                September 1, 1980
 Center for Growth in Priestly Ministry         Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy numbers 37SM10285FCA (8/1/78 - 8/1/79),
                                                and 37SM15868FCA (8/1/79 - 7/1/80); and any
                                                other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980




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 Entity Name, Address and Insured Interest           Policy Number(s) and Insured Year(s)
 CommonBond Communities (f/k/a                 Travelers Casualty and Surety Company (formerly
 Community Development Corporation for the     known as Aetna Casualty and Surety Company)
 Archdiocese of Saint Paul and Minneapolis,    policy numbers 37AL188420 (8/1/73 - 8/1/74),
 and f/k/a Urban Affairs Community             37SM802875FCA (8/1/74 - 8/1/77),
 Development Corporation, Inc.)                37SM802875FCA7 (8/1/77 - 8/1/78),
 1080 Montreal Avenue                          37SM10285FCA (8/1/78 - 8/1/79),
 St Paul, MN 55116                             37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                               (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                               8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                               37XS2831WCA (8/17/78 - 7/1/79), 37XS3399WCA
                                               (7/1/79 - 9/1/80); American Casualty policy
                                               number 1861802 (6/1-8/1/74); and any other policy
                                               insuring or allegedly insuring such entities that was
                                               issued to the Archdiocese and also insures the
                                               Archdiocese as a Named Insured with an effective
                                               period expiring on or before September 1, 1980
 Confraternity of Christian Doctrine of the    Fidelity and Casualty Company of New York policy
 Archdiocese of Saint Paul, Inc.               number XP128258/74084 (8/1/52-8/1/55);
 Dissolved in 1972                             Continental Casualty Company policy number
                                               RDU9799786 (8/17/66-8/17/69); American
                                               Casualty Company of Reading, PA policy number
                                               1861802 (6/1-8/1/74); Fireman’s Fund policy
                                               numbers GAC312672 (8/1/55-8/1/58) and
                                               CL331931 (8/1/58-8/1/61); International policy
                                               number GA114938 (8/1/67-8/1/70); Hartford
                                               Accident and Indemnity Company policy 41 C
                                               549216 (8/1/70-8/1/73); American Home policy
                                               number CE2598055 (8/17/69-8/17/72), Travelers
                                               Casualty and Surety Company (formerly known as
                                               Aetna Casualty and Surety Company) policy
                                               numbers 37SM802875FCA (8/1/74 - 8/1/77), and
                                               37SM802875FCA7 (8/1/77 - 8/1/78); and any other
                                               policy insuring or allegedly insuring such entities
                                               that was issued to the Archdiocese and also insures
                                               the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980




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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Consultation Services Center                   American Casualty Company of Reading, PA policy
 Not separately incorporated from Archdiocese   number 1861802 (6/1-8/1/74); Travelers Casualty
                                                and Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                (8/1/74 - 8/1/77), 37SM802875FCA7 (8/1/77 -
                                                8/1/78), 37SM10285FCA (8/1/78 - 8/1/79), and
                                                37SM15868FCA (8/1/79 - 7/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Crossroads Resource Center                     American Casualty Company of Reading, PA policy
 Not separately incorporated from Archdiocese   number 1861802 (6/1-8/1/74); Travelers Casualty
                                                and Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37SM802875FCA (8/1/74 - 8/1/77) and
                                                37SM802875FCA7 (8/1/77 - 8/1/78); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Catholic Youth Center, Minneapolis             Fidelity and Casualty Company of New York policy
 Not separately incorporated from Archdiocese   number XP128258/74084 (8/1/52-8/1/55);
                                                Fireman’s Fund policy numbers GAC312672
                                                (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61);
                                                International policy number GA114938 (8/1/67-
                                                8/1/70); Hartford Accident and Indemnity Company
                                                policy 41 C 549216 (8/1/70-8/1/73); Travelers
                                                Casualty and Surety Company (formerly known as
                                                Aetna Casualty and Surety Company) policy
                                                numbers 37AL188420 (8/1/73 - 8/1/74),
                                                37SM802875FCA (8/1/74 - 8/1/77),
                                                37SM802875FCA7 (8/1/77 - 8/1/78),
                                                37SM10285FCA (8/1/78 - 8/1/79), and
                                                37SM15868FCA (8/1/79 - 7/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980



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 Entity Name, Address and Insured Interest            Policy Number(s) and Insured Year(s)
 Catholic Youth Center, St. Paul                Fidelity and Casualty Company of New York policy
 Not separately incorporated from Archdiocese   number XP128258/74084 (8/1/52-8/1/55);
                                                American Casualty Company of Reading, PA policy
                                                number 1861802 (6/1-8/1/74); Fireman’s Fund
                                                policy numbers GAC312672 (8/1/55-8/1/58) and
                                                CL331931 (8/1/58-8/1/61); International policy
                                                number GA114938 (8/1/67-8/1/70); Hartford
                                                Accident and Indemnity Company policy 41 C
                                                549216 (8/1/70-8/1/73); Travelers Casualty and
                                                Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                (8/1/74 - 8/1/77), 37SM802875FCA7 (8/1/77 -
                                                8/1/78), 37SM10285FCA (8/1/78 - 8/1/79), and
                                                37SM15868FCA (8/1/79 - 7/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Diocesan Bureau of Education                   American Casualty Company of Reading, PA policy
 Not separately incorporated from Archdiocese   number 1861802 (6/1-8/1/74); Travelers Casualty
                                                and Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                (8/1/74 - 8/1/77), 37SM802875FCA7 (8/1/77 -
                                                8/1/78), 37SM10285FCA (8/1/78 - 8/1/79), and
                                                37SM15868FCA (8/1/79 - 7/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 Manalive Program                               Travelers Casualty and Surety Company (formerly
 Dissolved in 1997                              known as Aetna Casualty and Surety Company)
                                                policy numbers 37SM802875FCA7 (8/1/77 -
                                                8/1/78), 37SM10285FCA (8/1/78 - 8/1/79),
                                                7SM15868FCA (8/1/79 - 7/1/80), 37XS2046WCA
                                                (8/17/76 - 8/17/77), 37XS2401WCA (8/17/77 -
                                                8/17/78), 37XS2831WCA (8/17/78 - 7/1/79), and
                                                37XS3399WCA (7/1/79 - 9/1/80); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Metropolitan Tribunal                          American Casualty Company of Reading, PA policy
 Not separately incorporated from Archdiocese   number 1861802 (6/1-8/1/74); Travelers Casualty
                                                and Surety Company (formerly known as Aetna
                                                Casualty and Surety Company) policy numbers
                                                37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                (8/1/74 - 8/1/77), 37SM10285FCA (8/1/78 -
                                                8/1/79), and 37SM15868FCA (8/1/79 - 7/1/80); and
                                                any other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Minneapolis Communication Center Inc.          Travelers Casualty and Surety Company (formerly
 Dissolved in 1997                              known as Aetna Casualty and Surety Company)
                                                policy numbers 37SM802875FCA (8/1/74 - 8/1/77),
                                                37SM802875FCA7 (8/1/77 - 8/1/78), and
                                                37SM10285FCA (8/1/78 - 8/1/79); and any other
                                                policy insuring or allegedly insuring such entities
                                                that was issued to the Archdiocese and also insures
                                                the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 The Newman Center and Chapel                   Fidelity and Casualty Company of New York policy
 (f/k/a Newman Hall)                            number XP128258/74084 (8/1/52-8/1/55); and any
 1203 5th St SE                                 other policy insuring or allegedly insuring such
 Minneapolis, MN 55414                          entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 Pearson Education Developmental Education      Travelers Casualty and Surety Company (formerly
 (f/k/a Pearson Education-Drug Education)       known as Aetna Casualty and Surety Company)
 Dissolved in 2005                              policy numbers 37SM10285FCA (8/1/78 - 8/1/79),
                                                37SM15868FCA (8/1/79 - 7/1/80), 37XS2401WCA
                                                (8/17/77 - 8/17/78), and 37XS2831WCA (8/17/78 -
                                                7/1/79); and any other policy insuring or allegedly
                                                insuring such entities that was issued to the
                                                Archdiocese and also insures the Archdiocese as a
                                                Named Insured with an effective period expiring on
                                                or before September 1, 1980
 Priest Senate and Presbytery                   Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese   known as Aetna Casualty and Surety Company)
                                                policy number 37SM15868FCA (8/1/79 - 7/1/80);
                                                and any other policy insuring or allegedly insuring
                                                such entities that was issued to the Archdiocese and
                                                also insures the Archdiocese as a Named Insured
                                                with an effective period expiring on or before
                                                September 1, 1980
 Saint Camillus House                           Fidelity and Casualty Company of New York policy
 Not separately incorporated from Archdiocese   number XP128258/74084 (8/1/52-8/1/55);
                                                Fireman’s Fund policy numbers GAC312672
                                                (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61); and
                                                any other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980




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 Entity Name, Address and Insured Interest              Policy Number(s) and Insured Year(s)
 The Society for the Propagation of the Faith,   Continental Casualty Company policy number
 Incorporated (f/k/a Center for Mission)         RDU9799786 (8/17/66-8/17/69); American
 777 Forest Street                               Casualty Company of Reading, PA policy number
 St. Paul, Minnesota 55106                       1861802 (6/1-8/1/74); International policy number
                                                 GA114938 (8/1/67-8/1/70); Hartford Accident and
                                                 Indemnity Company policy 41 C 549216 (8/1/70-
                                                 8/1/73); American Home policy numbers
                                                 CE2598055 (8/17/69-8/17/72) and BE3374208
                                                 (8/17/72-8/17/75); Travelers Casualty and Surety
                                                 Company (formerly known as Aetna Casualty and
                                                 Surety Company) policy numbers 37AL188420
                                                 (8/1/73 - 8/1/74), 37SM802875FCA (8/1/74 -
                                                 8/1/77), 37SM802875FCA7 (8/1/77 - 8/1/78),
                                                 37SM10285FCA (8/1/78 - 8/1/79),
                                                 37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                                 (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                                 8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                                 37XS2831WCA (8/17/78 - 7/1/79), 37XS3399WCA
                                                 (7/1/79 - 9/1/80); and any other policy insuring or
                                                 allegedly insuring such entities that was issued to
                                                 the Archdiocese and also insures the Archdiocese as
                                                 a Named Insured with an effective period expiring
                                                 on or before September 1, 1980
 St. Wilhelmina’s Home                           Fidelity and Casualty Company of New York policy
 Not separately incorporated from Archdiocese    number XP128258/74084 (8/1/52-8/1/55);
                                                 Fireman’s Fund policy numbers GAC312672
                                                 (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61); and
                                                 any other policy insuring or allegedly insuring such
                                                 entities that was issued to the Archdiocese and also
                                                 insures the Archdiocese as a Named Insured with an
                                                 effective period expiring on or before September 1,
                                                 1980
 Tabernacle Society                              Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese    known as Aetna Casualty and Surety Company)
                                                 policy number 37AL188420 (8/1/73 - 8/1/74); and
                                                 any other policy insuring or allegedly insuring such
                                                 entities that was issued to the Archdiocese and also
                                                 insures the Archdiocese as a Named Insured with an
                                                 effective period expiring on or before September 1,
                                                 1980




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 Entity Name, Address and Insured Interest                 Policy Number(s) and Insured Year(s)
 Vocation Center                                    Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese       known as Aetna Casualty and Surety Company)
                                                    policy numbers 37SM10285FCA (8/1/78 - 8/1/79),
                                                    37SM15868FCA (8/1/79 - 7/1/80), 37XS2401WCA
                                                    (8/17/77 - 8/17/78), 37XS2831WCA (8/17/78 -
                                                    7/1/79), and 37XS3399WCA (7/1/79 - 9/1/80); and
                                                    any other policy insuring or allegedly insuring such
                                                    entities that was issued to the Archdiocese and also
                                                    insures the Archdiocese as a Named Insured with an
                                                    effective period expiring on or before September 1,
                                                    1980
 The Chancery Office                                Travelers Casualty and Surety Company (formerly
 Not separately incorporated from Archdiocese       known as Aetna Casualty and Surety Company)
                                                    policy number 37SM10285FCA (8/1/78 - 8/1/79)
 Members of the Archdiocese undertaking             Travelers Casualty and Surety Company (formerly
 special responsibilities while acting within the   known as Aetna Casualty and Surety Company)
 scope of their duties                              37SM802875FCA7 (8/1/77 - 8/1/78)
 Community Chest and Council of Hennepin            Fidelity and Casualty Company of New York policy
 County and successors in interest but “solely      number XP128258/74084 (8/1/52-8/1/55); and any
 as respects the ownership, maintenance or use      other policy insuring or allegedly insuring such
 of the premises located at 46th Street and 10th    entities that was issued to the Archdiocese and also
 Avenue South, Minneapolis, Minnesota               insures the Archdiocese as a Named Insured with an
 (known as the Minneapolis Catholic Orphan          effective period expiring on or before September 1,
 Asylum) all operations necessary or incidental     1980
 thereto, except operations on other premises
 owned, rented or controlled by the additional
 insured..., is included as an additional insured
 under this policy as though named in Item 1 of
 the declarations” of Fidelity and Casualty
 Company of New York policy number
 XP128258.
 The City of St. Paul “but only as respects the     American Home policy number BE3374208
 event known as the Catholic Education              (8/17/72-8/17/75); and any other policy insuring or
 Congress to be held November 8 and                 allegedly insuring such entities that was issued to
 November 9, 1974” according to American            the Archdiocese and also insures the Archdiocese as
 Home policy BE3374208                              a Named Insured with an effective period expiring
                                                    on or before September 1, 1980
 Clapp Thomsson Company, but only as                International policy number GA114938(8/1/67-
 respects to location #21 of International policy   8/1/70) ; and any other policy insuring or allegedly
 number GA114938                                    insuring such entities that was issued to the
 Dissolved in 1998                                  Archdiocese and also insures the Archdiocese as a
                                                    Named Insured with an effective period expiring on
                                                    or before September 1, 1980



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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 Special School District #1 of Minneapolis       American Home policy number BE3374208
 Minnesota “but only as respects Automobile      (8/17/72-8/17/75); and any other policy insuring or
 Liability” according to American Home           allegedly insuring such entities that was issued to
 policy number BE3374208                         the Archdiocese and also insures the Archdiocese as
                                                 a Named Insured with an effective period expiring
                                                 on or before September 1, 1980
 St. Paul Public School District (“but only in   St. Paul Surplus Lines Insurance Company policy
 respect of liability arising out of the         number SUO 5500535 (9/1/86-9/1/87)
 operations of one school bus operated by the
 Corpus Christi School Bus Co.”)
 Christian Brothers of the Midwest (n/k/a The    Fireman’s Fund policy number CL331931
 Brothers of the Christian Schools)              (8/1/1958-8/1/1961)
 Under Fireman’s Fund policy number
 CL331931 Certificate #3, Cretin High School,
 495 Hamline Avenue, St. Paul, Minnesota;
 Certificate #4 DeLaSalle High School, 25-30
 West Island Avenue, Minneapolis Minnesota;
 and Certificate #8 James J. Hill High School,
 Maplewood, MN
 7650 S. County Line Road
 Burr Ridge, IL 60527
 Crosier Fathers (now known as Crosier           International policy number GA114938 (8/1/1967-
 Fathers of Onamia) “but only as respects        8/1/1970); and any other policy insuring or
 location #41 on Schedule 1” of International    allegedly insuring such entities that was issued to
 policy number GA114938                          the Archdiocese and also insures the Archdiocese as
 104 Crosier Drive N.                            a Named Insured with an effective period expiring
 PO Box 500                                      on or before September 1, 1980
 Onamia, MN 56359
 Cretin-Derham Hall (f/k/a Cretin High           Fidelity and Casualty Company of New York Policy
 School)                                         No. XP128258/74084 (8/1/52-8/1/55); Fireman’s
 550 S. Albert Street                            Fund Ins. Co. policy numbers GAC312672 (8/1/55-
 St. Paul, MN 55116                              8/1/58) and CL331931(8/1/58-8/1/61); and any
                                                 other policy insuring or allegedly insuring such
                                                 entities that was issued to the Archdiocese and also
                                                 insures the Archdiocese as a Named Insured with an
                                                 effective period expiring on or before September 1,
                                                 1980




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 De La Salle High School                        Fidelity and Casualty Company of New York Policy
 1 De La Salle Drive,                           No. XP128258/74084 (8/1/52-8/1/55); Fireman’s
 Minneapolis, MN 55401                          Fund Ins. Co. policy numbers GAC312672 (8/1/55-
                                                8/1/58) and CL331931 (8/1/58-8/1/61); and any
                                                other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Diocesan Teachers’ College and successors in   Fidelity and Casualty Company of New York policy
 interest                                       number XP128258/74084 (8/1/52-8/1/55);
                                                Fireman’s Fund policy numbers GAC312672
                                                (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61); and
                                                any other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980
 Hill-Murray School (f/k/a Hill High School)    Fireman’s Fund policy numbers GAC312672
 2625 Larpenteur Avenue E.                      (8/1/55-8/1/58) and CL331931 (8/1/58-8/1/61); and
 Maplewood, MN 55109                            any other policy insuring or allegedly insuring such
                                                entities that was issued to the Archdiocese and also
                                                insures the Archdiocese as a Named Insured with an
                                                effective period expiring on or before September 1,
                                                1980




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 Entity Name, Address and Insured Interest           Policy Number(s) and Insured Year(s)
 Nazareth Hall College & Seminary, Inc.        Fidelity and Casualty Company of New York policy
 Dissolved in 1997                             number XP128258/74084 (8/1/52-8/1/55);
                                               Continental Casualty Company policy number
                                               RDU9799786 (8/17/66-8/17/69); Fireman’s Fund
                                               policy number CL331931 (8/1/58-8/1/61);
                                               International policy number GA114938 (8/1/67-
                                               8/1/70); Hartford Accident and Indemnity Company
                                               policy 41 C 549216 (8/1/70-8/1/73); American
                                               Home policy numbers CE2598055 (8/17/69-
                                               8/17/72), and BE3374208 (8/17/72-8/17/75);
                                               Travelers Casualty and Surety Company (formerly
                                               known as Aetna Casualty and Surety Company)
                                               policy numbers 37SM10285FCA (8/1/78 - 8/1/79),
                                               37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                               (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                               8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                               37XS2831WCA (8/17/78 - 7/1/79), and
                                               37XS3399WCA (7/1/79 - 9/1/80); and any other
                                               policy insuring or allegedly insuring such entities
                                               that was issued to the Archdiocese and also insures
                                               the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980
 Regina High School                            International policy number GA114938 (8/1/67-
 (Not separately incorporated from             8/1/70); American Home Policy Number
 Archdiocese) and Dominican Sisters of         BE3374208 (8/17/72-8/17/75); Travelers Casualty
 Sinsinawa solely in connection with Regina    and Surety Company (formerly known as Aetna
 High School.                                  Casualty and Surety Company) policy numbers
                                               37XS1768WCA (8/17/75 - 8/17/76),
                                               37XS2046WCA (8/17/76 - 8/17/77),
                                               37XS2401WCA (8/17/77 - 8/17/78),
                                               37XS2831WCA (8/17/78 - 7/1/79), and
                                               37XS3399WCA (7/1/79 - 9/1/80); and any other
                                               policy insuring or allegedly insuring such entities
                                               that was issued to the Archdiocese and also insures
                                               the Archdiocese as a Named Insured with an
                                               effective period expiring on or before September 1,
                                               1980




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 The Saint Paul Seminary                         Travelers Casualty and Surety Company (formerly
 2660 Summit Avenue                              known as Aetna Casualty and Surety Company)
 St. Paul, Minnesota 55105                       policy number 37SM802875FCA7 (8/1/77 - 8/1/78);
                                                 and any other policy insuring or allegedly insuring
                                                 such entities that was issued to the Archdiocese and
                                                 also insures the Archdiocese as a Named Insured
                                                 with an effective period expiring on or before
                                                 September 1, 1980
 The Church of the Annunciation of               Fireman’s Fund policy number CL331931 (8/1/58-
 Hazelwood, Minnesota                            8/1/61)
 4996 Hazelwood Ave
 Northfield, MN 55057
 The Church of the Ascension of Norwood,         Fireman’s Fund policy number CL331931 (8/1/58-
 Minnesota                                       8/1/61)
 323 Reform St N
 Norwood Young America, MN 55368
 Church of St. Peter of North St. Paul,          Fireman’s Fund policy number CL331931 (8/1/58-
 including St. Mary’s Cemetery (f/k/a            8/1/61); International policy number GA114938
 Ascension Cemetery)                             (8/1/67-8/1/70)
 2600 Margaret St N
 North St. Paul, MN 55109
 The Cathedral of Saint Paul (individually and   Cathedral: Fireman’s Fund policy number
 successor in interest to Cathedral School)      CL331931 (8/1/58-8/1/61); American Home policy
 239 Selby Ave                                   numbers CE2598055 (8/17/69-8/17/72) and
 St. Paul, MN 55102                              BE3374208 (8/17/72-8/17/75); Travelers Casualty
                                                 and Surety Company (formerly known as Aetna
                                                 Casualty and Surety Company) policy numbers
                                                 37AL188420 (8/1/73 - 8/1/74), 37SM802875FCA
                                                 (8/1/74 - 8/1/77), 37SM802875FCA7 (8/1/77 -
                                                 8/1/78), 37SM10285FCA (8/1/78 - 8/1/79),
                                                 37SM15868FCA (8/1/79 - 7/1/80), 37XS1768WCA
                                                 (8/17/75 - 8/17/76), 37XS2046WCA (8/17/76 -
                                                 8/17/77), 37XS2401WCA (8/17/77 - 8/17/78),
                                                 37XS2831WCA (8/17/78 - 7/1/79), and
                                                 37XS3399WCA (7/1/79 - 9/1/80)
                                                 Cathedral School: Travelers Casualty and Surety
                                                 Company (formerly known as Aetna Casualty and
                                                 Surety Company) policy number 37AL188420
                                                 (8/1/73 - 8/1/74)
 The Church of Corpus Christi of Saint Paul      Fireman’s Fund policy number CL331931 (8/1/58-
 2131 Fairview Ave N                             8/1/61)
 Roseville, MN 55113




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 The Church of the Immaculate Conception of      Fireman’s Fund policy number CL331931 (8/1/58-
 Columbia Heights                                8/1/61)
 4030 Jackson St NE
 Columbia Heights, MN 55421
 The Church of Saint Thomas More (as             Fireman’s Fund policy number CL331931 (8/1/58-
 successor to Immaculate Heart of Mary, St.      8/1/61); International policy number GA114938
 Paul and St. Luke, St. Paul)                    (8/1/67-8/1/70)
 1079 Summit Ave
 St. Paul, MN 55105
 The Church of Our Lady of Grace, in Edina,      International policy number GA114938 (8/1/67-
 Minnesota (as successor to Most Holy Trinity,   8/1/70)
 St. Louis Park)
 5071 Eden Ave
 Edina, MN 55436
 The Church of the Nativity of Our Lord          Fireman’s Fund policy number CL331931 (8/1/58-
 1900 Wellesley Ave                              8/1/61); International policy number GA114938
 St. Paul, MN 55105                              (8/1/67-8/1/70)
 The Church of Saint Anne – Saint Joseph         Fireman’s Fund policy number CL331931 (8/1/58-
 Hien                                            8/1/61)
 2627 Queen Ave N
 Minneapolis, MN 55411
 The Church of St. Bonaventure, of               International policy number GA114938
 Bloomington, Minnesota                          (8/1/67-8/1/70)
 901 90th St E
 Bloomington, MN 55420
 The Church of Saint Albert the Great, of        Fireman’s Fund policy number CL331931 (8/1/58-
 Minneapolis, Minn. (as successor to St.         8/1/61)
 Elizabeth, Minneapolis)
 2836 33rd Ave S
 Minneapolis, MN 55406
 The Church of St. Francis of Assisi             Fireman’s Fund policy number CL331931 (8/1/58-
 16770 13th St S                                 8/1/61)
 Lake St Croix Beach, MN 55043
 The Church of Saint Joseph of West Saint        Fireman’s Fund policy number CL331931 (8/1/58-
 Paul,Minnesota                                  8/1/61)
 1154 Seminole Ave
 West St. Paul, MN 55118
 The Church of Our Lady of Peace (as             Fireman’s Fund policy number CL331931 (8/1/58-
 successor to St. Kevin, Minneapolis)            8/1/61)
 5426 12th Ave S
 Minneapolis, MN 55417




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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 The Church of St. Leonard of Port Maurice, of   International policy number GA114938 (8/1/67-
 Minneapolis, Minnesota                          8/1/70)
 3949 Clinton Ave S
 Minneapolis, MN 55409
 The Church of St. Patrick of Edina, Minnesota   Fireman’s Fund policy number CL331931 (8/1/58-
 (as successor to St. Martin, Minneapolis)       8/1/61)
 6820 St. Patrick’s Lane
 Edina, MN 55439
 The Church of St. Mary, of St. Paul             Fireman’s Fund policy number CL331931 (8/1/58-
 Minnesota                                       8/1/61)
 261 8th St E
 St. Paul, MN 55101
 St. Nickolaus Church of New Market Scott        Fireman’s Fund policy number CL331931 (8/1/58-
 County Minnesota (also known as St.             8/1/61)
 Nicholas)
 51 Church St
 New Market, MN 55054
 The Church of St. Odilia, of Shoreview,         International policy number GA114938 (8/1/67-
 Minnesota                                       8/1/70)
 3495 Victoria St N
 Shoreview, MN 55126
 The Church of St. Patrick of Cedar Lake,        Fireman’s Fund policy number CL331931 (8/1/58-
 Minnesota and The Church of St. Catherine of    8/1/61)
 Spring Lake, Minnesota
 24425 Old Highway 13 Blvd
 Jordan, MN 55352
 The Church of St. Peter Claver Minnesota        Fidelity and Casualty Company of New York policy
 375 Oxford St N                                 number XP128258/74084 (8/1/52-8/1/55)
 St. Paul, MN 55104
 The Church of St. Peter, of Mendota,            Fireman’s Fund policy number CL331931 (8/1/58-
 Minnesota                                       8/1/61)
 1405 Hwy 13
 Mendota, MN 55150
 The Church of Saint Richard, of Richfield,      Fireman’s Fund policy number CL331931 (8/1/58-
 Minnesota7540 Penn Ave S                        8/1/61)
 Richfield, MN 55423
 The Church of St. Rita of Cottage Grove,        International policy number GA114938 (8/1/67-
 Minnesota                                       8/1/70)
 8694 80th St S
 Cottage Grove, MN 55016
 The Church of Lumen Christi (as successor to    Fireman’s Fund policy number CL331931 (8/1/58-
 St. Therese, St. Paul)                          8/1/61)
 2055 Bohland Ave.
 St. Paul, MN 55116


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 Entity Name, Address and Insured Interest             Policy Number(s) and Insured Year(s)
 The Church of the Blessed Sacrament of St.      Fireman’s Fund policy number CL331931 (8/1/58-
 Paul (as successor to St. Thomas the Apostle,   8/1/61)
 St. Paul)
 2119 Stillwater Ave
 St. Paul, MN 55119




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                                            SCHEDULE 1

                                  LIST OF CLASS 3 CLAIMANTS

                                                                     GIF           AMBP
Entity                               Address                      Participant    Participant
Academy of Holy Angels               6600 Nicollet Ave S                              X
                                     Richfield, MN 55423
The Church of All Saints of          19795 Holyoke Ave                X              X
Lakeville, Minnesota,                Lakeville, MN 55044
including the parish school
The Church of All Saints of          435 4th St. NE                   X              X
Minneapolis                          Minneapolis, MN 55413-2037
The Church of the                    509 W 54th St.                   X              X
Annunciation of Minneapolis,         Minneapolis, MN 55419-1818
including the parish school
The Church of the                    4996 Hazelwood Ave.              X              X
Annunciation of Hazelwood,           Northfield, MN 55057-4255
Minnesota
The Church of the Ascension          1723 Bryant Ave N                X              X
of Minneapolis, Minnesota,           Minneapolis, MN 55411
including the parish school
The Church of the Ascension          323 Reform Street N              X              X
of Norwood, Minnesota                Norwood, MN 55368
The Church of the                    51 West. 7th Street              X              X
Assumption                           St. Paul, MN 55102
The Church of the                    305 East. 77th St.               X              X
Assumption of Richfield,             Richfield, MN 55423
Minnesota
Basilica of St. Mary of              88 17th St. N                    X              X
Minneapolis                          P.O. Box 50010
                                     Minneapolis, MN 55405
The Church of the Blessed            2119 Stillwater Ave              X              X
Sacrament of St. Paul                St. Paul, MN 55119
Blessed Trinity Catholic             6720 Nicollet Ave S              X              X
School of Richfield,                 Richfield, MN 55423
Minnesota
Carondelet Catholic School           3210 W 51St. St.                 X              X
                                     Minneapolis, MN 55410
The Cathedral of Saint Paul          239 Selby Ave                    X              X
                                     St. Paul, MN 55102-1891
The Catholic Cemeteries              2105 Lexington Ave South         X              X
                                     Mendota Heights, MN 55120




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                                                                    GIF            AMBP
Entity                         Address                           Participant     Participant
Catholic Community             2610 University Ave W Court            X               X
Foundation of Minnesota        West Suite 500
                               St. Paul, MN 55114
Catholic Finance Corporation 5826 Blackshire Path                     X              X
                               Inver Grove Heights, MN
                               55076
Catholic Senior Services, Inc. 8000 Bass Lake Rd                      X              X
c/o St. Therese of New Hope    New Hope, MN 55428
Catholic Services Appeal       12805 Hwy 55 #210 Plymouth,                           X
Foundation                     MN 55441
The Church of Christ the King 5029 Zenith Ave S                       X              X
of Minneapolis                 Minneapolis, MN 55410
The Church of SS. Peter and    145 Railway Street                     X              X
Paul of Medina, Minnesota      P.O. Box 96
                               Loretto, MN 55357
Community of Saints            335 East Hurley Street                 X              X
Regional Catholic School       West St. Paul, MN 55118
The Companions of Christ       2137 Marshall Avenue                   X
                               Saint Paul, MN 55104
The Church of Corpus Christi 2131 Fairview Ave N                      X              X
of Saint Paul                  Roseville, MN 55113
The Catholic Church of         139 Mercy Drive                        X              X
Divine Mercy of Faribault,     Faribault, MN 55021
including the parish school
and cemetery
The Church of The Epiphany 1900 - 111th Ave NW                        X              X
of Coon Rapids, Minnesota,     Coon Rapids, MN 55433-4298
including the parish school
Faithful Shepherd Catholic     3355 Columbia Drive                    X              X
School                         Eagan, MN 55121-4202
Franciscan Brothers of Peace, 1289 LaFond Ave                                        X
Incorporated                   St. Paul, MN 55104
Frassati Catholic Academy      4690 Bald Eagle Ave                    X              X
                               White Bear Lake, MN 55110
The Church of Gichitwaa        3045 Park Ave                          X              X
Kateri                         Minneapolis, MN 55407
The Church of the Good         145 Jersey Ave S                       X              X
Shepherd, of Minneapolis,      Golden Valley, MN 55426
Minnesota, including parish
school


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                                                                    GIF            AMBP
Entity                               Address                     Participant     Participant
The Church of the Guardian           8260 4th St. N                   X               X
Angels of Oakdale, Minnesota         Oakdale, MN 55128
The Church of the Guardian           215 W 2nd St.                    X              X
Angels, of Chaska, Minn.             Chaska, MN 55318-1898
Highland Catholic School             2017 Bohland Ave                 X              X
                                     St. Paul, MN 55116
The Church of the Holy               1435 Midway Parkway              X              X
Childhood, St. Paul,                 St. Paul, MN 55108-2419
Minnesota
The Church of the Holy Cross         1621 University Avenue NE        X              X
of Minneapolis, Minnesota            Minneapolis, MN 55413
Holy Cross Catholic School           6100 37th St. W                  X              X
                                     Webster, MN 55088
The Church of the Holy               5900 West Lake St.               X              X
Family of St. Louis Park,            St. Louis Park, MN 55416
including the parish school
The Church of the Holy Name          3637 - 11th Ave S                X              X
of Minneapolis                       Minneapolis, MN 55407
The Church of the Holy Name          155 Cty Rd 24                    X              X
of Jesus of Medina,                  Wayzata, MN 55391
Minnesota, including the
parish school
Dominican Fathers Holy               2424 - 18th Ave S                               X
Rosary Church & School               Minneapolis, MN 55404
The Church of the Holy Spirit        515 Albert St. S                 X              X
of St. Paul, Minnesota,              St. Paul, MN 55116
including the parish school
The Church of the Holy               308 4th St N                     X              X
Trinity                              Goodhue, MN 55027
The Church of the Holy               749 - 6th Ave S                  X              X
Trinity of South St. Paul,           South St. Paul, MN 55075
including the parish school
The Church of the Holy               506 Common Street                X              X
Trinity of Waterville,               Waterville, MN 56096
Minnesota
The Church of the Immaculate         109 Angel Ave. NW                X              X
Conception of Watertown,             P.O. Box 548
Minnesota                            Watertown, MN 55388




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                                                                     GIF           AMBP
Entity                               Address                      Participant    Participant
The Church of the Immaculate         4030 Jackson St. NE               X              X
Conception of Columbia               Columbia Heights, MN 55421
Heights, including the parish
school
The Church of the Immaculate  116 Alabama St. SE                      X              X
Conception                    P.O. Box 169
                              Lonsdale, MN 55046-0169
The Church of the Immaculate 27528 Patrick Street                     X              X
Conception of Marysburg,      Madison Lake, MN 56063
Minnesota
The Church of the Immaculate 13505 Excelsior Blvd.                    X              X
Heart of Mary of Glen Lake,   Minnetonka, MN 55345-4999
Minnesota
The Church of the Incarnation 3817 Pleasant Ave. S.                   X              X
of Minneapolis, including     Minneapolis, MN 55409-1228
Sargado Corazon de Jesus
The Church of Lumen Christi 2055 Bohland Ave.                         X              X
                              St. Paul, MN 55116
The Church of Mary, Mother    3333 Cliff Road East.                   X              X
of the Church of Burnsville,  Burnsville, MN 55337
Minnesota
The Catholic Church of Mary 21304 Church Ave                          X              X
Queen of Peace, including the Rogers, MN 55374
parish school
The Church of the Maternity   1414 North Dale Street                  X              X
of the Blessed Virgin, Saint  St. Paul, MN 55117
Paul, Minnesota, including
parish school
Minnesota Catholic            475 University Ave W                                   X
Conference                    St. Paul, MN 55103
The Church of the Most Holy 206 Vine Ave West.                        X              X
Redeemer of Montgomery,       Montgomery, MN 56069
Minnesota, including the
parish school
The Church of the Most Holy 4939 Washington St.                       X              X
Trinity of Wesely, Minnesota Veseli, MN 55046-4007
The Church of The Nativity,   200 West Main St.                       X              X
of Cleveland, Minnesota,      PO Box 187
including the parish school   Cleveland, MN 56017-0187




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                                                                      GIF          AMBP
Entity                               Address                       Participant   Participant
The Church of the Nativity of        9900 Lyndale Ave S                 X             X
the Blessed Virgin, Oxboro,          Bloomington, MN 55420-4797
Minnesota, including parish
school
The Church of the Nativity of        1900 Wellesley Ave.               X             X
Our Lord, including the parish       St. Paul, MN 55105
school
Notre Dame Academy                   13505 Excelsior Blvd              X             X
                                     Minnetonka, MN 55345
The Church of Our Lady of            5071 Eden Ave.                    X             X
Grace, in Edina, Minnesota,          Edina, MN 55436
including the parish school
The Church of Our Lady of            401 Concord St.                   X             X
Guadalupe of Saint Paul,             St. Paul, MN 55107
Minnesota
The Church of Our Lady of            1 Lourdes Place                   X             X
Lourdes of St. Anthony,              Minneapolis, MN 55414-1062
Minnesota
The Church of Our Lady of            701 Fillmore St. NE               X             X
Mount Carmel of Minneapolis          Minneapolis, MN 55413-2525
The Church of Our Lady of            5426 - 12th Ave. S                X             X
Peace, including the parish          Minneapolis, MN 55417
school
The Church of Our Lady of            2385 Commerce Blvd.               X             X
the Lake of Mound, Minn.,            Mound, MN 55364-1496
including the parish school
The Church of Our Lady of            212 N Chestnut St.                X             X
the Prairie, Belle Plaine,           Belle, Plaine, MN 56011
including the parish school
The Church of Our Lady of            5155 Emerson Ave N                X             X
Victory of Minneapolis               Minneapolis, MN 55430
Parish of Saints Joachim and         2700 17th Ave E                   X             X
Anne of Shakopee,                    Shakopee, MN 55379
Minnesota, including parish
school and cemetery
The Church of Pax Christi of         12100 Pioneer Trail               X             X
Eden Prairie                         Eden Prairie, MN 55347-4208
St. John Paul II Catholic            1630 - 4th St. NE                 X             X
Preparatory School                   Minneapolis, MN 55413




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                                                                     GIF           AMBP
Entity                               Address                      Participant    Participant
The Church of the                    1725 Kennard St.                  X              X
Presentation of the Blessed          Maplewood, MN 55109
Virgin Mary of Saint Paul,
including the parish school
Risen Christ Catholic School         1120 East. 37th St.              X              X
                                     Minneapolis, MN 55407
The Church of the Risen              1501 East. Cty. Rd 42            X              X
Savior of Apple Valley               Burnsville, MN 55306-4723
The Church of the Sacred             425 Field Avenue                 X              X
Heart of Rush City Minnesota         P.O. Box 45
                                     Rush City, MN 55069
The Church of the Sacred             4087 West Broadway               X              X
Heart, including the parish          Robbinsdale, MN 55422-2293
school
The Church of the Sacred             840 East. 6th Street             X              X
Heart in St. Paul                    St. Paul, MN 55106
The Society for the                  328 Kellogg Blvd .               X              X
Propagation of the Faith,            West St. Paul, MN 55102
Incorporated (a/k/a Center for
Mission)
The Church of St. Cyril of           1315 2nd St. NE                  X              X
Minneapolis, Minnesota               Minneapolis, MN 55413-1131
The Church of St. Adalbert, of       265 Charles Ave.                 X              X
St. Paul, Minnesota                  St. Paul, MN 55103
The Church of St. Agatha of          3700 160 St. E.                  X
Vermillion, Minnesota                Rosemount, MN 55068-2007
The Church of St. Agnes of           535 Thomas Ave.                  X              X
St. Paul, Minnesota, including       St. Paul, MN 55103
the parish school
The Church of Saint Albert           11400 57th St. NE,               X              X
                                     P.O. Box 127
                                     Albertville, MN 55301-0127
The Church of Saint Albert           2836 33rd Ave S                  X              X
the Great, of Minneapolis,           Minneapolis, MN 55406
Minn.
The Church of St. Alphonsus,         7025 Halifax Ave N               X              X
of Brooklyn Center,                  Brooklyn Center, MN 55429-
Minnesota, including the             1394
parish school




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                                                                         GIF          AMBP
Entity                               Address                          Participant   Participant
The Church of Saint Ambrose          4125 Woodbury Drive                   X             X
of Woodbury, including the           Woodbury, MN 55129
parish school
The Church of St. Andrew of          305 Park Ave NE                      X
Elysian, Minnesota                   PO Box 261
                                     Elysian, MN 56028-0261
The Church of St. Andrew             1850 Mississippi River Blvd. S       X             X
Kim                                  St. Paul, MN 55116
The Church of St. Anne of            200 Hamel Road                       X             X
Hamel, Minnesota                     P.O. Box 256
                                     Hamel, MN 55340
The Church of StAnne of              511 N 4th St.                        X             X
LeSueur, Minnesota,                  Le Sueur, MN 56058
including the parish school
The Church of Saint Anne –           2627 Queen Ave N                     X             X
Saint Joseph Hien                    Minneapolis, MN 55411
The Church of Saint                  630 East. Wayzata Blvd.              X             X
Bartholomew of Wayzata,              Wayzata, MN 55391
including the parish school
The Church of Saint Bernard          1160 Woodbridge St.                  X             X
of St Paul Minnesota                 St. Paul, MN 55117-4491
The Church of St. Bernard, of        212 Church St. E                     X             X
Benton, Minnesota, including         Cologne, MN 55322
the parish school
The Church of St.                    901 E 90th St.                       X             X
Bonaventure, of Bloomington,         Bloomington, MN 55420
Minnesota
The Church of St. Boniface of        4025 Main St.                        X             X
St. Bonifacius, Minn.                P.O. Box 68
                                     St. Bonifacius, MN 55375
The Church of St. Boniface           629 - 2nd Street NE                  X             X
                                     Minneapolis, MN 55413
The Church of Saint Bridget          3811 Emerson Ave N                   X             X
of Minneapolis                       Minneapolis, MN 55412
The Church of St. Bridget of         13060 Lake Blvd                      X             X
Sweden, of Lindstrom,                P.O. Box 754
Minnesota                            Lindstrom, MN 55045
The Church of St. Casimir of         934 East. Geranium Ave               X             X
St. Paul, Minnesota                  St. Paul, MN 55106
The Church of St. Catherine          24425 Old Highway 13                 X
of Spring Lake, Minnesota            Jordan, MN 55352


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                                                                     GIF           AMBP
Entity                               Address                      Participant    Participant
The Church of St. Cecilia of         2357 Bayless Place                X              X
St. Paul                             St. Paul, MN 55114
The Church of St. Charles            2739 Stinson Blvd                X              X
Borromeo of Minneapolis,             Minneapolis, MN 55418-3214
Minnesota, including the
parish school
The Church of Saint Charles,         409 N 3rd St.                    X              X
Bayport, Minnesota                   Bayport, MN 55003
The Church of Saint Columba          1327 LaFond Avenue               X              X
of St. Paul, Minn.                   St. Paul, MN 55104
St. Croix Catholic School            621 S 3rd St.                    X              X
                                     Stillwater, MN 55082
The Church of St Dominic of          216 Spring St. N                 X              X
Northfield Minnesota                 Northfield, MN 55057
The Church of St. Edward, of         9401 Nesbitt Ave S               X              X
Bloomington, Minnesota               Bloomington, MN 55437
The Church of St. Elizabeth          2035 W 15th St.                  X              X
Ann Seton, Hastings,                 Hastings, MN 55033-9294
Minnesota, including parish
school
The Church of Saint Frances          1500 Franklin Ave SE             X              X
Xavier Cabrini of                    Minneapolis, MN 55414
Minneapolis, Minnesota
The Church of St. Francis de         650 Palace Ave                   X              X
Sales of St. Paul, Minnesota         St. Paul, MN 55102
The Church of St. Francis of         16770 13th St. S                 X              X
Assisi                               Lake St. Croix Beach, MN
                                     55043-9757
The Church of St. Francis of         300 1st Ave. NW                  X              X
Buffalo, Minnesota                   Buffalo, MN 55313
The Church of Saint Francis          25267 Redwing Ave                X
Xavier of Franconia,                 Shafer, MN 55074
Minnesota
The Parish of Saint Gabriel          6 Interlochen Road               X              X
the Archangel of Hopkins,            Hopkins, MN 55343
Minnesota
The Church of St. Genevieve          7087 Goiffon Road                X              X
of Centerville, Minnesota            Centerville, MN 55038-9719
The Church of Saint George           133 North Brown Road             X              X
of Long Lake                         Long Lake, MN 55356


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                                                                    GIF            AMBP
Entity                         Address                           Participant     Participant
The Church of St. Gerard       9600 Regent Ave. N                     X               X
                               Brooklyn Park, MN 55443
The Church of Saint Gregory 38725 Forest Blvd.                        X              X
                               P.O. Box 609
                               North Branch, MN 55056-0609
The Church of Saint Hedwig 129 29th Ave. NE                           X              X
of Minneapolis                 Minneapolis, MN 55418
The Church of St. Helena of    3204 E 43rd St.                        X              X
Minneapolis, including parish Minneapolis, MN 55406
school
The Church of St. Henry of     1001 7th St. E                         X              X
Monticello, Minn               Monticello, MN 55362
The Church of Saint Henry of 165 N Waterville Ave.                    X
Sharon, Minnesota              Le Center, MN 56057
The Church of Saint Hubert of 8201 Main St.                           X              X
Chanhassen Minn, including     Chanhassen, MN 55317-9647
parish school
The Church of St. Ignatius of 35 Birch St. E.                         X              X
French Lake, Minnesota         P.O. Box 126
                               Annandale, MN 55302-0126
The Church of St. Jerome,      380 Roselawn Ave. E                    X              X
Maplewood, Minnesota,          Maplewood, MN 55117-2097
including parish school
The Church of Saint Joan of    4537 - 3rd Ave. S                      X              X
Arc in Minneapolis             Minneapolis, MN 55409
The Church of St. John         4030 Pilot Knob Road                   X              X
Neumann                        Eagan, MN 55122-1898
The Church of St. John         835 - 2nd Ave. NW                      X              X
Baptist                        New Brighton, MN 55112
The Church of St. John the     18380 Columbus Street                  X              X
Baptist of Dayton Minnesota    Dayton, MN 55327
Church of St. John the Baptist 680 Mill Street                        X              X
of Excelsior, Minnesota,       Excelsior, MN 55331-3243
including parish school
The Church of Saint John the 313 East Second Street                   X              X
Baptist of Jordan Minn.,       Jordan, MN 55352-1447
including parish school
The Church of St. John the     4625 W 125th St.                       X              X
Baptist of Byrnesville,        Savage, MN 55378-1357
Minnesota, including parish
school

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                                                                        GIF          AMBP
Entity                               Address                         Participant   Participant
The Church of St. John of            106 W Main Street                    X             X
Vermillion Minnesota,                P.O. Box 8
including parish school              Vermillion, MN 55085-0008
St. John’s Church of Little          380 East Little Canada Road         X             X
Canada, Minnesota                    Little Canada, MN 55117-1699
The Church of Saint John             789 - 17th Ave N                    X             X
Vianney in South Saint Paul,         South St. Paul, MN 55075-1497
Minnesota
St. John Vianney Seminary            2115 Summit Ave #5024                             X
                                     St. Paul, MN 55105-1095
Church of St. Joseph of Rice         171 Elm Street                      X             X
Lake, Minnesota                      Lino Lakes, MN 55014
The Church of St. Joseph, of         23955 Nicolai Ave E                 X             X
Miesville, Minnesota, in the         Hastings, MN 55033
Township of Douglas,
including parish school
The Church of St. Joseph, of         426 8th St.                         X             X
Red Wing Minnesota                   Red Wing, MN 55066
The Church of St. Joseph, of         13900 Biscayne Ave W                X             X
Rosemount Minnesota,                 Rosemount, MN 55068
including parish school
The Church of Saint Joseph of 490 Bench St                               X             X
Taylors Falls                 P.O. Box 234
                              Taylors Falls, MN 55084-0234
The Church of Saint Joseph of 1154 Seminole Ave W                        X             X
West Saint Paul, Minnesota    West. St. Paul, MN 55118-2097
The Church of Saint Joseph of 41 E First St.                             X             X
Waconia, Minn., including     Waconia, MN 55387-1597
parish school
The Church of St. Joseph      8701 - 36th Ave N                          X             X
                              New Hope, MN 55427-1769
The Church of St. Joseph the  7180 Hemlock Lane                          X             X
Worker, Maple Grove,          Maple Grove, MN 55369-5597
Minnesota
The Church of St. Jude of the 700 Mahtomedi Ave                          X             X
Lake in the Town of Lincoln, Mahtomedi, MN 55115-1698
including parish school
The Church of Saint           7101 143rd Ave NW                          X             X
Katharine Drexel, Ramsey,     Ramsey, MN 55303
Minnesota



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                                                                     GIF           AMBP
Entity                               Address                      Participant    Participant
The Church of St. Lawrence           1203 5th St. SE                   X              X
of Minneapolis, Minnesota            Minneapolis, MN 55414
The Church of St. Leonard of         3949 Clinton Ave S               X              X
Port Maurice, of Minneapolis,        Minneapolis, MN 55409-1635
Minnesota
The Church of St. Louis, of          506 Cedar St.                    X              X
St. Paul Minnesota                   St. Paul, MN 55101
The Church of St. Luke of            17545 Huber Ave NW               X              X
Clearwater, Minnesota                Clearwater, MN 55320
The Church of Saint Margaret         2323 Zenith Ave N                X              X
Mary, of Minneapolis,                Golden Valley, MN 55422
Minnesota
The Church of St. Mark of St.        2001 Dayton Ave                  X              X
Paul, Minnesota, including           St. Paul, MN 55104
parish school
The Church of St. Mary, of           8433 - 239th Street              X              X
New Trier, Minnesota                 New Trier, MN 55031
The Church of St. Mary of            423 South Fifth St.              X              X
Stillwater                           Stillwater, MN 55082
The Church of St. Mary, of St.       261 East. 8th Street             X              X
Paul Minnesota                       St. Paul, MN 55101
The Church of St Mary of             607 Elm Ave                      X              X
Waverly Minnesota                    P.O. Box 278
                                     Waverly, MN 55390
The Church of St. Mary of Le         165 N Waterville Ave             X              X
Center, Minnesota                    Le Center, MN 56057
The Church of St. Mary,              1867 95th St. SE                 X              X
Minnesota (also known as the         Delano, MN 55328-8208
Church of St. Mary of
Czestochowa)
The Church of St. Mary of the        4690 Bald Eagle Ave              X              X
Lake, of White Bear,                 White Bear Lake, MN 55110
Minnesota
The Church of St. Mary of the        105 Forestview Lane North        X              X
Lake, of Medicine Lake,              Plymouth, MN 55441-5999
Minnesota
The Church of St. Mathias of         23315 Northfield Blvd.           X              X
Hampton, Minnesota                   Hampton, MN 55031
The Church of St. Matthew of         490 Hall Ave                     X              X
St. Paul, Minnesota                  St. Paul, MN 55107-2845


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                                                                     GIF           AMBP
Entity                               Address                      Participant    Participant
The Church of Saint                  204 South River St.               X              X
Maximilian Kolbe, including          PO Box 470
parish school                        Delano, MN 55328
The Church of St. Michael of         22120 Denmark Ave                X              X
Farmington, Minnesota                Farmington, MN 55024
The Church of St. Michael, of        611 South 3rd Street             X              X
Stillwater Minnesota                 Stillwater, MN 55082
The Church of St. Michael of         337 East Hurley Street           X              X
St. Paul Minnesota                   W. St. St. Paul, MN 55118
The Church of St. Michael of         16311 Duluth Ave SE              X              X
Prior Lake, including parish         Prior Lake, MN 55372
school
The Church of St. Michael, of        11300 Frankfort Pkwy NE          X              X
Frankfort, Minnesota                 St. Michael, MN 55376
The Church of Saint Michael          108 Bullis St.                   X              X
of Kenyon, Minnesota                 Kenyon, MN 55946-1156
St. Michael Cemetery Bayport         409 Third St. N                  X
                                     Bayport, MN 55003-1044
The Church of St. Michael, of        451 5th St. SW                   X              X
Pine Island Minnesota                Pine Island, MN 55963
St. Nickolaus Church of New          51 Church St                     X              X
Market Scott County                  P.O. Box 9
Minnesota                            Elko New Market, MN 55020-
                                     0009
The Church of Saint Nicholas         412 4th St W                     X              X
of Carver Minn.                      P.O. Box 133
                                     Carver, MN 55315-0133
The Church of St. Odilia, of         3495 Victoria St. N              X              X
Shoreview, Minnesota,                Shoreview, MN 55126
including parish school
St. Olaf’s Catholic Church of        215 South 8th Street             X              X
Minneapolis, Minnesota               Minneapolis, MN 55402
The Church of Saint Pascal           1757 Conway St.                  X              X
Baylon, St. Paul, Minnesota,         St. Paul, MN 55106-5999
including parish school
The Church of St. Patrick of         19921 Nightingale St. NW         X              X
Cedar Creek, Minnesota               Oak Grove, MN 55011-9243
The Church of St. Patrick of         3535 - 72nd Street East          X              X
Inver Grove, Minnesota               Inver Grove Heights, MN
                                     55076


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Entity                               Address                       Participant   Participant
The Church of St. Patrick of         1095 DeSoto St.                    X             X
St. Paul Minnesota                   St. Paul, MN 55130
The Church of St. Patrick of         6820 St. Patrick Lane             X             X
Edina, Minnesota                     Edina, MN 55439
The Church of St. Patrick of         24425 Old Highway 13              X             X
Cedar Lake, Minnesota                Jordan, MN 55352
The Church of, St. Patrick, of       7525 Dodd Road                    X             X
Shieldsville Minnesota               Faribault, MN 55021-7431
The Church of Saint Paul of          749 South Main Street             X             X
Zumbrota, Minnesota                  Zumbrota, MN 55992
The Church of Saint Paul             1740 Bunker Lake Blvd. NE         X             X
                                     Ham Lake, MN 55304
The Church of Saint Peter,           1250 S Shore Dr                   X             X
including parish school              Forest. Lake, MN 55025
The Church of St. Peter of           2600 N Margaret St.               X             X
North St. Paul, including            North St. Paul, MN 55109
parish school
The Church of St. Peter, of          1405 Hwy 13                       X             X
Mendota, Minnesota                   P.O. Box 50679
                                     Mendota, MN 55150-0679
The Church of Saint Peter of         6730 Nicollet Ave S               X             X
Richfield, Minnesota,                Richfield, MN 55423
including parish school
The Church of St. Peter              375 Oxford St. N                  X             X
Claver Minnesota, including          St. Paul, MN 55104
parish school
The Church of St. Pius of            410 Colvill Ave W                 X             X
Cannon Falls, Minnesota              Cannon Falls, MN 55009-0367
The Church of St. Pius X of          3878 Highland Ave                 X             X
White Bear, Minnesota                White Bear Lake, MN 55110-
                                     4299
The Church of Saint Raphael          7301 Bass Lake Road               X             X
in Crystal, Minnesota,               CrySt.al, MN 55428
including parish school
The Church of Saint Richard,         7540 Penn Ave S                   X             X
of Richfield, Minnesota              Richfield, MN 55423-3696
The Church of St. Rita of            8694 - 80th St.                   X             X
Cottage Grove, Minnesota             Cottage Grove, MN 55016




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                                                                       GIF          AMBP
Entity                               Address                        Participant   Participant
The Church of Saint Rose of          2048 Hamline Ave N                  X             X
Lima of Rosetown,                    Roseville, MN 55113
Minnesota, including parish
school
The Church of St. Stanislaus         398 Superior St.                   X             X
of Saint Paul, Minnesota             St. Paul, MN 55102
The Church of St. Stephen of         2211 Clinton Ave S                 X             X
Minneapolis, Minnesota               Minneapolis, MN 55404-3694
The Church of St. Stephen, of        525 Jackson St.                    X             X
Anoka, Minnesota, including          Anoka, MN 55303
parish school
The Church of Saint Therese          18323 Minnetonka Blvd.             X             X
of Deephaven, including              Deephaven, MN 55391
parish school
St. Thomas Academy                   949 Mendota Heights Rd.            X
                                     Mendota Heights, MN 55120-
                                     1426
The Church of Saint Thomas           920 Holley Ave                     X             X
Aquinas in St. Paul Park,            St. Paul Park, MN 55071-1497
Minnesota
The Church of St. Thomas             4455 South Robert Trail            X             X
Becket                               Eagan, MN 55123
The Church of Saint Thomas           1079 Summit Ave                    X             X
More, including parish school        St. Paul, MN 55105
St. Thomas More Catholic             1065 Summit Ave                    X             X
School                               St. Paul, MN 55105
The Church of St. Thomas, of         20000 County Road 10               X             X
Corcoran, Minnesota                  Corcoran, MN 55340
The Church of St. Thomas of          2914 W 44th St.                    X             X
Minneapolis                          Minneapolis, MN 55410
The Church of St. Timothy of         8 Oak Ave N                        X             X
Maple Lake, Minnesota,               Maple Lake, MN 55358
including parish school
The Church of Saint Timothy          707 - 89th Ave NE                  X             X
of Blaine                            Blaine, MN 55434-2399
The Church of Saint Victoria         8228 Victoria Dr.                  X             X
of Victoria, Minn.                   Victoria, MN 55386-9692
The Church of St. Vincent de         9100 - 93rd Ave N                  X             X
Paul, of Osseo, Minnesota,           Brooklyn Park, MN 55445-
including parish school              1407


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                                                                    GIF            AMBP
Entity                               Address                     Participant     Participant
The Church of St.                    215 East. Main Street            X               X
Wenceslaus, of New Prague,           New Prague, MN 56071-1837
Minnesota, including parish
school
The Church of Saint William          6120 - 5th Street NE             X              X
of Fridley, Minnesota                Fridley, MN 55432
Transfiguration Church of            6133 15th St. N                  X              X
Oakdale, Minnesota,                  Oakdale, MN 55128-4201
including parish school
Twin Cities TEC (also known          337 E Hurley St.                 X
as To Encounter Christ of the        West. St. Paul, MN 55118-
Archdiocese of St. Paul-             1605
Minneapolis, Minnesota, Inc.)




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                                               SCHEDULE 2

                                  LIST OF CLASS 8 CLAIMANTS


                        PARISH                        CLAIM AMOUNT

                        All Saints Lakeville                $6,981.00

                        St. Therese Church                  $50,502.83
                        Deephaven

                        St. Francis Cabrini Church          $52,956.10

                        St. Anne/St. Joseph Hein        $496,459.89
                        Minneapolis

                        SS Cyril and Methodious             $72,404.19
                        Church in Minneapolis

                        St. Pius X Catholic Church      $107,211.45




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                                           SCHEDULE 3

                                     TRADE VENDOR CLAIMS




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  CREDITOR NAME AND             AMOUNT             CREDITOR NAME AND               AMOUNT
       ADDRESS                  OF CLAIM                  ADDRESS                  OF CLAIM
A P GRAPH INC                   28.22             BEERY NOBLE, EILEEN              100.00
9605 GIRARD AVE S                                 20 EAST ELMWOOD PLACE
BLOOMINGTON MN 55431                              MINNEAPOLIS MN 55419
ABP HARRY FLYNN                 250.00            BELIAN, JOHN                     300.00
CATECHETICAL                                      1635 CHATHAM AVE
2260 SUMMIT AVE                                   ARDEN HILLS MN 55112
ST PAUL MN 55105                                  BERRY COFFEE CO                  153.29
ACRE                            3,846.62          14825 MARTIN DRIVE
1757 CONWAY STREET                                EDEN PRAIRIE MN 55344-2009
ST PAUL MN 55106                                  BEST WESTERN PLUS KELLY IN ST    505.65
ACUMEN PSYCHOLOGY               850.00            PAUL
821 RAYMOND AVE #130C                             161 SAINT ANTHONY AVE
ST PAUL MN 55114                                  SAINT PAUL MN 55103-2397
ADVANCED FILING CONCEPTS        140.00            BLACKBAUD                        359.70
3761 DUNLAP ST N                                  PO BOX 930256
ARDEN HILLS MN 55112                              ATLANTA GA 31193-0256
ALL SAINTS CHURCH               680.00            BOCA CHICA RESTAURANT            85.02
435 4TH ST NE                                     11 CESAR CHAVEZ
MINNEAPOLIS MN 55413-2037                         ST PAUL MN 55107
ALPHA SERVICES INDUSTRIES INC   3,472.59          BODY & SOUL INC                  50.00
2712 FREMONT AVE S                                5408 MORGAN AVENUE SOUTH
MINNEAPOLIS MN 55408-1122                         MINNEAPOLIS MN 55419
AMOS PALMER, SUSAN              150.00            BORN-SELLY, PATRICIA             400.00
1717 GRAMSIE RD                                   4445 ALDRICH AVE S
ARDEN HILLS MN 55112-2863                         MINNEAPOLIS MN 55419
AMSAN                           381.12            BRAUN, JANE                      900.00
13924 COLLECTION CENTER DR                        202 THOMPSON AVENUE EAST
CHICAGO IL 60693-3924                             SAINT PAUL MN 55118
ANCHOR PAPER CO                 744.30            BURI, JOHN                       100.00
480 BROADWAY ST                                   2285 STEWART AVE #1308
SAINT PAUL MN 55101                               SAINT PAUL MN 55116-3154
ARCASEARCH                      694.30            BURKE, EUGENE E                  450.00
PO BOX 59                                         599 PORTLAND AVE
PAYNESVILLE MN 56352                              ST PAUL MN 55102
ARCIENEGA DOMINGUEZ, SILVIA     393.91            CANON LAW PROFESSIONALS LLC      850.00
1272 MAGNOLIA - #1                                29 LOWER COPELAND HILL RD
SAINT PAUL MN 55106                               FEURA BUSH NY 12067
ARROW PONTIAC                   40.12             CANON LAW SOCIETY UK             205.00
1111 EAST HWY 110                                 IRELAND
INVER GROVE HEIGHTS MN 55077                      CANON LAW ABSTRACTS
BASILICA OF ST MARY             1,921.89          GALLOWAY
PO BOX 50010                                      AYR SCOTLAND KA7 2ST
MINNEAPOLIS MN 55405                              GREAT BRITAIN
BAUER, JOHN                     45.00             CARONDELET CENTER                70.00
226 SUMMIT AVE                                    1890 RANDOLPH AVENUE
ST PAUL MN 55102                                  ST PAUL MN 55105
BAUER, RANDALL                  214.65            CATHOLIC DEFENSE LEAGUE          200.00
14600 IODINE CT NW                                3499 LEXINGTON AVE N
RAMSEY MN 55303                                   ST PAUL MN 55126
BEAUDET, CHRISTOPHER            1,600.00          CATHOLIC NEWS SERVICE            9,695.48
609 MAPLE PARK DR                                 PO BOX 96428
MENDOTA HEIGHTS MN 55118                          WASHINGTON DC 20090-6428
BEAULIEU, SIMON                 100.00            CATHOLIC UNIVERSIT OF            88.92
PO BOX 6973                                       AMERICA
MINNEAPOLIS MN 55406                              OFFICE OF ENROLLMENT,
BECKER, JASON                   100.00            MCMAHON HALL #10
224 22ND AVENUE SOUTH                             WASHINGTON DC 20064
SAINT PAUL MN 55075


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  CREDITOR NAME AND            AMOUNT             CREDITOR NAME AND               AMOUNT
       ADDRESS                 OF CLAIM                  ADDRESS                  OF CLAIM
CENTERPOINT ENERGY             454.61            DEXON COMPUTER INC               204.00
PO BOX 4671                                      9201 E BLOOMINGTON FRWY - STE
HOUSTON TX 77210-4671                            BB
CENTURYLINK                    42.40             MINNEAPOLIS MN 55420
P O BOX 91154                                    DILL, TIFFANY                    20.00
SEATTLE WA 98111-9254                            226 SUMMIT AVE
CHLEBECK, DENNIS               690.52            ST PAUL MN 55102
1773 ASHLAND AVE                                 DIOCESE BISMARCK                 1,272.33
SAINT PAUL MN 55104-6036                         520 NORTH WASHINGTON STREET
CHRIST KING RETREAT CENTER     1,037.50          BISMARCK ND 58502-1137
621 S FIRST AVENUE                               DIOCESE FARGO                    300.00
BUFFALO MN 55313                                 5201 BISHOPS BLVD STE A
CITY OF SAINT PAUL             700.00            FARGO, ND 58104
375 JACKSON ST, SUITE 220                        DIOCESE OF WINONA                300.00
SAINT PAUL MN 55101-1806                         55 W SANBORN
COBORN'S INC                   1,561.75          PO BOX 588
DBA COBORNSDELIVERS                              WINONA MN 55987
SAINT CLOUD MN 56302-1502                        DISANTO'S FORT ROAD FLORIST      435.67
COMMERS CONDITIONED WATER      29.95             262 FORT ROAD
9150 W 35W SERVICE DR NE                         ST PAUL MN 55102
BLAINE MN 55449-6745                             DOMINICAN COMM ST ALBERT         800.00
CONLEY, PATRICK                100.00            GREAT
239 SELBY AVE                                    2836 33rd AVE S
ST PAUL MN 55102                                 MINNEAPOLIS MN 55406
CONNECTNOW FORMS               874.92            DUFNER, THOMAS                   100.00
P O BOX 681                                      226 SUMMIT AVE
TARRYTOWN NY 10591-0681                          ST PAUL MN 55102
CONWAY, KRISTA                 40.00             ECM PUBLISHERS INC               6,544.57
7106 BOVEY AVE                                   4095 COON RAPIDS BLVD
INVER GROVE HEIGHTS MN 55076                     COON RAPIDS MN 55433-2523
CRM VERTEX                     750.00            EVERT, JASON                     12.00
1405 PRAIRIE PKWY SUITE A                        2257 S JUNIPER ST
WEST FARGO ND 58078                              LAKEWOOD CO 80228
CROSSTOWN MECHANICAL INC.      301.00            EVOLVING SOLUTIONS               787.50
3115 LONG LAKE ROAD                              3989 COUNTY RD 116
ST. PAUL, MN 55113                               HAMEL, MN 55340
CULLIGAN BOTTLED WATER         61.95             EXPONENTS INC                    393.75
DEPT 8511                                        946 FAIRMOUNT AVE
MINNEAPOLIS MN 55480-7743                        ST PAUL MN 55105
CYBER ADVISORS INC             750.00            FAITHFUL & TRUE MINISTRIES INC   495.00
11324 86TH AVENUE NORTH                          15798 VENTURE LN
MAPLE GROVE MN 55369                             EDEN PRAIRIE MN 55344
CYBERSOURCE CORPORATION        375.00            FATHER J ERICH RUTTEN            100.00
PO BOX 742842                                    2115 SUMMIT AVE # 4042
LOS ANGELES CA 90074-2842                        ST PAUL MN 55105
DAIKIN APPLIED                 538.45            FEDEX                            672.95
24827 NETWORK PL                                 PO BOX 94515
CHICAGO IL 60673                                 PALATINE IL 60094-4515
DANIELLE ALEXANDER DESIGN      150.00            FELHABER LARSON FENLON           5,224.50
LLC                                              VOGT P.A.
276 LAKEVIEW TERRACE BLVD                        PO BOX 860034
WACONIA, MN 55387                                MINNEAPOLIS MN 55486-0034
DESHANE, JAMES                 75.00             FILTRATION SYSTEM INC            202.68
4321 BROOK LANE                                  3943 MEADOWBROOK RD
ST LOUIS PARK MN 55416                           ST LOUIS PARK MN 55426
DESIGN A BUNCH                 400.00            FITZGERALD, THOMAS P             190.00
8400 NORMANDALE LAKE BLVD -                      226 SUMMIT AVE
#12                                              ST PAUL MN 55102
BLOOMINGTON MN 55437-1078
                                          Schedule 3-3
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   CREDITOR NAME AND                AMOUNT             CREDITOR NAME AND            AMOUNT
        ADDRESS                     OF CLAIM                  ADDRESS               OF CLAIM
FLEUR DE LIS                        1,379.65          IDAHO CATHOLIC REGISTER       350.00
516 SELBY AVENUE                                      1501 FEDERAL WAY STE 400
ST PAUL MN 55102                                      BOISE ID 83705
FLOEDER, JOHN                       200.00            IMHP BURNSVILLE               1,650.00
2260 SUMMIT AVE                                       P O BOX 64317
ST PAUL MN 55105                                      SAINT PAUL MN 55164-0317
FOLEY CONSULTING INC                3,590.12          IMMACULATE CONCEPTION         258.43
2405 ESSINGTON RD #98                                 CHURCH
JOLIET IL 60435-1200                                  PO BOX 169
FRATTALLONE'S HARDWARE INC          94.17             LONSDALE MN 55046-0169
3527 LEXINGTON AVE N                                  IND SCHOOL DIST 279           50.00
ARDEN HILLS MN 55126                                  11200 93RD AVE N
FRONT LINE SYSTEMS INC              481.25            MAPLE GROVE MN 55369
P O BOX 337                                           INSTITUTE FOR DIACONATE       500.00
EXCELSIOR MN 55331-0337                               FORMATION
FSSP                                2,000.00          2260 SUMMIT AVE
ST PETER'S HOUSE                                      SAINT PAUL MN 55105
ELMHURST TOWNSHIP PA 18444                            INTEGRA TELECOM               692.50
G & K SERVICES ST PAUL              394.80            PO BOX 2966
PO BOX 842385                                         MILWAUKEE WI 53201
BOSTON MA 02284-2385                                  J S BURKE & ASSOCIATES LLC    42.38
GATICA, VIVIANA V                   310.00            947 EAST COUNTY RD D #102
328 KELLOGG BLVD W                                    ST PAUL MN 55109
SAINT PAUL MN 55102                                   JANZ, JONATHAN                100.00
GE CAPITAL                          351.45            PROVIDENCE ACADEMY
PO BOX 31001-0273                                     15100 SCHMIDT LK RD
PASADENA CA 91110-0273                                PLYMOUTH MN 55446
GEMOLOGICAL RESOURCE INC            1,575.00          JESUIT NOVITIATE              708.22
224 DEERPATH CT                                       1035 SUMMIT AVE
STILLWATER, MN 55082                                  ST PAUL MN 55105
GERLACH, MICHELLE                   1,050.00          JOHNSON, AMY M                20.00
328 KELLOGG BLVD                                      32024 CTY RD 13
ST PAUL MN 55102                                      SALOL MN 56756
GJENGDAHL, NELS                     50.00             JOHNSON, JOSEPH               160.00
226 SUMMIT AVE                                        226 SUMMIT AVE
ST PAUL MN 55102                                      ST PAUL MN 55102
GOPHER STATE ONE CALL               2.90              KAT-KEY'S LOCK & SAFE CO      89.80
18946 LAKE DR E                                       249 E 7TH STREET
CHANHASSEN MN 55317                                   ST PAUL MN 55101-2346
GREATAMERICA FINANCIAL SVCS         228.97            KELLY, JONATHAN               45.00
CORP (formerly Loffler Companies,                     226 SUMMIT AVE
Inc.)                                                 ST PAUL MN 55102
PO BOX 660831                                         KENNEY, WILLIAM               190.00
DALLAS, TX 75266-0831                                 226 SUMMIT AVE
HD SUPPLY FACILITIES                447.60            ST PAUL MN 55102
MAINTENANCE                                           KLEMOND, SUSAN K              600.00
PO BOX 509058                                         527 MANOMIN AVE
SAN DIEGO CA 92150-9058                               SAINT PAUL MN 55107
HEALING HOUSE OF SAINT PAUL         405.00            KOSTELC, CHRISTOPHER G        100.00
338 SNELLING AVE S                                    HOLY NAME OF JESUS
SAINT PAUL MN 55105                                   155 CTY RD 24
HOREJSI, DEBRA JOY                  250.00            WAYZATA MN 55391
DBA GINGKO GARDENS AND                                KOWALSKI GRAND MARKET INC     15,417.06
LAWNS                                                 33 S. SYNDICATE AVE
4283 DENT AVE                                         SAINT PAUL MN 55105
WEBSTER MN 55088                                      KRATOCHVIL, MICHAEL           975.72
                                                      554 SPRINGHILL RD
                                                      VADNAIS HEIGHTS MN 55127


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  CREDITOR NAME AND             AMOUNT             CREDITOR NAME AND            AMOUNT
       ADDRESS                  OF CLAIM                  ADDRESS               OF CLAIM
KUETTEL, MATTHEW                137.50            MICHAUD, THOMAS               200.00
200 N MISSISSIPPI RIVER                           DIVINE MERCY CATHOLIC
SAINT PAUL MN 55104                               CHURCH
LACANNE, STEVEN                 85.00             139 MERCY DR
ST LEONARD PORT MAURICE                           FARIBAULT MN 55021
3949 CLINTON AVE S                                MIDWEST ARCHIVES              89.00
MINNEAPOLIS MN 55409-1635                         CONFERENCE
LARAMIE COUNTY                  870.00            4440 PGA BOULEVARD STE 600
ADMINISTRATION                                    PALM BEACH GARDENS FL 33410
510 W 29TH ST                                     MINNEAPOLIS FINANCE           136.78
CHEYENNE, WY 82001                                DEPARTMENT
LARKIN HOFFMAN                  152.00            PO BOX 77028
8300 NORMAN CENTER DR - #1000                     MINNEAPOLIS MN 55480
BLOOMINGTON MN 55437-1060                         MINNESOTA COACHES INC         3,971.91
LOCKWOOD SALES                  1,486.25          101 E 10TH ST SUITE 300
16401 ARGON ST NW                                 HASTINGS MN 55033
ANDOVER MN 55304                                  MINNESOTA SEASONS             2,529.00
LOFFLER                         4,307.26          7111 STILLWATER BLVD N
1101 EAST 78TH ST STE 200                         OAKDALE MN 55128
BLOOMINGTON MN 55420                              MN AEYC-MN SACA               800.00
LOFFLER COMPANIES INC           562.27            1000 WESTGATE DR #252
PO BOX 660831                                     ST PAUL MN 55114
DALLAS TX 75266-0831                              MOLLNER, CATHERINE            1,012.50
LOGOS MANAGEMENT SOFTWARE       692.00            2550 UNIV AVE W STE 435
INC                                               ST PAUL MN 55114
825 VICTORS WAY - STE 200                         MOORE, ELIZABETH              100.00
ANN ARBOR MI 48108-2830                           4049 10TH AVE S
LUND, KRISTINA                  1,325.00          MINNEAPOLIS MN 55407
FIRE STATION #14 PROF BLDG                        MSGR ALOYSIUS CALLAGHAN       150.00
ST PAUL MN 55104                                  ST PAUL SEMINARY SCHOOL OF
MARTIN, MICHAEL                 600.00            DIVINITY
19655 325TH ST                                    2260 SUMMIT AVE
SHAFER MN 55074                                   ST PAUL MN 55105
MCDONOUGH, THOMAS               360.00            NCDVD                         1,228.00
226 SUMMIT AVE                                    440 W NECK RD
ST PAUL MN 55102                                  HUNTINGTON NY 11743
MCDOWELL AGENCY INC             113.00            NEVIN, MICHAEL                300.00
1101 N SNELLING AVE                               14670 55TH ST NE
ST PAUL MN 55108                                  SAINT MICHAEL MN 55376
MCQUILLAN, PATRICIA A           149.36            NFOCUS CONSULTING             975.85
512 MONTCALM PL                                   1594 HUBBARD DR
SAINT PAUL MN 55116                               LANCASTER OH 43130-8124
MDWST CNTR PERSONAL FAMILY      1,185.00          NORTHWESTERN FRUIT COMPANY    650.95
DEV                                               616 PINE STREET
2854 HIGHWAY 55 STE 130                           ST PAUL MN 55130
EAGAN MN 55121                                    NORTON, SARAH                 26.73
MEJIA, ALICIA                   200.00            1136 JACKSON ST
7791 HEMINGWAY AVE S                              SAINT PAUL MN 55117
COTTAGE GROVE, MN 55016                           NYGAARD, ROBERT               560.80
METRO SALES INC                 6,485.09          6451 207TH AVE NE
1620 E 78TH STREET                                WYOMING MN 55092
MINNEAPOLIS, MN 55423-4637                        OFFICEMAX INCORPORATED        3,069.10
MEYERS, NATHANIEL R             20.00             75 REMITTANCE DR #2698
OUR LADY OF GRACE                                 CHICAGO IL 60675-2698
EDINA MN 55436-2308                               O'GRADY, KELLEN E             80.00
                                                  2115 SUMMIT AVE
                                                  SAINT PAUL MN 55105



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  CREDITOR NAME AND              AMOUNT             CREDITOR NAME AND              AMOUNT
       ADDRESS                   OF CLAIM                  ADDRESS                 OF CLAIM
O'KEEFE, WILLIAM                 737.50            REV MARK WEHMANN                100.00
247 THIRD AVE S                                    226 SUMMIT AVE
MINNEAPOLIS MN 55415                               ST PAUL MN 55102
OPPENHEIMER WOLFF DONNELLY       418.95            REV MICHAEL JOHNSON             65.12
222 S 9TH ST - STE 2000                            ATTN HOLY REDEEMER COLLEGE
MINNEAPOLIS MN 55402-3362                          3112 7TH STREET NE
ORGAN, DEBORAH A.                400.00            WASHINGTON DC 20017
224 HOWELL ST N                                    REV MICHAEL STEVENS             100.00
ST PAUL MN 55104                                   328 KELLOGG BLVD W
ORTEGA, AMANDA                   116.50            ST PAUL MN 55102
8012 SCOTT BLVD                                    REV PETER A LAIRD               100.00
COTTAGE GROVE MN 55016                             226 SUMMIT AVE
OUR LADY GRACE CHURCH            160.32            ST PAUL MN 55102
5071 EDEN AVE                                      REV TROY PRZYBILLA              100.00
EDINA MN 55436                                     226 SUMMIT AVE
PALEN/KIMBALL COMPANY            210.00            ST PAUL MN 55102
MI-98                                              RICE, RICHARD M                 140.00
MINNEAPOLIS MN 55480-1414                          8717 BAXTER WY
PARISHSOFT                       253.00            INVER GROVE HEIGHTS MN 55076
825 VICTORS WAY - STE 200                          RODRIGUEZ RUIZ, LEAH            1,028.76
ANN ARBOR MI 48108-2830                            1425 LONE OAK RD
PAUL DAVID PRODUCTIONS, LLC      2,538.60          EAGAN MN 55121
7365 WEST SHORELINE DR                             RODRIGUEZ, MARTA                104.79
WACONIA MN 55387                                   328 KELLOGG BLVD W
PAUL J LANE PH D                 1,000.00          ST PAUL MN 55102
24445 HAWTHORNE BLVD - STE 100                     RON KELLER & ASSOCIATES         900.00
TORRANCE CA 90505                                  2550 E MEDICINE LAKE BLVD
PEOPLES ELECTRICAL COMPANY       2,073.23          PLYMOUTH MN 55441
277 E FILLMORE AVE                                 RUMJUNGLE MEDIA INC             5,205.87
ST PAUL MN 55107                                   5295 EDEN RD
PHOENIX PROCESS CONSULTANTS      785.00            MOUND MN 55364
5912 WEST 25TH STREET                              SALINAS, HILDA                  200.00
SAINT LOUIS PARK MN 55416                          246 E PAGE ST
PREMIER LOCATING INC             113.75            ST PAUL MN 55107
2034 COUNTY ROAD 35 WEST                           SAMS CLUB                       1,051.47
BUFFALO MN 55313                                   PO BOX 530981
PREMIUM WATERS INC               102.69            ATLANTA GA 30353-0981
P O BOX 9128                                       SANTER, LEAH                    100.00
MINNEAPOLIS MN 55480-9128                          1401 HIGHLAND PKWY
PRICE, KRISTINA                  2,040.00          SAINT PAUL MN 55116
1647 EDGEWOOD ROAD                                 SCHMIDT, MARY-CATHERINE         20.00
WINONA MN 55987                                    140 BELVIDERE ST W
PRINTASTIK                       393.29            WEST ST PAUL MN 55118
5249 W 73RD ST - STE C                             SCHNEIDER, LEO                  360.00
EDINA MN 55439-2214                                226 SUMMIT AVE
PROFORMA                         3,562.54          ST PAUL MN 55102
PO BOX 640814                                      SHILLING, HAROLD                165.00
CINCINNATI OH 45264                                HSHILLING
QUIGLEY, MARY                    625.00            BLANCHARDVILLE WI 53516
13225 CROCUS ST NW                                 SHYPKOWSKI, KRISTI              65.00
COON RAPIDS MN 55448-1221                          4696 47TH ST S UNIT C
RAPP, JACQUELINE                 150.00            FARGO, ND 58104
17050TOP HILL RD                                   SILENT KNIGHT SECURITY GROUP    285.00
FAIRDALE, KY 40118-9428                            9057 LYNDALE AVENUE SOUTH
REV KEVIN MCDONOUGH              140.00            BLOOMINGTON MN 55420
226 SUMMIT AVE
ST PAUL MN 55102



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  CREDITOR NAME AND          AMOUNT             CREDITOR NAME AND                AMOUNT
       ADDRESS               OF CLAIM                  ADDRESS                   OF CLAIM
SIOUX FALLS MARRIAGE         400.00             SWEEZO, SUSAN                    160.00
TRIBUNAL                                        SLS INTERPRETING SERVICES
523 NORTH DULUTH AVENUE                         2342 BENJAMIN ST NE
SIOUX FALLS SD 57104                            MINNEAPOLIS MN 55418
SLUSSER, MICHAEL             25.30              SYSCO MINNESOTA INC              774.36
226 SUMMIT AVE                                  PO BOX 49730
ST PAUL MN 55102                                BLAINE MN 55449-0730
SRS ST FRANCIS               1,175.00           TEAMWORKS INTL INC               8,175.02
6832 CONVENT BLVD                               7037 20TH AVE S
SYLVANIA OH 43560                               CENTERVILLE MN 55038
ST AGNES CHURCH              2,133.67           THE LAUNDRY DOCTOR               46.40
535 THOMAS AVENUE                               662 SELBY AVE
SAINT PAUL MN 55103                             ST PAUL, MN 55104
ST CROIX CLEANERS            16.38              THE VISITOR                      905.00
5843 NEAL AVE N                                 ST CLOUD CHANCERY
STILLWATER MN 55082                             SAINT CLOUD MN 56302-1068
ST FRANCIS DE SALES          250.00             THOMAS LIQUOR STORE              99.00
650 PALACE AVE                                  1941 GRAND AVE AT PRIOR
SAINT PAUL MN 55102-3540                        ST PAUL MN 55105
ST JOSEPH CHURCH             438.26             TIBESAR, LEO J                   300.00
171 ELM STREET                                  226 SUMMIT AVE
LINO LAKES MN 55014                             ST PAUL MN 55102
ST MICHAEL CHURCH            6,017.00           TOP 20 TRAINING                  5,200.00
22120 DENMARK AVENUE                            1873 STANFORD AVE
FARMINGTON MN 55024-0227                        SAINT PAUL MN 55105
ST PATRICKS GUILD            189.85             TWIN CITY TREE SERVICE INC       225.00
1554 RANDOLPH AVE                               981 LYDIA DR W
ST PAUL MN 55105                                ROSEVILLE MN 55113
ST PAUL SEMINARY SCHOOL OF   27,053.90          UNIVERSITY ST THOMAS             4,214.37
DIVINITY                                        MAIL 5002
2260 SUMMIT AVE                                 ST PAUL MN 55105-1078
ST PAUL MN 55105                                VECTOR DELIVERY SERVICE          1,972.90
ST PAUL STAMP WORKS INC      34.75              5747 GLENWOOD AVE #5
87 EMPIRE DRIVE                                 GOLDEN VALLEY MN 55422
SAINT PAUL MN 55103-1856                        VERNON COMPANY                   61.32
ST PAUL TRAINING LLP         450.00             DEPT C ONE PROMOTION PLACE
P O BOX 17311                                   NEWTON IA 50208-2065
SAINT PAUL MN 55117-0311                        WABASHA DELI                     1,558.72
ST PETER CHURCH              353.90             32 E FILLMORE
1405 HIGHWAY 13                                 ST PAUL MN 55107
MENDOTA MN 55150-0679                           WAGENBACH, ANDREW                95.22
ST PETER'S PONTIFICAL        95.00              2503 16TH AVE E
INSTITUTE                                       NORTH ST PAUL MN 55109
STUDIES IN CHURCH LAW                           WALKER, THOMAS                   240.00
BANGALORE 560 055                               226 SUMMIT AVE
INDIA                                           ST PAUL MN 55102
ST STEPHEN CHURCH            800.00             WALL STREET JOURNAL              12.00
525 JACKSON ST                                  PO BOX 7007
ANOKA MN 55303                                  CHICOPEE MA 01021-9985
STANLEY CONVERGENT           84.84              WAY POINT INC                    4,195.53
SECURITY                                        4760 WHITE BEAR PKWY STE 201
DEPT CH 10651                                   WHITE BEAR LAKE MN 55110
PALATINE IL 60055                               WEHRLY, JOHN                     82.50
STAPLES ADVANTAGE            185.04             2812 ANTHONY LANE SOUTH - #200
DEPT DET                                        ST ANTHONY MN 55418
CHICAGO IL 60696-3689                           WESTERN STATES ENVELOPE &        907.65
SWANFELD, PAULINE M          648.00             LABEL
1810 BERWICK CIR                                PO BOX 205216
DULUTH MN 55811                                 DALLAS TX 75320-5216
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  CREDITOR NAME AND           AMOUNT             CREDITOR NAME AND            AMOUNT
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WINTRHOP WEINSTINE PA         1,086.80           XCEL ENERGY                  34.56
225 S 6TH ST STE 3500                            PO BOX 9477
MINNEAPOLIS MN 55402                             MINNEAPOLIS MN 55484
WISC PROVINCE SOCIETY JESUS   50.00              XDD MN LLC                   835.00
2900 11TH AVE S #1017-19                         WORKSOURCE #164
MINNEAPOLIS MN 55407-5171                        KANSAS CITY MO 64141-4378
WOLD MORRISON PA              22,575.00
247 THIRD AVE S
MINNEAPOLIS MN 55415




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